CORPORATE CREATIONS*
ala

B Registered Agent + Director « Incorporation

 

Corporate Creations Network Inc. May 3, 2018
11380 Prosperity Farms Road #221E, Palm Beach Gardens, FL 33410

Duff & Phelps, LLC

Rebecca Macfie Vice President - Corporate Counsel
Duff & Phelps, LLC

56 East 52nd Street

Floor 31

NEWYORK NY 10055

SERVICE OF PROCESS NOTICE

The following is a courtesy summary of the enclosed document(s). ALL information should be verified by you.

 

Note: Any questions regarding the substance of the matter described below, including the status or to whom or

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
   
 
 

where to respond, should be directed to the person set forth in line 12 below or to the court or govemment
agency where the matter is being heard. Item: 2018-7
1. Client Entity: Duff & Phelps, LLC
2. Title of Action: Peter S. Huck vs. Duff & Phelps, LLC, AA Management Group, Inc., et al.
3, Document(s): Served:. Summons
Complaint
Plaintiff's First Set of Requests to Admit, Interregatories and Requests for Production of Documents
to Defendants
4. Court/Agency: Milwaukee County Circuit Court, Wisconsin
5. State Served: Delaware
6. Case Number: 2018CV001032
7. Case Type: Common Law Fraud/Fraudulent Inducement
8. Method of Service: Hand Delivered
9. Date'Recelved:. Wednesday 5/2/2018
10. Date to Client: Thursday 5/03/2018
| 11. # Days When Answer Due: 45 CAUTION: : Client is solely Lrespensibie fo for verifying the sopra ote crimngn ei
Answer Due Date: 6/16/2018 with opposing counee nse that the date of service in thatr records matches the.
12. SOP Sender: Nora E Gierke
(Name, Address and Phone Number) Wauwatosa, WI
414-395-4600
13. Shipped-to.Client By: Email Only with PDF Link
14. Tracking Number: Not Applicable
15. Handled:By: 081
16. Notes: Also Attached: * Electronic Filing Notice
NOTE: This notes and the information above Is vided for g eneral informational pumoses onl and should not be considered a_legal opinion. The
ation, At Corporate
fons, we take pride In deve oping $ tems mana e ms $0 OUF 0 e @ reliability 0 our service. We always
deliver service of process so our clients avoid the tisk oft a devault judgment. As istered agent our role it to receive and forward service of process.
To decrease risk for our clients, it is net our rofe to determine the merits of whether service of process is valid and effective. It is the role of legal
counsel! to assess whether service of process is invalid or defective. Registered agent services are provided by Corporate Creations Network Inc.

 

 

 

11380 Prosperity Farms Road #221E, Palm Beach Gardens, FL 33410 ‘Tel: (561) 694-8107 Fax: (561) 694-1639
www. CorporateCreations. com

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02-05-2018
John Barrett
Clerk of Circuit Court

 

 

2018CV001032
STATE OF WISCONSIN CIRCUIT COURT MILWAUKEE COKRENdrxble Gienn H
CIVIL DIVISION Yamahiro-34
Branch 34
PETER S. HUCK,
1100 Madera Circle
Elm Grove, WI 53122
Plaintiff,
Case No.
ee Intentional Tort 30106
ae Money Judgment 30301

_~ DUFF & PHELPS, LLC,

a Delaware limited liability company,
55 East 52nd Street S
New York, NY 10055

  
   
   
 

c/o its Registered Agent:

Corporate Creations Network, Inc.
3411 Silverside Road ,
Tatnall Building, Suite 104 “a
Wilmington, DE 19810 a

  
 

and

AA Management Group, Inc., a wholly
owned subsidiary of DUFF & PHELPS,
LLC,

55 East 52nd Street

New York, NY 10055

c/o its Registered Agent:
Corporate Creations Network Inc.
4650 W Spencer Street

Appleton, WI 54914

and

JOSEPH P. ZVESPER

777 North Prospect Ave MT6,
Milwaukee, WI 53202

and

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PRAIRIE CAPITAL ADVISERS, INC.,
an Illinois Corporation,

One Lincoln Centre

18W140 Butterfield Road, Suite 800
Oakbrook Terrace, [L 60181

c/o its Registered Agent:

Robert J Gross

One Lincoln Centre

18W140 Butterfield Road, Suite 800
Oakbrook Terrace, IL 60181

Defendants.

 

SUMMONS

 

THE STATE OF WISCONSIN
To each person/entity named above as a Defendant:

You are hereby notified that the plaintiff named above has filed a lawsuit or
other legal action against you. The Complaint, which is attached, states the nature
and basis of the legal action.

Within forty-five (45) days of receiving this Summons, exclusive of the day of
service, after the Summons has been served personally upon each Defendant or
served by substitution personally upon another authorized to accept service of the
Summons for the Defendants, you must respond with a written Answer, as that
term is used in Chapter 802 of the Wisconsin Statutes, to the Complaint.

The Court may reject or disregard an Answer that does not follow the
requirements of the statutes. The Answer must be sent or delivered to the Court, whose
address is 901 North 9t* Street, Room 104, Milwaukee, WI 53233 and Plaintiff's

attorney, whose address is 1011 North Mayfair Road, Suite 304, Wauwatosa, WI 53226.

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You may have an attorney help or represent

If you do not provide a proper Answer within the required time period, the Court

may grant judgment against you for the award of money or other legal action

requested in the Complaint, and you may

or may be incorrect in the Complaint. A

law. A judgment awarding money may become a lien against any real estate you own

now or in the future, and may also be enforced by garnishment or seizure of

property.

Dated this 5th day of February 2018.

you.

lose your right to object to anything that is

judgment may be enforced as provided by

GIERKE FRANK NOORLANDER LLC

Electronically signed by: Nora E. Gierke

Nora E. Gierke

State Bar No. 1033618
ngierke@gierkefrank.com
David E. Frank

State Bar No. 1056505
dfrank@gierkefrank.com
Willem J. Noorlander
wnoorlander@gierkefrank.com
State Bar No. 1033089

1011 North Mayfair Road, Suite 304
Wauwatosa, WI 53226

P: 414.395.4600

F: 414.921.4108

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02-05-2018

John Barrett

Clerk of Circuit Court

 

 

2018CV001032
Honorable Glenn H
STATE OF WISCONSIN CIRCUIT COURT MILWAUKEE COWEN ro-34
CIVIL DIVISION Branch 34
PETER S. HUCK,
1100 Madera Circle
Elm Grove, WI 53122-2128
Plaintiff,
Case No.
Vv. Intentional Tort 30106
Money Judgment 30301

DUFF & PHELPS, LLC,

a Delaware limited liability company,
55 East 52nd Street

New York, NY 10055

c/o its Registered Agent:
Corporate Creations Network, Inc.
3411 Silverside Road

Tatnall Building, Suite 104
Wilmington, DE 19810

and

AA Management Group, Inc., a wholly owned
subsidiary of DUFF & PHELPS, LLC,

55 East 52nd Street

New York, NY 10055

c/o its Registered Agent:
Corporate Creations Network Inc.
4650 W Spencer Street

Appleton, WI 54914

and

JOSEPH P. ZVESPER

777 North Prospect Ave MT6, Milwaukee,
WI 53202

and

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PRAIRIE CAPITAL ADVISERS, INC.,
an Illinois Corporation,

One Lincoln Centre

18W140 Butterfield Road, Suite 800
Oakbrook Terrace, IL 60181

c/o its Registered Agent:

Robert J Gross

One Lincoln Centre

18W140 Butterfield Road, Suite 800
Oakbrook Terrace, [L 60181

Defendants.

 

COMPLAINT

 

Plaintiff Peter S. Huck (“Huck”), by and through his counsel Gierke Frank
Noorlander LLC, for his Complaint against Defendants Duff & Phelps, LLC (“Duff &
Phelps”), Joseph P. Zvesper (“Zvesper”) and Prairie Capital Advisers, Inc. (“Prairie
Capital”), alleges and states as follows:

PARTIES

1. Plaintiff Peter S. Huck is an adult resident of the State of Wisconsin,
who resides at 1100 Madera Circle, Elm Grove, Wisconsin 53122-2128.

2. Mr. Huck was previously employed by and a minority shareholder of
American Appraisal Associates, Inc. (“American Appraisal”), a wholly owned
subsidiary of AA Management Group, Inc. (“AAMG’”).

3. Mr. Huck joined American Appraisal in 1973 as an associate appraiser
specializing in public utilities. He held various consulting and management
positions with the company throughout his tenure. In 1999 he was appointed

Assistant Vice President and Director responsible for utility services and held that

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position until his retirement on or about September 30, 2014.

4. On February 24, 2015, AAMG was acquired by and merged with Duff
& Phelps. Upon information and belief, as of February 24, 2015, following the
merger, AAMG now operates as a wholly owned subsidiary of Duff & Phelps.

5. AAMG’s principal place of business is 55 East 52nd Street New York,
NY 10055.

6. AAMG’s Registered Agent is Corporate Creations Network Inc., whose
address is 4650 West Spencer Street, Appleton, WI 54914.

7. Prior to the merger with Duff & Phelps, AAMG was a privately held
valuation and related advisory services firm, with its headquarters located at 411
East Wisconsin Avenue, Suite 1900, Milwaukee, Wisconsin 53202. AAMG was a
leading valuation and related advisory services firm that provided expertise in all
classifications of tangible and intangible assets. It had approximately 900
employees, operating from cities throughout Asia-Pacific, Europe, North America
and South America. Its portfolio of services focused on four key competencies:
valuation, transaction consulting, real estate advisory and fixed asset management.

8. Defendant Duff & Phelps is Delaware limited liability company with
its headquarters located at 55 East 52nd Street, New York, NY 10055.

9. Duff & Phelps’ Registered Agent is Corporate Creations Network, Inc.,
3411 Silverside Road, Tatnall Building, Suite 104, Wilmington, DE 19810.

10. Duff & Phelps is a privately owned large global valuation and
corporate finance advisor that provides financial services in the areas of complex

valuation, dispute and legal management consulting, mergers and acquisitions,

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restructuring, and compliance and regulatory consulting. Duff & Phelps has more
than 2,000 employees who serve clients from offices around the world.

11... Defendant Prairie Capital Advisors, Inc. is an Illinois corporation with
its headquarters located at One Lincoln Centre, 18W140 Butterfield Road, Suite
800 Oakbrook Terrace, IL 60181.

12. _ Prairie Capital’s Registered Agent is Robert J Gross, whose address is
One Lincoln Centre, 18W140 Butterfield Road, Suite 800, Oakbrook Terrace, IL
60181.

13. Prairie Capital is a privately owned investment banking firm that
offers employee stock ownership plan (ESOP) advisory and valuation services in the
areas of mergers and acquisition, divestiture, solvency and fairness opinion, capital
raising, business valuation, management buyout, and strategic advisory services.
Additionally, Prairie Capital provides transaction feasibility, financing, annual
valuation, and litigation support.

14. Defendant Joseph P. Zvesper (“Zvesper”) is an adult resident of the
State of Wisconsin, who resides at 777 North Prospect Avenu, MT6, Milwaukee WI
53202.

15. Mr. Zvesper was the Chief Executive Officer as well as Chairman of
the Board of Directors of AAMG prior to the company's February 24, 2015
acquisition by Duff & Phelps. Mr. Zvesper is now an Executive Vice Chairman at
Duff & Phelps. He maintains offices in various locations, but is listed as the
Managing Director of the Milwaukee Office of Duff & Phelps, which is located at 411

East Wisconsin Avenue Suite 1900, Milwaukee, 53202 (the same address Mr.

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Zvesper worked out of when he was working with AAMG). Mr. Zvesper has
extensive experience in the mergers and acquisitions arena, both as an advisor and
investor. Mr. Zvesper is also a certified public accountant and earned his university
degree in Accounting and Economics (magna cum laude) from Carroll University in
1976.
JURISDICTION AND VENUE

16. This Court has personal jurisdiction over Duff & Phelps pursuant to
Wis. Stat. § 801.05(1)(d) and/or § 801.05 (3) as Duff & Phelps is engaged in
substantial and not isolated activities within this state and/or caused injury to
Plaintiff Mr. Huck in Wisconsin as a result of an act or omission in the State of
Wisconsin.

17. This Court has personal jurisdiction over AAMG pursuant to Wis.
Stat. § 801.05(1)(d) and/or § 801.05 (3) as AAMG is engaged in substantial and not
isolated activities within this state and/or caused injury to Plaintiff Mr. Huck in
Wisconsin as a result of an act or omission in the State of Wisconsin.

18. This Court has personal jurisdiction over Prairie Capital pursuant to
Wis. Stat. § 801.05(1)(d) and/or § 801.05 (3) as Prairie Capital is engaged in
substantial and not isolated activities within this state and/or caused injury to
Plaintiff Mr. Huck in the State of Wisconsin as a result of an act or omission in the
State of Wisconsin.

19. This Court has personal jurisdiction over Mr. Zvesper pursuant to
Wis. Stat. § 801.05(1)(b), (d) and/or § 801.05 (3) as he is a person domiciled and

engaged in substantial and not isolated activities within the State of Wisconsin

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and/or caused injury to Plaintiff Mr. Huck in the State of Wisconsin as a result of
an act or omission in the State of Wisconsin and/or § 801.05(8) as he was an office,
director, or manager of a domestic corporation and this action arises out of his
conduct as such or out of the activities of the corporation while he held such offices
in Wisconsin.

20. Venue is proper in this Court pursuant to Wis. Stat. § 801.50 (2)(a) as
this is the county in which the claim arose and pursuant to Wis. Stat. § 801.50
(2)(c) as this is the county where all the defendants either reside or do substantial
business. Also, this is the county which is contractually selected as the venue for
any dispute arising out of or in connection with the agreement that is at issue in this
case.

FACTUAL BACKGROUND

21. Onor about July 28, 1994, AAMG entered into a stock purchase
agreement to acquire certain shares of common stock from a company called RLM
Investments. In connection with the RLM stock purchase agreement, AAMG also
offered up to 130,000 shares of common stock in AAMG for a purchase price of
$35.67 per share to selected and qualified employees of American Appraisal and its
affiliates.

22. Onor about August 30, 1994, Mr. Huck accepted AAMG's offering
and purchased 1080 shares of common stock in AAMG, and became a minority
shareholder as well as an employee in the company, subject to the terms of the
AAMG Subscription Agreement, dated September 8, 1994 and the AAMG Bylaws. A

copy of the AAMG Bylaws are attached as Exhibit A and incorporated herein by

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reference (“AAMG Bylaws”). A copy of the Subscription Agreement (undated) is
attached as Exhibit B and incorporated herein by reference (“Subscription
Agreement”).

23. Inthe years that followed, Mr. Huck continued to work for AAMG as a
valued employee as well as a shareholder in good standing with the company.

24. In August 2014, Mr. Zvesper approached Mr. Huck and proposed that
Mr. Huck retire prior to the date that he would otherwise be eligible, and that
AAMG repurchase Mr. Huck’s 1080 shares of common stock on payment terms that
accelerated the payment terms of the promissory note provisions prescribed within
Section 6.06(B) of the AAMG Bylaws.

25. Onor about August 4, 2014, Prairie Capital provided AAMG with an
appraisal as to the fair market value of the common stock of AAMG. A copy of
Prairie Capital’s August 4, 2014 letter is attached as Exhibit C and incorporated
herein by reference.

26. According to Prairie Capital’s August 4, 2014 appraisal, the fair
market value of AAMG’s Non-ESOP common stock was $611.48 per share.

27. Mr. Zvesper provided a copy of Prairie Capital’s August 4, 2014
appraisal to Mr. Huck in order to induce him to agree to enter into an agreement to
redeem his 1080 shares of AAMG common stock for $611.48 as the fair market
value of the shares.

28. Mr. Huck reviewed the Prairie Capital appraisal, reasonably relied on
it and based upon the fair market value provided in that appraisal, on August 28,

2014, Mr. Huck agreed to enter into a Stock Redemption and Non-Solicitation

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Agreement with AAMG (Mr. Zvesper signing on behalf of AAMG) to sell his 1080
shares of common stock back to AAMG for a price of $611.48 per share for a total
purchase price of $660,398.40, to be paid out on the following terms:

Based upon application of these provisions of the AAMG bylaws, the Parties agree that the price per
share to be paid to the Shareholder Is $611.48 and the tota! redemption payment amount js
$660,398.40.

c. Payment Dates - Unless altered by Section 5 below, the redemption payments shall be made as
foltows:

i. Onor about September 1, 2015, ($165,099.60) (25%)
ii. Onorabout September 1, 2016, ($165,099.60) (25%)
iii, | On or about September 1, 2017, ($165,099.60) (25%)
iv. On or about September 1, 2018, ($165,099.60) (25%)

A copy of the Stock Redemption and Non-Solicitation Agreement is attached
as Exhibit D and incorporated herein by reference.

29. Pursuant to the terms of the Stock Redemption and Non-Solicitation
Agreement, Mr. Huck also agreed to terminate his employment with AAMG on or
before September 30, 2014.

30. Then, even though Mr. Zvesper had been the one to propose that Mr.
Huck retire early, before Mr. Huck’s retirement date of September 30, 2014, Mr.
Zvesper proposed that Mr. Huck continue to work as a part-time temporary
consultant for AAMG on an hourly basis, for the same hourly rate that he was
receiving before he retired.

31. .AAMG confirmed Mr. Zvesper's part-time consulting offer by letter
dated September 25, 2014. A copy of the September 25, 2014 letter is attached as
Exhibit E and incorporated herein by reference.

32. Mr. Huck retired as a full-time employee of AAMG’s as agreed
effective September 30, 2014.

33. In or around May 2015 he began going into the office again to provide

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consulting services to AAMG pursuant to the terms set forth in the September 25,

2014 letter and continued to do so for at least two years after his retirement date.

34. Between September 30, 2014 and May 2015, Mr. Huck did not go into
the office at AAMG.
35. In or around early February 2015, Mr. Huck received an envelope in

the mail from Great Bank Trust Company. The envelope was postmarked February

3, 2015 (a copy of which is attached as Exhibit J and incorporated herein by

reference) and contained the following documents:

36.

AAMG Information Statement for Special Meeting of Shareholders to
be held February 24, 2015, a copy of which is attached as Exhibit F
and incorporated herein by reference;

A Confidential Information Statement in connection with the
Agreement and Plan of Merger among Duff & Phelps, LLC, D&P
Alabama Acquisition Corp., AA Management Group, Inc., dated
February 3, 2015, a copy of which is attached as Exhibit G and
incorporated herein by reference;

A Participant Directive Statement, dated February 3, 2015, a copy of
which is attached as Exhibit H and incorporated herein by reference;
A Voting Card, a copy of which is attached as Exhibit I and
incorporated herein by reference; and

The above documents disclosed for the first time to Mr. Huck that the

board of directors of AAMG, with board of director and Chairman and CEO Mr.

Zvesper acting as the Shareholder’s Representative, had entered into a merger

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agreement whereby Duff & Phelps would be purchasing AAMG and shares of
AAMG common stock would be converted at a value equal to approximately $1,450
to $1,475 per share.

37. Moreover, the documents disclosed that the merger discussions
between Duff & Phelps and the AAMG board of directors, which included Mr.
Zvesper, had been going on for “several months” prior to the January 30, 2015
agreement to enter into the merger.

38. | Upon information and belief, Mr. Zvesper was already actively
engaged in merger discussions on behalf of AAMG with Duff & Phelps at the time
that he proposed that Mr. Huck retire early and sell his 1080 shares of common
stock for only $611.48 a share.

39. | Upon information and belief, Mr. Zvesper knew or should have
known that this information would have been material to Mr. Huck’s willingness to
agree to enter into the Stock Redemption and Non-Solicitation Agreement with
AAMG.

40. Despite this, upon information and belief, Mr. Zvesper intentionally
withheld this information from Mr. Huck in order to induce Mr. Huck to retire
early and sell his 1080 shares of common stock back to AAMG for a lower price.

41. _ Further, upon information and belief, Prairie Capital knew or should
have known that AAMG was engaged in merger discussions with Duff & Phelps and
negligently failed to take this information into account in providing an appraisal of
the fair market value of the AAMG common stock.

42. Mr. Huck subsequently learned that another AAMG shareholder, Lee

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Hackett, also retired in December 2014.

43. | Upon information and belief, Mr. Zvesper and AAMG conspired to
withhold material information about the status of the merger discussions from Mr.
Huck, and perhaps also Mr. Hackett, in order to induce Mr. Huck and Mr. Hackett
to retire prior to the merger and to enable AAMG to repurchase their shares of
common stock for a lower price.

44. If Mr. Huck had been informed in August 2014 that AAMG and Duff
& Phelps were engaged in merger discussions he would not have retired early and
would not have agreed to enter into the Stock Redemption and Non-Solicitation
Agreement with AAMG and to sell his shares for only $611.48 a share.

45. Upon information and belief, Duff & Phelps acquired substantially all
of the assets of AAMG such that the transaction between Duff & Phelps and AAMG
amounted to a consolidation or merger of the corporations and Duff & Phelps is
merely a continuation of AAMG.

COUNT I - COMMON LAW FRAUD/FRAUDULENT INDUCEMENT

(AGAINST AAMG AND MR. ZVESPER AND DUFF & PHELPS AS

SUCCESSOR IN INTEREST)

46. Plaintiff realleges and incorporates by reference the allegations contained
in paragraphs 1 through 45 above.

47. Mr. Zvesper, acting on behalf of AAMG and himself as a majority
shareholder, intentionally misrepresented facts and omitted material facts when he
encouraged Mr. Huck to accept an offer of early retirement and to redeem his AAMG
common stock shares without disclosing to Mr. Huck the material fact that Mr. Zvesper

was actively engaged in merger discussions with Duff & Phelps on behalf of himself as a

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majority shareholder and AAMG.

48. Mr. Zvesper and AAMG knew or should have known that the information
about the ongoing merger discussions with Duff & Phelps would have been material to
Mr. Huck’s decision whether to accept early retirement and to sell his 1080 shares of
common stock back to AAMG in August 2014, in that Mr. Zvesper and AAMG knew or
should have known that if they had disclosed the fact of the merger discussions to
Mr. Huck in August 2014 it would have influenced Mr. Huck’s decision whether to
accept the offer of early retirement prior to the merger and/or would have caused
Mr. Huck to demand a higher share price for redeeming his 1080 shares of common
stock.

49. Mr. Zvesper and AAMG knew or should have known that when he
provided Mr. Huck with the August 4, 2014 appraisal letter from Prairie Capital and the
proposed Stock Redemption and Non-Solicitation Agreement with AAMG, both of
which stating that the fair market valuation price for his 1080 shares of common stock
was $611.48, that this was misleading in light of the ongoing merger discussions with
Duff & Phelps because Mr. Zvesper and AAMG knew or should have known that the
anticipated merger would likely have increased the price of the stock, making the
reported share price inaccurate.

50. The fact of the ongoing merger discussions with Duff & Phelps was a
material fact and failing to disclose it to Mr. Huck was a material omission that was
misleading and/or made the information that was disclosed to Mr. Huck about the
$611.48 per share price fraudulent, inaccurate and misleading.

51. Mr. Huck reasonably relied on the fraudulent, inaccurate and misleading

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information provided by Mr. Zvesper regarding the $611.48 fair market share price of
his 1080 shares of AAMG common stock and this information fraudulently induced him
to enter into the Stock Redemption and Non-Solicitation Agreement with AAMG.

52. If Mr. Huck had been informed of the ongoing merger discussions with
Duff & Phelps he would not have entered into the Stock Redemption and
Non-Solicitation Agreement with AAMG and/or would have waited until after the
merger to sell his stock back at a higher price.

53. | Asadirect and proximate cause of Mr. Zvesper and AAMG’s fraudulent,
inaccurate and misleading statements about the $611.48 fair market share price of Mr.
Huck’s 1080 shares of AAMG common stock and/or their failure to disclose the pending
merger discussions with Duff & Phelps, Mr. Huck has suffered and will continue to
suffer damages in an amount to be determined at trial.

54. Upon information and belief, Duff & Phelps acquired substantially all
of the assets of AAMG such that the transaction between Duff & Phelps and AAMG
amounted to a consolidation or merger of the corporations and Duff & Phelps is
merely a continuation of AAMG and, thus, liable as a successor in interest for the
above wrongful conduct of Mr. Zvesper and AAMG.

55. Mr. Huck is entitled to recover compensatory and punitive damages, along

with its costs and reasonable attorney's fees from Defendants.

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COUNT II — BREACH OF FIDUCIARY DUTY
(AGAINST MR. ZVESPER)

56. Plaintiff realleges and incorporates by reference the allegations contained
in paragraphs 1 through 55 above.

57. Asa majority shareholder in AAMG, Mr. Zvesper owed a fiduciary duty to
minority shareholder Mr. Huck.

58. Mr. Zvesper breached his fiduciary to Mr. Huck and willfully failed to deal
fairly with Mr. Huck when he encouraged Mr. Huck to accept an offer of early
retirement and to redeem his shares in AAMG without disclosing to Mr. Huck the
material fact that Mr. Zvesper was actively engaged in merger discussions with Duff &
Phelps on behalf of himself as a majority shareholder and AAMG.

59. Mr. Zvesper knew or should have known that the information about his
ongoing merger discussions with Duff & Phelps would have been material to Mr. Huck’s
decision whether to accept early retirement and to sell his 1080 shares of common stock
back to AAMG in August 2014, in that Mr. Zvesper knew or should have known that if
Mr. Zvesper had disclosed the fact of the merger discussions to Mr. Huck in August 2014
it would have influenced Mr. Huck’s decision whether to accept the offer of early
retirement prior to the merger and/or would have caused Mr. Huck to demand a higher
share price for redeeming his 1080 shares of common stock.

60. Mr. Zvesper knew or should have known that when he provided Mr. Huck
with the August 4, 2011 appraisal letter from Prairie Capital and the proposed Stock
Redemption and Non-Solicitation Agreement with AAMG, both of which stating that the
fair market valuation price for his 1080 shares of common stock was $611.48, that this

was misleading in light of the ongoing merger discussions with Duff & Phelps because

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Mr. Zvesper knew of should have known that the anticipated merger would likely have
increased the price of the stock, making the reported share price inaccurate.

61. Mr. Zvesper had a material conflict of interest with Mr. Huck at the time
he offered Mr. Huck early retirement and entered into the Stock Redemption and
Non-Solicitation Agreement with AAMG (which Mr. Zvesper signed on behalf of AAMG)
to buy back Mr. Huck’s 1080 shares of common stock for a price of $611.48 per share,
because Mr. Zvesper knew that as a majority shareholder he stood to gain a larger share
of the profit when AAMG merged with Duff & Phelps.

62. Mr. Zvesper had a duty to disclose the existence of the merger discussions
at the time he entered into the Stock Redemption and Non-Solicitation Agreement with
AAMG in August 2014 and he breached his duty by intentionally failing to disclose the
fact of the ongoing merger discussions with Duff & Phelps.

63. The fact of the ongoing merger discussions with Duff & Phelps was a
material fact and failing to disclose it to Mr. Huck was a material omission that was
misleading and/or made the information that he did disclose to Mr. Huck about the
$611.48 per share price false, inaccurate and misleading.

64. Asadirect and proximate cause of Mr. Zvesper’s breach of fiduciary duty,
Mr. Huck has suffered and will continue to suffer damages in an amount to be
determined at trial.

65. Mr. Huck is entitled to recover compensatory and punitive damages, along

with its costs and reasonable attorney’s fees from Mr. Zvesper.

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COUNT III - UNJUST ENRICHMENT
(AGAINST AAMG AND MR. ZVESPER AND DUFF & PHELPS AS
SUCCESSOR IN INTEREST)

66. Plaintiff realleges and incorporates by reference the allegations contained
in paragraphs 1 through 65 above.

67. Mr. Zvesper and AAMG'’s unjustly benefitted from their fraudulent,
inaccurate and misleading statements about the $611.48 fair market share price of
Mr. Huck’s 1080 shares of AAMG common stock and/or their failure to disclose the
pending merger discussions with Duff & Phelps, and it would unjust to permit them to
retain that benefit.

68. Asaresult of Defendants’ unjust enrichment, Mr. Huck is entitled to
recover compensatory and punitive damages, along with its costs and reasonable

attorney’s fees from Defendants in an amount to be determined at trial.

COUNT IV — PROFESSIONAL NEGLIENCE
(AGAINST PRAIRIE CAPITAL)

69. Plaintiff realleges and incorporates by reference the allegations contained
in paragraphs 1 through 68 above.

70. Prairie Capital’s August 4, 2014 letter contained representations of fact
concerning the fair market share price of Mr. Huck’s AAMG common stock which were
false, inaccurate or misleading.

71. Prairie Capital knew or should have known that the representations of fact
concerning the fair market share price of Mr. Huck’s AAMG common stock which were
false, inaccurate or misleading and was negligent in failing to discover and/or to take
into account the pending merger discussions between AAMG and Duff & Phelps in

providing the appraisal of the share price.

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72. Prairie Capital owed a duty of care in performing the appraisal of the fair
market share price of the AAMG common stock and Prairie Capital’s negligently
breached this duty of care by providing a false, inaccurate or misleading appraisal that
failed to discover and/or to take into account the pending merger discussions between
AAMG and Duff & Phelps in providing the appraisal of the share price.

73. Prairie Capital’s breach of its duty of care caused foreseeable harm to Mr.
Huck as a shareholder.

74. Mr. Huck received and reasonably relied on Prairie Capital's appraisal of
the fair market value of his common stock when he entered into the Stock Redemption
and Non-Solicitation Agreement with AAMG in August 2014.

75.  Asadirect and proximate cause of Prairie Capital’s negligence, Mr. Huck
has suffered and will continue to suffer damages in an amount to be determined at trial.

COUNT V — PUNITIVE DAMAGES
(AGAINST AAMG AND MR. ZVESPER AND DUFF & PHELPS)

76. Plaintiff realleges and incorporates by reference the allegations contained
in paragraphs 1 through 77 above.

77. Defendants AAMG, Mr. Zvesper and Duff & Phelps, as successor in
interest, acted maliciously and with intentional disregard for Plaintiffs rights.

78. Asadirect and proximate cause of Defendants’ above misconduct, Mr.
Huck has suffered and will continue to suffer damages in an amount to be determined at
trial and is entitled to recover compensatory and punitive damages, along with its costs

and reasonable attorney’s fees from Defendants in an amount to be determined at trial.

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WHEREFORE, Plaintiff respectfully requests that this Court :
1. Enter judgment against Defendants, jointly and severally, awarding
Plaintiff compensatory damages, in an amount to be determined at trial, and his costs

and reasonable attorney's;
2. Enter judgment against Defendants, jointly and severally, and in favor of
Plaintiff awarding him punitive damages, in an amount to be determined at trial.

3. Award Plaintiff such other relief as the Court deems just and appropriate.

Dated this 5th day of February 2018.
GIERKE FRANK NOORLANDER LLC

Electronically signed by: Nora E. Gierke

Nora E. Gierke

State Bar No. 1033618
ngierke@gierkefrank.com
David E. Frank

State Bar No. 1056505
dfrank@gierkefrank.com
Willem J. Noorlander
wnoorlander@gierkefrank.com
State Bar No. 1033089

1011 North Mayfair Road, Suite 304
Wauwatosa, W1 53226

P: 414.395.4600

F: 414.921.4108

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02-05-2018

John Barrett

Clerk of Circuit Court

2018CV001032

EXHIBIT A Honorable Glenn H
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BEING FILED UNDER SEAL :

 

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OF

AA MANAGEMENT GROUP, INC.
(a Wisconsin corporation)

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7% Introduction - Variable References
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i 0.01. Date of annual shareholders’ meeting (See Section ’2.01):
- os NE
Vs ~, Ne “
4 (HOUR) (WEEK) (DAY) (MONTH) _3? (FIRST YEAR)
[ 0.02. Required notice of shareholders’ “meeting (See Section
2.04): not less than! days.
. a. \ Ve
.t 0.03. Authorized number. ‘of Directors (See Section 3.01): 7.
a an a
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4 0.04. Required notice of Directors’ meeting (See Section 3.05):
“not less than 48 hours.
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INDEMNIFICATION

ARTICLE VU. CORPORATE SEAL

ARTICLE IX. FISCAL YEAR

ARTICLE X.
AMENDMENTS

By Shareholder 0... ccc eee eee eee eee : ot 2
By Directors 2... ee eet teens —_ ve ge ko

Implied Amendments ........ 2... cece vevues poe es

 

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BY-LAWS OF
AA MANAGEMENT GROUP, INC.

ARTICLE I. OFFICES
Section 1.01 Principal and Business Offices. The Corporation may have such principal

and other business offices, either within or without the State of Wisconsin, as the Board of
Directors may designate or as the business of the Corporation may require from time to time.

Section 1.02 Registered Office. The registered office of the Corporation required by
the Wisconsin Business Corporation Law to be maintained in the State of Wisconsin may’ ‘be, ‘but
need not be, identical to the principal office in the State of Wisconsin, and the address of the
registered office may be changed from time to time by the Board of Directors ‘or, by ‘the
registered agent. The business office of the registered agent of the Corporation shall be identical

to the registered office. eee

ARTICLE If. SHAREHOLDERS

Section 2.01 Annual Meeting. The ‘aniual mesting of the shareholders shall be held
at the date and hour in each year set forth in "Section 0.01, or at such other time and date within
30 days before or after said date as may be fixed by or under the authority of the Board of
Directors, for the purpose of electing Directors and for the transaction of such other business
as may come before the meeting. If the day fixed for the annual meeting shall be a legal holiday
in the State of Wisconsin, such meeting shall be held on the next succeeding business day. If
the election of Directors ‘shall not be held on the day designated herein, or fixed as herein
provided, for any annual meeting of the shareholders, or at any adjournment thereof, the Board
of Directors shall cause the election to be held at a special meeting of the shareholders as soon

- thereafter as conveniently may be. Nominations of persons for election to the Board of

Directors of the Corporation and the proposal of business to be considered by the shareholders
may be made at the annual meeting or any special meeting only in accordance with Section 2.07

hereof.

Section 2.02 Special Meeting. Special meetings of the shareholders, for any purpose
or purposes, unless otherwise prescribed by the Wisconsin Business Corporation Law, may be
called by the Chairman of the Board of Directors, the President, by resolution adopted by a
majority of the Board of Directors, or by the holders of at least ten percent of all the votes
entitled to be cast on any issue proposed to be considered at the proposed special meeting who
sign, date and deliver to the Corporation one or more written demands for the meeting
describing one or more purposes for which it is to be held. The record date for determining
shareholders entitled to demand a special meeting shall be the date that the first shareholder signs
the demand. If duly called, the Corporation shall communicate notice of a special meeting as

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set forth in Section 2.04. Nominations of persons for election to the Board of Directors of the
Corporation and the proposal of business to be considered by the shareholders may be made at
a special meeting only in accordance with Section 2.07 hereof.

Section 2.03 Place of Meeting. The Board of Directors may designate any place, either
within or without the State of Wisconsin, as the place of meeting for any annual or special
meeting. If no designation is made, the place of meeting shall be the principal business office
of the Corporation in the State of Wisconsin or such other suitable place in the county of such
ptincipal office as may be designated by the person calling such meeting, but any meeting may
be adjourned to reconvene at any place designated by vote of a majority of the shares
represented thereat.

Section 2.04 Notice of Meeting. Notice may be communicated in person, by telephone,
telegraph, teletype, facsimile or other form of wire or wireless communication, or by mail or
private carrier, and, if these forms of personal notice are impracticable, notice may be
communicated by a newspaper of general circulation in the area where published, of by radio,
television or other form of public broadcast communication. Such notice stating the place, day
and hour of the meeting and, in case of a special meeting, .a ‘description’ of each purpose for
which the meeting is called, shall be communicated or sent not Jess than the number of days set
forth in Section 0.02 (unless a longer period is required by the’ Wisconsin Business Corporation
Law or the Articles of Incorporation) nor more ‘than 60 days before the date of the meeting, by
or at the direction of the Chairman of the Board (if one is designated), the President, the
Secretary, or other Officer or persons calling the meeting, to each shareholder of record entitled
to vote at such meeting. Written notice is effective at the earliest of the following:

@) when received;

. (i) on deposit in the U.S. mail, if mailed postpaid and correctly addressed;
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* (iii) on the date shown on the return receipt, if sent by registered or certified
mail, return receipt requested and the receipt is signed by or on behalf of
the addressee.

Written notice to a shareholder shall be deemed correctly addressed if it is addressed to the
Shareholder’s address shown in the Corporation’s current record of shareholders. Oral notice
is effective when communicated and the Corporation shall maintain a record setting forth the
date, time, manner and recipient of the notice.

Section 2.05 Fixing of Record Date. A "shareholder" of the Corporation shall mean
the person in whose name shares are registered in the stock transfer books of the Corporation

or the beneficial owner of shares to the extent of the rights granted by a nominee certificate on
file with the Corporation. Such nominee certificates, if any, shall be reflected in the stock
transfer books of the Corporation. For the purpose of determining shareholders entitled to notice

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of or to vote at any meeting of shareholders or any adjournment thereof, the Board of Directors
shall fix a future date not less than ten days and not more than 70 days prior to the date of any
meeting of shareholders for the determination of the shareholders entitled to notice of, or to vote
at, such meeting. If no record date is fixed for the determination of shareholders entitled to
notice of or to vote at a meeting of shareholders, the close of business on the day before the
notice of the meeting is mailed shall be the record date for such determination of shareholders.
The Board of Directors also may fix a future date as the record date for the purpose of
determining shareholders entitled to take any other action or determining shareholders for any
other purpose, which record date shal! not be more than 70 days prior to the date on which the
particular action, requiring such determination of shareholders, is to be taken. When a
determination of shareholders entitled to vote at any meeting of shareholders has been made as
provided in this Section, such determination shall be applied to any adjournment thereof unless
the Board of Directors fixes a new record date, which it shall do if the meeting is adjourned to
a date more than 120 days after the date fixed for the original meeting. The record date for
determining shareholders entitled to a distribution or a share dividend shall be the date on which
the Board of Directors authorizes the distribution or share dividend, as the case may be, unless
the Board of Directors fixes a different record date. a

Section 2.06 Voting Record. The Officer or agent having charge of the stock transfer
books for shares of the Corporation shall, before each meeting of shareholders, make a complete
list of the shareholders entitled to vote at such meeting, or any adjournment thereof, with the
address of and the number of shares held by each. The Corporation shall make the
shareholders’ list available for inspection by any shareholder beginning two business days after
the notice of meeting is given for which the list was prepared and continuing to the date of the
meeting, at the Corporation’s principal office. Such record also shall be produced and kept open
at the time and place of the meeting and shall be subject to the inspection of any shareholder
during the whole time of the meeting for the purposes of the meeting. A shareholder or his or
her agent or attorney may, on written demand, inspect and copy the list subject to the
requirements set forth in Sections 180.1602 and 180.0720 of the Wisconsin Business Corporation
Law. .The original stock transfer books shall be prima facie-evidence as to who are the

* shareholders entitled to examine such record or transfer books or to vote at any meeting of

shareholders. Failure to comply with the requirements of this Section shali not affect the validity
of any action taken at such meeting.

Section 2.07 Notice, Nominations and Proposals by Shareholders.

A. Nominations for the election of directors and proposals for any business to be
considered by shareholders at any annuaj or special meeting of shareholders may be made by
the Board or by any shareholder of the Corporation entitled to vote generally in the election of
directors. In order for a shareholder of the Corporation to make any such nominations and/or
proposals, and for such nominations or other business to be properly before the annual or special
meeting, he or she must give notice thereof in writing, delivered or mailed by first class United
States mail, postage prepaid, to the Secretary of the Corporation not later than the close of
business on the tenth day following the day on which notice of the meeting was mailed to

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Shareholders. Each such notice given by a shareholder with respect to nominations for election

of directors shall set forth (i) the name, age, business address and residence address of cach
nominee proposed in such notice, (ii) the principal occupation or employment of each such
nominee, (iii) the number of shares of stock of the Corporation beneficially owned by each such
nominee; (iv) a description of al] arrangements or understandings between such shareholders and
such nominees and any other person (naming such person) pursuant to which the nomination is
to be made by the shareholders; (iv) the written consent of each nominee to be named in a proxy
statement as a nominee and to serve, if elected, as a director, and (v) as to the shareholder
giving such notice (a) his or her name and address as they appear on the Corporation’s books,
(b) the class and number of shares of the Corporation which are beneficially owned by such
shareholder, and (c) a representation that such shareholder is a holder of shares entitled to vote
at such meeting and intends to appear in person or by proxy at the meeting to make the
nomination. In addition, the shareholder making such nomination shall promptly provide ‘any

other information reasonably requested by the Corporation. _

B. Each notice given by a shareholder to the Secretary with.respect to business
proposals to be brought before a meeting shall set forth in writing as to each matter: (i) a brief
description of the business desired to be brought before the meeting and the reasons for
conducting such business at the meeting; (ii) the name and address, as they appear on the
Corporation’s books, of the shareholder proposing such business; (iii) the class and number of
shares of the Corporation beneficially owned by such shareholder; and (iv) any material interest
of the shareholder in such business. Notwithstanding anything in these By-laws to the contrary,
no business shall be considered at an annual or special meeting except in strict accordance with
the procedures set forth in this Section 2.07 7

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C. The Chairman of the annual or special meeting of shareholders may, if the facts
warrant, determine that a nomination or proposal was not made in accordance with the foregoing
procedures, and if he or she should so determine, he or she shal] declare to the meeting that the
defective nomination or proposal shall be disregarded. This provision shail not require the
holding of any adjourned or special meeting for the purpose of considering a defective

»- ‘pomination or proposal.

Section 2.08 Quorum and Vofi equirements: ents; Adjou:
Shares entitled to vote as a separate voting group as defined in the Wisconsin Business
Corporation Law may take action on a matter at a meeting only if a quorum of those shares
exists with respect to that matter. Unless the Articles of Incorporation or the Wisconsin
Business Corporation Law provides otherwise, a majority of the votes entitled to be cast on the
matter by the voting group constitutes a quorum of that voting group for action on that matter.

Once a share is represented for any purpose at a meeting, other than for the purpose of
objecting to holding the meeting or transacting business at the meeting, it is considered present
for purposes of determining whether a quorum exists, for the remainder of the meeting and for
any adjournment of that meeting unless a new record date is or must be set for that adjourned

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If a quorum exists, action on a matter, other than the election of directors, by a voting
group is approved if the votes cast within the voting group favoring the action exceed the votes
cast opposing the action, unless the Articles of Incorporation or the Wisconsin Business
Corporation Law requires a greater number of affirmative votes. Unless otherwise provided in
the Articles of Incorporation of the Corporation, directors are elected by a plurality of the votes
cast by the shares entitled to vote in the election at a meeting at which a quorum is present.
"Plurality means that the individuals with the largest number of votes are elected as directors
up to the maximum number of directors to be chosen at the election.

"Voting group" means any of the following:

(i) All shares of one or more classes or series that under the Articles of
Incorporation or the Wisconsin Business Corporation Law are entitled to yoie and
be counted together collectively on a matter at a meeting of shareholders, OF

(ii) All shares that under the Articles of Incorporation or the Wisconsin Business
Corporation Law are entitled to vote generally on a matter.

The Board of Directors acting by resolution may postpone and reschedule any previously
scheduled meeting, provided, however, that a special meeting called by at least 10% of the
shareholders may not be postponed beyond the 30th day following the originally scheduled
meeting. Any meeting may be adjourned from time to time, whether or not there is a quorum:

(i) at any time, upon a resolution of shareholders if the votes cast in favor of such
resolution by the holders of shares of each voting group entitled to vote on any
matter theretofore properly brought before the meeting exceed the number of
votes cast against such resolution by the holders of shares of each such voting

° group; or

(ii) “at any time prior to the transaction of any business at a meeting which was not
‘called by at least 10% of the shareholders, by the Chairman of the Board, the
President or pursuant to a resolution of the Board of Directors.

No notice of the time and place of adjourned meetings need be given except as required by the
Wisconsin Business Corporation Law. At any adjourned meeting at which a quorum shall be
present or represented, any business may be transacted which might have been transacted at the

meeting as originally noticed.

Section 2.09 Conduct of Meetings. The Chairman of the Board, or in the Chairman’s
absence, the President, or in the President’s absence, the Executive Vice President, or in the

Executive Vice President’s absence, a Vice President in the order provided under Section 4.08,
and in their absence, any person chosen by the shareholders present shall call the meeting of the
shareholders to order and shall act as chairman of the meeting, and the Secretary of the

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Corporation shall act as Secretary of all meetings of the shareholders, but, in the absence of the
Secretary, the presiding Officer may appoint any other person to act as Secretary of the meeting.

Section 2.10 Proxies. At all meetings of shareholders, a shareholder entitled to vote
may vote in person or by proxy. A shareholder may appoint a proxy to vote or otherwise act
for the shareholder by signing an appointment form, either personally or by his or her attorney-
in-fact. Such proxy appointment is effective when received by the Secretary of the Corporation
before or at the time of the meeting. Unless otherwise provided in the appointment form of
proxy, a proxy appointment may be revoked at any time before it is voted, either by written
notice filed with the Secretary or the acting Secretary of the meeting or by oral notice given by
the shareholder to the presiding Officer during the meeting. The presence of a shareholder who
has filed his or her proxy appointment shal! not of itself constitute a revocation. No proxy
appointment shall be valid after eleven months from the date of its execution, unless otherwise
provided in the appointment form of proxy. In addition to the presumptions set forth in Section
2.12 below, the Board of Directors shall have the power and authority to make rules establishing
presumptions as to the validity and sufficiency of proxy appointments. ‘

Section 2.11 Voting of Shares. Each outstanding share shall be nitied to one vote
upon each matter submitted to a vote at a meeting of shareholders, except to the extent that the
voting rights of the shares of any voting group or groups are enlarged, limited or denied by the
Articles of Incorporation. .

Section 2.12 Voting of Shares by Certain Holler.

Other Corporations. Shares standing i in the name of another corporation may be
voted citbert in person or by proxy, by the president of such corporation or any other officer
appointed by such president. An appointment form of proxy executed by any principal officer
of such other corporation or assistant thereto shall be conclusive evidence of the signer’s
authority to act, in the absence of express notice to this Corporation, given in writing to the
Secretary of this Corporation, or the designation of some other person by the board of directors

_ or by the by-laws of such other corporation.

B. Legal Representatives and Fiduciaries. Shares held by an administrator, executor,

guardian, conservator, trustee in bankruptcy, receiver or assignee for creditors may be voted by
him, either in person or by proxy, without a transfer of such shares into his or her name,
provided there is filed with the Secretary before or at the time of meeting proper evidence of
his or her incumbency and the number of shares held by him or her. Shares standing in the
name of a fiduciary may be voted by him or her, either in person or by proxy. An appointment
form of proxy executed by a fiduciary shall be conclusive evidence of the signer’s authority to
act, in the absence of express notice to this Corporation, given in writing to the Secretary of this
Corporation, that such manner of voting is expressly prohibited or otherwise directed by the
document creating the fiduciary relationship.

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C. Pledgees. A shareholder whose shares are pledged shall be entitled to vote such
shares until the shares have been transferred into the name of the pledgee, and thereafter the
pledgee shall be entitled to vote the shares so transferred; provided, however, a pledgee shall
be entitled to vote shares held of record by the pledgor if the Corporation receives acceptable
evidence of the pledgee’s authority to sign.

D. Treasury Stock and Subsidiaries. Neither treasury shares, nor shares held by

another corporation if a majority of the shares entitled to vote for the election of directors of
such other corporation is held by this Corporation, shall be voted at any meeting or counted in
determining the total number of outstanding shares entitled to vote, but shares of its own issue
held by this Corporation in a fiduciary capacity, or held by such other corporation in a fiduciary
capacity, may be voted and shall be counted in determining the total number of outstanding
shares entitled to vote. on

E. Minors, Shares held by a minor may be voted by such minor in person or by proxy
and no such vote shall be subject to disaffirmance or avoidance, unless prior to such vote the
Secretary of the Corporation has received written notice or has actual knowledge that such
shareholder is a minor. Shares held by a minor may be voted by a personal representative,
administrator, executor, guardian or conservator representing the minor if evidence of such
fiduciary status is presented and acceptable to the Corporation. —

F. Incompetents and Spendthrifts. Shares held by an incompetent or spendthrift may
be voted by such incompetent or spendthrift in person or by proxy and no such vote shall be
subject to disaffirmance or avoidance, unless prior to such vote the Secretary of the Corporation
has actual knowledge that such shareholder has been adjudicated as incompetent or spendthrift
or actual knowledge of filing of judicial proceedings for appointment of a guardian. Shares held
by an incompetent or spendthrift may be voted by a personal representative, administrator,
executor, guardian or conservator representing the minor if evidence of such fiduciary status is

presented and acceptable to the Corporation.

: G. Joint Tenants. Shares registered in the names of two or more individuals who are
named in the registration as joint tenants may be voted in person or by proxy signed by any one
or more of such individuals if either (i) no other such individual or his or her legal
representative is present and claims the right to participate in the voting of such shares or prior
to the vote files with the Secretary of the Corporation a contrary written voting authorization or
direction or written denial or authority of the individual present or signing the appointment form
of proxy proposed to be voted or (ii) all such other individuals are deceased and the Secretary
of the Corporation has no actual knowledge that the survivor has been adjudicated not to be the

_ successor to the interests of those deceased.

Section 2.13 Waiver of Notice by Shareholders. Whenever any notice whatsoever is

required to be given to any shareholder of the Corporation under the Articles of Incorporation
or By-laws or any provision of law, a waiver thereof in writing, signed at any time, whether
before or after the time of meeting, by the shareholder entitled to such notice, shall be deemed

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equivalent tu the giving of such notice and the Corporation shall include copies of such waivers
in its corporate records; provided that such waiver in respect to any matter of which notice is
required under any provision of the Wisconsin Business Corporation Law, shall contain the same
information as would have been required to be included in such notice, except the time and place
of meeting. A shareholder’s attendance at a meeting, in person or by proxy, waives objection
to the following:

(i) lack of notice or defective notice of the meeting unless the shareholder at
the beginning of the meeting or promptly upon arrival objects to holding
the meeting or transacting business at the meeting; and

(ii) —_ consideration of a particular matter at the meeting that is not within the
purpose described in the meeting notice, unless the shareholder objects ts tw
considering the matter when it is presented. Le

Section 2.14 Una ent Without Meeting. Any action required or permitted
by the Articles of Incorporation or By-laws or any provision of law to be taken ‘at a meeting of
the shareholders may be taken without a meeting if a consent in writing, setting forth the action
so taken, shall be signed by all of the shareholders entitled to vote with respect to the subject

matter thereof.

Section 2.15 Invalidity. The Chairperson, upon recommendation of the Secretary, may
reject a vote, consent, waiver or proxy appointment if the Secretary or other officer or agent of
the Corporation authorized to tabulate votes, acting in good faith, has reasonable doubt about
the validity of the signature on it or about the signatory’s authority to sign for the shareholder.
The Corporation and its officer or agent who accepts or rejects a vote, consent, waiver or proxy
appointment in good faith and in accordance with Wisconsin Business Corporation Law shail not
be liable for damages to the shareholders for consequences of the acceptance or rejection.

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ARTICLE III. BOARD OF DIRECTORS

Section 3.01 General Powers and Number of Directors. All corporate powers shall

be exercised by or under the authority of, and the business and affairs of the Corporation
managed under the direction of, the Board of Directors, subject to any limitations set forth in
the Articles of Incorporation. The number of Directors of the Corporation shall be as provided
in section 0.03. The number of directors may be increased or decreased from time to time by
amendment to this section adopted by the shareholders or the Board of Directors, but no
decrease shall have the effect of shortening the term of an incumbent director.

Section 3.02 Tenure and Qualifications. Elected directors shall hold office for a term
of three years and until their successors are elected and qualified, except as otherwise provided

in this section or until their death, resignation or removal. The Board of Directors shall be
divided into three classes of not less than 2 nor more than 4 directors each. A director may be

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removed from office for cause by the affirmative vote of 80% of the shareholders or a majority
of the Board of Directors as provided in Article V uf the Corporation’s Articles of
Incorporation. A director may resign at any time by filing his or her written resignation with
the Secretary of the Corporation. Directors need not be residents of the State of Wisconsin or
shareholders of the Corporation.

Nominations for the election of directors shall be made in accordance with the provisions
of Article II, Section 2.07 hereof, which requirements are hereby incorporated by reference in
this Article III, Section 3.02.

Section 3.03 Regular Meetings. A regular meeting of the Board of Directors shall be
held without notice other than this By-law immediately after, and at the same place as, the
annual meeting of shareholders, and each adjourned session thereof, for election of corporate
officers and transaction of other business. The Board of Directors may provide, by resolution,
the time and place, either within or without the State of Wisconsin, for holding. additional
regular meetings without other notice than such resolution. . Ls

Section 3.04 Special Meetings. Special meetings of the Board o of Directors may be
calied by or at the request of the Chairman of the Board, President, Secretary or any two
directors. The Chairman of the Board, President, ‘Secretary or any two directors calling any
special meeting of the Board of Directors may fix any place, either within or without the State
of Wisconsin, as the place for holding any special meeting of the Board of Directors called by
them, and if no other place is fixed, then the place of meeting shall be the principal office of

the Corporation in the State of Wisconsin.

Section 3.05 Notice: Waiver of Notice. Notice may be communicated in person, by
telephone telegraph, teletype, facsimile or other form of wire or wireless communication, or by
mail or private carrier, and, if these forms of personal notice are impracticable, notice may be
communicated by a newspaper of general circulation in the area where published, or by radio,
television or other form of public broadcast communication. Notice of each meeting of the

: Board of ‘Directors shall be communicated to each director at his or her business address or

telephone number or at such other address or telephone number as such director shall have
designated in writing filed with the Secretary, in each case not less than that number of hours
prior thereto as set forth in Section 0.04. Written notice is effective at the earliest of the

following:
(i) when received;

Gi) on deposit in the U.S. Mail, if mailed postpaid and correctly addressed;
or

(iii) on the date shown on the return receipt, if sent by registered or certified
mail, return receipt requested and the receipt is signed by or on behalf of

the addressee.

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Oral notice is effective when communicated and the Corporation shall maintain a record setting
forth the date, time, manner and recipient of the notice. Whenever any notice whatever is
required to be given to any director of the Corporation under the Articles of Incorporation or
By-laws or any provisions of law, a waiver thereof in writing, signed at any time, whether
before or after the time of the meeting, by the director entitled to such notice, shall be deemed
equivaient to the giving of such notice, and the Corporation shall retain copies of such waivers
in its corporate records. A director’s attendance at or participation in a meeting waives any
required notice to him or her of the meeting unless the director at the beginning of the meeting
or promptly upon his or her arrival objects to holding the meeting and does not thereafter vote
for or assent to action taken at the meeting. Neither the business to be transacted at, nor the
purpose of, any regular or special meeting or the Board of Directors need be specified in the
notice or waiver of notice of such meeting.

Section 3.06 Quorum. Except as otherwise provided by the Articles of Incorporation,
By-laws or Wisconsin Business Corporation Law, a majority of the number of directors as
provided in Section 0.03, or a majority of the number of directors then in office (provided this
number constitutes no fewer than one-third of the number of directors then in office) shall
constitute a quorum for the transaction of business at any meeting of the Board of Directors, but
a majority of the directors present or participating (though less than a quorum) may adjourn the
meeting from time to time without further notice. ;

Section 3.07 Manner of Acting. If a quorum is present or participating when a vote
is taken, the affirmative vote of a majority of directors present or participating is the act of the
Board of Directors or a committee of the Board of Directors, unless the Wisconsin Business

Corporation Law or the Articles of Incorporation or these By-laws require the vote of a greater
number of directors.

Section 3.08 Conduct of Meetings. The Chairman of the Board, or in the Chairman’s
absence, the President, or in the President’s absence, the Executive Vice President, or in the

_ Executive Vice President’s absence, a Vice President in the order provided under Section 4.08,

and in their absence, any director chosen by the directors present, shall call meetings of the
Board of Directors to order and shall act as Chairman of the meeting. The Secretary of the
Corporation shall act as Secretary of all meetings of the Board of Directors, but in the absence
of the Secretary, the presiding Officer may appoint an Assistant Secretary or any director or
other person present or participating to act as Secretary of the meeting.

Section 3.09 Vacancies. Subject to the rights of the holders of any series of Preferred
Stock outstanding, vacancies, including those created by an increase in the number of directors
in the Board of Directors, may be filled by the remaining directors until the next succeeding
annual election by the affirmative vote of a majority of directors then in office, though less than
a quorum of the Board of Directors; provided, that in the case of a vacancy created by the
removal of a director by vote of the shareholders, the shareholders shall have the right to fill
such vacancy at the same meeting or at any adjournment thereof. A director elected to fill #
vacancy shall serve for the unexpired term of his or her predecessor. In the absence of action

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by the remaining directors, the shareholders may fill such vacancy at a special meeting in
accordance with the Articles of Incorporation, or by unanimous consent according to these By-

laws.

Section 3.10 Compensation. The Board of Directors, by affirmative vote of a majority
of the directors then in office, and irrespective of any personal interest of any of its members,
may establish reasonable compensation of all directors for services to the Corporation as
directors, officers or otherwise, or may delegate such authority to an appropriate committee.
The Board of Directors also shall have the authority to provide for or to delegate to an
appropriate committee to provide for reasonable pensions, disability or death benefits, and other
benefits or payments, to directors, officers and employees and to their estates, families,
dependents or beneficiaries on account of prior services rendered by such directors, officers and

employees to the Corporation.

Section 3.11 Presumption of Assent. A director of the Corporation who is present or
participates in a meeting of the Board of Directors or a committee thereof of which he or she

is a member, at which action on any corporate matter is taken, shall be presumed to have
assented to the action taken unless his or her dissent shall be entered in the minutes of the
meeting or unless he or she shall file his or her written dissent to such action with the person
acting as the Secretary of the meeting before the adjournment thereof or shal! forward such
dissent by registered mail to the Secretary of the Corporation immediately after the adjournment
of the meeting. Such right to dissent shall not apply to a director who voted in favor of such

action.
Section 3.12 Committees.
A. Regular Committees.

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. 1. General Description. In order to facilitate the work of the Board of

Directors of this Corporation, the following regular committees shall be
elected from the membership of the Board of Directors at the annual
meeting of the Board of Directors (or at such other time as the Board of

Directors may determine):
Audit Committee
Compensation Committee

Bach committee shall have 2 to 4 members. The Chairman of the Board of
Directors, and in the Chairman's absence, the President, or in the’ President’s
absence, the Executive Vice President(s) (if more than one Executive Vice
President, the Executive Vice President as designated by the Board of Directors),
or in the absence of an Executive Vice President, such Vice President as is
designated by the Board of Directors, shall submit nominations for such

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committee memberships. Committee members shall hold office until the next
board meeting at which Committee elections are conducted in accordance with
these By-laws, and until their successors are elected and qualified. Each Regular
Committee of the Board of Directors may exercise the authority of the full Buard
within the scope of the duties and powers delegated to it in these By-laws, except
that no committee of this Board shall do any of the following:

(a) Authorize distributions;

(b) Approve or propose to shareholders action that the Wisconsin
Business Corporation Law requires be approved by shareholders;

(c) Fill vacancies on the board of directors or, except as Provided
herein, on any of its committees; an:

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(d) Amend the Articles of Incorporation;
(e) | Adopt, amend or repeal the By-laws;
() Approve a plan of merger not requiring shareholder approval;

(g) Authorize or approve reacquisition of shares, except according to
a formula 9 or method prescribed by the full Board of Directors; or

(h) Authorize o or approve the issuance or sale or contract for sale of
shares or determine the designation and relative rights, preferences
and limitations of a class or series of shares, except that the Board
of Directors may authorize a committee or a senior executive
officer of the Corporation to do so within limits prescribed by the
Board of Directors.

The Audit Committee. When the Board of Directors is not in session, the Audit

Committee shall have and may exercise all of the powers of the full Board of
Directors solely with regard to those matters which are within the scope of the
Audit Committee’s designated duties, as provided herein.

The Audit Committee shall:

(a) Select and engage the independent certified public accountants to
audit the books, records and financial transactions of the

Corporation;

(b) Review with the independent accountants the scope of their
examination, with particular emphasis on the areas to which either

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the committee or the independent accountants believe special
attention should be directed. The Audit Committee may have the
independent accountants perform such additional procedures as the
Committee or the auditors deem necessary;

Review and approve the annual plan for the financial audit
(internal audit) department;

Review with the independent accountants the financial statements
and auditors’ reports thereon;

Review the management letter of the independent accountants, and
audit reports by the Corporation’s internal auditors to assure that
appropriate action has been taken by Senior Management. as. to
each item recommended; ao

Encourage the independent accountants and the internal auditors to
communicate directly with the Chairman of the Board and
President or, if necessary, the Chairman of the Audit Committee
whenever any significant recommendation has not been
satisfactorily resolved at the Senior Management level;

Review and approve all related party transactions; and

Carry out such special assignments as the Board of Directors may,
from time to time, give to the Audit Committee.

3. Compensation Committee. When the Board of Directors is not in session, the
Compensation Committee shall have and may exercise all of the powers of the
full Board of Directors solely with regard to those matters which are within the
scope of the Compensation Committee’s duties, as provided herein.

The Compensation Committee shall:

(a)
(b)

(c)

Review issues regarding compensation;

Make recommendations to the Board of Directors on total
compensation for executive officers and the types, methods and
levels of compensation programs (including any stock option
plans); and

Carry out such special assignments as the Board of Directors may,
from time to time, give to the Compensation Committee.

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B. Special Committees. In addition to the foregoing Regular Committees, the
Board of Directors may, from time to time, establish Special Committees and

specify the composition, functions and authority of any such Special Committee.

C. Vacancies; Temporary Appointments. When, for any cause, a vacancy occurs

in any Regular Committee, the remaining committee members, by majority vote,
may fill such vacancy by a temporary appointment of a director on the Board of
Directors not on the subject committee to fill the vacancy until the next Board
Meeting, at which time the full Board of Directors shall fill the vacancy.

D. Committee Minutes aud Reports. All of the foregoing committees shall keep

minutes and records of all of their meetings and activities and shall report the
same to the Board of Directors at its regular meeting. Such minutes and records
shall be available for inspection by the directors at all times. Oy

Section 3.13 Unanimous Consent Without Meeting. Any action required ¢ or peiinived

by the Articles of Incorporation or By-laws or any provision of law to be taken by the Board of
Directors at a meeting or by resolution may be taken without a meeting if a consent in writing,
setting forth the action so taken, shall be signed by all of the directors then in office.

Section 3.14 Meeting by Telephone or by Other Communication Technology.

Meetings of the Board of Directors or committees of the Board may be conducted by telephone
or by other communication technology i in accordance with Section 180.0820 of the Wisconsin

Business Corporation Law. = =.

a _ ARTICLE IV. OFFICERS
Section 4.01 Number; Election and Term of Office. The principal officers of the

Corporation shall be a Chairman of the Board, a President, an Executive Vice President, a Chief

_ Financial Officer, the number of Vice Presidents as may be determined by the Board of

Directors, a Secretary and a Treasurer, each of whom the Board of Directors shal] from time
to time determine. All officers shall hold office for a period of one year and until their
successors are duly elected and qualified, or until their prior death, resignation or removal.
Such other officers and assistant officers as may be deemed necessary may be elected or
appointed by the Board of Directors. The Board of Directors may authorize a duly appointed
officer to appoint one or more officers or assistant officers. The same natural person may
Simultaneously hold more than one office in the Corporation. Such other Officers and Assistant
Officers as may be deemed necessary may be elected or appointed by the Board of Directors.
The Board of Directors may authorize a duly appointed officer to appoint one or more officers
or assistant officers. The same natural person may simultaneously hold more than one office

in the Corporation.

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Section 4.02 Removal. Any officer or agent may be removed by the Board of
Directors, with or without cause, whenever in its judgment the best interests of the Corporation
would be served thereby, but such removal shall be without prejudice to the contract rights, if
any, of the person so removed. Election or appointment shall not of itself create contract rights.

Section 4.03 Vacancies. A vacancy in any principal office because of death,
resignation, removal or otherwise, shall be filled by the Board of Directors for the unexpired

portion of the term.

Section 4.04 Chairman of the Board. The Chairman of the Board shall preside at all
meetings of the shareholders and of the Directors and shall do and perform such other duties as

from time to time may be assigned to that office by the Board of Directors.

Section 4.05 President. The President shall have general supervision of the. ‘business
and affairs of the Corporation. The President may sign and execute al] authorized bonds, noles,
checks, contracts, or other obligations in the name of the Corporation.” The President shall
perform such other duties as from time to time may be assigned to ‘him or her by the Board of

Directors.

Section 4.06 Executive Vice Presidents. Should the » Chairman or President be absent
or unable to act, the Board of Directors shall designate an Executive Vice President to discharge

the duties of the vacant office with the same power and authority as is vested in that office. The
Executive Vice President(s) shall perform such other duties as from time to time may be
assigned to him or her by the Board of Directors.

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Section 4.07 Chief Financial Officer. The Chief Financial Officer, subject to the
control of the Board of Directors, shal] have such powers and discharge such duties as may be

from time to time conferred or imposed upon him or her by the Chairman of the Board, the
President, the Executive Vice President or the Board of Directors.

Section 4.08 Vice Presidents. Should the Chairman, the President or the Executive

Vice President be absent or unable to act, the Board of Directors shall designate a Vice President

or other officer to discharge the duties of the vacant office with the same power and authority
as is vested in that office. The Vice Presidents shal} perform such other duties as from time to
time may be assigned to them by the President, the Executive Vice President or the Board of

Directors.

Section 4.09 Secretary. The Secretary shall: (i) keep the minutes of the meetings of
the Shareholders and of the Board of Directors in one or more books provided for that purpose;
(ii) see that all notices are duly given in accordance with the provisions of the By-laws or as
required by law; (iii) be custodian of corporate records; (iv) keep or arrange for the keeping of
a register of the post office boxes of each Shareholder which shall be furnished to the Secretary
by such Shareholder; (v) have general charge of the stock transfer books of the Corporation; and
(vi) in general, perform all duties incident to the office of Secretary and have such other duties

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and exercise such authority as from time to time may be delegated or assigned to him or her by
the President, the Executive Vice President or by the Board of Directors.

Section 4.10 Treasurer. The Treasurer, subject to the control of the Board of
Directors, shall have such powers and discharge such duties as may be from time to time
conferred or imposed upon him or her by the Chairman of the Board, the President, the
Executive Vice President, the Chief Financial Officer, or the Board of Directors.

Section 4.11 Subordinate Officers. Subordinate officers appointed by the Board of
Directors shall have such powers and discharge such duties as may from time to time be
conferred or imposed upon them by the Chairman of the Board, the President or the Board of

Directors.

Section 4.12 Salaries. The salaries of the principal officers shall be fixed from time
to time by the Board of Directors or by a duly authorized committee thereof, and no officer shall
be prevented from receiving such salary by reason of the fact that he or she j is also a director

of the Corporation.

ARTICLE V. CONFLICT OF INTEREST TRANSACTIONS,
CONTRACTS, LOANS, CHECKS; DEPOSITS; AND SPECIAL CORPORATE ACTS -

Section 5.01 Conflict of Interest Transactions. A “conflict of interest" transaction

means a transaction with the Corporation i in which a Director of the Corporation has a direct or
indirect interest. The circumstances in which a Director of the Corporation has an indirect
interest in a transaction include but : are not limited to a transaction under any of the following
circumstances: (i) another entity in which the Director has a material financial interest or in
which the Director is a general partner is a party to the transaction; or (ii) another entity of
which the Director is a director, officer or trustee is a party to the transaction and the transaction
is or, because of its significance to the Corporation should be, considered by the Board of

_ Directors of the Corporation. A conflict of interest transaction is not voidable by the

Corporation solely because of the Director’s interest in the transaction if any of the
circumstances set forth in Section 180.0831 of the Wisconsin Business Corporation Law (or any

successor statutory provision) are true or occur.

Section 5.02 Contracts. The Board of Directors may authorize any Officer or Officers,
agent or agents, to enter into any contract or execute or deliver any instrument in the name of
and on behalf of the Corporation, and such authorization may be general or confined to specific

instances.

Section 5.03 Loans. No indebtedness for borrowed money shall be contracted on behalf
of the Corporation and no evidences of such indebtedness shall be issucd in its name unless
authorized by or under the authority of a resolution of the Board of Directors. Such

authorization may be general or confined to specific instances.

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Section 5.04 Checks, Drafts, Etc. All checks, drafts or other orders for the payment
of money, notes or other evidences of indebtedness issued in the name of the Corporation, shall
be signed by such Officer or Officers, agent or agents of the Corporation and in such manner
as shall from time to time be determined by or under the authority of a resolution of the Board
of Directors.

Section 5.05 Deposits. All funds of the Corporation not otherwise employed shall be
deposited from time to time to the credit of the Corporation in such banks, trust companies or
other depositories as may be selected by or under the authority of a resolution of the Board of

Directors.

Section 5.06 Voting of Securities Owned by this Corporation. Subject to the specific

direction of the Board of Directors, (i) any shares or other securities issued by any other
corporation and owned or controlled by this Corporation may be voted at any meeting of security
holders of such other corporation by the President of this Corporation if he or she is present,
or in the President's absence, by the Vice President of this Corporation who may be present,

and (ii) whenever, in the judgment of the President, or in his absence, of any ‘Vice President,

it is desirable for this Corporation to execute an appointment of proxy or written consent in
respect to any shares or other securities issued by any other corporation and owned by this
Corporation, such proxy appointment or consent shall be executed in the name of this
Corporation by the President, or one of the Vice Presidents of this Corporation in the order as
provided in clause (i) of this Section, without necessity of any authorization by the Board of
Directors or countersignature or attestation by another Officer. Any person or persons
designated in the manner above stated as the proxy or proxies of this Corporation shall have full
right, power and authority to vote the shares or other securities issued by such other corporation
and owned by this Corporation the : same as such shares or other securities might be voted by this

Corporation,

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ARTICLE VI.
TRANSFER RESTRICTIONS AND
CERTIFICATES FOR SHARES

Section 6.01 Transfer Restrictions During Life.
A. General Transfer Prohibition. During a Shareholder’s lifetime, no Shareholder

(or any spouse of a Shareholder who may have an interest in the shares of capital stock of the
Corporation (the "Shares") directly or by virtue of the application of any marital or community
property law, or otherwise) may gift, sell, dispose of or otherwise transfer Shares to any person
or entity (other than to the Corporation), or permit or suffer to exist any involuntary transfer of
Shares as a matter of law or any attachment, execution, levy or similar proceeding with respect
to Shares as a result of the filing against such Shareholder of any voluntary or involuntary
bankruptcy or insolvency proceeding, or otherwise (collectively, a "transfer"), without having
complied with the provisions of this Section 6.01 of Article VI.

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B. Right of First Refusal. A Shareholder who proposes to sell Shares to a third

party may do so if such sale is pursuant to a bona fide, non-assignable written offer involving
all cash consideration but only if such Shareholder (who hereinafter shall be referred to in this
Section 6.01(B) as the "Transferor") shall first offer to sell such Shares to the Corporation and
such offer shall not have been accepted, in the manner hereinafter provided:

(1) Offer by Transferor. The Transferor shall offer to sell to the Corporation

all of the Shares proposed to be sold to the third party transferee (collectively referred to in this
Section 6.01(B) as the “Subject Shares"). The Transferor’s offer shall be in writing and shall
consist of an offer to sell the Subject Shares at the purchase price and upon the terms set forth
in Sections 6.05 and 6.06 hereof, and shall set forth the name and address of the proposed third
party buyer, the number of Subject Shares and a copy of the third party’s offer to purchase.
Said offer to sell shall be irrevocable until the expiration of the offer described below.

(2) Acceptance of Offer. Within 30 days after the date of such offer, the

Corporation, at its option, by written notice to the Transferor, may accept such offer and elect
to purchase all or a portion of the Subject Shares or decline such offer. “Any election to
purchase the Subject Shares shal! Specify a proposed date for closing of the purchase, which date
shall not be more than 60 days after the effective date of the election. Failure on the part of the
Corporation to make the above election to purchase the Subject Shares within the applicable time
period herein provided shall conclusively be deemed as an election not to accept the Transferor’s

offer.

(3) lease fj ion. If the Transferor’s offer is not accepted in full
as to all of the Subject Shares by the Corporation, the Transferor may make a bona fide sale of
the Subject Shares not purchased by the Corporation to the proposed third party buyer named
in the Transferor’s written offer, with such transfer to be made only in strict accordance with
the terms therein stated and only if such transferee agrees in writing to the conditions set forth
in Section 6.01(B)(4) hereof. If the Transferor fails to effect such sale within 60 days after the
date of such offer, such Subject Shares shall again become subject to all of the restrictions of

~ this Article VI.

° 4 . The sale otherwise permitted under Section
6.01(B)(3) hereof shall be allowed only if the buyer signs all appropriate documents necessary
in the opinion of the Corporation’s legal counsel to impose on the Shares so sold restrictions on
further transferability identical to the restrictions imposed by this Article VI, so as to bind such

buyer.

Cc, Involuntary Transfers. In the event that any Shareholder permits or suffers to
exist any involuntary transfer of Shares (the "Involuntary Transferor") as a matter of law or any
attachment, execution, levy or similar proceeding with respect to the Shares as a result of the
filing against such Shareholder of any voluntary or involuntary bankruptcy or insolvency
proceeding or otherwise, such Involuntary Transferor shall immediately notify the Corporation.
Such notice shall contain a description of the facts and circumstances giving rise to such

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involuntary transfer, the names and addresses of the proposed third party transferee, the number
of Shares to be so transferred and the material terms of the proposed transfer. Whether or not
said notice is delivered, the Corporation shal! have the option described in Section 6.01(B) above
to purchase the Shares subject to such involuntary transfer; provided, however, for purposes of
when such option expires, the time period specified in Section 6.01(B) for the Corporation to
purchase such Shares shall not begin until the Corporation has received notice of the involuntary
transfer from the Involuntary Transferor.

D. Proxies and Voting Trusts. The Shareholders shall not execute a proxy,

assignment, voting trust or any other document transferring all or any of their voting rights
except for a proxy appointment necessitated by a Shareholder’s inability to attend a meeting due
to a business conflict, vacation, illness, guardianship, conservatorship or other legal proceeding
which has transferred voting rights to such Shareholder’s Shares. 7

E. Permitted Transfers. Shareholders who obtain their Shares by original issue from
the Corporation shall be permitted to transfer (a "Permitted Transfer") all or any part of such
Shares during their lifetime, without the necessity of complying with this Section 6.01, if the
transfer is made to any of the foliowing persons (a “Permitted Transferee ") and if such persons
take the actions described in Section 6.01(B)(4) hereof: (i) the transferring Shareholder’s:
Spouse; (ii) the transferring Sharcholder’s natural or adopted issue; or (iii) any trust (provided
the trust meets the requirements of Section 1361(c)(2) of the Internal Revenue Code of 1986,

as amended) with respect to which a person described in clauses (i) or (ii) is the sole beneficiary.

Section 6.02 of Ma i ‘Relatio

A. rmination o ital Relationship. If the marital relationship of a Shareholder
terminates for any reason other than the death of such Shareholder (the "Titled Shareholder")
and if the spouse of the Titled Shareholder has an interest (the "Spousal Interest") in the Shares
of the Titled Shareholder (by virtue of marital or community property law, divorce judgment or

otherwise), then:

(1) sfer to Titled . To the extent that the Spousal

Interest is transferred to the Titled Shareholder by way of bequest, intestacy, divorce judgment
or otherwise, such transfer shall be permitted, but the Spousal Interest so transferred to the
Titled Shareholder shall be subject to all of the terms and conditions of this Article VI.

(2) Options to Purchase. To the extent that the Spousal Interest is not so
transferred to the Titled Shareholder, the Titled Shareholder and the Corporation shall have’ the
following successive options:

(a) The Titled Shareholder shall have an option to purchase all or a portion

of the Spousal Interest at the purchase price and upon the terms and conditions provided in—

Sections 6.05 and 6.06. If the Titled Shareholder desires to exercise such option, the Titled
Shareholder shall do so by giving written notice to such Titled Shareholder’s spouse or to the

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legal representative of such Spouse’s estate no later than 60 days after whichever of the following
applies: in the case of a dissolution of marriage due to death of the Titled Shareholder’s spouse,
the date of the qualification of the legal representative of the deceased Spouse’s estate or, in the
case of a dissolution of marriage due other than to death, the date of entry of any order,
judgment or decree determining the tights of the Titled Shareholder’s Spouse in the Shares held
by the Titled Shareholder.

(b) If the Titled Shareholder does not exercise the option set forth in
Section 6.02(A}(2)(a) above or accepts such option and elects to purchase less than all of the
Spousal Interest, the Corporation shall have an option to purchase all or a portion of the
remaining Spousal Interest not purchased by the Titled Shareholder at the purchase price and
upon the terms and conditions provided in Sections 6.05 and 6.06. If the Corporation desires
to exercise such option, the Corporation shall do so by giving written notice thereof to the Titled
Shareholder’s spouse or the legal representative of such spouse’s estate within 60 days after the
earlier of (i) notice from the Titled Shareholder of his or her decision to decline to purchase all
of the Spousal Interest or (ii) the expiration of the Titled Shareholder’s 60-day period in which
to exercise his or her option (provided notice is received pursuant to Section 6.02(B) hereof).

(c) Notwithstanding any other provisions of this Section 6.02, if the
foregoing options to purchase are not exercised by the Titled Shareholder or the Corporation as
to all of the Spousal Interest, then the Titled Shareholder’s Spouse or the legal representative of
such spouse’s estate, whichever the case may be, shall be free to retain the Spousal Interest.
In any event, the Spousal Interest shall remain Subject to all of the terms and conditions of this

Article VI.

B. tice i io i elationship. In the event the
matriage of a Shareholder terminates due to the death of such Shareholder’s spouse or
dissolution of the marital relationship, such Shareholder shall give written notice thereof to the
Corporation within 30 days thereof specifying the date of death or the date of entry of any order,
judgment or decree determining the rights, if any, of such Shareholder’s spouse in the Shares

_ held by such Shareholder.

Section 6.03 ination o ent. In the event that a Shareholder (the
“Terminated Shareholder") is terminated by the Corporation from employment with the
Corporation, any of its wholly-owned subsidiaries or any of its affiliates, for any reason (other
than termination resulting from death), or quits such employment, then all of the Shares owned
by the Terminated Shareholder and such Shareholder’s Spouse (by virtue of marital or
community property law, divorce judgment or otherwise), and these Shares acquired from the
Terminated Shareholder by a Permitted Transferee in a Permitted Transfer and all of the Shares
acquired by a third party pursuant to Section 6.01(B) or by a Permitted Transferee pursuant to
Section 6.01(E) (all such Shares collectively referred to in this Section 6.03 as the “Subject
Shares"), shall be subject to the following option:

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A. For a period of 90 days following the Terminated Shareholder’s termination of
employment, the Corporation shall have the option to purchase from the Terminated
Shareholder, his or her spouse and Permitted Transferees, and they shall sell to the Corporation,
all or any of the Subject Shares at the purchase price and upon the terms and conditions provided
in Sections 6.05 and 6.06. If the Corporation exercises its option, written notice thereof shal]
be given to the Terminated Shareholder within such 90-day period. If the Corporation fails to
give notice of its election to exercise its option to purchase within said 90-day period, the
Corporation shall conclusively be deemed to have elected not to exercise its option.

B. Notwithstanding any other provisions of this Section 6.03, if the foregoing option
to purchase is not exercised by the Corporation as to all of the Subject Shares, then the
Terminated Shareholder, and his or her spouse and Permitted Transferees, shall be frec to retain
all of the Subject Shares not so purchased notwithstanding the termination of employment. «In
any event, the Subject Shares shall continue to be Subject to the provisions of this Article Vi.

Section 6.04 Death of Shareholder. Upon the death of a Shareholder (hereinafter the
"Decedent"), all of the Shares owned by the Decedent and such Decedent’s spouse (by virtue

of marital or community property law, divorce judgment or otherwise), and those Shares
acquired from the Decedent by a Permitted Transferee in a Permitted Transfer and all of the
Shares acquired by a third party pursuant to Section 6.01(B) or by a Permitted Transferee
pursuant to Section 6.01(E) (all such Shares collectively referred to in this Section 6.04 as the
“Subject Shares"), may be sold and purchased as follows:

A. Fora period of 180 days after the death of the Decedent, the Corporation shall have
the option to purchase any or all of the Subject Shares at the purchase price and upon the terms
and conditions provided in Sections 6.05 and 6.06. If the Corporation exercises its option,
written notice thereof shall be given to the Decedent’s estate within such 180-day period. Ifthe
Corporation fails. to give notice of its election to exercise its option to purchase within said 180-

day period, the Corporation shall conclusively be deemed to have elected not to exercise its
option

Be Notwithstanding any other provisions of this Section 6.04, if the foregoing option
to purchase is not exercised by the Corporation as to all of the Subject Shares, then the
Decedent’s estate, and the Decedent’s spouse and Permitted Transferees, shall be free to retain
all of the Subject Shares not so purchased notwithstanding the death of the Decedent. In any
event, the Subject Shares shall continue to be Subject to the provisions of this Article VI.

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Section 6.05 Purchase Price.

A. Purchase Price.
(1) Lifetime Transfers.

(a) —_If the transfer is a sale described in Section 6.01(B), the purchase
price shall the lesser of (i) that price offered by the proposed buyer or (2) the lesser of until
August 31, 1997, $35.67 per share or the Fair Market Value Per Share (as hereinafter defined)
as of the Pricing Date (as hereinafter defined), and on and after August 31, 1997, the Fair
Market Value Per Share as of the Pricing Date; or

(b) If the transfer is an Involuntary Transfer described in Section 6.01(C)
hereof, the purchase price shall be the lesser of Fair Market Value Per Share as of the Pricing
Date or $35.67 per share until August 31, 1997, and the Fair Market Value Per Share as of the

Pricing Date on and after August 31, 1997.

(2) it: t ip. The purchase price for the Shares
purchased pursuant to Section 6.02 shall be $35.67 per share until August 31, 1997, and on and
after August 31, 1997, the Fair Market Value Per Share as of the Pricing Date.

(3) jo oyment. The purchase price for the Shares purchased

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pursuant to Section 6.03 shall be as follows:

(a) If the Terminated Shareholder (i) is terminated by the Corporation for
"cause" or (ii) quits without the approval of the Corporation, the purchase price for such Shares
Shall be the lesser of Fair Market Value Per Share as of the Pricing Date or $35.67 per share
until August 31, 1997, and on and after August 31, 1997, the Fair Market Value Per Share as

of the Pricing Date; or

. (b) If the Terminated Shareholder (i) is terminated by the Corporation other
than for “cause", (ii) quits with the approval of the Corporation, or (iii) leaves the employ of
the Corporation (or any of its subsidiaries or affiliates) due to death, permanent disability or
retirement, the purchase price for such Shares shall be the Fair Market Value Per Share as of

the Pricing Date.

(4) Death. The purchase price for the Shares purchased pursuant to Section 6.04
shall be the Fair Market Value as of the Pricing Date.

B e. “Fair Market Value Per Share" shall be computed

by multiplying the Weighted Average Earnings From Operations by a factor of 5.0 less the
amount of any senior and subordinated debt of the Corporation on a consolidated basis plus cash
divided by the number of shares of Common Stock issued and outstanding, whereby "Weighted

Average Earnings From Operations" is computed as follows:

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[(.25 x Prior Fiscal Year Earnings From Operations) + (.50 x Current Fiscal Year
Projected Earnings From Operations) + (.25 x Succeeding Fiscal Year Forecasted
Earnings From Operations)];

whereby "Projected Earnings From Operations" shall be defined as actual earnings from
operations as of the Pricing Date plus budgeted earnings from operations for the portion of the
remaining fiscal year.

C. Pricing Dates. The term " Pricing Date" means: (i) with Tespect to any purchase
of Shares pursuant to Section 6.01(C) hereof, the last day of the fiscal quarter immediately
preceding the fiscal quarter in which notice is given to the Corporation regarding such
involuntary transfer or the date the Corporation elects to purchase or not to purchase all or any
of the Shares subject to such involuntary transfer, whichever occurs first; (ii) with respect to any
purchase of Shares pursuant to Section 6.02 hereof, the last day of the fiscal quarter immediately
preceding the fiscal quarter in which a Shareholder’s matriage terminates; (iii) with respect to
any purchase of Shares pursuant to Section 6.03 hereof, the last day of the fiscal quarter
immediately preceding the effective date of the Terminated Shareholder’s ‘termination of
employment; and (iv) with respect to any purchase of Shares pursuant to Section 6.04 hereof,
the last day of the fiscal quarter immediately preceding the fiscal quarter in which the Decedent’s

death occurs.

-D. Stock Splits. Appropriate . adjustment to the purchase prices for the Shares
described in this Section 6.05 shall be made for any dividend, stock split, recapitalization or
issuance of stock subsequent to the applicable Pricing Date.

Section 6.06 Payment of Purchase Price: Closing.

A. ent o e Price.
(1) ‘Lifetime Transfer. The purchase price for Shares purchased pursuant to

Section 6.01 shall be paid as follows: (i) if the transfer is a sale described in Section 6.01(B)
hereof, ‘the purchase terms shall be those offered by the proposed transferee; or (ii) if the
transfer.is an involuntary transfer described in Section 6.01(C) hereof, the purchase price shall
be paid by the Corporation, at its sole option, in cash or by the execution and delivery to the
transferor of a promissory note in the principal amount equal to the purchase price payable by
the Corporation.

(2) ination of Mari elationship. The purchase price for Shares
purchased pursuant to Section 6.02 shall be paid by the Corporation, at its sole option, in cash
or by the execution and delivery to the transferor of a promissory note in the principal amount
equal to the purchase price payable by the Corporation.

(3) - The purchase price for Shares purchased
pursuant to Section 6.03 shall be paid by the Corporation, at its sole option, in cash or by the
execution and delivery to the transferor of a promissory note in the principal amount equal to

the purchase price payable by the Corporation.

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“Transfer of the securities evidenced by this certificate is not valid except to the extent that
such transfer has complied with the provisions regarding transfer contained in the By-laws
of the Corporation as may be amended from time to time. A copy of the By-laws of the
Corporation, which imposes various restrictions upon the holder of this certificate, is
available to interested parties for inspection at the offices of the Corporation."

"The securities evidenced by this certificate have not been registered under the Securities
Act of 1933, as amended, or the securities laws of any State, but have been issued in
reliance upon exemptions therefrom. The securities may not be offered, sold, pledged or
otherwise transferred without registration under the Act or the opinion of counsel
satisfactory to the corporation that an exemption from registration is available or that such
transfer may otherwise lawfully be made."

B. Spouses and Interests in Shares. For purposes of this Article VI, -all references

to "Shares" owned or held by a Shareholder shall include, without limitation, all interests in
Shares now owned or acquired in the future by such Shareholder’s spouse, if any, as marital
property or quasi-marital property, or. pursuant to such spouse’s elective rights to deferred
marital property or to an augmented marital property estate. The creation of an interest in the
Shares of a Shareholder’s spouse by operation of marital property laws during the Shareholder’s
lifetime shall not be deemed to be a transfer of such Shares or any portion thereof for purposes
of this Article VI so long as (i) the Shares in which such interest is created continue to be
registered solely in the name of such Shareholder, and (ii) such Shareholder maintains full
management and control rights with respect to such Shares; provided, however, that if either of
the foregoing conditions shall cease to be satisfied, then such Shareholder and the Corporation
shall have the option to purchase such spouse’s interest in the Shares in the sequence and manner
and upon the same terms-and conditions as specified in Section 6.03 as if the martial relationship
of such Shareholder and such Shareholder’s spouse had been terminated. The Shares of a
Shareholder, and any interest of such Shareholder’s spouse in such Shares, shall remain subject
to this Article VI regardless of the termination, for any reason, of the marital relationship of any

Shareholder and the Shareholder’s spouse.

C. Specific Performance. The Shareholders and the Corporation agree that it is
impossible to measure in money the damages which will accrue by reason of a failure to perform
any of the obligations under this Article VI. Therefore, if any party shall institute any action
or proceeding to enforce the provisions hereof, any person (including the Corporation) against
whom such action or proceeding is brought hereby waives all claims or defenses therein that
such party has an adequate remedy at law, and such person shall not urge in any such action or
proceeding the claim or defense that such remedy at law exists. Such remedy shall be
cumulative and nonexclusive and shall be in addition to any other remedy which the parties may
have. The failure of any party at any time to require performance of any provision hereof shall
in no manner affect their right at a time to enforce the same. No waiver by any party or any
breach of any terms contained in this Article VI, whether by conduct or otherwise, shall be
deemed to be or construed as a further or continuing waiver of any such breach or a waiver of
any other term contained in this Article VI.

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D. Termination. The provisions of this Article VI shall terminate and have/_
force or effect upon the occurrence of any of the following events:

(1) =‘ There is only one Shareholder;

(2) The Corporation is dissolved or becomes insolvent or the subject of
bankruptcy or insolvency proceedings, provided, in the case of involuntary bankruptcy of
insolvency proceedings, this Article VI shall not terminate unless such proceedings have
continued unstayed for any period of 60 consecutive days; or

(3) The Shares are registered under the Securities Act of 1933, as amended, or
become subject to the reporting requirements of the Securities and Exchange Act of 1934, as
amended. 27S

Upon termination of this Article VI, the Secretary of the Corporation shall, upon tender of the
certificates of stock, delete the legend endorsed thereon pursuant to Section 6.07(A).

E. Notices. All notices, designations, consents, offers, acceptances, or any other
communication provided for herein shall be delivered or mailed first class with postage prepaid,
addressed to the Corporation, to its principal office. Any notice so given shall be deemed,
effective upon personal delivery or two days following deposit in the United States Mail.

F. Arbitration. Any controversy or claim arising out of or relating to this Article Vi,
or the breach thereof, shall be settled by a single arbitrator in arbitration conducted in
Milwaukee, Wisconsin, in accordance with the Commercial Arbitration Rules of the American
Arbitration Association, and judgment upon the award rendered by the arbitrator may be entered
in any court having jurisdiction thereof. The arbitrator’s decision shall be final and.
nonappealable. The arbitrator shall have the authority to settle such controversy or claim by
finding that a party should be enjoined from certain actions or be compelled to undertake certain

actions, and in such event said court may enter an order enjoining and/or compelling such
‘actions as found by that arbitrator. The arbitrator shall make a determination regarding which

party’s legal position in any such controversy or claim is the more substantially correct (the
“Prevailing Party") and the arbitrator shall require the other party to pay the legal and other
professional fees and costs incurred by the Prevailing Party in connection with such arbitration
proceeding and any necessary court action.

G. Voting and Quorum Requirement. Any Shareholder who proposes to transfer

Shares or is required to transfer Shares pursuant to this Article VI agrees to vote (if a vote iS
required) in the same manner as the majority of the non-transferring Shareholders vote with
respect to the Corporation’s decision whether (or not) the Corporation will exercise ils option
to purchase Shares, and shall appear at any meeting of Shareholders or directors held for the
purpose of deciding whether (or not) the Corporation will exercise its option, in order to
establish a quorum, or consent in writing to any action in respect thereof.

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CERTIFICATE OF ADOPTION
THE UNDERSIGNED OFFICER OF AA MANAGEMENT GROUP, INC,
CERTIFIES:

THE FOREGOING BYLAWS OF SAID CORPORATE WERE DULY ADOPTED ON
THE ___ DAY OF ______, 1994.

 

, Secretary

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BY-LAW AMENDMENT
SECTION 6.05 PURCHASE PRICE

A. Purchase Price
(1) Lifetime Transfers,

(a) If the transfer is a sale described in Section 6.01(B), the purchase price
shall be the lesser of (1) that price offered by the proposed buyer or (2) until the expiration of a
period of three (3) years from the original date of purchase, the lesser of the original purchase
Ptice per share or the Fair Market Value Per Share (as hereinafter defined) as of the Pricing Date
(es hereinafter defined), and on and after the expiration of a period of three (3) years from the
original date of purchase, the Fair Market Value Per Share as of the Pricing Date; or

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(b) Ifthe transfer is an Involuntary Transfer described in Section 6.01(C).°* .-°
hereof, the purchase price shall be the lesser of Fair Market Value Per Share as of the Pricing =» ”
Date or the original purchase price per share until three (3) years from the original date of -”
purchase and the Fair Market Value Per Share as of the Pricing Date on and after three (3) years
from the original date of purchase. fs

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(2) inati i ionship, The purchase price for the Shares purchased
pursuant to Section 6.02 shall be the original purchase price per share until three (3) years from
the original date of purchase and on and after three (3) years from the original date of purchase,
the Fair Market Value Per Share as of the Pricing Date. *

(3) Termination of Employment, The purchase price for the Shares purchased
pursuant to Section 6.03 shall be as follows:

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(a) —_ Ifthe Terminated Shareholder (i) is terminated by the Corporation for
“cause” or (ii) quits without the approval of the Corporation, the purchase price for such Shares
shall be the lesser of Fair Market Value Per Share as of the Pricing Date or the original purchase
price per share until three (3) years from the original date of purchase, and on and after three (3)
years from the original date of purchase, the Fair Market Value Per Share as of the Pricing Date;
or :

(6) If the Terminated Shareholder (1) is terminated by the Corporation other
than for “cause”, (ii) quits with the approval of the Corporation, or (iii) leaves the employ of the
Corporation (or any of its subsidiaries ar affiliates) due to death, permanent disability or
retirement, the purchase price for such Shares shall be the Fair Market Value Per Share as of the
Pricing Date.

(4) Death. The purchase price for the Shares purchased pursuant to Section 6.04 shall:
be the Fair Market Value as of the Pricing Date.

6/21/96

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411 East Wisconsin Avenue

Suite 1900

P.O. Box 664

Milwaukee, Wisconsin 53201-0664

Telephone (414) 271-7240
Fax 414} 271-1041

AA Management Group
weav.american-appraisal.com

March 9, 2001

Dear Shareholder: 4 of

Enclosed are the proxy materials and a copy of the proposed changes to Article VI of the AA
Management Group, Inc. By-laws. These amendments will be the subject of the Special Meeting

of Shareholders to be held in Milwaukee, Wisconsin, on Friday, March 23, 2001.

Please complete the enclosed RSVP card and Proxy and return both to Ms, Paula D. Bost as soon
as possible but not later than March 19, 2001.

You should note that failure to vote counts as a “NO” vote, as an affirmative vote of 80% of the
outstanding stock as of March 9, 2001 is required to pass the amendments.

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The Board of Directors recommends a vote “FOR” these amendments.

Sincerely,

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Ronald M. Goergen
President

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Enclosures

We value your business ®

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411 East Wisconsin Avenue
‘Suite 1900
P.O. Box 664

Milwaukee, Wisconsin 53201-0664

Telephone (414) 271-7240
Fax 414) 271-1041

Wwvaw.american-appraisal.com

AA Management Group

NOTICE OF SPECIAL MEETING OF SHAREHOLDERS

TO THE SHAREHOLDERS OF AA MANAGEMENT GROUP, INC.:

A Special Meeting of Shareholders of AA Management Group, Inc. will be held at the corporate

headquarters of the company, 411 East Wisconsin Avenue, 5th Floor Auditorium, Milwaukee,
Wisconsin, on Friday, March 23, 2001, at 11:00 am (C.S.T.) for the following purpose: -’

1. to make amendments to certain section of Article VI of the AA Management Group,
Inc. By-Laws. ee

Only holders of record of the Common Stock of AA Management Group, Inc., at the close of
business on March 9, 2001 will be entitled to notice of and to vote at the Special Meeting.

Please complete, sign and date the enclosed proxy and return it as soon as possible.

With regard to the Special Meeting of AA Management Group, Inc., please complete the
enclosed R.S.V.P. form if you will be attending the meeting and return it no later than March 19,

2001. ares

By Order of the Board of Directors

Joseph P. Zvesper
Corporate Secretary

Milwaukee, Wisconsin
March 9, 2001 -

We value your business®

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AA Management Group
PROXY STATEMENT

Introduction

This Proxy Statement is furnished in connection with the solicitation of proxies by the Board of
Directors of AA Management group, Inc., (“AAMG” or the Corporation”) to be voted at a
Special Meeting of Shareholders (the “Meeting”) of AAMG to be held on Friday, March 23,

2001 at 11:00 am (C.S.T.) and at any adjournment thereof, for the purposes set forth in the
accompanying Notice of Special Meeting of Shareholders.

Voting and Revocation of Proxies

Proxies received by the Board of Directors in the form accompanying this Proxy Statement will _
be voted at the meeting and at any adjournment thereof as specified therein by the person giving |
the proxy. If no specification is made, the shares represented by the proxy will be voted for the ~
amendment to certain sections of Article VI of AA Management Group, Inc.’s ‘By-laws. Any

proxy may be revoked by the person executing it, at any time before the authority thereby granted - . 7
is exercised, by filing with the Secretary of AAMG, at the address shown above written

revocation or duly clected proxy bearing a later date or by personally voting the shares relating

thereto by ballot at the Special Meeting.

Shares Entitled to Vote; Record Date 7 " --

Each shareholder of record will be entitled to one vote for each share of Common Stock held at
the close of business on March 9, 2001, which is the record date fixed by the Board of Directors |
for determining the shareholders entitled to notice of and to vote at the Special Meeting or any

adjournments thereof. yo

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Mailing to Shareholders

This Proxy Statement and the accompanying form of proxy are being mailed to Shareholders on
March 9, 2001.

Executing of Proxies

Shareholders are requested to execute and promptly return the enclosed Proxy, which is solicited
on behalf of the Board of Directors, the persons named therein as proxies having been selected
by the Board of Directors. Any Shareholder executing and returning the enclosed Proxy may
revoke the same at any time prior to voting thereof. The giving of the Proxy will net affect the
right to vote in person if the Shareholder attends the meeting and asks to do so.

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Amepdments hecbstisie VI of the By-laws

The Board of Directors recommends the approval of the proposed Amendments, a copy of which

is attached, to Article VI Transfer Restrictions and Certificates for Shares of the By-laws
because it improves the potential liquidity of Shareholder’s interest in the Common Stock of

AAMG.
A summary of the proposed Amendments are is as follows:

a) Sec. 6.03 Termination of Employment. adds “Permanent Disability” to the
. definition of what constitutes a termination of employment.

Sec. 6.03 C) (new) establishes age 65 as the date at which shares may be offered to the
Corporation for purchase (except in the case of death or permanent disability).

b) Sec. 6.04 Death or Permanent Disability of Shareholder. adds “Permanent :

Disability’, including a definition thereof, to the section.

c)' Sec. 6.05 Purchase Price. eliminates in Sec. 6.05 B) Fair Market Value Per
Share the determination of “Fair Market Value” by formula and substitutes ‘the determination of
“Fair Market Value” for purposes of the American Appraisal Associates, Inc. Employee Stock

Ownership Plan (“ESOP”).

Sec. 6.05 Pricing Dates is changed by elimination of the quarterly determination on value and
establishing the valuation for ESOP purposes (presumed to be angual).

d) Sec. 6.06 Payment of Purchase Price; Closing. Clarifies in Sec. 6.06 A) (4)
Death or Permanent Disability that payment shall be made to the “Shareholder or the
Shareholder’s Estate”. ya °

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THE BOARD OF DIRECTORS RECOMMENDS A VOTE “FOR” THE ABO VE
PROPOSAL \,
Other Business

The Board of Directors knows of no other business to be presented for shareholder action of the
meeting. However, should matters other than those set forth in the Notice of Special Meeting
properly come before the meeting, it is intended that the persons named in the Proxy will vote

upon them in accordance with their best judgment.

By Order of the Board of Directors

Joseph P. Zvesper
Corporate Secretary

Milwaukee, Wisconsin
March 9, 2001

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AMENDMENTS TO THE BYLAWS OF
AA MANAGEMENT GROUP, INC.
(a Wisconsin Corporation)

RESOLVED, that the following ByLaw Amendments shall be submitted to the
shareholders at a special meeting to be held on March 23, 2001 as required by Section 10.01 of
the Bylaws of the Corporation.

1. Section 6.03 of the ByLaws shall be restated to read as follows:

Section 6.03 Termination of Employment. In the event that a Shareholder (the
"Terminated Shareholder") is terminated by the Corporation from employment with the
Corporation, any of its wholly-owned subsidiaries or any of its affiliates, for any reason (other than

termination resulting from death or Permanent Disability), or quits such employment or retires at.
age 65 or older, then all of the Shares owned by the Terminated Shareholder and such |

Shareholder's spouse (by virtue of marital or community property law, divorce judgment or
otherwise), and those Shares acquired from the Terminated Shareholder by a Permitted Transferee
in a Permitted Transfer and all of the Shares acquired by a third party pursuant to Section 6.01(B) or
by a Permitted Transferee pursuant to Section 6.01(E) (all such Shares collectively referred to in this
Section 6.03 as the "Subject Shares"), shall be subject to the following option: —

A. For a period of 90 days following the Terminated Shareholder's termination of
employment, the Corporation shall have the option to purchase from the Terminated Shareholder,
his or her spouse and Permitted Transferees, and they shall sell to the Corporation, all or any of the
Subject Shares at the purchase price and upon the terms and conditions provided in Sections 6.05
and 6.06. If the Corporation exercises its option, written notice thereof shall be given to the
Terminated Shareholder within such 90-day period. If the Corporation fails to give notice of its
election to exercise its option to purchase within said 90-day period, the Corporation shall
conclusively be deemed to have elected not to exercise its option.

_B. _ Notwithstanding any other provisions of this Section 6.03, if the foregoing option to
purchase is not exercised by the Corporation as to all of the Subject Shares, then the Terminated
Shareholder, and his or her spouse and Permitted Transferees, shall be free to retain all of the
Subject Shares not so purchased notwithstanding the termination of employment. In any event, the
Subject Shares shall continue to be subject to the provisions of this Article VI.

Cc. At such time as a Shareholder shall attain age 65, Shares owned by such
Shareholder and such Sharebolder’s spouse (by virtue of marital or community property
law, divorce judgment or otherwise) and those shares acquired from such Shareholder by a
Permitted Transferee in a Permitted Transfer may be offered to the Corporation at the
Purchase Price and upon the terms and conditions provided in Section 6.05 and 6.06.

2. Section 6.04 of the ByLaws shall be restated to read as follows:

Section 6.04 Death or Permanent Disability of Shareholder. Upon the death or
Permanent Disability of a Shareholder, all of the Shares owned by such Shareholder and such

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Shareholder’s spouse (by virtue of marital or community property law, divorce judgment or
otherwise), and those Shares acquired from the Shareholder by a Permitted Transferee in a
Permitted Transfer and all of the Shares acquired by a third party pursuant to Section 6.01(B) or by
a Permitted Transferee pursuant to Section 6.01(E) (all such Shares collectively referred to in this
Section 6.04 as the "Subject Shares"), may be sold and purchased as follows:

A. For a period of 180 days after the death of or determination of Permanent
Disability of Shareholder, the Corporation shall have the option to purchase any or all of the
Subject Shares at the purchase price and upon the terms and conditions provided in Sections 6.06
and 6.07. If the Corporation exercises its option, written notice thereof shall be given to such
Shareholder or his or her estate within such 180-day period. If the Corporation fails to give notice
of its election to exercise its option to purchase within said 180-day period, the Corporation shall
conclusively be deemed to have elected not to exercise its option.

B. Notwithstanding any other provisions of this Section 6.04, if the foregoing option to ‘

purchase is not exercised by the Corporation as to all of the Subject Shares, then such Shareholder
or such Shareholder’s estate, and his or her spouse and Permitted Transferees, shall be free to
retain all of the Subject Shares not so purchased notwithstanding the death or. Permanent
Disability of the Shareholder. In any event, the Subject Shares shall continue to be subject to the
provisions of this Article VI.

Cc. For purposes of this Article V1, Permanent Disability shall mean a
Shareholder’s inability, as a result of physical or mental incapacity, to substantially
perform his duties with the Corporation for a period of six consecutive months; provided,
that, within thirty (30) days after written notice of termination is given, and Shareholder
shall not have returned to the performance of his duties on a full-time basis. Before any
termination due to Permanent Disability, the corporation shall have been furnished with
certificates from not less than two qualified physicians, one selected by the Corporation
and one selected by or on behalf of the Shareholder, stating that in their respective opinion
such Shareholders is and will continue to be by reason of such incapacity unable te
perform adequately the services required of bim or her. If the two physicians so selected
are unable to reach agreement on the issue of each Shareholder’s ability to perform such
services adequately, they shall promptly designate a qualified physician to make such
determination and the decision of such third physician shall be binding on the Corporation
and the Shareholders. If the two physicians are unable to agree upon a third physician for
such purposes, the parties shall request the Dean of the Medical College of Wisconsin to

choose such third physician.

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3. Sections 6.05 and 6.06 of the ByLaws shall be restated to read as follows:

Section 6.05 Purchase Price.
A. Purchase Price,

(1) Lifetime Transfers.

(a) ‘If the transfer is a sale described in Section 6.01(B), the purchase price
shall be the lesser of (1) that price offered by the proposed buyer or (2) until the expiration of a
period of three (3) years from the original date of purchase, the lesser of the original purchase price
per share or the Fair Market Value Per Share (as hereinafter defined) as of the Pricing Date (as
hereinafter defined), and on and after the expiration of a period of three (3) years from the original
date of purchase, the Fair Market Value Per Share as of the Pricing Date; or oe

(b) ‘If the transfer is an Involuntary Transfer described in Section 6.01(C)
hereof, the purchase price shall be the lesser of Fair Market Value Per Share as of the Pricing Date
or the original purchase price per share until three (3) years from the original date of purchase and
the Fair Market Value Per Share as of the Pricing Date on and after three (3) years from the original
date of purchase. ;

(2) Termination of Marital Relationship. The purchase price for the Shares
purchased pursuant to Section 6.02 shall be the original purchase price per share until three (3) years

from the original date of purchase and on and after three (3) years from the original date of
purchase, the Fair Market Value Per Share as of the Pricing Date.

(3) ‘Termination of Employment. The purchase price for the Shares purchas
pursuant to Sections 6.03 and 6.04 shall be as follows:

(a) If the Terminated Shareholder (i) is terminated by the Corporation for
“cause” or (ii) quits without the approval of the Corporation, the purchase price for such Shares shall
be the lesser of Fair Market Value Per Share as of the Pricing Date or the original purchase price per
share until three (3) years from the original date of purchase, and on and after three (3) years from
the original date of purchase, the Fair Market Value Per Share as of the Pricing Date; or

(b) If the Terminated Shareholder (i) is terminated by the Corporation other
than for "cause", (ii) quits with the approval of the Corporation, or (iii) leaves the employ of the
Corporation (or any of its subsidiaries or affiliates) due to death, permanent disability or retirement,
the purchase price for such Shares shall be the Fair Market Value Per Share as of the Pricing Date.

B. Fair Market Value Per Share. "Fair Market Value Per Share" shall be the per
share value determined for purposes of the American Appraisal Associates, Inc. Employee

Stock Ownership Plan (“ESOP”).

Cc Pricing Dates. The term "Pricing Date" means the date of the last preceding
valuation for ESOP purposes.

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D. Stock Splits. Appropriate adjustment to the purchase prices for the Shares described
in this Section 6.05 shall be made for any dividend, stock split, recapitalization or issuance of stock
subsequent to the applicable Pricing Date.

Section 6.06 Payment of Purchase Price: Closing.
A. Payment of Purchase Price.

(1) Lifetime Transfer. The purchase price for Shares purchased pursuant to
Section 6.01 shall be paid as follows: (i) if the transfer is a sale described in Section 6.01(B) hereof,
the purchase terms shall be those offered by the proposed transferee; or (ii) if the transfer is an
involuntary transfer described in Section 6.01(C) hereof, the purchase ptice shall be paid by the
Corporation, at its sole option, in cash or by the execution and delivery to the transferor of a
promissory note in the principal amount equal to the purchase price payable by the Corporation. ~

(2) ‘Termination of Marital Relationship. The purchase price for Shares

purchased pursuant to Section 6.02 shall be paid by the Corporation, at its sole option, in cash or by
the execution and delivery to the transferor of a promissory note in the principal amount equal to the
purchase price payable by the Corporation. | :

(3) . Termination of Employment. The purchase price for Shares purchased
pursuant to Section 6.03 shall be paid by the Corporation, at its sole option, in cash or by the
execution and delivery to the transferor of a promissory note in the principal amount equal to the
purchase price payable by the Corporation. ‘

(4) Death or Permanent Disability. The purchase price for Shares purchased pursuant to
Section 6.04 shall be paid by the Corporation, at its sole option, in cash or by the execution’ and
delivery to Shareholder or the Shareholder’s estate of a promissory note in the principal amount
equal to the purchase ptice payable by the Corporation.

B. ‘Terms of Promissory Note. Any promissory note executed and delivered pursuant
to this Section 6.06 shall provide for one lump sum payment of principal due two years from the
date of the execution of the promissory note together with interest computed upon the unpaid
principal amount at an adjustable rate equal to the Corporation's Cost of Funds. The Corporation's
“Cost of Funds" shall mean the interest rate on the senior debt of the Corporation. The promissory
note shall reserve the right of the maker to prepay the indebtedness evidenced thereby, in whole or
in part at any time, without penalty. Such indebtedness shall be subordinate to all secured financing
provided to the Corporation on the terms and conditions satisfactory to the secured lenders. The
holders of a promissory note hereby agree to execute any and all documents upon the request of the

Corporation necessary to effect the above-described subordination. -.

Cc Closing. The closing of the purchase of Shares under this Article VI shall take place
at the principal office of the Corporation, or at such other place as may be mutually agreed upon, as
follows:

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(1) Lifetime Transfers. For purchases under Section 6.01(8), on the date specified
by the Corporation which date shall not be less than 15 nor more than 60 days after its notice to so

purchase is given to the Transferor;

(2) Termination of Marital Relationship. For purchases under Section 6.02, on a
date agreed upon as soon as practicable following the exercise of the option, which date shall not be

more than 60 days following the giving of notice by the Titled Shareholder or the Corporation of
their decision to exercise their option; .
(3) Termination of Employment. For purchases under Section 6.03, on a date

designated by the Corporation which date shall not be less than 15 nor more than 60 days after its
notice to so purchase is given to the Terminated Shareholder; and

(4) Death or Permanent Disability. For purchases under Section 6.04, on a date
designated by the Corporation which shal! not be less than 15 nor more than 60 days after its notice |
to so purchase is given to the Shareholder or his or her estate. an

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02-05-2018

John Barrett

Clerk of Circuit Court
EXHIBIT B 2018CV001032

Honorable Glenn H

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Branch 34

THIS DOCUMENT CONFIDENTIAL AND
BEING FILED UNDER SEAL

 

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THE OFFER AND SALE OF SHARES OF COMMON STOCK OF AA MANAGEMENT GROUP, INC.

ARE MADE ONLY BY MEANS OF THE CONFIDENTIAL PRIVATE
PLACEMENT MEMORANDUM DATED JULY 29, 1594.

SUBSCRIPTION AGREEMENT
FOR
SHARES OF
COMMON STOCK
AA MANAGEMENT GROUP, INC.

” CAREFULLY REVIEW AND FOLLOW THE
INSTRUCTION SHEET IMMEDIATELY FOLLOWING THIS COVER PAGE

AA MANAGEMENT GROUP, INC.
Suite 2100
100 East Wisconsin Avenue
Milwaukee, Wisconsin 53202

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INSTRUCTIONS TO INVESTORS

In order to subscribe for shares of Common Stock of AA Management Group, Inc. (the “Company’),
the following should be done:

A. SUBSCRIPTION AGREEMENT.

You should complete and return in the enclosed self-addressed envelope the Subscription Agreement
(‘Subscription Agreement") to AA Management Group, Inc., Suite 2100, 100 East Wisconsin Avenue, Milwaukee,
Wisconsin 53202, Attention, Ronald M. Goergen. Please note that incomplete documents will be returned to
investors for completion. If you have any questions about completion of the subscription documents, please

contact Ronald M. Goergen at (414) 271-72A0.

1. Please print the name of the prospective investor in the upper right-hand corner of the cover
page to the Subscription Agreement and fill in the number of shares of Common Stock
subscribed for. The payment of shares of Common Stock should be paid i in. the ° manner

described in Part B of this instruction sheet.

2. Please note that Section 2 contains non-compete covenants all prospective investors must agree
to in order to become shareholders of the Company. =. |” ;

3. Please check and initial the investor category to which you belong in Section 3. If you do not
qualify under any of the investor categories (i) through (viil), please circle "None" under sub.
(ix) and notify Ronald M. Goergen by, telephone &t (414) 271-7240

4, Please note your obligations to ‘update your representations and warranties, as set forth at the

ead of Section 4 on a page 6. MN ‘5

5. Please complete al required information on page 7 and sign the Subscription Agreement.
6. THE SUBSCRIPTION AGREEMENT SHOULD BE RETURNED OR DELIVERED TO:

TN AA Management Group, Inc.
ee Suite 2100
. 100 East Wisconsin Avenue

ee an a
Foy Milwaukee, Wisconsin 53202

. Aftention: Ronald M. Goergen

B. PA FOR K.

You must pay for your shares of Common Stock by check or by wire transfer, and if by check,
payment must accompany the delivery of your executed Subscription Agreement.

(a) Paymen heck.

If you wish to pay by check, please deliver to the Company a check in an amount equal to
$35.67 per share subscribed for, made payable to “AA Management Group, Inc." PAYMENT MUST

ACCOMPANY YOUR SUBSCRIPTION AGREEMENT.
(b) Payment by Wire Transfer.

If you wish to pay by wire transfer, please contact the Company at (414) 271-7240 for wire
transfer instructions.

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Name of Prospective Investor:

 

{Please Print]

Number of Shares of Common Stock Subscribed For:

AA MANAGEMENT GROUP, INC.

SUBSCRIPTION AGREEMENT

Shares of Common Stock Ce
Subscription Price - $35.67 PerShare | = = = =‘ ~
Minimum Purchase - 700 Shares =~
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THIS {S NOT AN OFFER TO SELL OR A SOLICITATION OF AN OFFER TO BUY THE SHARES OF
COMMON STOCK (‘SHARES") REFERRED TO IN THIS SUBSCRIPTION AGREEMENT IN ANY
JURISDICTION TO ANY. PERSON TO WHOM IT IS UNLAWFUL TO MAKE SUCH AN OFFER OR

SALE. /
THE SHARES REFERRED TO IN THIS SUBSCRIPTION AGREEMENT HAVE NOT BEEN

REGISTERED IN THE UNITED STATES UNDER THE SECURITIES ACT OF 1933, AS AMENDED
(‘SECURITIES ACT’). SUCH SHARES ARE BEING OFFERED AND SOLD IN THE UNITED STATES

.PURSUANT TO THE EXEMPTION PROVIDED BY SECTION 4(2) OF THE SECURITIES ACT AND/OR
PURSUANT TO REGULATION D.

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A PURCHASER OF SHARES SHOULD BE PREPARED TO BEAR THE ECONOMIC RISK OF THE
INVESTMENT FOR AN INDEFINITE PERIOD OF TIME BECAUSE THE SHARES HAVE NOT BEEN
REGISTERED IN THE UNITED STATES UNDER THE SECURITIES ACT, AND, THEREFORE,
CANNOT BE SOLD IN THE UNITED STATES UNLESS THEY ARE SUBSEQUENTLY REGISTERED
OR AN EXEMPTION FROM REGISTRATION IS AVAILABLE, THERE IS NO OBLIGATION OF THE
COMPANY TO REGISTER THE SHARES UNDER THE SECURITIES ACT. NO PUBLIC OR OTHER
MARKET WILL DEVELOP FOR THE SHARES. THE SHARES ARE NOT TRANSFERABLE
WITHOUT THE CONSENT OF THE COMPANY, COMPLIANCE WITH CERTAIN PROVISIONS OF
THE BY-LAWS OF THE COMPANY, AND SATISFACTION OF CERTAIN OTHER CONDITIONS.

THE SHARES HAVE NOT BEEN REGISTERED OR QUALIFIED UNDER THE SECURITIES LAWS
OF ANY STATE AND ANY TRANSFER OF THE SHARES MUST COMPLY WITH ANY APPLICABLE

STATE SECURITIES LAWS.

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AA MANAGEMENT GROUP, INC.
SUBSCRIPTION AGREEMENT

To: AA Management Group, Inc.
Suite 2100
100 East Wisconsin Avenue
Milwaukee, Wisconsin 53202
Attention: Ronald M. Goergen

Gentlemen:

You have informed the undersigned that AA Management Group, Inc. (the “Company") has been

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formed pursuant to the Wisconsin Business Corporation Law, and will be operated substantially as described
in the Confidential Private Placement Memorandum dated July 29, 1994 ("Memorandum") furnished to the

undersigned.

(a)

(b)

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Subscription.

Subject to the terms and conditions hereof, by delivery of this executed Subscription Agreement
("Subscription Agreement"), the undersigned hereby agrees to tender this subscription in the
amount of $ ~_' (Subscription Amount’) for___ shares of Common Stock of the
Company ("Shares"), The undersigned understands that the purchase price per Share is $35.67.
The Subscription Amount shall by paid preceding or accompanying delivery of the executed
Subscription Agreement to the Company.

The undersigned understands that the Subscription Amount will be held in escrow under the
terms described in the Memorandum, and will be returned promptly, together with any interest

. earned thereon, to the undersigned in the event at least 84,130 shares of Common Stock are

not subscribed for and exchanged for and payments therefor are not made by August 24, 1994,
or such subsequent date as described in the Memorandum. By such payment, the undersigned
acknowledges receipt of the Memorandum, and hereby specifically executes this Subscription
Agreement, accepts and adopts each and every provision hereof and agrees to be bound

hereby.

Acceptance of Subscription Agreement; Non-Compete Covenants.

It is understood and agreed that this Subscription Agreement is made subject to the following terms

and conditions:

(a)

(b)

The Company shall have the right to accept or reject this subscription, in whole or in part, in
its sole and absolute discretion. .

If the Company accepts this Subscription Agreement and the undersigned becomes 4
shareholder of the Company, then in partial consideration of such acceptance, the undersigned
(hereinafter in this Section 2, the *Employee") agrees to be bound to the following provisions:

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All tangible items furnished to Employee from time to time in connection with the
performance of Employee's duties, including but not limited to corporate standard
books, training materials, client reports, and work papers, shall at all times remain the
sole property of the Company and American Appraisal Associates, Inc. AAA") and
are provided to Employee for the limited purpose of enabling the Employee to
perform his duties, and Employee shall not, either during or after the term of
employment with AAA or any of its affiliates, use or permit any of the same to be
used for any other purpose. Upon the demand of the Company or AAA at any time
or upon the termination of employment with AAA or any of its affiliates under any
circumstances, Employee shall forthwith deliver all such items to the Company or
AAA,

All information imparted to Employee by AAA or the Company, or otherwise
obtained by Employee at any time relating to the Company's or AAA's methods of
doing business; valuation methods; computer programs; business ideas; * <billing
procedures; pricing and commission data; client names and lists; client ‘needs and
requirements; client servicing methods; and any other client data, is ‘revealed ‘and
entrusted to Employee in confidence solely in connection with and for the purpose of
employment on behalf of AAA, Employee shall not at any time, either during or after
the term of employment, divulge any of this information to any other person, firm, or
entity, nor use or permit the use of any of it other than pursuant to Employee's
employment on behalf of AAA. Without limiting the generality of the foregoing, upon
the termination of employment under any circumstances, Employee shall forthwith
deliver to the Company or AAA all lists, records, work papers, reports and other
documents in Employee's possession | or control relating to any customers or the
business of AAA or the Company. 3

It is understood and agreed by Employee that all business relationships and goodwill
now existing with Fespect to the clients of AAA or the Company, whether or not
created by Employee, and all such relationships and goodwill which may hereafter be
created or enhanced, at all times remain the sole property of the Company and AAA.
Accordingly, Eurployee agrees that during the term of his employment with AAA or
any of its affiliates and for a further period of twenty-four months beginning on the

tion of his employment with AAA or any of its affiliates under any
circumstances, Employee shall not, as proprietor, partoer, joint venturer, stockholder,

director, officer, trustee, principal, agent, servant, employee or in any other capacity

whatever, directly or indirectly solicit orders from, sell or render services to any client
or prospective client solicited, sold, or serviced by AAA or the Company (at any time
during the two years immediately preceding the termination of his employment with
AAA or any of its affiliates, under any circumstances) with respect to any product or
service competitive with any product or service provided by AAA or any of its
affiliates in the United States, Canada, Europe or Asia; nor shall Employee, directly
or indirectly, aid or assist any other person, firm, or corporation to do any of the
aforesaid acts.

During the term of his employment with AAA or any of its affiliaces and for a further
period of twenty-four months beginning on the termination of his employment with
AAA or any of its affiliates, under any circumstances, Employee shall not, as
proprietor, partner, joint venturer, stockholder, director, officer, trustee, principal,
agent, servant, employee, or in any capacity whatever, directly or indirectly, solicit or
induce any officer, salesman, appraiser or other employee of AAA or any of its
affiliates, for any employment in a line of business similar to that conducted by AAA

or any of its affiliates; nor shall Employee, directly or indirectly, aid or assist any other

person, firm or corporation to do any of the aforesaid acts.

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If any provision of this subsection 2(b) shall be invalid or unenforceable, in whole or
in part, or as applied to any circumstance, under the faws of any jurisdiction which
may govern for such purpose, then such provision shall be deemed to be modified or
restricted to the extent and in the manner necessary to render the same valid and
enforceable, either generally or as applied to such circumstance, or shall be deemed
excised from this subsection 2(b), as the case may require, and this subsection 2(b)
Shall be construed and enforced to the maximum extent permitted by law, as if such
provision had been originally incorporated herein as so modified or restricted, or as
if such provision had not been originally incorporated herein, as the case may be.

This subsection 2(b) shall be binding upon and shall unure to the benefit of the parties
hereto and their respective heirs, executors, administrators, personal representatives,
Successors, and assigns, provided that this subsection 2(b) is not assignable a

Employee.

For residents of the United States, this subsection 2(b) shall be goverocd i in al
respects by the laws of the State of Wisconsin, any disputes arising under this
subsection 2(b) shall be tried in the Courts sitting within the State of Wisconsin, and
Employee hereby consents and submits his or her person to the jurisdiction of any
such Court for such purpose. For non-US, residents, Employce consents and submits
his or her person to the jurisdiction of the United States (to the extent possible) and
the jurisdiction of the courts of the country in which be or she resides.

By executing this Subscription Agreement, Employee expressly represents that he or
she has read it, understarids its terms and has had the opportunity (whether exercised
or not) to consult with legal counsel regarding it.

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3. Representation as to Accredited Investor Status.

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The undersigned understands that Regulation D defines an “accredited investor” as any person coming
within any of the following categories and hereby represents to the Company that the undersigned is an
"accredited investor® and i is included within the following category or categories which are initialed and circled

below: |

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Any bank as defined in Section 3(a)(2) of the Securities Act of 1933, as amended
("Securities Act"), or any savings and loan association or other institution as defined
in Section 3(a)(5)(A) of the Securities Act whether acting in its individual or fiduciary
capacity; any broker or dealer registered pursuant to Section £5 of the Securities and
Exchange Act of 1934; any insurance company as defined in Section 2(13) of the
Securities Act; any investment company registered under the Investment Company Act
of 1940 or a business development company as defined in Section 2(a)(48) of that act;
any Small Business Investment Company licensed by the U.S. Smal! Business
Administration under Section 301(c) or (d) of the Small Business Investment Act of
1958; any plan established and maintained by a state, its political subdivisions, or any
agency or instrumentality of a state or its political subdivisions, for the benefit of its
employees, if such plan has total assets in excess of $5,000,000; any employee benefit
plan within the meaning of Title 1 of the Employee Retirement Income Security Act
of 1974, if the investment decision is made by a plan fiduciary, as defined in Section
3(21) of such act, which is either a bank, savings and foan association, insurance
company, or registered investment adviser, or if the employee benefit plan has total
assets in excess of $5,000,000 or, if a self-directed plan, with investment decisions made
solely by persons that are accredited investors;

3-

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Any private business development company as defined in Section 202(a)(22) of the
Investment Advisers Act of 1940;

Any organization described in Section 501(c)(3) of the Internal Revenue Code,
corporation, Massachusetts or similar business trust, or partnership, not formed for the
specific purpose of acquiring the Share(s), with total assets in excess of $5,000,000;

Any director or executive officer or the Company;

Any natural person whose individual net worth, or joint net worth with that person’s
spouse, at the time of purchase exceeds $1,000,000 (the term “net worth" means the
excess of total assets over total liabilities. In computing net worth, the undersigned’s
principal residence must be valued either at (i) cost, including the cost of
improvements, net of current encumbrances upon the property, or (ii) the appraised
value of the property as determined upon a written appraisal used by an institutional
lender making a loan to the individual secured by the property, including the cost of
subsequent improvements, net of current encumbrances upon the property. In
determining income, the undersigned should add to his or her adjusted gross income
any amounts attributable to tax exempt income received, losses claimed as a limited
partner in any limited partnership, deductions claimed for depletion, contributions to
an IRA or Keogh retirement plan, alimony payments, and any amount by which
income from long-term capital gains has been reduced in arriving at adjusted gross
income); :

Any natural person who had an individual income in excess of $200,000 in each of the
two most recent years or joint income with that person’s spouse in excess of $300,000
in cach of those years : and has a reasonable expectation of reaching the same income
level i in the current year:

Any trust, with total assets in excess of $5,000,000, not formed for the specific purpose
of acquiring the Share(s), whose purchase is directed by a person who either alone or
together with his purchaser representative(s) has such knowledge and experience in
financial and business matters that he or she is capable of evaluating the merits and
risks of the prospective investment, or

Any entity in which all of the equity owners are accredited investors.

None.

4. Other Representationg and Warranties of the Undersigned. The undersigned hereby represents and

warrants to the Company as follows:

(a)

(b)

The Shares are being acquired for his or her own account for investment, with no intention of
distributing or selling any portion thereof in the United States within the meaning of the
Securities Act, and will not be transferred by him or ker in the United States in violation of
the Securities Act or the then applicable rules or regulations thereunder. No one other than
the undersigned has any interest in or any right to acquire the Share(s). The undersigned
understands and acknowledges that the Company will have no obligation to recognize the
ownership, beneficial or otherwise, of such Share(s) by anyone but the undersigned.

The undersigned’s financial condition is such that he or she is able to bear the risk of holding
the Share(s) for an indefinite period of time and the risk of loss of his or her entire investment

in the Company.

4.

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The undersigned has received, has read and understood and is familiar with the Memorandum,
wherein the terms and conditions of the offering and the special risks in purchasing or
exchanging for shares of Common Stock are described, and this Subscription Agreement.

The Company has made available all additional information which the undersigned has
requested in connection with the transactions contemplated by the Memorandum and the
undersigned has been afforded an opportunity to ask questions of and receive answers from
the Company concerning the terms and conditions of the purchase of the Sharc(s) and the
opportunity to obtain any additional information (to the extent the Company has such
information or could acquire it without unreasonable effort or expense) necessary to verify the
accuracy of information otherwise furnished by the Company.

No representations or warranties have been made to the undersigned by the Company or any
agent of the Company, other than as set forth in the Memorandum and this Subscription

Agreement.

The undersigned has investigated the acquisition of the Share(s) to the extent he or - she

deemed necessary or desirable and the Company has provided him or her with any assistance
he or she has requested in connection therewith. , -

The undersigned has such knowledge and experience in financial and business matters that he
or she is capable of evaluating the merits and risks of acquisition of the Share(s) and of making
an informed investment decision with respect thereto.

The undersigned i is aware that his or her rights to ‘transfer the Share(s) are restricted by the
Securities Act in the United States, applicable foreign laws outside the United States,
applicable state securities laws, the By-laws of the Company and the absence of a market for
the Share(s), and he or she will not offer for sale, sell or otherwise transfer the Share(s)
without complying with the provisions of the By-laws of the Company.

The address set forth below is the undersigned’s true and correct residence.

The undersigned understands that the Share(s) have not been registered in the United States
pursuant to the Securities Act or any state securities act in reliance on an exemption for private
offerings, and have not been registered in any other country, and the undersigned acknowledges
that he or she is purchasing the Share(s) without being furnished any offering literature or
prospectus other than the Memorandum and this Subscription Agreement.

The undersigned has full power and authority to make the representations referred to herein,
and to purchase the Share(s) pursuant to the Memorandum and to execute and deliver this

Subscription Agreement.
The undersigned acknowledges and is aware of the following:

(i) The Company has recently been formed and has a short financial and operating history
and the investment in the Share(s) is speculative and involves a high degree of risk of
loss of the entire investment in the Company.

(ii) An investment in the shares of Common Stock involves material risk factors, and the
undersigned has carefully read and considered the matters set forth under the caption
“Risk Factors” and “Restrictions on Transfer” set forth in the Memorandum.

(iii) | There are substantial restrictions on the transferability of the Share(s); the Share(s)
will not be, and investors in the Company have no rights to require that the Shares be,
registered under the Securities Act in the United States; there will be no public market
for the Share(s); the undersigned may not be able to avail himself or herself of the

5.

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SIGNATURE PAGE

AA MANAGEMENT GROUP, INC.

Dated:

 

 

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Number of Shares Subscribed For

$
Total Subscription Amount

SUBSCRIPTION ACCEPTED BY
AA MANAGEMENT GROUP, INC. AS TO
____ SHARES OF COMMON STOCK

BY:
SUBSCRIPTION REJECTED BY

AA MANAGEMENT GROUP, INC. AS TO
SHARES OF COMMON STOCK

BY:

Te
Case 2:18-cv-00841-JPS Filed 06/01/18

RESIDENCE ADDRESS:

OWNERSHIP TYPE:
___ Individual _ __ Community Property ©

Joint Tenants In Common

 

Name (Please Print) ee

 

Signature. ~*

 

Co-Investor Name (Please Print)

 

Number and Street

 

City/State/Zip Code

 

Country

 

Telephone Number

 

Social Security Number

 

Co-Investor Social Security Number

CO-INVESTOR ADDRESS (if different):

 

Number and Street

 

City/State/Zip Code

 

Country —

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02-05-2018

John Barrett

Clerk of Circuit Court
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Honorable Glenn H

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Branch 34

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prairie capital
WH oadvisors.inc. GR
an employea owned company

August 4, 2014

 

GreatBanc Trust Company,
not in its corporate capacity but solely in its capacity as Trustee of
The American Appraisal Associates ESOP Trust

c/o Mr. Paul Trost
801 Warrenville Road, Suite 500

Lisle, Ilinois 60532

The American Appraisal ESOR Administrative Committee
c/o Ms. Kimberly Russo _
411 E. Wisconsin Ave. ON
Milwaukee, W1 53202 as ae

Dear ESOP Trustee and ESOP Committee: \ |

‘>

 

You have requested our opinion as to the fair market value of the common stock of AA
Management Group, Inc. (the|“Company”) held by the American Appraisal Associates ESOP
Trust (the “ESOP Trust”) as of March 31, 2014 (the “Valuation Date”). As of the Valuation
Date, the ESOP Trust held 5,448 shares of common stock in the Company, which represents a
minority interest. It is our understanding that this valuation will be used for the continued
administration of the ESOP Trust as of the end of the fiscal and plan year.

   
 
 

‘have reviewed various documents describing the Company’s
financial performance and ex ions and we have met with senior management to review the
Company’s operations and mance. We have also considered various factors deemed to be
appropriate in reaching our opinion. These factors include, but are not limited to, the following:

In developing our opinions '

The history and nature of the Company;

oe ‘The current economic environment, in general, and the specific economic factors bearing on
‘e firms competing in the Company’s industry:

¢ The historical financial performance of the Company as reflected in the internally prepared

financial reports;
¢ Projected operational performance as forecast by the Company;
© Costs of capital as reflected] in the current markets for debt and equity securities; and
e Other factors that were deemed relevant in developing our conclusion of value.

In completing this engagement, we have relied on information provided by the Company
including, but not limited to, financial statements, management projections, employee data, and

 

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curities offered through Prairie Capital Markets, LLC

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GreatBanc Trust Company
not in its corporate capacity but solely in its capacity as Trustee af
The American Appraisal Associates ESOP Trust

c/o Mr. Paul Trost
The American Appraisal ESOP Administrative Committee

c/o Ms. Kimberly Russo
Page 2

other information as may have been requested. This information has been accepted as being
accurate without independent verification by us. However, we have exercised our independent
judgment in evaluating this information and we have not relied on information that we have

determined to be inadequate or incomplete.
With respect to the financial statements as of March 31, 2014, we have been provided with draft

audited financial statements and assume that no material changes will be reflected in the final
version of the audit report except for the reflection of the concluded value of the Company’s oS

common stock as stated herein.

Our detailed report presents the fair market value per share of the Company’s common stock

held by the ESOP Trust assuming a minority interest valuation premise. In addition, the report
exhibits include a computation of the value of the Company’s common stock assuming it is held
by individual minority interest shareholders outside of the ESOP Trust. The difference in value
relates to the greater liquidity (or “put right”) of the ESOP shares as compared to the non-ESOP

shares,

Based on the foregoing, the conclusions of value presented in the valuation report are:
ESOP Value per Share - oS gas3a9
Non-ESOP Value per Share $611.48

The preceding conclusions are more fully described in our narrative valuation report.

We have not investigated the title to or any disclosed or undisclosed liabilities against either the
assets or equity securities of the Company. In accordance with recognized professional ethics,

our fees for this service are not contingent upon the opinions expressed in this letter, and neither

Prairie Capital Advisors, Inc. nor any of its employees has a present or intended financial interest
in the Company.
Respectfully submitted,

Poainis Capital Peoicars, tho
Prairie Capital Advisors, Inc.

 

fea P| } | One Mid America Piaza @Sute 1000 @ Oakbrook Terrace. tL 60181 630.41 25565 a a Bae

Securities offered through Prairie Copital Markers, LLC

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02-05-2018

John Barrett

Clerk of Circuit Court
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Honorable Glenn H

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exeoUTive OFFICE
American Appraisal Associates, inc.

411 East Wisconsin Avenue, Niwaukee, Wi 55202 vs 23 2014

Leading / Thinking / Performing American

Appraisal

Stock REDEMPTION AND NON-SOLICITATION AGREEMENT

This Stock Redemption and Non-Solicitation Agreement (“Redemption Agreement”) is effective August 1,
2014 between Peter S. Huck (“Shareholder”) and American Appraisal Associates, Inc. (“American
Appraisal”), a wholly owned subsidiary of AA Management Group, Inc. (“AAMG”), collectively, (the “Parties*).

WHEREAS, Sharehclder’s employment will end on or before September 30, 2014 (“Separation Date”)
and Shareholder owns AAMG common stock that Is subject to a Subscription Agreement dated

September 8, 1994.

4

WHEREAS, Shareholder has requested his or her AAMG shares be redeemed; es NS

ae

WHEREAS, the September 8, 1994 Subscription Agreement and the applicable bylews 0 of aaMG do
not obligate AAMG to redeem Shareholder’s AAMG stock, - , -

WHEREAS, this Redemption Agreement therefore allows Shareholder to , redeem his stock, and
accelerate the payment terms of the promissory note provisions prescribed within Section 6.06(8)

of the AAMG bylaws; and

WHEREAS, in exchange for each of these material economic benefits, Shareholder desires and
agrees to forego the Interest payment provisions within Section §.06(8) of the AAMG bylaws.

Therefore, in accordance with the mutual consideration listed herein, the Parties agree as follows:
ae Bet,

1 Obligations of Shareholder: - see SY
a. Unon Execution of this Redemintion Agreement - Shareholder shall property endorse and return to
AAMG his stock certificate No. 24 dated September 9, 1994 for 1,080 shares of AAMG common
stock, ‘ uN
b. Non-Solisitation of Cllents - For 12 months after the Separation Date, Shareholder shall! not perform,

or solicit the performance or sale of, a competing service to or for a Client, or assist another person
or entity in doing so. A “Client” means any individual or entity with which Shareholder had business

 gontact during his or her final 18 months of employment with American Appraisal and that also.

purchased or received services from American Appraisal during that same period.

c. Non-Soficitation of Emolovees - For 12 months after the Separation Date, Shareholder agrees not
to directly or indirectly solicit or encourage, and not to assist another person or entity to solicit or
encourage, any employee of American Appraisal who reported to Shareholder or over whom
Shareholder had an influential position in the 12 months preceding the end of Sharehotder’s
empfoyment, to leave his or her employment with American Appraisal or to accept other employment
or work Invoiving valuation or related professional services.

d. Non-Disparagement - Shareholder agrees not to disparage or otherwise attempt to discredit
American Appraisal with any existing or potential client, competitor, or employee of American
Appraisal, or any media entity.

Valuation / Transaction Consulting / Real Estate Advisory / Fixed Aseat Management

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Auugust 1, 2014 =
Peter S. Huck

Page 2 American
Appraisal .

2. Obligations of AAMG:.
a. Upon Execution of this Redemption Agreement - This Redemption Agreement shall constitute a
valid and enforceable obligation upon AAMG to pay Shareholder the amount derived from the .

calculation, and on the payment dates, set forth below.

b. Redemption Price Per Share -The Parties acknowledge that this redemption tr transaction is
governed by the applicable provisions of the bylaws of AAMG which indicate that:

i. the redemption price per share Is to be calculated using the fair market value per share as.
of March 31 of the year preceding the fiscat year in which the termination of Shareholder’ 3°

employment occurs; and : - =

ii. the redemption price per share Is to be based upon the Non-ESOP premise per share value
_ ag determined In conjunction with the annual valuation of the common. stock of AAMG as
determined by the ESOP Trustee's designated independent consultant.

Based upon application of these provisions of the AAMG bylaws, the Parties agree that the price per
share to be paid to the Shareholder is $611.48 and the total redemption payment amount Is

$660,398.40.
. Payment Dates - Unless altered by Section 5 below, the , redemption payments shall be made as
follows:
i. Onorabout September 1, 2015, 19166,0 099.60) (25%)
ii. On orabout September 1, 2016, ($165,099.60) (25%)

ii, On orabout September 1, 2017, ($165,099.60) (2536)
iv. Onorabout September 1, 2018, ($165,099.60) (25%)

3. Termination of Shareholder Rights ~ Shareholder acknowledges that this Redemption Agreement

constitutes a promissory note and that upon execution Shareholder ceases to have any further
shareholder rights. American Appraisal and AAMG do not make any representation or warranty regarding
the actual fair market value of Shareholder's AAMG common stock. Pursuant to applicable provisions of
its bytaws, AAMG may subsequently purchase or sell AAMG common stock at per-share prices different
than the per-share price set forth in Section 2b above.

4. Subordination - Atl redemption payments are subordinate to any obilgations owed by either American
Appraisal or AAMG, at any time, to BMO Harris Bank or Its successors.

5. Breach - The Parties acknowledge that any breach by Shareholder of this Redemption Agreement will .
result in immediate and irreparable injury to American Appraisal. Accordingly, American Appraisal shall
be entitled to an injunction or other remedies, including delaying any remaining redemption payment(s)
and recovery of the costs and attorneys’ fees asscciated with the breach.

6. Entire Agreement - This Redemption Agreement sets forth the entire agreement between the Parties
concerning the expedited redemption of Shareholder’s AAMG common stock, and fully supersedes any

and all prior discussions, offers, representations, letters, or agreements.

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Auugust 1, 2014
Peter S. Huck

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& American

Appraisal

7. Confidentiatity. The Parties agree to keep the terms of this Redemption Agreement confidential and will
not disclose the terms hereof other than to their attorneys, accountants, tax advisers, or as required by
law.

8. Venue and Jurisdiction ~ This Redemption Agreement shall be governed by the laws of the State of
Wisconsin. The venue for any dispute arising out of or in connection with this Redemption Agreement
shall be any state or federai court located in Milwaukee, Wisconsin, having subject matter jurisdiction.
The Parties consent to personal jurisdiction in those courts.

 

AMERICAN APP ASSOCIATES, INC. SHAREHOLDER ye
and AA MANAG ie INC. . ae
Signed: Wea Signed: ae:

in Pk Zvespef rs. Huck

one Officer
Signed: : Pater EAS foory

Date: a { 2 uf

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LOST STOCK CERTIFICATE
CERTIFICATION

, Kee, S, thet: , hereby certify that | am the owner of f AA
Manage nent ous Inc., shares In the total amount of /0G¥shares. a “y
| confirm that | was issued AA Management Group, Inc., stock certificate number on
Avguct GG for /OZQ shares. | further confi that my physical
certificate cannot be located and deern the certificate lost. ST

| agree that AA Management Group, Inc. and { have executed a proper Steck Redemption &

Non-Solicitation Agreement, effective October i, 2013 which establishes an agreement to pay me in
full for shares owned as noted above. This ‘Lost ‘Stock Certificate Certification deems the lost
certificate null and void, and ! have no farther a claims of ownership In AA Management Group, inc.

Qos of brab

Name Witness Signature

vow: Sfas/ooyp Date: LY. af Lootd
fin

Joseph P. 2vesper{/Chairman and CEO
AA Management Group, Inc.

 

 

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02-05-2018

John Barrett

Clerk of Circuit Court

2018CV001032

EXHIBIT E Honorable Glenn H
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Branch 34

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American Appraisal Assaciates, Inc. .
411 East Wisconsin Avenue Milwaukee, Wi 53202
tel 414 271 7240

American
Appraisal

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September 25, 2014

Peter S Huck
1100 Madera Circle
Elm Grove, WI 53122

Dear Peter: 4 ‘s

 

This fetter outlines the conciud ing arrangements concerning all matters related to your retirement as
a full-time employee with American Appraisal as of September 30, 2014. in addition, this letter outlines
the arrangements for current and future consulting services as a temporary employee, when necessary

to meet client obligations.

Your final paycheck will include your wages through September 30, 2014, less all appropriate tax
withholdings and deductions. This check will also include a reconciliation of your Corporate American
Express account balance. To ensure timely reconciliation of your account balance, please submit all
business expenses and receipts [mmediately. Upon Feconciliation, your Corporate American Express
account will be cancelled. Please|note that your final payment will not be directly deposited into your
bank account; the check will be alled to you ‘on the next scheduled pay date.

Temporary Employment ; vs 7 °
Because of your commitment to specific client relationships and a need for your expertise In certain
consulting services, potential opportunities for future employment as a temporary employee exist. For

4 2 ! t any period of temporary employment, your job title will be Senior Manager/AVP and you will report to
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iuistopher Sytsma Sqne- Pay % hours G0) ae who anf bya,

As a temporary employee, you will be paid on an hourly basis and will need to accurately record all
hours worked in the Firm's time system. You wil! be paid at your current rate of pay, which calculates
to $62.62 per hour, paid biweekly. This rate of pay does not, however, bind either party to a fixed or
guaranteed term of employment, and any temporary employment shall remain an “at-will” relationship
at all times. As a temporary employee, you will be Ineligible to participate In the Firm’s benefit programs
with the exception of the 401(k) plan.

  

Non-compete Covenants
As a practice leader, you developed valuable working relationships with, and had access to detalled

knowledge about our clients and cur employees. As such, we remind you of the non-compete
covenants of your Stock Redemption and Non-Solicitation Agreement, dated August 28, 2014. These
restrictive covenants are nec ry to protect American Appraisal's client portfolio and proprietary
trade secrets, and to prohibit the solicitation of our current employees. Additionally, applicable law and
Firm policy requires employees ito return, and not take or keep any coples of all proprietary,

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Peter S Huck
September 25, 2014
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American
Appraisal

confidential, and trade secret Information, such as client lists, templates, valuation models and other
Firm property. Should you have ahy such information, please return it to my attention.

401(k) Plan
You have a vested account balance in the American Appraisal Retirement Plan. Please visit the Plan's
Web site (wn ianbenefs/ com for distribution and rollover options, and tax and penalty
information. Instructions for accessing your account online are enclosed.

As a retiree, you are eligible to receive a 401(k) Company Match contribution for the plan year which

 

ended December 31, 2013 and for the current Plan Year, which ends December 31, 2014. lf a

matching contribution is made for these Plan Years, the funds will be distributed no later. ‘than
December 15, 2014 and 2015 respectively. If your 401(k) account is closed at thet time of these
distributions, it will be reopened to receive these contributions. Ce

Employee Stock Ownership Plan
You have a vested account balance in the Employee Stock Ownership Plan ESOP"), According to

section 401(a) (14) of the IRS Code your distribution will be made at the end of the fiscal year in which
you turn 65 years old. Therefore,|your distribution will be made on or before March 31, 2016.

    
 
 

ceive annual statements upon completion of the ESOP's valuation
bution paperwork will be sent to you 30 to 90 days prior to the

NY

Prior to your distribution, you will
at the end of each Plan Year. Df
payout of this benefit.

W.2 oh Tp
To ensure you receive your W-2 for calendar year 2014, and future notifications for your 401(k) or

ESOP accounts,  hotify Human Resources of any address changes.

Peter, we wish you well throughollt your retirement. If we can help you, or If you have any questions,
please contact Diane Bradley or me at any time.

Sincerely,

mune © keeal

Merrie E. Reed
Vice President and
Director - Human Resources

 

Valuation / Transactidn Consulting / Real Estete Advisory / Fixed Asset Management

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02-05-2018

John Barrett

Clerk of Circuit Court
EXHIBIT F 2018CV001032

Honorable Glenn H

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Branch 34

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IMPORTANT SPECIAL MEETING OF SHAREHOLDERS

January 30, 2015
To the Shareholders of AA Management Group, Inc.:

You are cordially invited to attend a special meeting of the shareholders of AA Management
Group, Inc. to be held on Tuesday, February 24, 2015, at 9:00 a.m., Central Standard Time, at the offices
of Foley & Lardner LLP, 777 East Wisconsin Avenue, 40% Floor, Milwaukee, Wisconsin 53202.

On January 30, 2015, we entered into an agreement and plan of merger with Duff & Phelps, LLC
(which we refer to as Buyer) and D&P Alabama Acquisition Corp. (which we refer to as Merger Sub). If
the agreement and plan of merger is approved by our shareholders and the other conditions in the
agreement and plan of merger are satisfied or waived, then Merger Sub will merge with and into our ~.
company and AA Management Group, Inc. will become a wholly-owned subsidiary of Buyer. | “Upon 5
completion of the merger, each outstanding share of our common stock (other than shares of common ..”
stock held by dissenting shareholders) and each outstanding share of restricted common stock (other t than
shares of common stock held by dissenting shareholders) will be converted into the right | to receive a
portion of the merger consideration, without interest and less applicable withholding tax, as described in
the agreement and plan of merger and the accompanying information statement, ~ a

At the special meeting, holders of our common stock wil] be invited to ‘vote on (i) the agreement
and plan of merger and (ii) such other business as may properly come before the special meeting. Our
board of directors has carefully reviewed and considered the terms and conditions of the agreement and
plan of merger, and has received a faimess opinion from Emory & Co., a financial advisory fi irm, stating
that the merger consideration to be received by our shareholders i in connection with the merger is fair to
our shareholders from a financial point of view. Based on its review of the agreement and plan of merger
and the fairness opinion rendered by Emory & Co., our board of directors has unanimously adopted and

approved the agreement. and plan of merger.

Certain shareholders of our company have entered into a voting agreement whereby those
shareholders have agreed to vote in favor of the agreement and plan of merger. Assuming those
shareholders comply with their voting agreements, the agreement and plan of merger will be approved at
the special meeting. Nevertheless, your cooperation in voting your shares is important. You may vote
your shares in person at the special meeting or, if you are unable to attend the special mecting, you may
authorize another person to vote your shares pursuant to a valid proxy in the manner described in the
accompanying information statement. Neither this letter nor the accompanying information statement

constitutes a solicitation of a proxy.

The accompanying information statement provides you with more detailed information regarding
the special meeting, the agreement and plan of merger and the proposed merger. We urge you to read the
information statement, including the accompanying agreement and plan of merger, in its entirety.

In light of a confidentiality requirement in the agreement and plan of merger that would be
applicable to you, please maintain the information reflected in the enclosed materials, as well as other
information regarding the merger, in strict confidence. Please do not disclose the information to anyone
other than those of your advisors with whom you wish to consult concerning the merger.

] look forward to seeing you at the special meeting.

Sincerely,

Joseph P. Zvesper_
Chairman & Chief Executive Officer

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AA MANAGEMENT GROUP, INC.
411 East Wisconsin Avenue
Milwaukee, Wisconsin 53202

NOTICE OF SPECIAL MEETING OF SHAREHOLDERS
TO BE HELD ON FEBRUARY 24, 2015

To Our Shareholders:

Notice is hereby given that a special meeting of shareholders of AA Management Group, Inc.
(which we refer to as the Company) will be held on Tuesday, February 24, 2015, at 9:00 a.m., Central —
Standard Time, at the offices of Foley & Lardner LLP, 777 East Wisconsin Avenue, 40* Floor, |
Milwaukee, Wisconsin 53202. The purpose of the special meeting is to consider and vote upon (i) a .’
proposal to approve an agreement and plan of merger, dated as of January 30, 2015, among the Company,
Duff & Phelps, LLC (which we refer to as Buyer), D&P Alabama Acquisition Corp. (which we refer to as
Merger Sub) and Joseph P. Zvesper, solely in his capacity as the representative of the Company’s
Shareholders, and (ii) such other business as may properly come before the special meeting. .

The agreement and plan of merger provides for the merger of Merger Sub with and into the
Company, with the Company continuing as the surviving corporation, and the conversion of each
outstanding share of the Company’s common stock (including shares of common stock held by the
American Appraisal Associates, Inc. Employee Stock Ownership Plan (ESOP)) and restricted common
stock (other than shares of common stock or restricted common stock held by dissenting shareholders)
into the right to receive a portion of the merger consideration. We describe the agreement and plan of
merger and the related merger in the ® accompanying information statement, which you should read in its
entirety before voting.

The record date to determine who i is entitled to vote at the special meeting is January 30, 2015.
Only holders of common stock at the close of business on the record date are entitled to vote at the special
meeting. If you hold shares of common stock beneficially through the ESOP, you will receive a separate
notice and information statement whereby the ESOP trustee will request that you vote on the agreement
and plan of merger in a separate “pass through” vote by ESOP participants.

Please do not submit your stock certificates at this time. The Company will mail a letter of
transmitta] and instructions to all shareholders. The letter of transmittal and instructions will describe the
process for surrendering stock certificates in order to receive the merger consideration described in the
agreement and plan of merger.

Shareholders who do not believe the merger consideration is reflective of the “fair value” of
their shares may elect not to surrender their shares in exchange for the applicable portion of the
merger consideration and may instead seek to assert dissenters’ rights under Sections 180.1301
through 180.1331 of the Wisconsin Business Corporation Law, copies of which are included as
Exhibit B to the accompanying information statement.

By Order of Our Board of Directors,

Joseph P. Zvesper
Chairman & Chief Executive Officer

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partnership units of the parent holding company of Buyer, following the completion of a specified period
of employment with the surviving corporation or a termination of employment i in certain instances. These
employment and retention agreements are described in greater detail in the section entitled “Employee
Asrangements” below.

How Shares Are Voted; Proxies; Surrender of Certificates

Shareholders may vote by attending the special meeting and voting in person by ballot or by
authorizing another person to vote their shares pursuant to a valid proxy in accordance with the
requirements of our bylaws. In order for a proxy to be valid and effective, our bylaws require that the
proxy be in writing and delivered to our corporate secretary at or prior to the special meeting.

Neither this information statement nor any materials accompanying this information Statement
constitutes the solicitation of a proxy.

Please do not submit stock certificates at this time. We will send you instructions detailing the
procedures for exchanging existing stock certificates in order to receive a portion of the merger
consideration as described in the section entitled “Merger Consideration” below. *

Adjournment

If the special meeting is adjourned to a different place, date or time, then we do not need to give
notice of the new place, date or time-if the new place, date or time is announced at the special meeting
before adjournment, unless a new record date is or must be set for the adjourned meeting. Our board of
directors must fix a new record date if the special meeting is adjourned to a date more than 120 days after
the date fixed for the original real meeting, -

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Attending the Special Meeting *.

To attend the special meeting in person, you must be a shareholder of record of our common
stock on the record date, hold 2 valid proxy from 2 shareholder of record of our common stock on the
record date or be cur invited guest. We are inviting persons who hold shares of our common stock

_beneficially through the ESOP to attend the special meeting, but those persons are not entitled to vote

such shares of common stock at, or otherwise participate (in their capacity as an ESOP participant) in, the
special meeting. You may be asked to provide proper identification at the registration desk on the day of
the special meeting or any adjournment of the special meeting.

THE MERGER

Closing and Effective Time of the Merger

We will complete the merger when all of the conditions to completion of the merger contained in
the agreement and plan of merger, many of which are summarized in the section entitled “Closing
Conditions” below, are satisfied or waived, including the condition that the agreement and plan of merger
is approved by our shareholders at the special meeting. The merger will become effective upon the filing
of articles of merger with the Department of Financial Institutions of the State of Wisconsin or at such
later time as may be agreed by AAMG and Buyer and set forth in the articles of merger.

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Merger Consideration
The agreement and plan of merger provides for an enterprise value of AAMG of $86,000,000.

Upon completion of the merger, the outstanding shares of common stock (other than shares of
common stock held by dissenting shareholders) will be converted into the right to receive an aggregate
sum equal to $86,000,000, minus the amount of certain obligations of AAMG to redeem shares of
common stock from certain former shareholders, and minus the amount of certain transaction-related
expenses of AAMG.

The Company estimates that, as of the date of this information statement, without giving effect to
amounts of the merger consideration to be deposited into the escrow account and administrative expense -..
account described below, the merger consideration into which each share of common stock (other than
shares of common stock held by the ESOP) wil] be converted will be equal to approximately $1,450 to a
$1,475 (approximately $1,175 to $1,200 net of the amount deposited in the escrow account and
administrative expense account). Please note that these figures are estimates only and are based on
certain assumptions. Please see the agreement and plan of merger for additional details. .

Employee Arrangements » ¢

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In addition to the merger consideration, certain of the executive officers and managing directors
of the Company and its subsidiaries, including Joseph P. Zvesper and Kimberly Russo, each of whom
also serves as a director of the Company, will enter into arrangements with Buyer that provide for, among
other benefits, a retention bonus payment, payable in cash and/or partnership units of the parent holding
company of Buyer, following the completion of a two- or three-year period of continued employment
with Buyer ar upon a termination of employment by Buyer other than for cause or by the recipient for
good reason. Each recipient will also be required to enter into a restrictive covenant agreement pursuant
to which the recipient will agree, among other things, not to compete with Buyer and its affiliates for a
specified period. The aggregate amount of the retention bonus payments wil} not exceed $12,000,000,
which amount will be allocated among 33 recipients in amounts ranging from 50% to 250% of each
recipient's base salary with Buyer. — oO

In addition, Mr. Zvesper and Ms. Russo will each be party to an employment agreement with
Buyer, pursuant to which Mr. Zvesper and Ms. Russo will be employed by Buyer in the position of
‘Executive Vice Chairman and Managing Director, Finance, respectively. Mr. Zvesper will receive an
annual base salary of $1,000,000, and Ms. Russo will receive an annual base salary of $500,000. Neither
Mr. Zvesper nor Ms. Russo will be eligible to participate in any incentive compensation program of
Buyer. As a result, Mr. Zvesper’s and Ms. Russo’s total annual compensation while employed by Buyer
wilt be substantially less than their current total annual compensation as employees of the Company.

Eserow Account and Administrative Expense Account

The merger consideration to be received by shareholders {other than the ESOP) at the closing will
be reduced by (i) $12,000,000, which will be deposited into an interest-bearing escrow account for the
purpose of securing the shareholders’ potential obligations to indemnify Buyer and Merger Sub under the
indemnification provisions of the agreement and plan of merger, and (ii) $1,000,000, which will be
deposited into a non-interest bearing escrow account for the purpose of providing the shareholders’
representative (who is expected to be Joseph P. Zvesper) with funds to cover costs and expenses incurred
on behalf of the shareholders from and after the closing. These reductions will apply to each shareholder
(other than the ESOP) based on their pro rata share, which is an amount specified pursuant to the terms of
the agreement and plan of merger and calculated based on the number of shares of common stock that a

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shareholder (other than the ESOP) owns in relation to the total number of shares of common stock (other
than shares of common stock held by the ESOP) outstanding as of the closing.

To the extent not necessary to make an indemnification payment to Buyer or Merger Sub under
the agreement and plan of merger, any remaining balance of the escrow amount will be distributed to the
shareholders (other than the ESOP) based on their pro rata-share as described above. To preserve rights
relative to the escrow amount, Buyer and Merger Sub must submit a valid claim with respect to most
indemnification payments prior to the date that is 18 months after the closing (except for certain specified
indemnification claims described below for which the time period to submit a claim is 60 months).
Except as described in the following paragraph, on the date that is 60 months following the closing, the
balance of the escrow amount will be distributed to the shareholders (other than the ESOP) based on their

pro rata share as described above.

Certain subsidiaries of the Company are currently party to litigation in Italy and Thailand and are
subject to threatened litigation in Germany and Italy. If, on the date that is 60 months following the”
closing, one or both of the Italy and Thailand litigations remain pending, then, subject to the terms and
conditions set forth in the agreement and plan of merger and Exhibit 8.4 thereto, up to $8,000,000 may be
retained in the escrow account until the final resolution of both litigations. If, on the date that is 60
months following the closing, both the Italy and Thailand litigations have reached a final resolution, but
one or both of the two litigations threatened against subsidiaries of the Company in Germany and Italy
have resulted in litigation that remains pending, then, subject to the terms and conditions set forth in the
agreement and plan of merger and Exhibit 8.4 thereto, up to $2,000,000 may be retained in the escrow
account until the final resolution of such pending litigation. Following the final resolution of the Italy and
Thailand litigations and any threatened litigation in Germany or Italy that has resulted in litigation, and
the related escrow disbursement (at or after the date that is 60 months following the closing), the entire
amount then remaining in the escrow account will be distributed to the shareholders (other than the
ESOP) based on their pro rata share as described above. Similarly, to the extent not necessary to satisfy
fees and expenses incurred by the shareholders’ representative in connection with the performance of his
rights and duties under the agreement and plan of merger, any balance of the $1,000,000 administrative
expense amount will be distributed to the shareholders (other than the ESOP) based on their pro rata share

as described above.

_ Buyer has required as a condition to its willingness to enter into the agreement and plan of merger
that the ESOP terminate immediately upon the closing. As a result, the ESOP cannot participate in the
escrow account or the administrative expense account, and the merger consideration received by the
ESOP at the closing will therefore not be reduced by the ESOP’s pro rata share of the escrow amount and
administrative expense amount. Similarly, the ESOP will not be entitled to any portion of any subsequent
distribution of the escrow amount or administrative expense amount. The merger consideration to be
received by the ESOP will, however, be reduced by the amount of fees and expenses payable to the ESOP
Trustee, as well as the amount of all fees and expenses incurred by the ESOP Trustee in connection with
the merger, including the fees and expenses of counsel to the ESOP Trustee and the ESOP financial
advisor. The ESOP financial advisor will render a fairness opinion to the ESOP Trustee with respect to
the fairness to ESOP participants, from a financial point of view, of the transactions contemplated by the

agreement and plan of merger.
Representations and Warranties

The agreement and plan of merger contains customary representations and warranties made by
AAMG, which include representations and warranties with respect to, among other things, (i) corporate
organization and qualification, (ii) authorization, (iii) no conflict or violation, (iv) capitalization, (v)
subsidiaries, (vi) financial staternents, (vii) tax matters, (viii) accounts receivable, (ix) absence of certain

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changes or events, (x) litigation, (xi) compliance with laws and orders, (xii) licenses and permits, (xiii)
real and personal property, (xiv) material contracts, (xv) employee benefit plans, (xvi) intellectual
property rights, (xvii) insurance, (xviii) labor, (xix) regulatory matters and (xx) affiliate transactions.

In addition, Buyer and Merger Sub make customary representations and warranties with respect
to, among other things, (i) organization and qualification, (ii) authorization, (iii) no conflict or violation,
(iv) litigation, (v) capitalization of Merger Sub and (vi) financia) capacity.

By submitting a letter of transmittal, each shareholder will make certain representations and
warranties with respect to, among other things, (i) ownership of common stock, (ii) organization (to the
extent a shareholder is a trust) and authorization, Gii) no conflict or violation and (iv) consents end
approvals. Each shareholder should carefully review the letter of transmittal prior to signing, and
submitting a letter of transmittal to AAMG.

Pre-Closing Covenants and Agreements

During the period between signing the agreement and plan of merger and the closing of the
transaction, the agreement and plan of merger provides that the parties will take certain actions or refrain
from taking certain actions, including, among other things, that AAMG will seek to obtain the approval of
its shareholders to the adoption of the agreement and plan of merger and the merger. In addition and
among other covenants set forth in the agreement and plan of merger, (i) AAMG must conduct its
business in the ordinary course and may not take certain actions without Buyer’s consent, (ii) each party
agrees to use its reasonable best efforts to effect all necessary filings, notices and submissions of
information with, and to obtain all necessary approvals from, any person or entity, including any
governmental entity, (iif) AAMG agrees that neither it nor its officers, directors or authorized
representatives will solicit, initiate or encourage or participate in any discussions or negotiations
regarding any inquiries or the making of any proposal or offer with respect to any merger, acquisition or
similar transaction involving a substantial portion of the assets or any equity securities of AAMG or any
of its subsidiaries and {iv) AAMG and Buyer agree to promptly notify one another and keep one another
apprised of any litigation, arbitration, investigation or similar proceeding pending or threatened that
challenges the transactions contemplated by the agreement and plan of merger.

. Closing Conditions

Condittons to the Obligations of Buyer. The obligation of Buyer to complete the merger in
accordance with the agreement and plan of merger is subject to the satisfaction of certain conditions,
including the following:

e the agreement and plan of merger must be approved by the AAMG shareholders as required
by law;

e the ESOP participants must approve the agreement and plan of merger in a separate “pass
through” vote conducted by the ESOP Trustee, and certain other matters pertaining to the
ESOP must be completed;

e AAMG must perform and comply in all material respects with its obligations and covenants
to be performed or complied with prior to the closing;

e there must not have been an event or series of events, including any breach of any
representation and warranty made by AAMG in the agreement and pian of merger, that has

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had or would reasonably be expected to have a material adverse effect on the business, assets,
liabilities, financial condition or results of operations of AAMG; and

no injunction or other law or order will have the effect of making the merger illegal or
otherwise prohibiting the completion of the merger.

Conditions to the Obligations af AAMG. The obligation of AAMG to complete the merger in
accordance with the agreement and plan of merger is subject to the satisfaction of certain conditions,

including the following:

the agreement and plan of merger must be approved by the AAMG shareholders as required
by law; eo
the ESOP participants must approve the agreement and plan of merger in a separate “pass o
through” vote conducted by the ESOP Trustee, and certain other matters pertaining to the
ESOP must be completed; .. te

Buyer and Merger Sub must perform and comply in all material respects with their respective
obligations and covenants to be performed or complied with prior to the closing; and

no injunction or other Jaw or order will have the effect of making the merger illegal or
otherwise prohibiting the completion of the merger.

Termination

The agreement and plan of merger and the obligations to complete the merger may be terminated
by AAMG and Buyer upon the occurrence of certain events, including the following:

by the written agreement of AAMG and Buyer;
by either party if the merger is not completed on or before Apri] 30, 2015 or such other date

_ as the parties agree in writing;
by either party if any governmental entity issues a Jaw or order, or refuses to grant any

required consent or approval, that has the effect of making the merger illegal or that
otherwise prohibits the completion of the merger;

by either party if the other party breaches any of the representations and warranties made in
the agreement and plan of merger or fails to perform any covenant or agreement set forth in
the agreement and plan of merger and such breach or failure is not curable and results in the
inability to satisfy certain conditions to the completion of the merger described above; or

by either party if the AAMG shareholders fai] to approve the agreement and plan of merger
as required by law.

Indemnification

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By the Shareholders. \f the closing occurs, and subject to certain limitations, the shareholders
will indemnify Buyer and Merger Sub for all losses resulting from (i) any breach of any representation or
warranty (other than a fundamental representation or warranty) made by AAMG in the agreement and
plan of merger, (ii) any breach of any fundamental representation or warranty (organization and

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qualification, authority, capitalization and subsidiaries) made by AAMG in the agreement and plan of
merger, (iii) any breach of any covenant made by AAMG in the agreement and plan of merger that was
required to be complied with at or prior to the closing, (iv) any unpaid transaction-related expenses
incurred by AAMG at or prior to the closing, (v) certain tax matters, including, subject to certain
limitations, any liability of AAMG for unpaid income taxes relating to pre-closing periods, (vi) claims by
any AAMG shareholder that chooses to exercise dissenters’ rights (net of the amount such shareholder
would have received as consideration in the merger), (vii) claims by any AAMG shareholder arising out
of any actual inaccuracy of Exhibit 11.15(c) to the agreement and plan of merger, which sets forth each
shareholder's pro rata ownership of common stock as described above, (viii) any undisclosed
indebtedness of AAMG or its subsidiaries, (ix) either of the two litigations to which subsidiaries of the
Company are party in Italy and Thailand, and (x) either of the two litigations threatened against
subsidiaries of the Company in Germany and Italy (we refer to items (ji) through (x) collectively as the .
dollar-one indemnities), Importantly, other than with respect to actual common law fraud, Buyer’s ~
sole source of indemnification under the agreement and plan of merger will be recovery from the -
$12 million escrow amount, and Buyer may not seck indemnification from any individual
shareholder or in any amount in excess of the escrow amount. .

Limitations on Loss. 1\n addition to limiting the recovery of Buyer and Merger Sub wt the escrow
amount, the indemnification obligations of the shareholders contained in the agreement and plan and
merger are subject to other limitations, including the following: '

e (i) the obligation to pay losses in connection with breaches of representations and warranties
(other than fundamental representations and warranties) will survive the completion of the
merger for a period of 18 months, (ii) the obligation to pay losses in connection with breaches
of covenants of the Company required to be performed at or prior to the closing and claims
by any AAMG shareholder that chooses to exercise dissenters’ rights will survive the
completion of the merger for a period of 12 months, (iif) the obligation to pay losses in
connection with the dollar-one indemnities (other than as set forth in clause (iv) below) will
survive the completion of the merger for a period of 60 months, and (iv) the obligation to pay
losses in connection with the two litigations to which subsidiaries of the Company are party
in Italy. and Thailand and the two litigations threatened against subsidiaries of the Company

in Germany and Italy (if one or both of such threatened litigations has resulted in litigation)
will survive the completion of the merger until the applicable litigation has been finally
- resolved;

© except for the dollar-one indemnities (other than pre-closing income taxes), the shareholders
will not have any liability for losses for any individual item or group of items arising out of
the same condition or circumstances where the losses are Jess than $25,000 (which we refer
to as the de minimis threshold), and no such losses will be taken into consideration for
purposes of determining whether the deductible described below has been reached;

e except for the dollar-one indemnities, the shareholders will not have any liability for losses
unti! the aggregate amount of all losses exceeds $750,000 (which we refer to as the
deductible). After the deductible is reached, subject to the $25,000 de minimis threshold and
certain other limitations, the shareholders will be responsible to indemnify Buyer and Merger
Sub for all losses, but only to the extent such losses exceed the amount of the deductible. For
example, if Buyer were to incur an aggregate of $1,000,000 in losses (other than in
connection with the dollar-one indemnities), assuming that each of the individual items of
Joss comprising such aggregate amount exceed $25,000, then the shareholders’
indemnification obligations would be $250,000; and

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e other than for actual common law fraud, the shareholders will not have any obligation to
indemnify Buyer or Merger Sub for any amount of losses suffered by Buyer or Merger Sub in
excess of the then remaining balance of the escrow amount.

By Buyer and the Surviving Corporation. If the closing occurs, and subject to certain limitations,
Buyer and the surviving corporation will indemnify the shareholders for all losses resulting from (i) any
breach of any representation and warranty made by Buyer and Merger Sub in the agreement and plan of
Inerger and (ii) any breach of any covenant made by Buyer and Merger Sub (or the surviving corporation)
in the agreement and plan of merger.

Letters of Transmittal. Notably, if any shareholder breaches the representations and warranties
set forth in its letter of transmittal, then Buyer may pursue a claim for such breach directly against that
shareholder, without regard to any of the provisions of the agreement and plan of merger (or the escrow

amount). .
Shareholders’ Representative

By signing and submitting a letter of transmittal, each shareholder appoints Joseph P. Zvesper as
the “shareholders’ representative.” The shareholders’ representative is authorized and appointed by each
shareholder as its exclusive agent and attorney-in-fact to do any and al! things and to execute any and all
transaction agreements in such shareholder’s name with respect to all matters that are the subject of the
agreement and plan of merger and the escrow agreement. Buyer may deal exclusively with the
shareholders’ representative in respect of the agreement and plan of merger and the escrow agreement.
Each shareholder waives any and all claims against the shareholders’ representative arising out of or in
connection with his actions or failures to act in the capacity of the shareholders’ representative under or in
connection with the agreement and plan of merger and the escrow agreement, except as may be caused by
willful misconduct of the shareholders’ representative. Further, each shareholder (other than the ESOP),
in accordance with his or her pro rata share as described above, agrees to indemnify and hold harmless the
shareholders’ representative against any loss, liability or expense incurred without willful misconduct by
the shareholders’ representative in connection with the performance of his duties under the agreement and
plan of merger. .

Transaction Agreements and Additional Information

- The agreement and plan of merger, including the form of letter of transmittal, is attached as
Exhibit A to this information statement. For convenience purposes, the other exhibits to the agreement
and plan of merger and the company disclosure schedule referenced in the agreement and plan of merger
are not attached to or included with this information statement. We urge you to read the agreement and

plan of merger in its entirety.

AAMG?’s executive officers and directors will make themselves available to answer any
reasonable questions from any shareholder. Questions regarding the merger should be directed to Joseph
P. Zvesper, the Company’s Chairman & Chief Executive Officer, at +1 (414) 225-1034 or via email at
jzvesper@american-appraisal.com. Each shareholder of record as of January 30, 2015 may request to
review financial information of the Company at the Company’s facilities prior to the special meeting by
delivering a written request to Joseph P. Zvesper at least five days prior to the special meeting.

The foregoing summary is qualified in its entirety by reference to the agreement and plan of
merger, the exhibits to the agreement and plan of merger, the company disclosure schedule and all other
transaction decuments.

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SURRENDER OF CERTIFICATES AND PAYMENT OF CONSIDERATION

We will provide shareholders with instructions describing the process for surrendering stock
certificates in order to receive the applicable portion of the merger consideration, without interest and tess
applicable withholding tax. Among other items, these instructions will require shareholders to complete
and return to AAMG a letter of transmittal in the form that we will provide. Shareholders who do not
believe the merger consideration is reflective of the “fair value” of their shares may elect not to surrender
their shares in exchange for the applicable portion of the merger consideration and may instead seek to
exercise dissenters’ rights as described below.

Shareholders that do not seek to exercise dissenters’ rights must comply with these instructions if
they wish to surrender stock certificates in order to receive the applicable portion of the merger
consideration, without interest and less applicable withholding tax. Shareholders that seek to exercise
dissenters’ rights must comply with Sections 180.1301 through 180.1331, or Subchapter XIII, of the -
Wisconsin Business Corporation Law (known as the WBCL), a copy of which i is attached as Exhibit Bto
this information statement and which is briefly summarized below. .

DISSENTERS’ RIGHTS

Under Sections 180.1301 through 180.1331, or Subchapter XIII, of the WBCL, dissenters’ rights
are available, subject to the procedures described in those statutes, to record holders of shares of our
common stock and beneficial shareholders who object to the merger and demand payment of the “fair
value” of their shares in cash in connection with the completion of the merger. For purposes of the
WECL, the “fair value” of a dissenting shareholder's shares means the value of the shares immediately
prior to the effective time of the merger, excluding any appreciation or depreciation in anticipation of the
merger unless exclusion would be inequitable.

Dissenting shareholdess are required to follow certain procedures set forth in the WBCL to
receive in cash the fair value of their shares. Set forth below is a brief summary of those procedures,
which does not purport to be complete and is qualified by reference to the actual statutes. Subchapter
Xi is reprinted in its entirety as Exhibit B to this information statement, and the summary contained in
this information statement is qualified by reference to the full text of Exhibit B. Shareholders should
read Exhibit B for a description of all statutory provisions related to dissenters’ rights.

Pursuant to Section 180.1321 of the WBCL, any shareholder or beneficial shareholder desiring to
assert dissenters’ rights must do the following: (i) deliver to AAMG, before the vote to approve the
agreement and plan of merger is taken, written notice of such dissenting shareholder’s intent to demand
payment for his or her shares if the proposed agreement and plan of merger is consummated; and (ii) not
vote in favor of the agreement and plan of merger. Such written notice should be sent to AA
Management Group, Inc., c/o Foley & Lardner LLP, 777 East Wisconsin Avenue, Milwaukee, WI 53202,
Attention: Bryan S. Schultz. A vote against approval of the agreement and plan of merger, in person
or by proxy, will not in and of itself constitute a notice of intent te demand payment satisfying the
requirements of Subchapter XIII. A dissenting shareholder who fails to satisfy cither or both of clauses
(i) and (ii) above will not be entitled to payment for such shares under Subchapter XIII.

A shareholder or beneficial shareholder generally must assert dissenters’ rights for al] shares that
the shareholder beneficially owns. A record shareholder may assert dissenters’ rights as to fewer than all
of the shares registered in the record shareholder's name only if the record shareholder dissents with
respect to all shares beneficially owned by any one person and notifies AAMG of that person’s name and
address. A beneficial shareholder asserting dissenters’ rights must, with respect to all shares of which he

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l

or she is the beneficial owner, submit to AAMG the written consent of the record shareholder with respect
to those shares no later than the time that the beneficial shareholder asserts dissenters’ rights.

No later than ten days after the agreement and plan of merger is approved at the special meeting,
AAMG will send a written dissenters’ notice to each of its shareholders who has dissented to the
agreement and plan of merger in accordance with Section 180.1321 of the WBCL. Upon delivery of such
notice, each dissenting shareholder will have 30 days to demand payment in writing and deposit the
certificate or certificates representing such shares with respect to which he or she has dissented. A
dissenting shareholder who does not demand payment within the designated time period is not entitled to
payment for his or her shares under Subchapter XIII. A shareholder or beneficial shareholder with share
certificates who does not deposit his or her certificates where required and by the date set forth in the
dissenters’ notice similarly will not be entitled to payment under Subchapter XIII. :

Upon receipt of a payment demand or the effective time of the merger, whichever is later, AAMG
wilt pay each dissenting shareholder who has properly perfected his or her dissenters’ rights the amount
that AAMG estimates to be the fair value of such shares, plus accrued interest, as provided in Section
180.1325 of the WBCL. A dissenting shareholder who does not agree with AAMG’s estimate of the fair
value of his or her shares’ or the amount of interest due must notify AAMG of his or her estimate in
writing within 30 days after AAMG made or offered payment for such shares.’ If the dissenting
shareholder and AAMG cannot agree upon the fair value of the shares or amount of interest due, then
AAMG must file a petition in the circuit court for the county in which its principal office is located
requesting a finding and determination of the fair value of such shares and the accrued interest thereon. If
AAMG fails to institute such a proceeding within 60 days after the dissenting shareholder notifies AAMG
of his or her disagreement, then AAMG must pay each dissenting shareholder whose demand remains
unsettled the amount demanded by such shareholder. See Sections 180.1330 and 180.1331 of the WBCL
in Exhibit B for the statutory provisions governing such a court proceeding. .

TAX CONSEQUENCES
This summary is of a general nature and is provided solely for informational purposes. This

summary is not intended to be, and should not be construed to be, legal or tax advice. No representation
with respect to the tax consequences to any particular shareholder is made. You should consult your own

___ 8dvisors with respect to your particular circumstances.

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General

Below is a summary of the material United States federal income tax consequences of the merger
applicable to a U.S. person (as defined below) holding our company common stock whose shares of
company common stock are converted into cash pursuant to the mérger. This summary is based upon
current provisions of the Internal Revenue Code of 1986, as amended (the “Code”), existing and proposed
Treasury Regulations promulgated under the Code, rulings, pronouncements, judicial decisions and
administrative interpretations of the Interna] Revenue Service, all of which are subject to change, possibly
on a retroactive basis, at any time by legislative, judicial or administrative action. This summary is
limited to U.S. persons that hold our stock as capita) assets within the meaning of Section 1221 of the
Code for federal income tax purposes (generally, assets held for investment) and does not address the tax
treatment of dissenting shareholders. No ruling has been or wil) be sought from the Internal Revenue
Service regarding the income or other tax consequences of the merger, and no assurance can be given that
the Internal Revenue Service will not challenge the conclusions stated below or will not assert, or thata
court will not sustain, a position contrary to any of the income tax consequences described below.

This summary does not purport to be a complete analysis of all the potential U.S. federal income
tax effects and does not address all of the tax consequences that may be relevant to a particular
shareholder in light of his or her individual circumstances. Without limiting the generality of the
foregoing, this summary does not address the effect of any special rules applicable to certain types of
holders, including, without limitation, non-U.S. persons, persons who hold our stock as part of a straddle,
hedge, conversion transaction or other risk reduction or integrated investment transaction, tax-exempt
entities, broker-dealers, traders in securities who elect the mark-to-market method of accounting for their
securities, financial institutions, regulated investment companies, insurance companies, S-corporations,
partnerships and other pass-thru entities, trusts and persons who hold our stock pursuant to a
compensatory arrangement with us or beneficially through the ESOP.

In addition, this summary does not address the tax consequences of the merger under any U.S.
State or local or other tax Jaws, any U.S. federal estate and gift tax laws (or Medicare tax on unearned

income), any foreign tax laws or any tax treaties.

If a partnership (or other entity treated as a partnership for United States federal income tax

purposes) is a holder of company common stock, the tax treatment of a partner in the partnership or any

equity owner of such other entity will generally depend upon the status of the person and the activities of
the partnership or other entity treated as a partnership for United States federal income tax purposes.

The term “U.S. person” means a beneficial owner of our stock that is:

* an jndividual who is a citizen of the United States or who is a resident alien of the United
States for U.S. federal income tax purposes;

* an estate the income of which is subject to U.S. federal income taxation regardless of its
source;

* acorporation (or other entity treated as a corporation for United States federal income tax
purposes) organized under the Jaws of the United States, any state or the District of Columbia; or

* aust if a court within the United States is able to exercise primary supervision over the
administration of the trust and one or more U.S. persons have the authority to control al] substantial
decisions of the trust or if a valid election is in effect under applicable Treasury Regulations to be treated
as a U.S. person.

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Each U.S. holder of company common stock is urged to consult his or her tax advisor as to
the particular tax consequences to such holder of the merger, including the applications of state,
local and foreign tax laws and possible tax law changes.

Circular 230 Disclosure

TO COMPLY WITH INTERNAL REVENUE SERVICE CIRCULAR 230, YOU ARE
HEREBY NOTIFIED THAT: (A) ANY DISCUSSION OF FEDERAL TAX ISSUES CONTAINED
OR REFERRED TO HEREIN IS NOT INTENDED OR WRITTEN TO BE USED, AND
CANNOT BE USED BY YOU, FOR THE PURPOSES OF AVOIDING PENALTIES THAT MAY
BE IMPOSED ON YOU UNDER THE CODE; (8) SUCH DISCUSSION IS WRITTEN TO
SUPPORT THE PROMOTION OR MARKETING OF THE MATTERS ADDRESSED BY THE
WRITTEN ADVICE HEREIN; AND (C) YOU SHOULD SEEK ADVICE BASED ON YOUR ©
PARTICULAR CIRCUMSTANCES FROM AN INDEPENDENT TAX ADVISOR. ,

U.S. Federal Income Tax Consequences to U.S. Persons Generally

Generally (and subject to the discussion below), a U.S. person whose shares of company common
stock are converted into cash in the merger will recognize gain or loss for U.S. federal income tax
purposes in an amount equal to the difference between the amount realized in connection with the merger
and such U.S. person’s adjusted tax basis in the shares of company common stock that are surrendered.

Generally, gain or loss recognized by such U.S. person will be capital gain or loss, which will be
long-term capital gain or loss if the holding period for the shares of our stock exceeds one year at the time
of the merger. Long-term capital gains recognized by an individual are generally subject to tax at reduced
rates. In addition, there are limits an the deductibility of capital losses. The amount and character of gain
or loss must be determined separately for each block of our stock converted into cash in the merger.

Installment Method of Accounting

Because a U.S. person may receive, in part, consideration pursuant to the merger that will be paid
following the close of the taxable year in which the merger is consummated, the holder may be eligible to
report gain realized on the disposition of company common stock under the “installment method” of
accounting for U.S. federal income tax purposes. If the installment method is available and the holder
does not elect out of such treatment, a U.S. person generally would recognize capital gain in each year
that such holder receives a payment in connection with the merger for his, her or its company common
stock in an amount equal to the difference, if any, between (i) the total of such payments received in such
taxable year, and (ii) the portion of the U.S. person’s adjusted tax basis in the company common stock
allocated to the payments. The holder's adjusted tax basis wilt be allocated to each payment in the same
proportion as such payment bears to ali payments, both non-contingent and contingent, provided for under
the agreement and plan of merger. In doing so, the holder must assume that all future contingent
payments will be received. Therefore, if any such contingent payments are not actually paid, the holder
could be required to recompute the balance of gain to be recognized. Any tax basis not recovered may
constitute a capital loss once it is determined that no such payments will be received. The deductibility of
capital Josses is subject to certain limitations.

A US. holder that is otherwise eligible to report gain on the sale of company common stock
under the installment method of accounting may elect not to have the installment method rules apply. A
holder making such an election generally will recognize in the year of the sale capital gain or loss equal to
the difference, if any, between (i) the sum of cash received in the merger and the fair market value of
expected future payments and (ii) the U.S. holder’s adjusted tax basis in the shares surrendered. Such

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capital gain or loss will be long-term or short-term capital gain or loss depending upon the holder’s
holding period for his, her or its company common stock, as described in the preceding paragraph.

A stockholder that reports gain under the installment method may be required to pay interest on
the deferred tax liability. In general, the total face amount of aJJ installment obligations (including the
right to receive subsequent payments) exceeds, at the close of any taxable year, $5,000,000, interest is
required to be paid to the Internal Revenue Service on the deferred tax liability.

The application of the installment sale rules is complex and depends on each holder’s specific
situation. U.S. persans should contact their tax advisors conceming the applicability of the installment
method to their sales of company common stock and the advisability of electing out of such treatment.

Portion of Consideration Treated as Imputed Interest

As noted above, pursuant to the agreement and plan of merger, holders of company common :
stock may receive consideration in the form of cash following the close of the taxable year in which the
conversion of their company common stock occurs. A portion of such cash received by a U.S. holder will
be treated as interest for U.S. federal income tax purposes that must be. accounted for in accordance with
the Code. The amount of imputed interest is equal to the excess of (7) the amount of cash received over
(ii) the present value of such amount described in clause (i) as of the closing date, discounted at the
applicable federal rate in effect at the closing date. The portion 0 of such payments characterized as interest
wil] be taxed as ordinary income.

Backup Withholding and Information Reporting

In general, information reporting requirements will apply to cash received by a U.S. person in
connection with the merger. This information reporting obligation, however, does not apply with respect
to certain U.S. persons. If a U.S. person subject to the reporting requirements fails to supply its correct
taxpayer identification number in the manner required by applicable law or is notified by the Internal
Revenue Service that it has failed to properly report payments of interest and dividends, a backup
withholding tax at a rate of 28% generally will be imposed on the amount of the cash received. A US.
person may generally credit any amounts withheld under the backup withholding provisions against its
US. federal income tax liability, which may entitle the U.S. person to a refund, provided that the required
information is furnished to the Internal Revenue Service. Such amounts, once withheld, are not
refundable by AAMG.

GENERAL

Our board of directors does not know of ‘any other matter to come before the special meeting.
Your cooperation in giving this matter your immediate attention will be appreciated.

By Order of Our Board of Directors,

Joseph P. Zvesper
Chairman and Chief Executive Officer

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EXHIBITS

 

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Exhibit B - Dissenters’ Rights Statutes

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Exhibit A

Agreement and Plan of Merger

See attached.

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EXECUTION CoPy

 

AGREEMENT AND PLAN OF MERGER

AMONG

DUFF & PHELPS, LLC,

 

D&P ALABAMA ACQUISITIG

aw

NA CRRENT GROUP, INC.

   

and

dated as of

January 30, 2015

 

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EXHIBITS

Surviving Corporation Officers

Letter of Transmittal

Conduct of Business Pending the Closing
Special Indemnification Defense Schedule

Form of Noncompetition Agreement
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AGREEMENT AND PLAN OF MERGER

THIS AGREEMENT AND PLAN OF MERGER (this “Agreement”) is made and
effective as of January 30, 2015 by and among Duff & Phelps, LLC, a Delaware limited liability
company (“Buyer”), D&P Alabama Acquisition Corp., a Wisconsin corporation (“Merger Sub”), AA
Management Group, Inc., a Wisconsin corporation (the “Company”), and, solely in his capacity as
Shareholders’ Representative, Joseph P. Zvesper, an adult resident of the State of Wisconsin.
Capitalized terms used but not otherwise defined in this Agreement shall have the respective
meanings ascribed to such terms in Section 11.14. ,

WHEREAS, the Company and its Subsidiaries are engaged in the business of
providing valuation and related services for business, financial, legal and tax purposes 8
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“Business”); A
SP Oe”

WHEREAS, the Board of Managers of Buyer and the respective } Boards of Direstérs
of Merger Sub and the Company desire to enter into a transaction whereby Merger, Sib will merge
with and into the Company (the “Merger”), pursuant to which each dssued 85 eee share of
Common Stock, $0.0] par value per share, of the Company (the. SCompafiy Common Stock”) not
owned directly or indirectly by the Company will be cancelled and, :as "and to the extent set forth in
this Agreement, converted into the right to receive a portion of the Merger Consideration as provided
for herein; \ “h

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WHEREAS, the Board of Managers of F Buyer and the respective Boards of Directors

of Merger Sub and the Company have approved this Agreement and the consummation of the

transactions contemplated ee lncluding the e Merger,

WHEREAS, as a condition to its willingness to enter into this Agreement, Buyer has
required that certain sharcholders of the Company enter into a shareholder support agreement (the
“Voting Agreements”) with Buyer and Merger Sub, concurrently with the execution and delivery of
this ae which Voting Agreements shall become effective as of the date of this Agreement;
and. :
o\s ANS |
a ea WHEREAS, Buyer, Merger Sub and the Company desire to make certain
‘representations, warranties and covenants in connection with, and to prescribe certain conditions to,
the transactions contemplated by this Agreement, including the Merger.

NOW, THEREFORE, in consideration of the foregoing and the representations,
warranties, covenants and conditions set forth in this Agreement, and intending to be legally bound,
the Parties agree as follows:

ARTICLE 1
THE MERGER

Section 1.1]. Merger. Upon the terms and subject to the conditions set forth in this
Agreement and in accordance with the Wisconsin Business Corporation Law (the “WBCL”), Merger
Sub shall be merged with and into the Company at the Effective Time. Following the Effective
Time, the Company shall continue as the surviving corporation (the “Surviving Corporation”) and
the separate corporate existence of Merger Sub shall terminate.

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Section 1.2. Closing. Unless this Agreement shall have been terminated pursuant
to Section 10,1, the consummation of the transactions contemplated by this Agreement (the
“Closing”) shall occur at the offices of Foley & Lardner LLP, 777 East Wisconsin Avenue,
Milwaukee, Wisconsin 53202, at 10:00 a.m., local time, on the third Business Day after the
satisfaction or waiver of all of the conditions set forth in ARTICLE 6 and ARTICLE 7, other than
conditions that, by their nature, will be satisfied at the Closing, or such other location, time and date
as Buyer and the Company shall agree in writing (the actual date of the Closing is referred to as the
“Closing Date”). The Parties intend that the pre-Closing and the Closing shall be effected, to the
extent practicable, by conference call, the electronic delivery of documents and the prior physical
exchange of certain other documents to be held in escrow by outside counsel to the recipient rary
pending authorization by the delivering Party (or its outside counsel) of their reJease at the Closing...

Section 1.3. Effective Time. At the Closing, the Company shall file articles ‘of
merger (the “Articles of Merger”) with the Department of Financial Institutions of the. State ‘Of.

Wisconsin in.such form as is required by, and executed in accordance with, the WBCL. The Mefger
shal] become effective at such time as the Articles of Merger are duly filed with the Department of
Financial Institutions of the State of Wisconsin or at such subsequent | time® ‘as “Buyer and tiie
Company shall agree and specify in the Articles of Merger (the® time and. date that the Merger

becomes effective is referred to as the “Effective Time"). : wae
Section 1.4. Effects of the Merger. At “and after the Effective Time, the Merger

shall have the effects set forth in this Agreement, and in the’ applicable provisions of the WBCL.
From and after the Effective Time, the Surviving Corporation shall succeed to all the assets, rights,
privileges, powers and franchises and be subject to all of the liabilities, restrictions, disabilities and
duties of the Company and Merger, Sub, all as provided under the WBCL.

Section 1.5." gaits of Incorporation. The articles of incorporation of Merger
Sub, as in effect immediately prior to the Effective Time, shall be the articles of incorporation of the
Surviving Corporation until thereafter amended in accordance with applicable Law. Notwithstanding
the foregoing, the name of the Surviving Corporation shall be “AA Management Group, Inc.” and

the we of i incorporation of the Surviving Corporation shall so provide.

oes ,
. A s** Section 1.6. Bylaws. The bylaws of Merger Sub, as in effect immediately prior to
the Effective Time, shall be the bylaws of the Surviving Corporation, unti) thereafter amended in
accordance with applicable Law.

Section 1.7. Directors and Officers. The directors of Merger Sub immediately
prior to the Effective Time shall be the directors of the Surviving Corporation, until the earlier of
their resignation or removal or their respective successors are duly elected and qualified, as the case
may be, in accordance with the articles of incorporation and bylaws of the Surviving Corporation.
The individuals set forth in Exhibit 1.7 shall be the officers of the Surviving Corporation, until the
earlier of their resignation or removal or their respective successors are duly elected and qualified, as
the case may be, in accordance with the articles of incorporation and bylaws of the Surviving

Corporation.
Section 1.8. Effect on Capital Stock. At the Effective Time, by virtue of the

Merger and without any action on the part of any Shareholder, Buyer, Merger Sub, the Company or
any holder of any of the following securities:

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(a) Each share of Company Common Stock issued and outstanding
immediately prior to the Effective Time (other than shares to be canceled pursuant to
Section 1.8(b) and Dissenting Shares as provided in Section 1.12) shall be cancelled and
automatically converted into the right to receive a portion of the Merger Consideration
determined in accordance with Section 2.2(c).

(b) Each share of Company Common Stock that is owned directly or
indirectly by the Company as treasury stock or otherwise immediately prior to the Effective
Time shall be automatically canceled and retired and shal! cease to exist, and no
consideration shall be delivered in exchange therefor.

(c) Each share of common stock, par value $0.001 per share, of Merger * \
Sub issued and outstanding immediately prior to the Effective Time shall be converted into !
one validly issued, fully paid and nonassessable share of common stock, par value $0.001
per share, of the Surviving Corporation and shail constitute the only outstanding shares ‘of
capital stock of the Surviving Corporation. .

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Section 1.9. Stock Transfer Books. The stock transfer books of the 1e Company shall
be closed immediately at the Effective Time with respect to all shares of Company Common Stock
outstanding immediately prior to the Effective Time, and there shall be no further transfers of shares
of Company Common Stock on the records of the Company. After the Effective Time, any
Certificates formerly representing shares of Company Common Stock presented to Buyer or the
Surviving Corporation for any reason shall be cancelled and converted into the right to receive the
applicable portion of the Merger Consideration ‘with respect to the shares of Company Common
Stock formerly represented nasi. ie . Ny *y

Section 1.10. Léa ‘Certificates, If any certificate or other instrument that,
immediately prior to the Effective Time, represented shares of Company Common Stock (a
“Certificate”) shall have been Jost, stolen or destroyed, then, upon the making of an affidavit of that
fact by the Person claiming such Certificate to be lost, stolen or destroyed, Buyer shall cause the
Surviving Corporation to deliver to Shareholders’ Representative (on behalf of such Person) in
- exchange “for ‘such jost, stolen or destroyed Certificate the applicable portion of the Merger
oN Consideration, without any interest paid thereon, with respect to the shares of Company Common
‘Stock formerly represented thereby.

Section 1.11. Surrender and Payment Procedures. Promptly after the Effective
Time (but in no event later than three Business Days following the Effective Time), the Surviving

Corporation shall mail to each Shareholder of record immediately prior to the Effective Time,
excluding those Shareholders who have provided the Company with a completed Letter of
Transmittal and, if applicable, related Certificate or affidavit of Joss meeting the criteria set forth in
Section 1.10 at or prior to the Closing, and excluding, for the avoidance of doubt, the Company and
any Subsidiary of the Company or holders of Dissenting Shares who have not subsequently
withdrawn or lost their rights of appraisal, a letter of transmittal in the form attached hereto as
Exhibit 1.11 (the “Letter of Transmittal”). Upon surrender of a Certificate for cancellation to the
Surviving Corporation or delivery of an affidavit of loss meeting the criteria set forth in Section 1.10,
together with such Letter of Transmittal, duly executed and completed, and such other documents as
may be reasonably required pursuant to the Letter of Transmittal, such Shareholder shall be entitled
to receive a portion of the Merger Consideration determined in accordance with Section 2.2(c) of this
Agreement and any Certificate so surrendered shal) forthwith be cancelled. No interest shall be paid

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or accrued on the Merger Consideration. If any payment of the Merger Consideration is to be made
to a Person other than the Person in whose name the applicable surrendered Certificate is registered,
then it shall be a condition to the payment of such Merger Consideration that (a) the Certificate so
surrendered shall be properly endorsed or shall be otherwise in proper form for transfer and delivered
to the Surviving Corporation and (b) the Person requesting such payment shall have (i) paid any
transfer and other Taxes required by reason of such payment in a name other than that of the
registered holder of the Certificate surrendered or (ii) established to the reasonable satisfaction of
Buyer that any such Taxes either have been paid or are not payable. Until surrendered as
contemplated by this Section 1.11, cach Certificate (other than shares to be canceled pursuant to
Section 1,8(b) and Dissenting Shares as provided in Section 1.12) shall at any time after the Effective

Time represent solely the right to receive upon such surrender the applicable portion of the Merger |
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Consideration determined in accordance with Section 2,2(c). ao

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Section 1.12. Dissenting Shares. Notwithstanding anything to the contrary in this
Agreement, any shares of Company Common Stock issued and outstanding immediately prior to the
Effective Time that are held by a holder who (i) has properly exercised his, her-or its dissenters’
rights in accordance with the WBCL and (iii) has not effectively withdrawn, failed to perfect or
otherwise lost his, her or its rights to appraisal (collectively, the “Dissenting Shares”), shall not be
converted as described in Section 1.8, but, at the Effective Time, by virtue of the Merger and without
any action on the part of the holder thereof, shall be cancelled and shail be converted into the right to
receive only such consideration as determined to be due to such holder as provided in the WBCL;
provided, however, if such holder effectively withdraws his, her or its exercise of dissenters’ rights or
fails to perfect or otherwise loses his, her or its dissenters’ rights, in any case, pursuant to the WBCL,
then such holder’s shares of Company Common Stock shail be treated as having been cancelled and
to have been converted, as of the Effective Time, into the right to receive a portion of the Merger
Consideration pursuant to Section 1,.8(a), without any interest thereon, upon surrender of the
Certificate or Certificates formerly representing such shares.

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a ARTICLE 2

 
 

MERGER CONSIDERATION; PAYMENT

ras ° Section 2.1. Merger Consideration. The aggregate amount of cash into which the

shares of Company Common Stock described in Section 1.8(a) shall be converted upon the
consummation of the Merger shall be an amount equal to $86,000,000 minus the sum of (i) the
Shareholder Liability Amount and (ii) the Company Transaction Expenses (the “Merger

Consideration”).
Section 2.2. Payment of Merger Consideration. At the Closing or, if applicable in
the case of subclanse (c) below, on such later date as the applicable Letter of Transmittal is delivered

to Buyer or the Surviving Corporation as indicated below, Buyer, on behalf of Merger Sub, shall
deliver the Merger Consideration by wire transfer of immediately available funds free of costs and

charges as follows:

(a) to the Escrow Agent for deposit in the Escrow Account, the Escrow
Deposit;

(b) to the Shareholders’ Representative for deposit in the Administrative
Expense Account, the Administrative Expense Deposit;

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(c) as and when contemplated by Section 1.11, to each Shareholder
holding shares of Company Common Stock immediately prior to the Effective Time (for
the avoidance of doubt, other than the Dissenting Shares and shares of Company Common
Stock held by the ESOP) who has delivered a Letter of Transmittal (together with any
Certificate or an affidavit of loss meeting the criteria set forth in Section 1.10 and such
other documents as may be reasonably required pursuant to the Letter of Transmittal) to
Buyer or the Surviving Corporation, into an account designated in such Letter of
Transmittal, an amount equal to (i) the product of (A) the Per Share Merger Consideration
multiplied by (B)} the total number of shares of Company Common Stock held by such
Shareholder, minus (ii) such Shareholder’s Pro Rata Share of the Escrow Deposit, minus
(iii) such Shareholder’s Pro Rata Share of the Administrative Expense Deposit and minus
(iv) the amount of employment-related Tax withholding imposed upon such Shareholder a as \
a Current Employee or Former Employee of the Company in respect of payment therefor i in )

accordance with Section 2.2(d); oO o, as

(d) to the Company, the aggregate amount of employment-related Tax
withholdings imposed upon each Shareholder who is. or was an employee of the Company
to the extent the amount paid to such Shareholder under Section 2.2(c) is reduced by such
Tax withholding. For purposes of determining the amount of any employment-related Tax
withholding imposed on a Shareholder, the Parties shall take the position that amounts
attributable to each Sharcholder’s share of amounts in the Escrow Account and the
Administrative Expense Account shall not be subject to Tax withholding until such
amounts are released and payable to the Shareholder pursuant to the terms of the Escrow

Agreement or Section LLL, as the case may be; and

(ce) "as and ‘wien contemplated by Section 1.11, to the ESOP Trustee, into
an account designated by the ESOP Trustee, an amount equal to the product of (i) the Per
Share Merger Consideration multiplied_by (ii} the total number of shares of Company
one Stock held by the ESOP.

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° (f) Notwithstanding anything to the contrary set forth in this Agreement,

Bue, Merger Sub, the Company and the Surviving Corporation will be entitled to deduct
“and withhold from the consideration otherwise payable pursuant to this Agreement to any
holder of shares of Company Common Stock such amounts as are required under the Code
or any provision of state, local or foreign Tax Law. To the extent that amounts are so
withheld by Buyer, Merger Sub, the Company or the Surviving Corporation, such withheld
amounts will be treated for all purposes of this Agreement as having been paid to the holder
of shares of Company Common Stock in respect of which such deduction and withholding
were made by Buyer, Merger Sub, the Company or the Surviving Corporation. The Parties
shall cooperate in good faith to minimize the amount of any Taxes withheld. -

Section 2.3. Payment of Company Transaction Expenses. At the Closing, Buyer,
on behalf of Merger Sub, shat! deliver to each of the recipients set forth in the applicable Payoff

Letters, the Company Transaction Expenses.

Section 2.4. Tax Treatment of Certain Payments. Any indemnity payments made
pursuant to Section 8.1(a) shali be deemed to be, and each of Buyer, the Surviving Corporation and
the Shareholders shal] treat such payments as, an adjustment to the Merger Consideration for Tax
purposes, unless otherwise required by applicable Law.

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ARTICLE 3
REPRESENTATIONS AND WARRANTIES

Section 3.1. Representations and Warranties of the Company. As a material

inducement for Buyer and Merger Sub to enter into this Agreement and except as set forth in the
disclosure schedule delivered by the Company to Buyer and Merger Sub concurrently with the

execution and delivery of this Agreement (the “Company Disclosure Schedule”), the Company
represents and warrants to Buyer and Merger Sub as of the date hereof and as of the Closing as

follows:

(a) Organization and Qualification. The Company and each of; sits

Subsidiaries is a corporation or other entity duly organized, validly existing and in good |
standing under the laws of the jurisdiction of its incorporation or organization. Each of the."
Company and its Subsidiaries has all requisite company power, legal right and authority’to
own, operate and lease its properties and to carry on its business as and where it currently
conducts its business. The Company and each of its Subsidiaries is’ ‘duly ‘qualified or
licensed to do business as a foreign corporation or other entity and is in good standing in
each jurisdiction wherein the character of the properties ‘owned by ‘it, or the nature of its
business, makes such qualifi ication or licensing necessary, except where the failure to be so
qualifi ied or licensed or in good standing would not, individually or in the aggregate, result
in a liability that is material to the Company and its Subsidiaries taken as a whole. The
Company has made available to Buyer complete and correct copies of the certificate of
incorporation and by-laws (or similar organizational documents) of the Company and each
of its Subsidiaries, each as amended to date. Section 3.1(a) of the Company Disclosure
Schedule sets forth the directors (or managers) and officers of the Company and each of its

Subsidiaries. “y “4,
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2” “(b)” Authorization.

me (i) Authority and Approval. The Company has full power and
'~ guthority to execute and deliver this Agreement and the Related Documents to
which it is a party and, subject to receipt of the Company Requisite Shareholder

Vote, to consummate the transactions contemplated hereby and thereby. The
execution, delivery and performance by the Company of this Agreement and the

Related Documents and the consummation by the Company of the transactions
contemplated hereby and thereby have been duly and validly authorized by the

Board of Directors of the Company (the “Company Board”). No other or further

corporate act or proceeding on the part of the Company is necessary to authorize

this Agreement or the Related Documents or the consummation by the Company

of the transactions contemplated hereby and thereby, except, with respect to this
Agreement and the transactions contemplated hereby (including the Merger), for

the affirmative vote of the holders of a majority of the outstanding shares of
Company Common Stock (the “Company Requisite Shareholder Vote”) and the

ESOP Approval. This Agreement and each of the Related Documents has been

duly executed and delivered by the Company and, assuming the due authorization,

execution and delivery of this Agreement and each of the Related Documents by

the other parties hereto and thereto, this Agreement and each of the Related
Documents constitutes a valid and binding obligation of the Company, enforceable

 

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against the Company in accordance with their respective terms, except as such
enforcement may be limited by bankruptcy, insolvency, reorganization,
moratorium or other similar Laws affecting creditors’ rights generally and by
general equitable principles (whether considered in a proceeding at Law or in
equity) and in the discretion of the court before which any proceeding therefor
may be brought.

(ii) | Recommendation. The Company Board has unanimously,
by resolutions duly adopted at a meeting duly called and held at which all directors
were present and voted, which resolutions have not been rescinded, modified or
withdrawn in any way, (A) approved, and declared advisable, this Agreement and
the transactions contemplated by this Agreement, including the Merger, upon ‘the ©.
terms and subject to the conditions set forth herein, (B) determined that ‘this |
Agreement and the transactions contemplated by this Agreement, including the*
Merger, taken together, are at a price and on terms that are advisable and in’ the
best interests of the Company and the Shareholders and d(C) recommended that the
Shareholders adopt this Agreement. og

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(c) No Violation. Neither the execution and delivery by the Company of
this Agreement or the Related Documents nor the consummation by the Company of the
transactions contemplated hereby and thereby (i) will violate or result in the violation of, or
constitute a default under (whether with or without the giving of notice, lapse of time or
both), any provision of any Law or Order applicable to the Company or any of its
Subsidiaries or by which any material asset of the Company or any of its Subsidiaries is
bound; (ii) will require any authorization, consent or approval by, filing with or notice to
any Person (other than with respect to any Contract, which is covered exclusively by
subclause (iv) in this Section 3.1(c)) or Governmental Entity, except for (A) the
requirements of any Regulatory Law applicable to the transactions contemplated hereby,
(B) the requirements of the WBCL with respect to the filing of the Articles of Merger and

- (C) such authorization, consent, approval, filing or notice requirements that become
‘applicable solely as a result of the regulatory status of Buyer, Merger Sub or any of their

_,Fespective Affiliates; (iii) will violate, conflict with, constitute a default under, or result in

‘, ” the automatic termination of, or accelerate the performance required by, any provision of
‘4 the Restated and Amended Articles of Incorporation or Amended and Restated Bylaws of
the Company or the equivalent organizational documents of any of its Subsidiaries; (iv) will
materially breach or materially conflict with, or constitute a material default under (whether
with or without the giving of notice, lapse of time or both), or give to the other party thereto
(whether with or without the giving of notice, lapse of time or both) any right of
termination or modification (or other material contractual right, including a right to any
payment) under, the express terms of any Material Contract; or (v) will result in the
creation of any Lien upon any of the capital stock or material assets of the Company or any
of its Subsidiaries (excluding Liens created or suffered by Buyer or Merger Sub and
Permitted Liens).

(d) Capitalization. The authorized capital stock of the Company consists
entirely of (i) 50,000 shares of Preferred Stock, par value $0.01 per share, none of which
are issued and outstanding, and (ii) 250,000 shares of Company Common Stock, of which
53,128.5579 shares of Company Common Stock are issued and outstanding and, as of the
date of this Agreement, are owned beneficially and of record by the Shareholders in the

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respective amounts set forth in Section 3.1(d) of the Company Disclosure Schedule, which
Schedule also sets forth the number of shares of Company Common Stock held by the
ESOP in the aggregate and beneficially for each ESOP participant as of the date of this
Agreement. All issued and outstanding shares of Company Common Stock have been duly
authorized and validly issued, and are fully paid and nonassessable. The Company (a) has
not issued securities convertible into or exchangeable for any capital stock or other equity
securities of the Company, (b) has not issued options, wasrants, preemptive rights, rights of
first refusal or other rights to purchase or subscribe to any capital stock or other equity
securities of the Company or securities that are convertible into or exchangeable for any
capital stock or other equity securities of the Company and (c) is not party to any Contract
relating to the repurchase, redemption, issuance, ownership, voting, sale, transfer or
disposition of any capital stock or other equity securities of the Company, any such *.
convertible or exchangeable securities or any such options, warrants, preemptive rights,
rights of first refusal or other rights. Neither the Company nor any of its Subsidiaries‘owns o
any capital stock or other equity securities of any other Person. a ON Ne

(e) Subsidiaries. Section 3.1(e) of the Company Disclosure Schedule sets
forth a correct and complete list of all direct and indirect Subsidiaries of the Company. The
Company owns, directly or indirectly, all of the issued and Gutstanding shares of capital
stock and other equity securities of each of its Subsidiaries, free and clear of all Liens
(excluding Liens created or suffered by Buyer or Merger Sub and Permitted Liens). All
issued and outstanding shares of capital stock and other equity securities of each Subsidiary
that are owned, directly or indirectly, by the Company have been duly authorized and
validly issued, and are fully paid and nonassessable. None of the Company's Subsidiaries
(i) has issued securities convertible into or exchangeable for any capital stock or other
equity securities of such Subsidiary, (ii) has issued options, warrants, preemptive rights,
rights of first refusal or other rights to purchase or subscribe to any capital stock or other
equity securities of such Subsidiary or securities that are convertible into or exchangeable
for any capital stock or other equity securities of such Subsidiary or (iii) is party to any

. "Contract relating to the repurchase, redemption, issuance, ownership, voting, sale, transfer
a % "_,. ‘of disposition of any capital stock or other equity securities of such Subsidiary.
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oe (f) Financial Statements.

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(i) Section 3.1(fi) of the Company Disclosure Schedule
contains true and complete copies of (A) the audited consolidated financial
statements (consisting of balance sheets, statements of income and comprehensive
income, statements of cash flows, statements of shareholders’ equity and notes to
financial statements) of the Company and its Subsidiaries for each of the fiscal
years ended March 31, 2014 and March 31, 2013, which financial statements have
been reported on, and are accompanied by, the signed, unqualified opinion of
PricewaterhouseCoopers LLP, independent accountants for the Company and its
Subsidiaries for such years, and (B) an unaudited consolidated balance sheet of the
Company and its Subsidiaries as of November 30, 2014 (the “Recent Balance
Sheet”) and unaudited consolidated statements of income and comprehensive
income, cash flows, and shareholders’ equity of the Company and its Subsidiaries
for the eight months then ended (subclauses (A) and (B) collectively, the
“Financial Statements”). The Financial Statements were prepared in accordance
with GAAP, as in effect on the respective dates of the Financial Statements and

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applied on a basis consistent with past practice (except as set forth in the notes to
the audited Financial Statements), and fairly present, in all material respects, the
consolidated financial condition and results of operations of the Company and its
Subsidiaries as of the dates thereof and for the periods covered thereby (except in
the case of the unaudited Financial Statements as of and for the period ended
November 30, 2014, for normal year-end adjustments and the absence of footnote

" disclosure).

(ii) | The Company’s Net Working Capital is consistent with the
normal operations of the Company’s business.

(iil) | Neither the Company nor any of its Subsidiaries has any “y
material liabilities that would be required to be reflected or reserved against on. a,
consolidated balance sheet of the Company and its Subsidiaries preparéd in
accordance with GAAP {as applied by the Company and its Subsidiaries, on a
consistent basis), other than (A) liabilities reflected or reserved against on the
Recent Balance Sheet and (B) liabilities incurred in the ordinary course of
business since the date of the Recent Balance Sheet. ° Ss

(iv) As of the close ‘of business | on the Business Day
immediately preceding the date of this Agreement, neither the Company nor any
of its Subsidiaries had any outstanding Indebtedness.

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~@ Rae, The Company and each Subsidiary has filed (or has

had filed on its behalf) all Tax Returns that it was required to file under applicable

Laws and regulations. All such Tax Returns were correct and complete in all

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‘respects and were prepared i in compliance with all applicable Laws and regulations.
_ All Taxes due and owing by (or with respect to the operations of) the Company and
> each Subsidiary as of the date of the Recent Balance Sheet have been paid or
~ accrued as of such date in accordance with GAAP, as in effect on the date of the

Recent Balance Sheet and applied on a basis consistent with past practice. Neither
the Company nor any Subsidiary is the beneficiary of any extension of time within
which to file any Tax Return. Since January 1, 2012, neither the Company nor any
of its Subsidiaries has received written notice from any Governmental Entity in a
jurisdiction in which the Company or a Subsidiary does not file Tax Returns that the
Company or such Subsidiary, as applicable, is or may be subject to taxation by that
jurisdiction. There are no Liens for Taxes (other than Taxes not yet due and payable
or that are being contested in good faith by appropriate proceedings) upon any of the
assets of the Company or any Subsidiary.

(i) Audits. As of the date of this Agreement, (A) there is no
audit examination, deficiency or proposed adjustment pending or, to the knowledge
of the Company, threatened with respect to any Tax Returns filed or Taxes due and
owing by the Company or any of its Subsidiaries, and (B) there are no outstanding
Contracts or waivers extending the statutory period of limitations for a Tax
assessment applicable to any Tax Returns of the Company or any of its Subsidiaries
with respect to a taxable period for which such statute of limitations is stil] open.

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(iii) | Neither the Company nor any Subsidiary has waived any
statute of limitations in respect of Taxes or agreed to any extension of time with
respect to a Tax assessment or deficiency that remains in effect as of the date of this
Agreement.

(iv) The Company bas not been a United States real property
holding corporation within the meaning of Code §897(c)(2) during the applicable
period specified in Code §897(c)(1)(A)ii). Neither the Company nor any Subsidiary
is a party to or bound by any Tax allocation or sharing agreement, other than
pursuant to the customary provisions of any agreement entered into in the ordinary
course of business the primary purpose of which is not related to Taxes (such as
leases, licenses or credit agreements). Neither the Company nor any Subsidiary (A) YY
has been a member of an affiliated group filing a consolidated federal income Tax
Return (other than a group the common parent of which was the Company) atid (B) ”
has any liability for the Taxes of any Person (other than the Company ;or a
Subsidiary) under Treas. Reg. §1.1502-6 (or any similar provision of state, local, or
foreign law), as a transferee or successor, by contract, or otherwise {in the case of
clause (B), other than pursuant to the customary provisions of any agreement entered
into in the ordinary course of business the primary purpose of which is not related to
Taxes (such as leases, licenses or credit agreements). at

(v) Neither the Company nor any Subsidiary will be required to
include any item of income in, or exclude any item of deduction from, taxable
income for any taxable period (or portion thereof) ending after the Closing Date as a
result of any: 5) o>

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_ + @)__ change in method of accounting for a taxable period
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(ii) “closing agreement” as described in Code §7121 (or
any corresponding or similar provision of state, local or foreign income Tax
Law) executed on or prior to the Closing Date;

(iii) intercompany transaction or excess loss account
described under Code §1502 (or any corresponding or similar provision of
state, local or foreign income Tax Law) completed on or prior to the date of
this Agreement;

(iv) installment sale or open transaction disposition made
on or prior to the Closing Date;

(v) prepaid amount received on or prior to the Closing
Date; or

(vi) election under Code §108{i) made on or prior to the
Closing Date.

(vi) Neither the Company nor any Subsidiary has distributed
stock of another Person, or has had its stock distributed by another Person, in a

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transaction that was purported or intended to be governed in whole or in part by
Code §355 or Code §361 within the prior three years.

(vii) Neither the Company nor any Subsidiary has engaged in any
“listed transaction” as defined in the Treasury Regulations promulgated under §6011
of the Code.

(viii} The Company has not (A) received from any current
Shareholder a written election under Code §83(b) or (B) claimed a deduction on any
Tax Return of the Company, in each case, relating to any share of restricted
Company Common Stock that remains subject to vesting as of the date of this
Agreement and as of immediately prior to the Closing, which vesting will, ‘be S
triggered as a result of the consummation of the transactions contemplated by this

Agreement (“Restricted Stock”). . ee NoX
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(ix) Each Shareholder of the Company as of the date of this
Agreement is either (A) a natural person, (B) a trust as described in Code
§1361(c)(27) or (C) an exempt organization described i in Code + §1361(c)(6).

(h) Accounts Receivable. All accounts receivable reflected on the Recent
Balance Sheet, and all accounts receivable of the Company and its Subsidiaries that have
arisen from the date of the Recent Balance Sheet, (i) arose out of bona fide arm’s length
transactions made in the ordinary course of business consistent with past practice, (ii) are
(or will be) the legally binding obligations of the Persons obligated to pay such amounts
and (iii) are not subject to any written dispute (except to the extent any such dispute is
reflected in the reserves for doubtful accounts shown on the Recent Balance Sheet in the
case of accounts receivable reflected on the Recent Balance Sheet).

: 8 “a: d twentionally Omitted.
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Gj) Absence of Certain Changes. Since the date of the Recent Balance
‘ Sheet, there has not been a Company Material Adverse Effect. Except as expressly

Lo -Fequired by this Agreement or permitted under Section 4.3, since the date of the Recent

“Balance Sheet, the Company and its Subsidiaries have operated only in the ordinary course
of business and there has not been any action taken by the Company or any of its
Subsidiaries of the type described in Section 4.3, which had such action been taken by the
Company or any of its Subsidiaries following the date hereof without Buyer’s approval,
would have violated Section 4,3.

(k) Litigation and Orders. (i) There is, and for the past two years there
has been, no litigation, investigation (about which the Company has knowledge), arbitration
or similar proceeding instituted (either as plaintiff or defendant) or, to the knowledge of the
Company, there is no litigation, arbitration, investigation or similar proceeding threatened
against the Company or any of its Subsidiaries, and (ii) there is and for the past two years
there has been no Order pending or, to the knowledge of the Company, threatened against the
Company or any of its Subsidiaries, other than Orders of general application (i.e., not
specifying any particular Person). Without limitation, no portion of the business or assets of
the Company or any of its Subsidiaries is subject to any Order to be sold or is being
condemned, expropriated or otherwise taken by any Governmental Entity with or without

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payment of compensation therefor, and to the knowledge of the Company, no such
condemnation, expropriation or taking has been planned, scheduled or proposed.

(1) Laws and Orders. The Company and its Subsidiaries are in
compliance and, for the past three years, have been in compliance, in each case, in all
material respects with all applicable Laws and Orders. Since January 1, 2012, neither the
Company nor any of its Subsidiaries have received written notice or other written
communication of any material violation of or material lack of compliance with any Laws
or Orders from any Governmental Entity. Al! reports required to be filed by or on behalf of
the Company or any of its Subsidiaries with any Governmental Entity have been filed and,
when filed, were correct and complete in all material respects. Since January 1, 2012, there
has been no release or disposal of any Hazardous Substance by the Company or any of its“,
Subsidiaries, and neither the Company nor any of its Subsidiaries have caused any Person
to be exposed to any Hazardous Substance, in each case, that has given rise to, ‘or-Would
give rise to, liability of the Company or any of its Subsidiaries pursuant to Environmental
Laws. ee Ve. eal

(m) Licenses and Permits. The Company and its Subsidiaries have all
material licenses, permits, approvals, authorizations, “registrations, certifications and:
consents of all Governmental Entities that are necessary for the conduct of their respective
businesses as currently conducted. Section 3.1(m) of the Company Disclosure Schedule
sets forth a true, complete and correct list of all material licenses, permits, approvals,
authorizations, registrations, certifications and consents of all Governmental Entities issued
to the Company or any of its Subsidiaries that are currently in effect. All such material
licenses, permits, approvals, authorizations, registrations, certifications and consents are
presently in full force and effect. The Company and its Subsidiaries are and have been in
compliance in all material respects with al] such licenses, permits, approvals,
authorizations, registrations, certifications and consents. All required filings with respect to
such licenses, permits, approvals, authorizations, registrations, certifications and consents

_; have been timely made and all required applications for the renewal thereof have been
" ‘timely filed (in each case, subject to any extensions applicable thereto).

aa (n) Leased Real Property. Neither the Company nor any of its
. Subsidiaries owns any real property. Section 3.1(n) of the Company Disclosure Schedule
sets forth a list of all real property currently leased or subleased by the Company or any of
its Subsidiaries (collectively, the “Leased Real Property”) or otherwise occupied by the
Company or any of its Subsidiaries. Neither the Company nor any of its Subsidiaries has
subleased, licensed or otherwise granted any Person a continuing right to use or occupy
such Leased Real Property or any portion thereof. To the knowledge of the Company, no
Person other than the Company or its applicable Subsidiary, or the owner or prime lessor of
the Leased Real Property, has any right to possess the Leased Real Property. The Company
and its Subsidiaries are in compliance in all material respects with all conditions subject to
which the occupancy and use of the Leased Real Property by the Company or its applicable
Subsidiary has been granted by the relevant Governmental Entity. To the knowledge of the
Company, there is no existing or proposed plan to construct, modify or realign any street,
highway, power line or pipeline that would materially adversely affect the current use of the

Leased Real Property by the Company or its applicable Subsidiary.

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(0) Title to and Condition of Assets.

(i) Title. The Company and each of its Subsidiaries has good
and marketable title to all of the material assets owned by it, including such owned
assets reflected in the Recent Balance Sheet (except for assets sold since the date
of the Recent Balance Sheet in the ordinary course of business). Such owned
assets are held free and clear of all Liens, other than Liens created or suffered by
Buyer or Merger Sub and Permitted Liens. The Company and each of its
Subsidiaries has a valid leasehold interest in all of the material assets leased by it
in the conduct of the Business. Such leased assets are held free and clear of all
Liens, other than Liens created or suffered by Buyer, Merger Sub, Permitted Liens _
or, to the knowledge of the Company, the owner of such leased assets. u

(ii) Condition. All material tangible personal property’ and ~
assets owned or leased by the Company or any of its Subsidiaries and used i inthe
conduct of the Business are in such working condition : ‘end, in a‘state of
maintenance and repair sufficient to permit the use of such personal property or
asset as used in the Business as presently conducted | (ordinary ‘maintenance, wear
and tear excepted). : -

(p) Insurance. The Company has made available to Buyer copies of all

insurance policies of the Company and each of its Subsidiaries with a policy period in
effect as of the date of this Agreement, other than policies that fund any Benefit Plan
(collectively, the “Company Insurance Policies”). Each Company Insurance Policy is
outstanding and in full force and effect and al] premiums and other payments due and
payable by the Company or any of its Subsidiaries under any Company Insurance Policy
have been paid in full in timely fashion. Neither the Company nor any of its Subsidiaries
has received any written notice of cancellation, threatened termination or non-renewal with
respect to any ‘Company Insurance Policy. There is no material claim by the Company or
any of i its, Subsidiaries pending under ‘any Company Insurance Policy as to which coverage

_ has ‘been denied or disputed in writing by the underwriters of such policies, other than
- customary reservation of rights provisions. The aggregate annual premium that the
“Company is paying with respect to the Company’s directors’ and officers’ liability
insurance policy for the current policy period that includes the date of this Agreement is set

forth in Section 3.1(p) of the Company Disclosure Schedule.
(q) Material Contracts. Section 3.]fq) of the Company Disclosure

Schedule sets forth a complete and accurate list of each of the following types of Contracts
to which the Company or any of its Subsidiaries is party or is bound:

(i) any Contract for the lease or sublease of real property by
the Company or any of its Subsidiaries;

(ii} | any Contract for the lease of tangible personal property by
the Company or any of its Subsidiaries that provides for an annual rental fee in
excess of $100,000 (or its foreign currency equivalent as of the date of this
Agreement) or a term that will continue for more than 12 months after the Closing
Date and cannot be terminated by either party thereto without penalty upon 60
days or less written notice;

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(iii) any Contract (including all statements of work or other
similar associated contracts issued thereunder) involving the provision of services
by the Company or any of its Subsidiaries that provides for a fee or other
consideration payable to the Company or such Subsidiary in any calendar year in
excess of $500,000 (or its foreign currency equivalent as of the date of this
Agreement) or a term that will continue for more than 12 months after the Closing
Date and cannot be terminated by any party thereto without penalty upon 60 days
or less written notice, other than Contracts for an annual update of insurable value
entered into in the ordinary course of business and providing for an annual fee or
other consideration payable to the Company or its applicable Subsidiary in an

amount less than $50,000 (or its foreign currency equivalent as of the date of this

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Agreement); at
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(iv) any Contract (including all statements of work or similar *

associated contracts issued thereunder) with a vendor or licensor that provides for
annual expenditures by the Company or any of its Subsidiaries ‘in excess of
$100,000 as of the date of this Agreement (or its foreign currency equivalent as of
the date of this Agreement) or a term that will continue for more than 12 months
after the Closing Date and cannot be terminated by either party thereto without
penalty upon 60 days or less written notice; ae

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. (v) any Contract evidencing outstanding Indebtedness or
guarantees of Indebtedness of the Company or any of its Subsidiaries;

(vi) - any Contract pursuant to the express terms of which the
Company or any of its Subsidiaries has mortgaged, pledged or otherwise placed a

" Lien (other than a Permitted Lien) on any materia! portion of the Company’s and
-~ its Subsidiaries’ assets taken as a whole;

(vii) any collective bargaining agreement or other Contract with

* any labor union, works council or other representative of a group of employees;

(viii) any employment Contract with any Current Employee that
provides for payment of an annual salary, wages, bonus, commissions or other
incentives in excess of $250,000 (or its foreign currency equivalent as of the date
of this Agreement);

(ix) any joint venture, partnership Contract or Contract with
respect to the lending or investing of funds or providing for the ownership of or
investments in the equity of any Person;

(x) any consulting, development, joint development or similar
Contract relating to any Company Intellectual Property;

(xi) any Contract that expressly grants to a third party any right,
title or interest in or to any material Company Intellectual Property, excluding
Contracts that may be cancelled by the Company or its applicable Subsidiary on
notice of not less than 30 days without liability;

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;
(xii) any Contract (excluding licenses for commercial off the
shelf computer software that are generally available on nondiscriminatory pricing
terms) pursuant to which the Company or any of its Subsidiaries obtains the right
to use any Intellectual Property material to the Business;

(xiii) any Contract containing (A) any non-competition covenant
that prohibits or that materially limits or materially restricts the future business
activity of the Company or any of its Subsidiaries with respect to the Business as
currently conducted including any exclusivity provision in favor of any third party
or (B) any provision limiting the ability of the Company or its Subsidiaries to use
or exploit any Company Intellectual Property material to the Business. -

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(xiv) any Contract which contains any most-favored ations ‘

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provision or most-favored pricing provision; and . rad
(xv) any express warranty Contract with: respect to the
Company’s or any of its Subsidiaries’ services other than client Contracts entered
into in the ordinary course of business. co Ns , a
The Company has made available to Buyer .a true and correct ‘copy of each Material
Contract, together with al] material amendments’ thereto. Each Material Contract is in full
force and effect and (i) is enforceable by the Company or its applicable Subsidiary in
accordance with its terms (except as such may be limited by bankruptcy, insolvency,
reorganization or other Laws affecting creditors’ rights generally and by general equitable
principles) and (ii) to the knowledge of the Company, assuming the due authorization,
execution and delivery thereof by each other party thereto, against each other party thereto.
Neither the Company ‘nor any of its Subsidiaries is in breach or default in any material
respect under any Material Contract and neither the Company nor any of its Subsidiaries
has taken any action which, upon giving of notice or lapse of time or both, would constitute
_ such'a material breach or default. The Company or its applicable Subsidiary (and to the
‘knowledge of the Company, the other party thereto) has performed al] material obligations
° under each Material Contract required to be performed by such party, except for such
“instances of non-performance that have been waived in writing by such other party, the
Company or its applicable Subsidiary, as the case may be. No party to any Material
Contract has given a written notice or other written communication of termination or non-
renewal of such Material Contract that is currently pending. For purposes of this
Agreement, “Material Contract” means each Contract listed or required to be listed in
Section 3.1(q) of the Company Disclosure Schedule.

(r)

(i) Benefit Plans. Section 3.1(r}{i) of the Company Disclosure
Schedule sets forth a complete and correct list of all material “employee benefit
plans,” as defined in Section 3(3) of the Employee Retirement Income Security
Act of 1974, as amended (“ERISA”), whether or not subject to ERISA, and all
material severance, separation, deferred compensation, equity or equity-based,
fringe, vacation, leave, employment, change-in-control, retirement, profit sharing,
disability, bonus, incentive, commission, welfare and other material compensation
or benefit plans, programs, policies, arrangements, or agreements, whether or not

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written, (A) that are sponsored, maintained or contributed or required to be
contributed to by the Company or any of its Subsidiaries or (B) under or with
respect to which the Company or any of its Subsidiaries has any current or
contingent obligation or liability, in each case, other than as mandated or imposed
by applicable Law (collectively, the “Benefit Plans”). The Company and its
Subsidiaries are in compliance and, for the past three years, have been in
compliance, in each case, in all material respects with all obligations applicable to
them in connection with any benefit or compensation plans or programs mandated
or imposed by applicable Law.

(ii) Available Documentation. With respect to each Benefit

Plan, to the extent applicable, the Company has made available to Buyer a true and *)

complete copy of (A) the plan document or other governing Contract. (afid each '

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amendment thereto) or a description of the terms of any unwritten Benefit Pian, ~

(B) the most recently distributed summary plan description and each summary of
material modification thereto, (C) each trust or other funding Contract, (D) the
most recent favorable IRS determination letter or opinion Jeter (in the case of a
prototype plan) received from the Internal Revenue Service (the “[RS”), (E) the
most recently prepared Form 5500 annual report, ‘actuarial report and financial
statements, and (F) with respect to the ESOP, the agreement between the
Company and the ESOP Trustee. °. a

(iii) | Multiemployer, Pension and_Post-Termination__Plans.
None of the Benefit Plans, and none of the Company, any of its Subsidiaries, or
any Person that, together with the Company or any of its Subsidiaries, at any
relevant time would be treated as a single employer under Section 414 of the Code
(each, an “ERISA Affiliate”) sponsors, maintains, contributes to, is required to

.. contribute to, or has any current or contingent liability or obligation under or with

* ~ gespect to: (A) a “multiemployer plan,” as defined in Section 3(37) of ERISA, (B)

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a plan that has two or more contributing sponsors at least two of whom are not

‘ under common control within the meaning of Section 4063 of ERISA, (C) a plan

that is or was subject to Title IV of ERISA or Section 412 of the Code, or (D) a
plan, policy, program, arrangement or agreement that provides post-retirement or
post-termination health or other welfare benefits to any Person (other than
continuation coverage required under applicable Law for which the covered
Person pays the full cost of coverage). Each of the Company, its Subsidiaries and
the ERISA Affiliates has complied and is in compliance with the requirements of
Section 4980B of the Code. None of the Company or any of its Subsidiaries has
any current or continent liability or obligation with respect to any benefit or
compensation plan, program, agreement, policy, contract or arrangement as a
consequence of at any time being considered a single employer under Section 414
of the Code with any other Person.

(iv) Compliance. Each Benefit Plan has been established,
maintained, funded and administered in material compliance in form and operation
with its own terms and in material compliance in form and operation with all
applicable Laws. All material notices, reports and information relating to the
Benefit Plans required to be filed by the Company or any of its Subsidiaries with
any Governmental Entity or provided by the Company or any of its Subsidiaries to

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participants or their beneficiaries have been timely filed and provided. There is no
litigation, action, dispute, claim, investigation, audit, demand, arbitration or
similar proceeding pending (other than routine claims for benefits being reviewed
pursuant to the plan’s internal claim and appeals process) or, to the knowledge of
the Company, threatened with respect to any Benefit Plan or against the assets of
any Benefit Plan, and there are no facts or circumstances that could reasonably be
expected to give rise to any such litigation, action, dispute, claim, investigation,
audit, demand, arbitration or similar proceeding. Each Benefit Plan intended to be
qualified under Section 401(a) of the Code is so qualified and has received a
current favorable IRS determination letter as to the tax-qualified status of the plan
and trust as to form or is a prototype covered by a favorable IRS opinion letter,
and no fact or circumstance exists that could adversely affect such Benefit Plan's
qualification. None of the Company, any of its Subsidiaries, or any employee, of
any of them or, to the knowledge of the Company, any other Person has engaged, ~
in a “prohibited transaction,” as defined in Section 406 of ERISA ¢ or Section 4975
of the Code, with respect to any Benefit Plan for which no: individual or class
exemption exists. With respect to any Benefit Plan, no breach of fiduciary duty (as
determined under ERISA) has occurred. A contributions, distributions,
reimbursements and premium payments required to be made with respect to any
Benefit Plan have been made on or before their due dates and contributions,
distributions, reimbursements, and premium payments not yet due have been made
or properly accrued. Phy NS Na

(v) , ESOP. Without limiting the generality of the foregoing
provisions of this Section 3.L(r): i) the ESOP qualifies as an “employee stock
ownership plan” ‘within the meaning of Section 4975(e)(7) of the Code and has
been maintained in form and operation in compliance with Sections 40)(a) and

“4975 of the Code; (ii) there is no loan outstanding between the ESOP and any

other Person (including any “party in interest” or “disqualified Person” as such

‘terms are defined in Section 3(14) of ERISA and Section 4975(e\(2) of the Code,
- respectively); (iii) all employer securities at any time held by the ESOP have at all

times been “employer securities” as defined in Section 409{1) of the Code and
“qualifying employer securities” as defined in Section 4975(e}(8) of the Code and
Section 407(d)(S) of ERISA; (iv) none of the Company or any of its Subsidiaries
has been subject at any time to any tax imposed by Sections 4978 and 4979A of
the Code with respect to any “disposition” by the ESOP of any shares of stock of
the Company or any of its Subsidiaries; (v) neither the ESOP nor any “fiduciary”
(as defined in Section 3(21) of ERISA) of the ESOP has at any time engaged in
any non-exempt “prohibited transaction” (as defined in Section 406 of ERISA or
Section 4975 of the Code with respect to the ESOP; and (vi) any transaction to
which the ESOP was at any time a party involving the purchase, sale or exchange
of any security complied with the applicable requirements of ERISA and the Code,
including Section 3(18) of ERISA.

(vi) Accelerated Payments. Except with respect to the ESOP
Amendment, neither the execution and delivery of this Agreement nor the

consummation of the transactions contemplated by this Agreement will, alone or
together with any other event, require either the Company or any of its
Subsidiaries to pay any compensation or benefits to any Person, accelerate the

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time of vesting, payment or distribution of any compensation or benefits, increase
the amount of any compensation or benefits, or obligate any Person to fund any

Benefit Plan.

(s) Labor Matters. Neither the Company nor any of its Subsidiaries is a
party to or otherwise bound by any collective bargaining agreement or other Contract with
any labor union, warks council or other employee representative of a group of employees.
To the knowledge of the Company: (i) no employees of the Company or any of its
Subsidiaries are legally organized or recognized as a labor organization or represented by
any labor union or labor organization with respect to their employment with the Company
or any of its Subsidiaries, in each case, other than as mandated or imposed by applicable
Law; (ii) no labor union, works council or group of employees of the Company or any of i its * ,
Subsidiaries has made a pending demand for recognition, certification, representation or 5
bargaining; (iii) there are no representation or certification proceedings or petitions pending ~
or threatened to be brought or filed against the Company or any of its Subsidiaries with at any
Governmental Entity and (iv) no other union organizing activities involving ¢ employees of
the Company or any of its Subsidiaries have occurred within the past. three} years. There are
no strikes, work stoppages, pickets, walkouts, lockouts, ‘or other material labor disputes
pending or, to the knowledge of the Company, threatened against or to which the Company
or any of its Subsidiaries is a party and no such disputes have occurred within the past three
years. Since January 1, 2011, neither the Company nor any of its Subsidiaries has
implemented any employee layoffs that have given rise to any liability of the Company or

any of its Subsidiaries under the Worker Adjustment and Retraining Notification Act of
1988, as amended, or any similar Law (collectively, the “WARN Act”). To the actual
knowledge of the Company, No executive officer or managing director. of the Company has
notified the Company that. he or she has any present intention to terminate his or her

employment vith the ¢ Company.

“O° nternational Trade Matters. The Company and its Subsidiaries
a currently a are and have been in compliance with all applicable economic sanctions Laws,"
‘including the U.S. economic sanctions Laws administered by the U.S. Department of the
"=" Treasury, Office of Foreign Asscts Control (“QFAC”), and all applicable anti-corruption
Laws, including the U.S. Foreign Corrupt Practices Act (“ECPA”) and the UK Bribery Act.
None of the Company or any of its Subsidiaries, nor any of their respective directors,
officers, employees, nor, to the knowledge of the Company, any of their respective
authorized agents or other Persons acting on their behalf is designated on, or is owned or
controlled by any Person that is designated on, any list of restricted parties maintained
under applicable economic sanctions Jaws, including the list of Specially Designated
Nationals and Blocked Persons, the Foreign Sanctions Evaders list, or the Sectoral
Sanctions Jdentifications list, all of which are maintained by OFAC. None of the Company
or any of its Subsidiaries, nor any of their respective directors, officers, employees, nor, to
the knowledge of the Company, any of their respective authorized agents or other Persons
acting on their behalf: (i) has made, paid or received any unlawful bribes, kickbacks or
similar payments to or from any Governmental Entity; (ii) has made or paid any unlawful
contributions, directly or indirectly, to a domestic or foreign political Person or candidate;
or (iii) otherwise has made or paid any improper foreign payment (as defined under the
FCPA).

 

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(u) Intellectual Property Rights.

(i) Registered Intellectual Property. Section 3.1(u) of the
Company Disclosure Schedule sets forth a list of all Company Intellectual

Property that is registered or for which a pending application for registration has
been applied for by or on behalf of the Company or one of its Subsidiaries. All
registrations set forth on Section 3.1(u) of the Company Disclosure Schedule are
subsisting and in force and, to the knowledge of the Company, are valid and
enforceable, and al] applications set forth on Section 3.1(u) of the Company
Disclosure Schedule are pending and, to the knowledge of the Company, in good

standing, All registration, maintenance and renewal fees due and payable prior to

the date of this Agreement i in connection with the Company Intellectual Propefty
set forth on Section 3.t(u) of the Company Disclosure Schedule have been aid.

To the knowledge of the Company, there are no oppositions, cancellations, -

invalidity proceedings, interferences or re-examination proceedings presefitly
pending with respect to the Company Intellectual Property set. forth, on Section
3.1{u) of the Company Disclosure Schedule. cen a 4

(ii) = Non-Infringement. .. The conduct ‘of the Business as
currently conducted does not infringe, violate or misappropriate any valid and
enforceable Intellectual Property rights of any other Person in a manner materially
adverse to the Company or any of its Subsidiaries. During the past three years,
neither the Company nor any of its Subsidiaries has received any written charge,
complaint, claim, demand, or notice alleging infringement, dilution, violation or
misappropriation of the Intellectual Property rights of any Person or challenging
the validity or enforceability of any Company Intellectual Property. To the
knowledge of the Company, no Person is infringing, violating or misappropriating

_ any of the Company's or its Subsidiaries’ rights in any of the Company
" Intellectual Property in a manner materially adverse to the Company or any of its

AN .. ‘Subsidiaries.

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(iii) Trade Secrets. The Company and its Subsidiaries have
taken commercially reasonable measures to protect the confidentiality of the trade
secrets owned or controlled by the Company and its Subsidiaries. Without
limiting the foregoing, the Company and its Subsidiaries have requested that each
Current Employee execute and deliver to the Company or its applicable Subsidiary
a Confirmation of Compliance in substantially the form made available to Buyer,
pursuant to which each Current Employee acknowledges that he or she
understands and agrees to comply with the Company’s Worldwide Corporate
Policies and Guidelines and Wortdwide Practice Policies and Standards, in each
case, in substantially the form made available to Buyer.

(iv) Company Systems. In the twelve months preceding the
date hereof, there have been no failures, breakdowns or continued substandard

performance of the computer systems, including software, hardware, servers,
networks and interfaces used by or on behalf of the Company: or any of its
Subsidiaries (the “Company Systems”) that have caused any substantial disruption
or interruption in, or to the Company’s or any of its Subsidiaries’ use of, the
Company Systems (taken as a whole) that have not been remedied.

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(v) Assets Necessary to Business. The Company and its Subsidiaries

own or have a valid right to use all of the material assets, tangible and intangible, that are
necessary for use in the conduct of the Business as currently conducted.

(w) Certain Affiliate Relationships. There are no Contracts, loans, leases,
accounts receivable, accounts payable or other legally binding agreements or transactions
(other than for employee compensation paid in the ordinary course of business and other
ordinary incidents of employment) between the Company or any of its Subsidiaries, on the
one hand, and any Shareholder, director, officer or employee of the Company or any of its
Subsidiaries, or to the knowledge of the Company, any member of such Shareholder’s,
director’s, officer’s or employee’s immediate family (related by blood, marriage or
adoption), on the other hand. No Shareholder, director, officer or employee of the aN
Company or any of its Subsidiaries owns or has any ownership interest in any“of the y

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material assets used in the conduct of the Business as currently conducted. | eR
we OO Tad
(x) Fees. Neither the Company nor any of its Subsidiaries has paid or
may become obligated to pay any fee or commission to any broker, finder ‘or investment
banker in connection with the transactions contemplated by ‘this , Agreement or the
negotiation thereof. 4 NEE

Section 3.2. resentations and W jes_of B d_ Merge:
material inducement for the Company to enter into this Agreement and except as set forth in the
disclosure schedule delivered by Buyer tothe Company concurrently with the execution and delivery
of this Agreement (the “Buyer Disclosure Schedule”), Buyer and Merger Sub make the following
representations and warranties to the Company. and the Shareholders:

(a) Organization and Qualification. Each of Buyer and Merger Sub is a
limited liability company or corporation duly organized, validiy existing and in good”
standing under the Jaws of the jurisdiction of its organization or incorporation. Each of

_ Buyer and Merger Sub has all requisite company power, legal right and authority to own,

~ “operate and lease its properties and to casry on its business as and where it currently

“ conducts its business. Each of Buyer and Merger Sub is duly qualified or licensed to do

-_* business as a foreign limited liability company or corporation and is in good standing in

. each jurisdiction wherein the character of the properties owned by it, or the nature of its

business, makes such licensing or qualification necessary.

(b) Authorization. Each of Buyer and Merger Sub has the ful] power and

authority to execute and deliver this Agreement and the Related Documents to which it is a
party and to consummate the transactions contemplated hereby and thereby. The execution,
delivery and performance by Buyer and Merger Sub of this Agreement and the Related
Documents and the consummation by Buyer and Merger Sub of the transactions
contemplated hereby and thereby have been duly and validly autharized by the Board of
Managers of Buyer and the Board of Directors of Merger Sub. No other or further
company act or proceeding on the part of Buyer or Merger Sub is necessary to authorize
this Agreement or the Related Documents or the consummation by Buyer and Merger Sub
of the transactions contemplated hereby and thereby. This Agreement and each of the
Related Documents has been duly executed and delivered by each of Buyer and Merger
Sub and, assuming the due authorization, execution and delivery of this Agreement and the
Related Documents by the other parties hereto and thereto, this Agreement and each of the

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Related Documents constitutes a valid and binding obligation of Buyer and Merger Sub,
enforceable against Buyer and Merger Sub in accordance with their respective terms,
except as such enforcement may be limited by bankruptcy, insolvency, reorganization,
moratorium or other similar Laws affecting creditors’ rights generally and by general
equitable principles (whether considered in 2 proceeding at Law or in equity) and in the
discretion of the court before which any proceeding therefor may be brought.

(c) No Violation. Neither the execution and delivery by Buyer and
Merger Sub of this Agreement or the Related Documents nor the consummation by Buyer
and Merger Sub of the transactions contemplated hereby and thereby (i) will violate or
result in any violation of, or constitute a default under (whether with or without the giving _

of notice, lapse of time or both), any provision of any Law or Order applicable to Buyer ¢ or >

Merger Sub, (ii) will require any authorization, consent or approval by, filing with or notice .
to any Person or Governmental Entity, except for the requirements of the WBCL” “with ”

respect to the filing of the Articles of Merger, or (iii) will violate, conflict with, constinite a
default under, or result in the automatic termination of, or accelerate “the ‘performance
required by, any term or provision of the Certificate of Formation or “Limited Liability
Company Agreement of Buyer or the Articles of Incorporation or Bylaws of Merger Sub or
of the express terms of any material Contract to which Buyer 0 or t Merger Sub is party.

(d) Litigation. There is no “fitigation, action, suit, proceeding, claim,
investigation, arbitration or similar proceeding instituted, pending or, to the knowledge of
Buyer, threatened against or involving Buyer or Merger Sub, and there is no outstanding
Order pending or, to the knowledge of Buyer or Merger Sub, threatened with respect to
Buyer or Merger Sub, that, individually or in the aggregate, would be reasonably expected
to have the effect of preventing, delaying, making illegal or otherwise interfering with any
of the transactions contemplated hereby.

“| Capitalization of Merger Sub. The authorized capital stock of Merger
-- Sub consists of 1,000 shares of Common Stock, par value $0.001 per share, all of which are
. * ‘gutstanding, validly issued, fully paid and nonassessable. All of the issued and outstanding
"+" capital stock of Merger Sub is, and at the Effective Time will be, owned by Buyer or a
, ....’’ direct or indirect wholly-owned Subsidiary of Buyer. Merger Sub has not conducted any
business prior to the date of this Agreement and has no, and prior to the Effective Time will
have no, assets, liabilities or obligations of any nature, other than those incident to its
formation and pursuant to this Agreement and the transactions contemplated hereby.

(f) Financial Capacity. Buyer has, and at or prior to the Effective Time
Merger Sub will obtain from Buyer, funds immediately available to enable it to pay the
Merger Consideration and all other amounts that Buyer or Merger Sub is required to pay
pursuant to this Agreement.

(g) Fees. None of Buyer, Merger Sub or any of their respective Affiliates
has employed, paid or is or may become obligated to pay any fees or commissions to any
broker, finder, investment banker, consultant or other intermediary in connection with the
transactions provided for herein or in connection with the negotiation thereof.

Section 3.3. No Other Representations or Warranties. Buyer and Merger Sub
acknowledge that the representations and warranties set forth in this Agreement have been negotiated

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at arm’s length among sophisticated business entities. Except for the representations and warranties
made by the Company in Section 3.1, Buyer and Merger Sub acknowledge that none of the
Company, any Shareholder, any of their respective Affiliates or any Person acting on behalf of any of
the foregoing makes or has made any other express or any implied representation or warranty to
Buyer or Merger Sub regarding the Company, any of its Subsidiaries, the Business or any other
matter, including any information, document or material made available or provided to Buyer or
Merger Sub in certain “data rooms,” management presentations or offering or information
memoranda. EXCEPT WITH RESPECT TO THE REPRESENTATIONS AND
WARRANTIES MADE BY THE COMPANY IN SECTION 3.1, THE COMPANY AND
EACH SHAREHOLDER DISCLAIM ALL OTHER EXPRESS AND ALL IMPLIED
WARRANTIES RELATING THERETO, INCLUDING THE IMPLIED WARRANTIES OF
MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE. Without limitation,
in connection with the investigation of the Company, its Subsidiaries and the Business, Buyer and |
Merger Sub have received from or on behalf of the Company or its Affiliates certain estimates, °
projections and other forecasts and plans, including projected statements of operating revenues and
income from operations of the Business and certain business plan information. | Buyer and Merger
Sub acknowledge that there are uncertainties inherent in attempting to make such estimates,
projections and other forecasts and plans, that Buyer and Merger Sub are. familiar with such
uncertainties, that Buyer and Merger Sub are taking full responsibilicy for making their own
evaluation of the adequacy and accuracy of all estimates, projections and other forecasts and plans so
furnished to them (including the reasonableness of the assumptions underlying such estimates,
projections and forecasts) and that, except in the case of actual common Jaw fraud, Buyer and Merger
Sub shall have no claim against the Company, any Shareholder, any of their respective Affiliates or
any Person acting on behalf of any of the foregoing with respect thereto. None of the Company, any
Shareholder, any of the respective Affiliates or any Person acting on behalf of any of the foregoing
makes any representation or warranty with respect to such estimates, projections and other forecasts
and plans {including the reasonableness of the assumptions or the accuracy of the information
underlying such estimates, projections and forecasts). It is understood and agreed that nothing in this
Section 3,3 shall in any manner prohibit, limit or restrict the rights of any party hereunder in the case
of actual compton law fraud.

a ARTICLE 4

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COVENANTS PRIOR TO THE CLOSING
Section 4.1. Company Requisite Shareholder Vote. The Company, acting through

the Company Board, as soon as reasonably practicable following the execution of this Agreement by
the Company shal] request, in accordance with the WBCL, the Company Requisite Shareholder Vote
and, in accordance with Code Section 409(e) and the terms of the ESOP, the ESOP Approval.

Section 4.2. Pre-Closing Access to Information: Confidentiality. Except for
information that, if provided, would adversely affect the ability of the Company or any of its
Subsidiaries to assert attomey-client or attomey work product privilege or a similar privilege, for
information relating to communications regarding the divesture of the Company, any of its
Subsidiaries and/or the Business (including information relating to the identity of other Persons
expressing an interest in acquiring the Company, any of its Subsidiaries and/or the Business and the
terms of all such proposals), for information that, in the reasonable opinion of the Company’s legal
counsel, may result in a violation of any Law or Order or any binding Contract entered into prior to
the date of this Agreement applicable to the Company or any of its Subsidiaries and for information

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that the Company reasonably believes is competitively sensitive, the Company shall, and shall cause
each of its Subsidiaries and each of the Company’s and its Subsidiaries’ officers, key employees and
agents to, during the period commencing on the date of this Agreement and ending at the Effective
Time, furnish or cause to be furnished to Buyer and its representatives, at reasonable times and upon
reasonable notice, (a) subject to the Company’s prior written consent (which consent shall not be
unreasonably withheld, conditioned or delayed), such access, during normal! business hours, to the
Leased Real Property as Buyer reasonably requests with due regard to minimizing disruption of the
conduct of the Business and (b) such access to the books, records and other information of the
Business as Buyer reasonably requests. None of Buyer, any Affiliate of Buyer or any representative
of the foregoing shall, directly or indirectly, contact or communicate with any employees or
consultants of the Company or any of its Subsidiaries or any third party that has business dealings
with the Company or any of its Subsidiaries (including customers, vendors and lessors) with respect »

to the transactions contemplated hereby, except in consultation with the Company and then only with

the express prior written approval of the Company (such consent not to be unreasonably withheld, *
conditioned or delayed). Buyer shall treat all information obtained from or on’ behalf..of the
Company, any Shareholder, any of their respective Affiliates-or otherwise as “Evaluation Material”
under the Confidentiality Agreement, dated August 12, 2014, between the Company ‘and Buyer (the
“Confidentiality Agreement”), and Buyer shall continue to honor, ‘and cause its representatives to
honor, its obligations thereunder. At the Effective Time, the’ (Confidentiality Agreement shall
automatically terminate. sy, J »

Section 4.3. Conduct of Business Pending ‘the Closing. From the date of this

Agreement until the Effective Time, except as expressly required or permitted hereby, for actions set
forth in Exhibit 4.3, or for actions consented to by Buyer in writing (which consent shal] not be
unreasonably withheld, conditioned or delayed) or required by applicable Law:

‘(a) ‘the Company shall, and shail cause its Subsidiaries to, operate the
Business in the ordinary course, on a basis consistent with past practice and maintain Net
Working Capital consistent with the normal operations of the Company’s business;
Je \ ° (b) the Company shaJl not, and shall cause its Subsidiaries not to,
2 Bape increase or grant any increase in the salaries, wages or bonus compensation payable or to
<,  °\ i=tbecome payable to any of its employees, except for increases required under any
contractual arrangement set forth on Section 3.1(q) of the Company Disclosure Schedule or
that is not required to be set forth on Section 3.1(q) of the Company Disclosure Schedule
because it does not meet the applicable materiality threshold set forth in Section 3,1 (a);

{c) the Company shal! not, and shalj cause its Subsidiaries not to, enter
into any employment, benefits, change of control, severance or termination Contract with
any of its or their employees or any amendment thereto;

(d) the Company shall not, and shall cause its Subsidiaries not to,
implement any employee layoffs that would give rise to any notice obligations or liability
of the Company or any of its Subsidiaries under the WARN Act;

(e) the Company shall not, and shal! cause its Subsidiaries not to, (1)
incur or guaranty any Indebtedness, other than (A) intercompany borrowings among the

Company and its Subsidiaries or in the ordinary course of business and (B) borrowings in
the ordinary course of business under lines of credit in effect as of the date of this

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Agreement and in an aggregate net amount not in excess of $2,500,000, (2) make any loans,
advances or capital contributions to, or investment in, any other Person (other than a
Subsidiary) or (3) pledge or otherwise subject to any Lien (other than Liens created by
operation of law, Permitted Liens, or Liens created or suffered by Buyer or Merger Sub)
(including by merger, consolidation, or sale of stock or assets) any material property or
asset owned by the Company or any of its Subsidiaries;

(f) the Company shall not, and shall cause its Subsidiaries not to, amend
(other than amendments for the renewal of existing Leased Real Property with renewal
terms of two years or less, provided such amendments contain terms and conditions
consistent in all material respects with the existing terms and conditions of the leases for
such Leased Real Property) or terminate any Material Contract, or, other than client ».
Contracts entered into in the ordinary course of business, enter into any Contract that, if ;
entered into prior to the date hereof, would be a Material Contract; . ‘

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(g) the Company shall not, and shall cause its Subsidiaries not to, ‘amend
their respective charter, bylaws or similar organizational documents or make any changes in
the authorized or issued capita] stock or other equity securities of the he Compary or any of its
Subsidiaries;

(h) the Company shall not, and shall cause its Subsidiaries not to, issue or
authorize the issuance of, or agree to issue (whether through the issuance of granting of
options, warrants, commitments, subscriptions, rights to purchase or otherwise), any shares
of its capital stock or its other equity Securities;

(i) ‘the Company shall not, and shal) cause its Subsidiaries not to, split,
combine or reclassify any of its capital stock or issue or authorize the issuance of any other
securities in respect of, in Jieu of or in substitution for shares of its capita] stock or any of

its other equity securities;

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(j) the Company shall not declare, set aside, establish a record date for,
make or effect a distribution of any cash or cash equivalents or property to Shareholders or

. enter into any Contract with respect to the voting of its capital stock or other equity

securities (other than the Voting Agreements);

(k) the Company shall not, and shall cause its Subsidiaries not to, make
capital expenditures, or commit to make capital expenditures other than in the ordinary
course of business consistent with past practice;

(1) the Company shall not, and shall cause its Subsidiaries not to, sell,
lease, assign or otherwise transfer or dispose of any material properties or assets of the
Company or any of its Subsidiaries;

(m) the Company shall not license, permit to lapse or abandon any
material Company Intellectual Property, except entering into licenses in the ordinary course
of business;

(n) the Company shall not, and shall cause its Subsidiaries not to, acquire
any portion of the equity securities, or any material portion of the assets, of any entity or

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other business organization or ‘division thereof (whether directly or indirectly and whether
by merger, sale of stock, reorganization, recapitalization, joint venture or otherwise);

(o) the Company shall not, and shall cause its Subsidiaries not to, make
any material change in the accounting methods, principles or practices used by it, except as
required by GAAP;

(p) the Company shall not, and shal) cause its Subsidiaries not to, make
any elections, or any changes in its current elections, with respect to Taxes;

(q) the Company shall not, and shall cause its Subsidiaries not to, settle
any Tax claim or assessment relating to the Company or any of its Subsidiaries, surrender
any right to claim a refund of Taxes, consent to any extension or waiver of the limitation
period applicable to pay any Tax claim or assessment relating to the Company, or fai) to. ~”
pay any Tax as it comes due, in each case, except in the ordinary course of business and
except for the failure to pay any Taxes being disputed in | goad faith, by, Appropriate
proceedings; we e

(r) the Company shall not, and shall cause Se its Subsidiaries not to, settle or
compromise any litigation (whether or not commenced prior to the date of this Agreement);

(s) the Company shall not, and shall cause its Subsidiaries not to, enter
into any Contract (other than for employee compensation paid in the ordinary course of
business and other ordinary incidents of employment) with any Shareholder, director,
officer or employee of the Company or any of its Subsidiaries or any individual known by
the Company to be a member of such Shareholder’s, director’s, officer’s or employee’s
immediate Family (related by blood, marriage or adoption); and

. 70 the Company shall not, and shall cause its Subsidiaries not to, make a
_legally binding commitment to take any of the actions described in this Section 4.3.

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Re * . Section 4.4. Further Actions. Prior to the Closing, each Party shall cooperate with

a and assist each other Party, and shall use its reasonable best efforts, to (a) take, or cause to be taken,

“all appropriate actions and to do, or cause to be done, all things necessary, proper or advisable to
consummate the transactions contemplated hereby and make effective the transactions contemplated
by this Agreement as soon as practicable, including preparing and filing as promptly as practicable
all documentation to effect all necessary filings, notices, petitions, statements, registrations,
submissions of information, applications and other documents, and (b) obtain and maintain all
approvals, consents, registrations, permits, authorizations and other confirmations required to be
obtained from any other Person, including any Governmental Entity, that are necessary, proper or
advisable to consummate the transactions contemplated hereby; provided, however, that such
assistance and efforts shall not include any requirement of the Company or any of its Subsidiaries to
expend any money (other than expenses incurred in the ordinary course of business), incur any
liability, commence any litigation, arbitration or similar proceeding or offer or grant any
accommodation (financial or otherwise) to any Person.

Section 4.5. Exclusivity. The Company agrees that, commencing on the date of
this Agreement and until the earlier of the Effective Time or the date on which this Agreement has
been terminated in accordance with its terms (the “Exclusivity Period”), Buyer and Merger Sub shall

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have the exclusive right to consummate the transactions contemplated by this Agreement. Without
limiting the generality of the foregoing, the Company agrees that, unless this Agreement is
terminated in accordance with its terms, the Company shall not (and the Company shall not cause or
permit any Affiliate or Representative or any other Person acting on their behalf to), directly or
indirectly, through any shareholder, partner, Affiliate or Representative or otherwise, (a) solicit,
initiate or encourage the submission of any proposal or offer (an “Acquisition Proposal”) from any
Person (including any of its shareholders, Affiliates or Representatives) relating to any liquidation,
dissolution, recapitalization of, merger or consolidation with or into, or acquisition or purchase of all
or any portion of the equity interests of, or any material portion of the assets of the Company or any
other similar transactions or business combination, or (b) participate in any discussions or
negotiations regarding, or furnish to any other Person any information with respect to, or otherwise

cooperate in any way with, or assist or participate in, facilitate or encourage any effort or attempt by *
any other person or entity to do or seek to do any of the foregoing. The Company represemts that, it ;

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has suspended (and has caused its shareholders, Affiliates and Representatives to suspend), and shall =

cease for the duration of the Exclusivity Period, all contacts, discussions and negotiations with third
parties (other than Buyer and its Affiliates and Representatives) regarding any Acquisition Proposal.
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Section 4.6. Notification of Litigation. Prior to the Closing, the Company shall
promptly notify Buyer (in writing after the Company has notice thereof), and Buyer shal] promptly
notify the Company (in writing after Buyer has notice thereof), and keep such other Party advised, as
to any litigation, arbitration, investigation or similar proceeding pending and known to such Party or,
to its knowledge, threatened against such Party or any of its Affitiates that challenges the transactions
contemplated hereby. PON
“y ARTICLE 5
; . y ADDITIONAL COVENANTS
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Section 5.1. °° Post-Closing Access to Information. After the Closing, upon written
request, Buyer shall, and shall cause the Surviving Corporation to, afford Shareholders’
Representative and its counsel, accountants and other representatives, during normal business hours,
. . Yeasonable access to the books, records and other information in Buyer’s or the Surviving
'Corporation’s possession or control relating to the Surviving Corporation and its Subsidiaries with
‘respect to periods prior to the Closing, and the right to make copies and extracts therefrom at its
expense, to the extent such access is reasonably required by the Shareholders’ Representative for
financial reporting, Tax or accounting purposes; provided that, neither Buyer nor the Surviving
Corporation shall be required to disclose information to the extent the disclosure of such information
would, based on the advice of counsel, (i) result in the waiver of any attorney-client or other legal
privilege with respect to such information or (ii) contravene any applicable Laws or Orders. Without
limitation, after the Closing, Buyer shall, and shall cause the Surviving Corporation to, make
available to the Shareholders’ Representative and its counsel, accountants and other representatives,
as reasonably requested in a written notice, and to any Tax authority that is legally permitted to
receive the following pursuant to its subpoena power or its equivalent, the books, records and other
information relating to Tax liabilities or potential Tax liabilities of the Shareholders for al) periods
prior to and including the Closing Date and shall preserve all such books, records and other
: information until the expiration of any applicable statute of limitations for assessment or refund of
Taxes or extensions thereof. Notwithstanding the provisions of this Section 5.1, while the existence
of an adversarial proceeding between or among the Parties wil] not abrogate or suspend the
provisions of this Section 5,1, as to such records or other information directly pertinent to such

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dispute, the Shareholders’ Representative may not utilize this Section 5.1 but rather, absent
agreement, must utilize the rules of discovery.

Section 5.2. Employe

(a) Continuation of Employee Benefits. For a period of not less than one

year after the Closing Date (or, if shorter, during the period of continued employment of the
relevant Current Employee), Buyer shall, or shall cause the Surviving Corporation and its
Subsidiaries to, (i) provide each Current Employee a base salary at least equal to that
provided to such Current Employee by the Company or its applicable Subsidiary as of the
Effective Time and (ii) provide the Current Employees with benefit plans, programs,
agreements and arrangements (other than equity-based (including any employee stock
ownership plan), defined benefit pension, retiree or post-termination health or life ©
insurance, and non-qualified deferred compensation plans, programs, agreements’ and ~
arrangements) that are, in the aggregate, no less favorable to the Current Employees than
the benefit plans, programs, agreements and arrangements (other ‘than “ equity-based
(including the ESOP), defined benefit pension, retiree or post-termination health or life
insurance, and non-qualified deferred compensation plans, programs, agreements and
arrangements) that the Company and its Subsidiaries provide for the benefit of the Current
Employees as of the Effective Time. vo 4 Be

(b) Service Credit. Buyer shall, or shal] cause the Surviving Corporation
and its Subsidiaries to, recognize all service with the Company and its Subsidiaries through
the Effective Time for purposes of eligibility, vesting and entitlement to benefits (but not
benefit accrual) under any benefit plan, program, agreement or arrangement for which an
employee’s period of service is relevant and that is provided by Buyer or the Surviving
Corporation and its Subsidiaries for the benefit of the Current Employees after the Effective
Time (“Buyer’s Plans”) to the same extent such Current Employees’ service was
recognized by the Company or any of its Subsidiaries for the same purpose under an
analogous Benefit Plan and except to the extent such credit would result in the duplication

’ of benefits or compensation for the same period of service. Solely with respect to the
- calendar year in which the Closing Date occurs, Buyer shall, or shall cause the Surviving
. Corporation and its Subsidiaries to, use commercially reasonable efforts to (i) cause all pre-
existing condition (or actively at work or similar) limitations, eligibility waiting periods,
evidence of insurability requirements and other conditions under such group health plans to
be waived with respect to Current Employees and their respective eligible dependents to the
extent they would not apply (or were previously satisfied) under the comparable Benefit
Plan in which such Current Employees and their respective eligible dependents participated
immediately prior to the Closing, and (ii) provide Current Employees and their respective
eligible dependents with credit for any co-payments, deductibles and offsets (or similar
payments) made during the plan year in which the Closing occurs for the purpose of
satisfying any applicable deductible, out-of-pocket or similar requirements under any such
group health plan with respect to the same plan year.

(c) Company 401(k) Plan. At Jeast one Business Day prior to the Closing
Date, but contingent upon the Closing, the Company shall (i) take all actions necessary to
terminate the American Appraisal Associates Retirement Investment Plan (the “Company
401(k) Pian”) in compliance with its terms and the requirements of applicable Law, (ii)
cease all contributions to the Company 401(k) Plan with respect to compensation

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attributable to periods after the date on which the Company 401(k) Plan is terminated, and
(iii) one hundred percent vest all participants under the Company 401(k) Plan, with such
termination, cessation and vesting to be effective no later than the Business Day preceding
the Closing Date. Buyer shall provide all Current Employees who have an account balance
under the Company 401(k) Plan the opportunity to elect a direct rollover of the Current
Employee’s account balance, including an in-kind rollover of any outstanding plan loans,
under the Company 401(k) Plan to Buyer’s 401(k) defined contribution retirememt plan in
which such Current Employee will be eligible to participate following the Closing. Prior to
or at the Closing, the Company shall present evidence to Buyer in a form reasonably
satisfactory to Buyer of the Company’s compliance with the requirements of this Section
5,2(¢). Buyer shall be responsible for all costs, fees and expenses incurred by Buyer ort the 7

Company in connection with the termination of the Company 401(k) Plan. la ¢
(d) No Third-Party Beneficiaries. The Parties acknowledge and 3 ‘agree “

that all provisions contained in this Section 5,2 are included for the sole benefit of the
Parties hereto and that no third-party shall have any rights or remedies, ' including any third-
party beneficiary rights, as a consequence of this Section 5.2. Nothing i in this Section 5.2
whether express or implied, shall (i) constitute an amendment to any Benefit Plan or any
other benefit or compensation plan, program, policy, * ‘agreement or afrangement, (ii)
prohibit or limit the ability of Buyer, the Surviving Corporation, or any of its Subsidiaries
from amending, modifying, or terminating any ‘benefit or compensation plan, program,
policy, agreement or arrangement at any time ‘assumed, established, sponsored or
maintained by any of them, (iii) obligate Buyer, the Surviving Corporation or any of its
Subsidiaries to retain the employment of a particular employee or maintain any particular
compensation (except as set forth in Section 5.2(a}{i)) or benefit plan, program, policy,
agreement or arrangement, (iv) create any obligation of the Parties with respect to any
benefit or compensation plan, program, agreement or arrangement of Buyer, the Company,
the Surviving Corporation or any of their Subsidiaries following the Closing, or (v) confer
on any. ‘Current Employee or any other Person any right to employment or continued
. employment or any particular term or condition of employment (except as set forth in
- “Séction $.2(a)(i)) or limit the ability of the Buyer, the Surviving Corporation or any of their
ie Attias to terminate the employment of any employee, including any Current Employee,
A “at any time and for any or no reason.

 

Section 5.3. irectors d Employees.

(a) Indemnification. The articles of incorporation and bylaws of the
Surviving Corporation shall contain provisions no less favorable with respect to the
exculpation, indemnification and advancement or reimbursement of expenses of directors,
officers and employees of the Company and its Subsidiaries than are set forth in the
Restated and Amended Articles of Incorporation and Amended and Restated Bylaws of the
Company as in effect on the date of this Agreement. For a period of six years after the
Effective Time, Buyer shall not, and shall not permit the Surviving Corporation or any of
its Subsidiaries to, amend, repeal or otherwise modify any provision in the Surviving
Corporation’s or any of its Subsidiaries’ certificate of incorporation or bylaws (or
equivalent governing document) relating to the exculpation, indemnification or
advancement or reimbursement of expenses of any director, officer or employee (unless
required by Law), it being the intent of the Parties that the directors, officers and employees
of the Surviving Corporation and its Subsidiaries shal] continue to be entitled to such

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exculpation, indemnification and advancement or reimbursement of expenses to the full
extent of the Law. Notwithstanding anything to the contrary, the Shareholders’
Representative and cach Shareholder hereby agree that with respect to the amount of any
claim for indemnification or any payment obligation for which such Shareholder is,
pursuant to a Final Resolution, liable to any Buyer Indemnified Party under ARTICLE 8,
such Shareholder will not be entitled to seek indemnification, contribution or
reimbursement of such amount from the Surviving Corporation or any of its Subsidiaries.

(b) Insurance.

(i) Prior to the Effective Time, the Company shal] cause to be
obtained a “tail” liability insurance policy covering each Person currently covered *,
by the Company’s directors’ and officers’ liability insurance policy, and each |
Person who becomes covered by the Company's directors’ and officers’ liability ao
insurance policy prior to the Effective Time, with a claims period . of at Teast Six
and one-half years from and after the Effective Time and in amount and scope at
least as favorable as the Company’s directors’ and officers’: -Mability i insurance
policy as of the date hereof, for claims arising from: facts or events that occurred at
or prior to the Effective Time, including the transactions “contemplated by this

Agreement (the “D&O Tall Policy”). |

(ii) Prior to the Effective Time, the Company shall cause to be
obtained a “tail” errors and omissions insurance policy covering each Person
currently covered by the Company’s errors and omissions insurance policy, and
each Person who becames covered by the Company’s errors and omissions
insurance policy prior to the Effective Time, with a claims period of at least three
years from and after the Effective Time and in amount and scope at least as

_. favorable as the Company’s errors and omissions insurance policy as of the date
~”*. hereof, for claims arising from facts or events that occurred at or prior to the
\'\ Effective Time, including the transactions contemplated by this Agreement (the

| ay ‘s “E&O Tall Policy”).

‘ oe (iii) | Buyer and the Company shall each be responsible for 50%
of the aggregate premium amount for the D&O Tail Policy and the E&O Tait
Policy, which amount shall be paid in the manner set forth in this Section
S.3(bV iii). Prior to the Closing, the Company will pay or cause to be paid to the
applicable insurance provider the entire aggregate premium amount for the D&O
Tail Policy and the E&O Tail Policy, of which amount $335,509 (the “Liability
Insurance Premium Amount”) shall be a Company Transaction Expense. The
Company shall be entitled to retain the entire amount of any premium
reimbursement received by the Company with respect to its prior directors’ and
officers’ liability insurance policy and prior errors and omissions insurance policy.
For purposes of this Section 5.3(b)(iii), the aggregate premium amount shail
include all Taxes and commissions imposed upon the payment of the applicable
premium.

: (c) Successors and Assigns. If Buyer or the Surviving Corporation or
any of their respective successors or assigns (i) consolidates with or merges into any other
Person and is not the continuing or surviving corporation or entity of such consolidation or

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merger or (ii) transfers or conveys all or substantially all of its assets to any Person, then,
and in each such case, Buyer shall cause proper provision to be made so that the successors
and assigns of Buyer or the Surviving Corporation, as the case may be, expressly assume
the obligations set forth in this Section 5.3.

(d) Third Party Beneficiaries. The provisions of this Section 5.3 are (i)
intended to be for the benefit of, and shall be enforceable by, each Person who is now, or
who at any time prior to the date of this Agreement was, or who prior to the Effective Time
becomes, a director, officer or employee of the Company, any of its Subsidiaries or any
other entity that the Company or any of its Subsidiaries owns or owned an equity security
(including in his or her role as a fiduciary of the employee benefit plans of the Company or
any of its Subsidiaries) (an “Indemnified Agent”) and his or her heirs and representatives os
and (ii) in addition to, and not in substitution of, any other rights, including rights’ t to |
indemnification and advancement of expenses, that any Indemnified Agent may be entitled a
to, or hereafter acquire, under any Law, Contract, provision of the. Company’ a or ‘the
Surviving Corporation’s articles of incorporation or bylaws or otherwise, re

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Section 5.4. Intermediary Transaction. From and after. the Closing, Bayer shal)

not take any action with respect to the Surviving Corporation that would cause the transactions
contemplated by this Agreement to constitute part of a transaction that is the same as, or substantially
similar to, the “Intermediary Transaction Tax Shelter” described i in Internal Revenue Service Notices

2001-16 and 2008-111. a _ S

Section 5.5. Merger Sub Compliance: ‘Without limiting any other provision of this
Agreement, Buyer shall cause Merger Sub (and the Surviving Corporation) to comply with, and
perform its obligations under, this s Agreement.

 

Section 5. 6. ‘Further Assurances. From time to time following the Effective Time,
upon the request of any ‘other Party and without further consideration, each Party shall execute and
deliver .to the sequesting Party such documents and take such action as the requesting Party
reasoriably requests to consummate, effect, confirm or evidence the intent and purpose of the Parties

oN under this s Agreement and the transactions contemplated hereby.

Se Section 5.7. Special Litigation Matters Escrow. On the date that is 60 months
following the Closing Date (the “Step Down Date”), Buyer and Shareholders’ Representative shall
instruct the Escrow Agent to disburse to each holder of shares of Company Common Stock who
received a portion of the Merger Consideration pursuant to Section 2.2(c) (collectively, the
“Participating Shareholders”) an amount, determined based on such Participating Shareholder’s Pro
Rata Share, such that the funds then remaining in the Escrow Account, after giving effect to all such
disbursements and any reserves for any pending claims under the Escrow Agreement, would equal
the Special Indemnity Escrow Amount; provided, however, that in no event shal] Shareholders’
Representative, any Participating Shareholder or any other Person be required to contribute any
additional amount to the Escrow Account at any time following the Closing. On and after the Step
Down Date, upon the Final Resolution of each of the Special Litigation Matters, the Special
Indemnity Escrow Amount shall be reduced as follows:

(a) On the Step Down Date, if neither the Thailand Litigation nor the
Italy Litigation has reached a Final Resolution, then no amount of the Special Indemnity

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Escrow Amount shall be disbursed by the Escrow Agent to the Participating Shareholders
on the Step Down Date;

(b) On the Step Down Date: (i) if either the Thailand Litigation or the
Italy Litigation has reached a Final Resolution, then, on the Step Down Date, Buyer and
Shareholders’ Representative shail instruct the Escrow Agent to disburse to each
Participating Shareholder, an amount, determined based on such Participating
Shareholder’s Pro Rata Share, of the then remaining Special Indemnity Escrow Amount
that would result, after giving effect to all such disbursements and any reserves for any
pending claims under the Escrow Agreement, in the then remaining balance of the Special
Indemnity Escrow Amount being $6,000,000; (ii) if both the Thailand Litigation and the
Italy Litigation have reached a Final Resolution, but one or both of the Germany ~.
Threatened Litigation and the Italy Threatened Litigation have resulted in a then-pending "
litigation, arbitration or similar proceeding that has not reached a Final Resolution (each, a.”
“Pending Litigation”), then, on the Step Down Date, Buyer and : ‘Shareholders’
Representative shall instruct the Escrow Agent to disburse to ‘each ‘Participating
Shareholder, an amount, determined based on such Participating ‘Shareholder’ s Pro Rata
Share, of the then remaining Special Indemnity Escrow Amount ‘that would result, after
giving effect to all such disbursements and any reserves for any pending claims under the
Escrow Agreement, in the then remaining balance of the Special Indemnity Escrow
Amount being the lesser of (A) the aggregate amount of monetary damages sought in all
Pending Litigations and (B) $2,000,000; and (iii) if both the Thailand Litigation and the
Italy Litigation have reached a Final Resolution and neither the Germany Threatened
Litigation nor the Italy Threatened Litigation is, on the Step Down Date, a Pending
Litigation, then, on the Step Down Date, Buyer and Shareholders’ Representative shall
instruct the Escrow Agent to disburse to each Participating Shareholder, an amount,
determined based on suich Participating Shareholder’s Pro Rata Share, of the then remaining
Special Indemnity Escrow Amount that would result, after giving effect to all such
disbursements and any reserves for any pending claims under the Escrow Agreement, in the

en, remaining balance of the Special Indemnity Escrow Amount being $0.

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(c) Following the Step Down Date: (i) if either the Thailand Litigation or

the ne Italy Litigation reaches a Final Resolution, then, on the date of such Final Resolution,

Buyer and Shareholders’ Representative shall instruct the Escrow Agent to disburse to each
Participating Shareholder, an amount, determined based on such Participating
Shareholder’s Pro Rata Share, of the then remaining Special Indemnity Escrow Amount
that would result, afler giving effect to all such disbursements and any reserves for any
pending claims under the Escrow Agreement, in the then remaining balance of the Special
Indemnity Escrow Amount being $6,000,000; (ii) if both the Thailand Litigation and the
Italy Litigation reach a Final Resolution, but, cn the date of the later of the Final Resolution
of the Thailand Litigation and the Italy Litigation, one or both of the Germany Threatened
Litigation and the Italy Threatened Litigation is a Pending Litigation, then, on the date of
the later of the Final Resolution of the Thailand Litigation and the Italy Litigation, Buyer
and Shareholders’ Representative shall instruct the Escrow Agent to disburse to cach
Participating Shareholder, an amount, determined based on such Participating
Shareholder’s Pro Rata Share, of the then remaining Special Indemnity Escrow Amount
that would result, after giving effect to all such disbursements and any reserves for any
pending claims under the Escrow Agreement, in the then remaining balance of the Special
Indemnity Escrow Amount being the lesser of (A) the aggregate amount of monetary

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damages sought in all Pending Litigations and (B) $2,000,000; and (iii) if both the Thailand
Litigation and the Italy Litigation have reached a Final Resolution and neither the Germany
Threatened Litigation nor the Italy Threatened Litigation is, on the date of the later of the
Final Resolution of the Thailand Litigation and the Italy Litigation, a Pending Litigation,
then, on the date of the later of the Final Resolution of the Thailand Litigation and the Italy
Litigation, Buyer and Shareholders’ Representative shall instruct the Escrow Agent to
disburse to each Participating Shareholder, an amount, determined based on such
Participating Shareholder’s Pro Rata Share, of the then remaining Special Indemnity
Escrow Amount that would result, after giving effect to all such disbursements end any
reserves for pending claims under the Eserow Agreement, in the then remaining balance of
the Special Indemnity Escrow Amount being $0.

(d) For the avoidance of doubt, if on any date on or after the Step Down

Date, (i) both the Italy Litigation and the Thailand Litigation have reached a ‘Final x

Resolution and (ii) on or after the date of the Jater of the Final Resolution of the Jtaly
Litigation and the Thailand Litigation, (A) neither the Germany Threatened Litigation nor
the Italy Threatened Litigation is a Pending Litigation and/or (B) all Pending Litigations
have reached a Final Resolution, then, on such date, Buyer .and Sharcholders’
Representative shall instruct the Escrow Agent to “disburse ‘to each Participating
Shareholder, an amount, determined based on such Participating Shareholder’s Pro Rata
Share, of the then remaining Special Indemnity Escrow Amount that would result, after
giving effect to all such disbursements and any reserves for pending claims under the

Escrow Agreement, in the then remaining balance of the Special Indemnity Escrow
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Amount being $0. me . \,

(e) All \disbursements to be made by the Escrow Agent to the
Participating Shareholders pursuant to this Section 5.7 may be made to Shareholders’
Representative, acting as attorney-in-fact and agent of all Participating Shareholders, and

Shareholders’ Representative shall distribute all such disbursements to the Participating

‘Shareholders in accordance with their respective Pro Rata Share.
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’ Section 5.8. ‘Tax Matters. The provision of this Section 5.8 shall gover the

. allocation of responsibility as between Buyer, the Shareholders and the Shareholders’ Representative
for certain Tax matters following the Closing Date:

(a) Tax Returns. Following the Closing, the Company shall prepare and
file, at its expense, on a timely basis all Tax Returns of the Company or any Subsidiary for
any period beginning prior to the Closing Date related to Pre-Closing Income Taxes (each a
“Pre-Closing Income Tax Return”). To the extent the Company or any Subsidiary
historically utilized a paid-preparer with respect to the applicable Pre-Closing Income Tax
Return, the Company or such Subsidiary shal} utilize such paid-preparer (or such other
certified public accounting firm reasonably satisfactory to Shareholders’ Representative and
Buyer) as paid preparer for such Pre-Closing Income Tax Return. All such Pre-Closing
Income Tax Returns shall be prepared in accordance with the conventions provided in this
Section 5.8. The Company shal] pay any Pre-Closing Income Taxes shown on any such
Pre-Closing Income Tax Return (subject to indemnification as provided in ARTICLE 8).

(b) Tax Return Procedure. Following the Closing Date, Buyer shall
provide a draft of any Pre-Closing Income Tax Return (including any amended return) to

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a)
Shareholders’ Representative for its review and comment at least 30 days prior to the due
date, taking into account any available extensions (or as soon as practicable if such Pre-
Closing Income Tax Retum is due less than 30 days following the Closing Date). All
reasonable comments and changes requested by Shareholders’ Representative shall be
incorporated in the Pre-Closing Income Tax Return actually filed; provided such comments
are consistent with applicable Tax Law and the provisions of this Agreement.
Shareholders’ Representative shall provide such comments and changes no later than five
Business Days prior to the due date taking into account any available extensions (or as soon
as practicable if such Pre-Closing Income Tax Return is due less than 30 days following the
Closing Date). Any dispute with respect to the Pre-Closing Income Taxes reflected on any
Pre-Closing Income Tax Return shall be resolved in the manner provided in Section 5.8(h). _

(c) Reporting Methodologies. Except as otherwise required | ‘by :
applicable Law, Buyer, the Company and Shareholders’ Representative agree with respect “”

to each Pre-Closing Income Tax Return as follows: (i) to prepare (or cased to be preparéd)
each such Pre-Closing Income Tax Return on a basis consistent with . the Company’s
existing procedures, practices and accounting methods; (ii) to report “(and have the
Company and each Subsidiary of the Company report) any amounts paid by the Company
or any Subsidiary of the Company with respect to accountants, lawyers and investment
bankers for services in connection with the Merger, t to the extent paid or accrued on or prior
to the Closing Date, as being deductible for income Tax purposes on or before the Closing
Date (or portion of the Tax period beginning before the Closing Date and ending after the
Closing Date which ends on the Closing Date) and to not apply the “next day rule” under
Treasury Regulation section 1.1502-76(b)(1){iiXB) with respect to such deductions; (iii) to
make (and have the Company and each Subsidiary of the Company make) an election under
Revenue Procedure 20] 1-29 to deduct seventy percent (70%) of any amounts that are

-success-based fees as defi ned in Treasury Regulation section 1.263(a)-5(f); (iv) to report

(and have the Company and each Subsidiary of the Company report) the payment of any
benefit or amount tied to the Merger or accelerated vesting of any benefit tied to the Merger

as being deductible for income Tax purposes on or before the Closing Date (or portion of

~ ‘the Tax period beginning before the Closing Date and ending after the Closing Date which
'” ends on the Closing Date ending on the Closing Date) and to not apply the “next day rule”
-- under Treasury Regulation section 1.1502-76(b)(1)(ii)(B) with respect to such deductions;
(v) that no election under Section 338(g) of the Code will be made with respect to the

acquisition of the Company or any Subsidiary of the Company pursuant to this Agreement;
(vi) that no election shall be made by any Party (or any Subsidiary of such Party) under
Treasury Regulation section 1.1502-76(b}(2) (or any similar provision of applicable Law)
to ratably allocate items incurred by the Company and its Subsidiaries; (vii) any net
operating loss, if any, reported on a Pre-Closing Income Tax Return will be carried back to
the maximum extent permitted by applicable Law; (viii) to report (and have the Company
and each Subsidiary of the Company report) any gains, income, deductions, losses, or other
items realized by the Company or any Subsidiary of the Company on the Closing Date
resulting from any Buyer Closing Date Transactions as occurring on the day after the
Closing Date pursuant to the “next day rule” under Treasury Regulation section ).1502-
76(b}(1 (ii)(B) and (ix) pursuant to Treasury Regulation section 1.83-6(a), the deduction for
the vesting of the Restricted Stock shall be claimed in the Company's taxable year which
includes December 31, 2015 and, therefore, will not be claimed in a Pre-Closing Income
Tax Retum. Neither Buyer, the Company nor any Subsidiary of the Company shall file any
Pre-Closing Income Tax Return with an criginal due date, including available extensions,

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prior to the date of this Agreement for which the Company determined such filing was not
required or impractical without the prior written consent of Shareholders’ Representative.
Unless otherwise required by a determination of the applicable Tax authority that is final,
neither Buyer, the Company or any Subsidiary shail file a Tax Return that is inconsistent
with this Section 5.8 and neither Buyer, the Company nor any Subsidiary of the Company
shall take any position during the course of any Tax audit, proceeding or other dispute that
is inconsistent with any provision of this Section 5.8.

(d) Amendment. After the Closing, Buyer and the Company shall not,
and shall cause the Company or any Subsidiary to, amend, restate, or otherwise modify any
Tax Return filed by the Company or any Subsidiary with respect to a period starting prior
to the Closing Date without the prior written consent of the Stockholders’ Representative
(which consent shall not be unreasonably withheld or delayed). we NOY

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(e) Refund. Any refund or credit of income Taxes (including any interest
paid thereon) for any Pre-Closing Income Tax Retum of the Company ‘or any of its
Subsidiaries or for a period starting prior to the Closing Date (and attributable to the portion
of the period ending on the Closing Date for any Tax period ending after the Closing Date)
other than a refund or credit arising from a net operating loss, credit or similar item arising
in a taxable period beginning after the Closing Date or in the case of a taxable period which
includes but does not end on the Closing Date, the portion of such period commencing after
the Closing Date (a “Pre-Closing Income Tax Refund”), net of any reasonable out-of-
pocket expenditures incurred by Buyer, the Company or any Subsidiary of the Company in
order to obtain such Pre-Closing Income Tax Refund, shall be the property of the
Shareholders and shall be paid to Shareholders’ Representative for payment to the
Shareholders (based on each Shareholder’s Pro Rata Share) by Buyer if such amount (or the
benefit of such amount, if, for example, a Pre-Closing Income Tax Refund is credited
against income Tax for another year) is received by Buyer or the Company or any of their
respective Subsidiaries or Affiliates). Buyer shall cooperate in the filing of a claim for

__- yefund for the Company or any of its Subsidiaries with respect to any Pre-Closing Income
“ Tax’ Refund if: (A) Shareholders’ Representative reasonably requests that Buyer, the
. ~~ Company or any Subsidiary of the Company file such claim for refund; (B) all costs related
‘. “to the preparation of such claim for refund are paid for by the Shareholders; and (C) the
filing of such claim for refund does not materially and adversely affect Buyer, the Company

or any Subsidiary of the Company as reasonably determined by Buyer.

(f)  Conduct_and Notice of Audits. If an audit or examination is

commenced, an adjustment is proposed or any other claim is made by any Tax authority, or
the initiation of any discussion, filing or other action by Buyer, the Company or any
Subsidiary of the Company with respect to the Company or any of its Subsidiaries with
respect to jurisdictions that the Company and its Subsidiaries did not file a Tax Return for
such period, in each case, with respect to Taxes that are allocated to the Shareholders or for
which the Shareholders could be liable or responsible under this Agreement (together with
any related proceeding, a “Tax Proceeding”), then Buyer, the Company or the applicable
Subsidiary of the Company shal] promptly notify Shareholders’ Representative of such Tax
Proceeding (or prior to the initiation of such action, if applicable), Notwithstanding anything
to the contrary in Section 8.4, Shareholders’ Representative may elect, at the Shareholders’
expense, to have control over the conduct of such Tax Proceeding and the Company shall
take any actions (including providing powers of attorney) necessary for Shareholders’

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Representative to have such control; provided, however, that, in such case, (i) Buyer may
participate in such Tax Proceeding at its own expense; (ii) Shareholders’ Representative shall
not settle any Tax Proceeding in a manner that could reasonably be expected to adversely
affect Buyer, the Company or any Subsidiary of the Company after the Closing Date without
the prior written consent of the Buyer (which consent shal] not be unreasonably withheld,
conditioned or delayed); and (iii) Shareholders’ Representative shall keep Buyer timely
informed with respect to the commencement, status and nature of any Tax Proceeding.

(g) Cooperation on Tax Matters. Buyer, the Company, each Subsidiary
of the Company and Shareholders’ Representative shall cooperate fully, as and to the extent

reasonably requested, in connection with the filing of Tax Returns pursuant to this Section

5.8 and any audit, appeal, hearing, litigation or other proceeding or filing with respect to *

Taxes of the Company or any Subsidiary or any Sharehoider. Such cooperation shall :

include the retention (or delivery) and (upon request) the provision of records” and”

information that are reasonably relevant to any Tax proceeding and making employees
reasonably available on a mutually convenient basis to provide additional information,

explanation or testimony of any material provided hereunder. ae, 2 4

(h) Disputes. Any dispute as to any amount tof underlying Tax addressed

by this Section 5.8 shall be resolved by submission of the disputed items to an independent
certified public accounting firm reasonably satisfactory to both Buyer and Shareholders’
Representative (the “Independent Accountants”). The Independent Accountants, acting as

an expert only and not as an arbitrator, shall be instructed to resolve any such disputes

within the earlier of 30 days after its appointment or three days prior to the due date for

filing the applicable Tax Return. “The resolution of such disputes by the Independent
Accountants shall be set forth in’ writing, shall be within the range of dispute between
Buyer and Shareholders’ Representative and shal! be binding upon all Parties. The fees and
expenses of the Independent Accountants shall be borne equally by the Shareholders, on the

one hand, and Buyer, on the other hand. If any dispute with respect to a Tax Return is not

_. yesolved prior to the due date of such Tax Return, such Tax Return shall be initially filed in
~ “the manner which the Party responsible for preparing such Tax Return deems correct, and

.,” Mpon resolution, shall be adjusted in accordance with such resolution.
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ARTICLE 6
CONDITIONS PRECEDENT TO OBLIGATIONS OF BUYER AND MERGER SUB

Each and every obligation of Buyer and Merger Sub to be performed on or after the
Closing Date under this Agreement is subject to the satisfaction (or written waiver by Buyer) as of
the Closing of each of the following conditions:

Section 6.1. Accuracy of Representations and. Warranties. Each of the

representations and warranties of the Company set forth in this Agreement shall be true and correct
as of the Closing Date as though then made (other than representations and warranties of the
Company set forth in this Agreement that speak as of a specific date or time, which need be true and
correct only as of such date or time), except for breaches of representations and warranties
(determined for these purposes without giving effect to any qualification as to “materiality,”
“Company Material Adverse Effect” or similar qualification) that, individually or in the aggregate,
would not constitute a Company Material Adverse Effect; provided; however, that each Fundamental

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Representation shall be true and correct in all material respects, other than Section 3.1(d)
(Capitalization) which shall be true and correct in all respects except for any breach of such
representation that is not reasonably expected to result in Losses in excess of $750,000; and the
Company shal] have delivered to Buyer a certificate dated the Closing Date and signed by an officer
of the Company in the officer’s capacity as such confirming the foregoing.

Section 6.2. Performance of Qbligations. The Company shall have performed and
complied in all material respects with al] covenants and obligations of the Company required by this
Agreement to be performed or complied with by the Company on or prior to the Closing (it being
understood that this Section 6.2 shall be construed with respect to all covenants and obligations taken
as a whole, as opposed to each covenant and obligation individually); and the Company shall have

delivered to Buyer a certificate dated the Closing Date and signed by an officer of the Company in*.

the officer’s capacity as such confirming the foregoing.

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Section 6.3. Delivery of Documents. The Company shall have delivered, ‘or

caused to have been delivered, to Buyer the documents described in Section 9.1. Mg

Section 6.4. Legal Prohibition, No preliminary or permanent injunction or
other Law or Order (excluding Regulatory Laws and Orders arising thereunder or related thereto)
shall have been enacted, entered, promulgated, adopted, issued or enforced by any Governmental
Entity that is then in effect and has the effect of making the transactions contemplated hereby illegal
or otherwise prohibiting the consummation of the transactions contemplated hereby.

Section 6.5. Company R equisite Shareholder Vote. This Agreement and the

transactions contemplated hereby, including the Merger, shall have been approved by the Company
Requisite Shareholder Vote in accordance with the WBCL.

Section 6.6. | Company Material Adverse Effect. Since the date of this Agreement,
there shall not have occurred and be continuing a Company Material Adverse Effect.

coal a \ Section 6.7. ESOP Matters. The ESOP Financial Advisor shall have issued the
ESOP: Faimess Opinion, the ESOP Trustee shall have made and certified the ESOP Determination,

=" theESOP Approval shall have been obtained and certified by the ESOP Trustee, and the Company

‘shall have properly adopted and executed the ESOP Amendment.
ARTICLE 7
CONDITIONS PRECEDENT TO OBLIGATIONS OF THE COMPANY

Each and every obligation of the Company to be performed on or after the Closing
Date under this Agreement is subject to the satisfaction (or written waiver by the Company) as of the
Closing of each of the following conditions:

Section 7.1. Accuracy of Representations and Warranties. Each of the
representations and warranties of Buyer and Merger Sub set forth in this Agreement shall be true and

correct as of the Closing Date as though then made (other than representations and warranties of
Buyer and Merger Sub set forth in this Agreement that speak as of a specific date or time, which
need be true and correct only as of such date or time), except for breaches of such representations and
warranties (determined for these purposes without giving effect to any “materiality,” “material

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adverse effect” or similar qualification) that, individually or in the aggregate, would not reasonably
be expected to have the effect of preventing, delaying, making illegal or otherwise interfering with
any of the transactions contemplated by this Agreement; and Buyer shall have delivered to the
Shareholders’ Representative a certificate dated the Closing Date and signed by an officer of Buyer
in the officer’s capacity as such confirming the foregoing.

Section 7.2. Performance of Obligations. Buyer and Merger Sub shall have
performed and complied in all material respects with all covenants and obligations of Buyer and
Merger Sub required by this Agreement to be performed or complied with by Buyer and Merger Sub
on or prior to the Closing (it being understood that this Section 7.2 shall be construed with respect to
all covenants and obligations taken as a whole, as opposed to each covenant and obligation
individually), and Buyer shall have delivered to the Shareholders’ Representative a certificate dated
the Closing Date and signed by an officer of Buyer in the officer’s capacity as such confirming ‘the
foregoing. . Nee

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Section 7.3. Delivery of Certain Payments and Documents. . Buyer. shall ‘have

delivered, or caused to have been delivered, to the applicable payees, the wire transfer contemplated
by Section 2.2 and to the Shareholders’ Representative, each of the documents described in Section

92.

Section 7.4. No Legal Prohibition. No preliminary or permanent injunction or
other Law or Order (excluding Regulatory Laws and Orders ‘arising thereunder or related thereto)
shail have been enacted, entered, promulgated, adopted, : issued or enforced by any Governmental
Entity that is then in effect and has the effect of making the transactions contemplated hereby illegal
or otherwise prohibiting the consummation of the transactions contemplated hereby.

Section 7.5. Company Requisite Shareholder Vote. This Agreement and the
transactions contemplated hereby, including the Merger, shal? have been approved by the Company
Requisite Shareholder Vote in accordance with the WBCL.

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t "Section 7.6. ESOP Matters. The ESOP Financial Advisor shall have issued the
_ ESOP. Faimess Opinion, the ESOP Trustee shall have made and certified the ESOP Determination,
* the ESOP Approval shall have been obtained and certified by the ESOP Trustee, and the Company
“shall have properly adopted and executed the ESOP Amendment.

ARTICLE 8
INDEMNIFICATION

Section 8.1. Indemnification by Shareholders.

(2) General. From and after the Closing, and subject to the terms and
conditions of this ARTICLE 8 and the Escrow Agreement, Buyer and its Affiliates
(including the Surviving Corporation), and their respective directors, officers, employees,
shareholders, members, partners, Affiliates and controlling persons (collectively, the
“Buyer Indemnified Parties”), shall be indemnified and held harmless by the Shareholders,
solely through claims made in accordance with the Escrow Agreement, from and against all
Losses asserted against or incurred by any Buyer Indemnified Party by reason of or

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resulting from (i) any breach of any of the representations and warranties of the Company
set forth in Section 3.3, and (ii) each of the Dollar One Indemnity Items.

(b) Limitations. The Shareholders’ obligations under Section 8.1(a) shall

be subject to the following limitations:

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(i) __ the Shareholders shal) not have any liability for Losses
under Section 8.1(a) for any individual item, or group of items arising out of the
same condition or circumstance, where the Losses related thereto for which the
Shareholders would otherwise be required to provide indemnification are less than
$25,000 (the “De_Minimis Threshold”), and no Losses related thereto shall be

counted for purposes of determining whether the Deductible has been achieved; *-

provided, however, that the limitation set forth in this Section 8.1(b)() shall not

apply to the Dollar One Indemnity Items (other than Indemnified i faxes) or. an at.

of actual common law fraud by the Company; . ge?

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(ii) | the Shareholders shalf not have any laity ‘for Losses

under subclause (i) of Section 8.1(a) unless and unti! the aggregate doliar amount .

of all Losses related thereto for which she Shareholders ‘would otherwise be
required to provide indemnification exceeds an amount equal to $750,000 (the

“Deductible”), at which point the Shareholders, subject to the other provisions of
this Section 8.1(b), shall indemnify the Buyer Indemnified Parties for such Losses,
but only to the extent such Losses exceed $750,000; provided, however, that the
limitation set forth in this Section 8.1(bMii) shall not apply to the extent such
Losses result from a breach of a Fundamental Representation or an act of actual
common law fiaud y the Company;

“Gi the Shareholders shall not have any liability for Losses

_— under Section 8.1(a) to the extent the aggregate amount of Losses related thereto
‘. for which the Shareholders would otherwise be required to provide
indemnification exceeds the then current Escrow Amount held in the Escrow

Account; provided, however, that the limitation set forth in this Section 8.1(b)fiti)
shall not apply to the extent such Losses result from an act of actual common law

fraud by the Company;

(iv} except to the extent such damages are awarded to a third
party, the Shareholders shall not have any liability for Losses under Section 8.}(a)
for punitive or exemplary damages, and no Losses related thereto shall be
aggregated for purposes of subclause (ii) of this Section 8.1(b);

(v) _ the obligation of the Shareholders to indemnify the Buyer

Indemnified Parties against any Losses under Section 8.1(a) (other than the
Special Litigation Matters) shal] be reduced by the full emount of any reserve,

provision or allowance (in the form of an accrued liability or en offset to an asset

or similar item in conformity with GAAP as applied by the Company on a
consistent basis) that was specifically identified (by liability or asset or category of
liabilities or assets) on the Recent Balance Sheet with respect to the matter for
which the Shareholders would otherwise be required to provide such
indemnification; .

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(vi) the obligation of the Shareholders to indemnify the Buyer
Indemnified Parties against any Losses under Section 8.1(a) shall be reduced (A)
to take into account any Tax benefits actually realized by any Buyer Indemnified
Party with respect to such Losses, (B) by the amount received by any Buyer
Indemnified Party pursuant to any indemnification by, or any indemnification or
other agreement with, any third party with respect to such Losses and (C) by the
amount of insurance proceeds or other cash receipts or sources of reimbursement
received by any Buyer Indemnified Party from third parties, including third party
insurers, with respect to such Losses (in each case of (B) and (C), net of any
deductibles or other payments made or costs incurred in connection with such
recovery); provided, however, that (1) the Parties agree that no right of.
subrogation shal] accrue or inure to the benefit of any source of any amounts

described in this subclause (vi), (2) if the Shareholders pay to any” ‘Buyer J

Indemnified Party (through a disbursement from the Escrow Account) an ainounit
in respect of Losses and any Buyer Indemnified Party thereafter receives S froin a
third party an amount in respect of such Losses, then Buyer shall promptly repay
to the Shareholders’ Representative (who shall distribute such’ payment to the
Shareholders in accordance with their Pro Rata’ ‘Share) an amount equal to the
lesser of that sum and the amount that the Shareholders paid i in respect of such
Losses and (3) Buyer shall, and shall cause the other Buyer Indemnified Parties to,
use commercially reasonable efforts ‘to seek any contractually available
indemnification from the Company's third party subcontractors that perform
services on the Company’s behalf for the Company’s client engagements and (4)
Buyer shall, and ‘shall cause the other Buyer Indemnified Parties, to use
commercially ‘reasonable efforts to pursue available insurance under the
Company’ s and its Sybsidiaries' insurance policies;

“(vii the Shareholders shall not have any liability for Losses

~~“ under subclause (7) of Section 8,1(a) following the date that is 18 months afer the

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Closing Date; provided, however, that (1) Buyer shal] have a right to pursue a

' . claim under gubclause (i) of Section 8.1(a) (and shall be entitled to be indemnified

for any such Losses) with respect to any breach of a Fundamental Representation
until the date that is 60 months after the Closing Date, and (2) Buyer shall preserve
its right to pursue a claim under subclause (i) of Section 8.1(a) with respect to a
particular breach of representation and warranty if Buyer, prior to the expiration of
the applicable peried set forth in this Section 8.1(b\vii), delivers a notice that
constitutes an Indemnification Notice, but only with respect to the content of, and
on the basis set forth in, such Indemnification Notice;

(viii) the Shareholders shall not have any liability for Losses
under subclauses (ii) and (vy) of the definition of Dollar One Indemnity Items
following the date that is 12 months after the Closing Date; provided, however,
that Buyer shall preserve its right to pursue a claim under such provisions if Buyer,
prior to the date that is 12 months after the Closing Date, delivers a notice that
constitutes an Indemnification Notice, but only with respect to the content of, and
on the basis set forth in, such Indemnification Notice; provided further, it being
agreed and understood that Buyer shall be entitled to deliver an Indemnification
Notice with respect to subclause (v) of the definition of Dollar One Indemnity
Items as soon as an appraisal rights action has been filed;

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(ix) the Shareholders shall not have any liability for Losses in
respect of subcl i), (iii), (iv), (vi), (vii) and (viii) of the definition of Dollar
One Indemnity Items following the date that is 60 months after the Closing Date;
provided, however, with respect to subclause (viii) of the definition of Dollar One
Indemnity Items, if, as of the date that is 60 months after the Closing Date (A)
either the Italy Litigation or the Thailand Litigation has not reached a Final
Resolution or (B) there exists one or more Pending Litigations, then the Buyer
Indemnified Parties’ right to be indemnified against Losses in respect of the Italy
Litigation or the Thailand Litigation, as applicable, or such Pending Litigations
shall survive until the Final Resolution of each of the Italy Litigation and the

Thailand Litigation and al] such Pending Litigations; and a

this Agreement, nothing in this Section 8.1 will permit or require the ESOP to
indemnify any Persons, or prevent or limit the ESOP Trustee from taking such
actions as itreasonably deems necessary to satisfy its obligations under ERISA.

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(c) Mitigation. Any party seeking indemnification under this Agreement
shall make commercially reasonable efforts to mitigate any Losses as and to the extent
required by applicable Law. = me

(d) Materjality. For the purposes of determining whether there has been a
breach of any representation or warranty of the Company set forth in Section 3.1 and the
amount of Losses related thereto, the representations and warranties of the Company set
forth in Section 3.1 shall be considered without regard to any qualification as to
“materiality” or ‘Company Material Adverse Effect” set forth therein as if such
qualification were deleted from such representation and warranty; provided, however, that
this Section 8.1(d) shall not apply (i) to the representations and warranties of the Company
set forth in the first sentence of Section 3.1(j), (ii) to any reference to a “Material Contract”
or Gi) to any list of “material” documents as required to be listed in any Section of the
~_, Company Disclosure Schedule.

ae Section 8.2. Indemnification by Buyer. From and after the Closing and subject to
the terms and conditions of this ARTICLE 8, Buyer shall indemnify and hold harmless the
Shareholders and their Affiliates, and their respective directors, officers, employees, controlling
Persons, heirs and representatives, from and against all Losses asserted against or incurred by any
such Person by reason of or resulting from any (a) breach of the representations and warranties of
Buyer and Merger Sub set forth in Section 3.2, or (b) breach of the covenants of Buyer and Merger
Sub (or the Surviving Corporation) set forth in this Agreement.

Section 8.3.  Proceduses_ Relating to Indemnification Amon: er
Shareholders. As promptly as practicable following becoming aware of a claim for which
indemnification under this ARTICLE 8 can be obtained, the Party seeking indemnification under this
ARTICLE 8 (the “Indemnified Party”) shall provide written notice to the Party from whom

indemnification is sought (the “Indemnifying Party”), setting forth the specific facts and
circumstances, in reasonable detail, relating to such Loss or Losses, the amount of Loss or Losses (if

known or reasonably estimable) and the specific Section(s) of this Agreement upon which the
Indemnified Party is relying in seeking such indemnification (an “Indemnification Notice”). Except
as otherwise set forth in Section 8.1(b), an Indemnified Party’s failure to provide an Indemnification

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(x) notwithstanding the foregoing or any other provision of ‘

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Notice within the time period specified above shall not relieve the Indemnifying Party from its
indemnification obligations with respect to the subject of the Indemnification Notice, except to the
extent the Indemnifying Party is prejudiced as a result of such failure.

Section 8.4. Procedures Relating to Indemnification for Third Party Claims.

(a) Notice. As promptly as practicable following receipt of written notice
of a claim or demand made by any third party, including any Governmental Entity (a
“Third Party Claim”), for which the Indemnified Party will be seeking indemnification
hereunder, the Indemnified Party shall provide an Indemnification Notice to the

Indemnifying Party relating to the Third Party Claim. Thereafter, upon an Indemnifying
Party’s assumption of the defense of such Third Party Claim (and for so long as the >

Indemnifying Party satisfies the Control of Defense Conditions), the Indemnified Party

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shall deliver to the Indemnifying Party, as promptly as practicable, following the
Indemnified Party’s receipt thereof, copies of all notices and documents, including all court
papers, received by the Indemnified Party relating to the Third Party, ‘Claim, Except as
otherwise set forth in Section 8.1(b), an Indemnified Party’ s failure to. “provide an
Indemnification Notice within the time period specified above shall not relieve the
Indemnifying Party from its indemnification obligations with | respect to the subject of the
Indemnification Notice, except to the extent i the Indemnifying Party is prejudiced as a result
of such failure.

(b) Defense. If a Third Party Claim is made against an Indemnified

Party, then the Indemnifying Party shall be entitled to participate in the defense of the Third
Party Claim and, if the Indemnifying Party so chooses, to assume the defense of the Third
Party Claim at its own expense with nationally recognized counsel reasonably acceptable to
the Indemnified Party (it being understood that Foley & Lardner LLP or its successor shall
be deemed approved ‘for purposes of this Agreement); provided that, prior to the
Indemnifying Party assuming control of such defense, it shall first verify to the Indemnified

- Party in writing within fifteen Business Days of its receipt of the notice of a Third Party
‘Claim ‘that the Indemnifying Party shall indemnify the Indemnified Party (with no
-" reservation of rights as to the merits of the claim for indemnification by the Indemnified
’ Party but subject to the limitations set forth in Section 8.1(b), Section 8,5 and Section 8.6)
for all Losses actually incurred by the Indemnified Party with respect to such Third Party
Claim (the “Control of Defense Conditions”); and provided further that the Indemnifying
Party shal) not be entitled to assume control of such defense if (i) the claim relates to or
arises in connection with any criminal proceeding, action, indictment, allegation: or
investigation, (ii) the claim seeks monetary damages in an amount that exceeds, or that
could reasonably be expected to exceed, the amount of funds remaining in the Escrow
Account on the date that the Indemnifying Party chooses to assume the defense of such
Third Party Claim, after giving effect to any reserves for pending claims under the Escrow
Agreement (other than such Third Party Claim); (iii) the claim seeks injunctive or similar
equitable relief (excluding, for the avoidance of doubt, equitable relief claims that are
ancillary to a claim principally involving monetary damages); (iv) upon petition by the
Indemnified Party, the appropriate court rules that the Indemnifying Party failed or is
failing to appropriately prosecute or defend such Third Party Claim, or (v) the Indemnified
Party reasonably concludes that the Indemnified Party and the Indemnifying Party have
conflicting interests with respect to such Third Party Claim or that the Indemnified Party
has one or more defenses not available to the Indemnifying Party. If the Indemnifying

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Party assumes such defense by satisfying the Control of Defense Conditions, then (A) the
Indemnifying Party shall not be liable to the Indemnified Party for legal expenses
subsequently incurred by the Indemnified Party in connection with the defense of the Third
Pasty Claim while the Control of Defense Conditions continue to be satisfied and (B) the
Indemnified Party shall have the right to participate in the defense of the Third Party Claim
and to employ counsel, at its own expense, separate from the counsel employed by the
Indemnifying Party, it being understood, however, that the Indemnifying Party shall control
such defense. If the Indemnifying Party chooses to defend any Third Party Claim, then the
Indemnifying Party and Indemnified Party shall cooperate in the defense of the Third Party
Claim. Such cooperation shall include the retention and (upon the Indemnifying Party’s
request) provision to the Indemnifying Party of records that are reasonably relevant to the |
Third Party Claim and making employees available on a mutually convenient basis to *y
provide additional information and explanation of any material provided. - “Tf the |
Indemnifying Party shall control the defense of any Third Party Claim, the Indemnifying ~
Party shall obtain the prior written consent of the Indemnified Party before. entering ‘into
any settlement or compromise of, or ceasing to defend, such Third Party Claim if, pursuant
to or as a result of such settlement, compromise or cessation, injunctive or similar equitable
relief shall be imposed against the Indemnified Party (excluding, for the avoidance of
doubt, equitable relief ancillary to a claim principally involving monetary damages) or if
such settlement or compromise does not expressly and unconditionally release the
Indemnified Party from all liabilities and obligations with respect to such Third Party
Claim, without prejudice. If the Indemnifying Party, within fifteen Business Days after
receipt of an Indemnification Notice relating to a Third Party Claim, chooses not to assume
defense of the Third Party Claim or fails to defend the Third Party Claim actively and in
good faith, then the Indemnified Party shail (upon further notice to the Indemnifying Party)
have the right to undertake the defense of the Third Party Claim at the Indemnifying Party's
sole cost and expense (to the extent such Third Party Claim is otherwise indemnifiable
hereunder). With respect to the Special Litigation Matters and any matter described in
clause (v) of the definition of “Dollar One Indemnity Items,” the terms and conditions set
_-» forth on the Special Indemnification Defense Schedule attached hereto as Exhibit 8.4 shall

* control over the provisions of this Section 8.4.

BO Section 8.5. Sole Source of Indemnification. The Buyer Indemnified Parties’ sole
source of indemnification payments hereunder shall be claims made against the Escrow Amount in
accordance with the Escrow Agreement. In no event shall any Shareholder be directly liable for any
indemnification or other payment to any Buyer Indemnified Party hereunder. No Buyer Indemnified
Party shall have the right to satisfy, in whole or in part, any amounts owing to such Buyer
Indemnified Party under this Agreement, including this ARTICLE 8, or any Contract entered into
pursuant to this Agreement by setting off against, withholding or reducing any amounts owed to such
Buyer Indemnifying Party by any Shareholder. Nothing in this Section 8.5 shall in any manner limit
or restrict a Party’s rights in the case of an act of actual common Jaw fraud by Buyer, Merger Sub or

the Company.

Section 8.6. Exclusive Remedy. From and after the Closing, except in the case of
an act of actual common law fraud by Buyer, Merger Sub or the Company, the indemnification
provisions of this ARTICLE 8 shall be the sole and exclusive remedy with respect to any and all
claims arising out of or relating to this Agreement, the negotiation and execution of this Agreement
or any Contract entered into pursuant to this Agreement (except to the extent otherwise expressly set
forth therein) or the performance by the Parties of its or their terms, and no other remedy shall be had

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pursuant to any contract, misrepresentation, strict liability or tort theory or otherwise by any Party
and its officers, directors, employees, agents, affiliates, attorneys, consultants, insurers, successors
and assigns, all such remedies being hereby expressly waived to the fullest extent permitted under
applicable Law; provided that the foregoing shall not in any manner prohibit, limit or restrict the
rights of any Pasty in the case of an act of actual common Jaw fraud by Buyer, Merger Sub or the
Company. In addition to the foregoing, except in the case of an act of actual common law fraud by
the Company, the amount of indemnification obligations of the Shareholders set forth in this
ARTICLE 8 shall be the maximum amount of indemnification obligations set forth hereunder, and
neither Buyer nor Merger Sub shal] be entitled to a rescission of this Agreement (or any related
agreements) or any further indemnification rights or claims of any nature whatsoever, all of which
are hereby expressly waived by Buyer and Merger Sub to the fullest extent permitted under
applicable Law. The Buyer Indemnified Parties shall be entitled only to a single recovery J for'all i
Losses that arise in connection with the matter giving rise to a breach of representation, warranty ¢ or
covenant, even if such matter shall involve breaches of multiple representations, .¥ warrantiés and °
covenants,

ARTICLE 9
DOCUMENTS TO BE DELIVERED AT THE CLOSING
Section 9.1. Items to be Delivered by the Company At the Closing, the Company

shall deliver, or cause to be delivered, to Buyer t the ‘ollowing documents, in each case, duly executed
or otherwise in proper form: .

(a) the Escrow Agreement, executed by the Shareholders’ Representative
and the Escrow Agent; |

(b) a ‘noncompetition agreement in substantially the form attached hereto
as Exhibit 2.100) (each, a “Noncompetition Agreement”), executed by each Key Employee;

oP 1 ~_”  {¢) acash and equity incentive award agreement (each, a “Compensation
a Agreement”), substantially in the form attached hereto as Exhibit 9,1(c), executed by each
--Key Employee identified as executing a Compensation Agreement in Exhibit _11.15(b),
providing for the payment or award by Buyer or the Surviving Corporation, subject to the
terms and conditions set forth therein, of cash or equity interests in Buyer to each such
individual;

(d) _ the certificates described in Section 6.1 and Section 6.2, in each case,
in form and substance reasonably acceptable to Buyer and the Shareholders’
Representative;

(e) acopy of the resolutions of the Company Board described in Section
3.1(b\ (ii), certified by the Secretary of the Company;

(f) the resignations of the directors (or managers) and officers of the

Company and its Subsidiaries identified in Exhibit 9.1(f, effective as of the Effective
Time;
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{z) a copy of the Company Requisite Shareholder Vote, certified by the
Secretary of the Company in accordance with the Amended and Restated Bylaws of the

Company and the WBCL;

(h) the duly adopted and executed ESOP Amendment, the final ESOP
Fairness Opinion issued by the ESOP Financial Advisor and a certificate duly executed by
the ESOP Trustee certifying as to the ESOP Determination and the ESOP Approval; and

(i) all other documents, instruments or writings required to be delivered
to Buyer at or prior to the Closing pursuant to this Agreement and such other certificates of
authority and similar instruments as Buyer reasonably requests.

Section 9.2. Items to be Delivered by Buyer. At the Closing, Buyer shail. deliver,

or cause to be delivered, to the Escrow Agent the wire transfer contemplated by Section 2.2(a), to the...

obligees with respect to the Company Transaction Expenses the wire transfers contemplated: by
Section 2.3, and to the Shareholders’ Representative the wire transfers contemplated by. Section

2.2{b) and Section 2.2(d) and the following documents, in each case, duly execited ¢ or otherwise in
proper form: . :

 

 

(a) the Escrow Agreement, executed by Buyer a and id Merger Sub;

(b) the Noncompetition. Agreements, executed by Buyer;
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(c) the Compensation precios executed by Buyer;

(d) . the cortices | described in Section 7.1, and Section 7.2, i in each case,
in form and substance reasonably acceptable to the Company and the Shareholders’

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Ay te) & copy of the resolutions of the Board of Managers of Buyer
\ authorizing and approving this Agreement and the consummation of the transactions
Contemplated hereby (including the Merger), certified by the Secretary of Buyer;

   

a (f) a copy of the resolutions of the Board of Directors and sole
* shareholder of Merger Sub authorizing and approving this Agreement and the
consummation of the transactions contemplated hereby (including the Merger), certified by
the Secretary of Merger Sub; and

(g) all other documents, instruments or writings required to be delivered
to the Shareholders’ Representative at or prior to the Closing pursuant to this Agreement
and such other certificates of authority and similar instruments as the Shareholders’
Representative reasonably requests.

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ARTICLE 10
TERMINATION

Section 10.1. General. This Agreement may be terminated, and the transactions
contemplated hereby may be abandoned, only as follows:

(a) at any time prior to the Closing, by the written agreement of Buyer
and the Company;

(b) by Buyer or the Company if the Closing shall not have occurred on or

prior to Apri} 30, 2015 or such other date as Buyer and the Company agree to in writing ‘

{the “Termination Date 2”); provided, however, that if a Party seeking termination pursuant

to this subclause (b) is in breach of any of its representations, warranties or covenants set.”

forth in this Agreement and such breach would allow the other Party to refuse ‘to
consummate the transactions contemplated by this Agreement due to the condition set forth
in Section 6.1 or Section 6.2 (in the case of termination sought by the Company) or Section
7.1 or Section 7.2 (in the case of termination sought by Buyer) not being capable of being
satisfied, then that Party may not terminate this Agreement pursuant to this subclause (b);

(c) by Buyer, if Buyer is not then i in material breach of any term of this
Agreement, if there occurs a breach of any representation, warranty or covenant of the
Company or the Shareholders contained in this Agreement, and which breach is not curable
and would cause either of the closing conditions set forth in Section 6.1 or Section 6,2 to
not be capable of being satisfied on or prior to the Termination Date;
a } Lo

-(d) _ by the Company, if the Company is not then in material breach of any
term of this Agreement, if there occurs a breach of any representation, warranty or covenant
of Buyer or Merger Sub contained in this Agreement, and which breach is not curable and

- would cause either of the closing conditions set forth in Section 7.1 or Section 7.2 to not be
“¢apable of being satisfied on or prior to the Termination Date;

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(e) by Buyer or the Company, if any Governmental Entity shall have

. ve enacted, issued, promulgated, enforced or entered any Law or Order, or refused to grant any

required consent or approval, that has the effect of making the consummation of the
transactions contemplated hereby illegal or that otherwise prohibits the consummation of
transactions contemplated hereby and such Order or other action shall have become final
and non-appealable; provided, however, that the right to terminate this Agreement pursuant
to this subclanse (e) shall not be available to a Party if such Order or other action was
primarily due to the failure of such Party to perform any of its obligations under this
Agreement or such Party’s breach of any of its representations or warranties contained in
this Agreement; or

(f} by Buyer or the Company if this Agreement and the transactions
contemplated hereby, including the Merger, shal] not have been approved by the Company
Requisite Shareholder Vote in accordance with the WBCL at the meeting of shareholders
called and held by the Company for the purpose thereof after the date of this Agreement (or
of any adjournment or postponement thereof).

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Section 10.2. Post-Termination Obligations. To terminate this Agreement as
provided in subclause (b), (c), (d), (e) or (f) of Section 10.1, the terminating Party shal] provide the
other Parties with written notice of its election to terminate this Agreement, and upon delivery of

such written notice in accordance with Section 11,9:
(a) the transactions contemplated hereby shall be terminated, without
further action by any Party;

(b) Buyer and Merger Sub shall return all decuments and other materials
relating to the transactions contemplated hereby received from or on behalf of the Company
(and all copies thereof), whether so obtained before, on or after the execution and delivery

of this Agreement, to the Company in accordance with, and in the manner prescribed Dy a

the Confidentiality Agreement; and

(c) all information relating to the Company, any of its Subsidiaries, ‘the’

Business or the transactions contemplated hereby received or accumulated by. Buyer,
Merger Sub or their respective representatives shall be treated as “Evaluation Material in
accordance with the Confidentiality Agreement (as supplemented ‘by! this Agreement),
which shall remain in full force and effect, as supplemented ‘by this Agreement,
notwithstanding the termination of this Agreement. 1 ce

Section 10.3. Effect of Termination. If this Agreement is terminated as provided in
Section 10.1, then this Agreement shall forthwith become wholly void and of no further force and
effect, and there shall be no liability under this Agreement on the part of the Parties, except that the
respective obligations of the Parties under the penultimate sentence of Section 4.2 and the provisions
of Section 10.2 and ARTICLE 1) (and the Confidentiality Agreement) shall remain in full force and
effect; provided, however, that termination shall not relieve any Party from liabilities for damages
incurred or suffered by the other Parties as a result of any act of actual common law fraud by such
Party or any willful and material breach of this Agreement by such Party prior to such termination.

POA 2 ARTICLE 11
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Section 11.1. Shareholders’ Representative.

(a) Appointment. By voting in favor of the adoption of this Agreement
and the consummation of the Merger or participating in the Merger and receiving the
benefits thereof or by signing a Letter of Transmittal, each Shareholder hereby irrevocably
appoints the Shareholders’ Representative as such Shareholder’s representative, attorncy-
in-fact and agent, with full power of substitution to act in the name, place and stead of such
Shareholder in accordance with the terms of this Agreement and to act on behalf of such
Shareholder in any amendment of or litigation, arbitration or similar proceeding involving
this Agreement, and to do or refrain from doing all such further acts and things, and to
execute all such documents, as the Shareholders’ Representative shall deem necessary or
appropriate in conjunction with any of the transactions contemplated hereby, including the

power:

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(i) to execute and deliver, and administer al] matters
pertaining to performance under, the Escrow Agreement;

(ii) to administer the Administrative Expense Account in

accordance with Section 11.1(c);

(iii) _ to take all action necessary or desirable in connection with
the waiver of any condition to the obligations of the Company to consummate the
transactions contemplated by this Agreement;

(iv) to negotiate, execute and deliver all ancillary agreements,
statements, certificates, notices, approvals, extensions, waivers, undertakings, > y
amendments and other documents required or permitted to be given in connection 4
with the consummation of the transactions contemplated hereby (it- ‘being. a
understood that such Shareholder shall execute and deliver any such documents
that the Shareholders’ Representative designates and agrees to ereeule)s -

(v) to give and receive al! notices and ‘communications to be
given or received under this Agreement and to receive service of process in
connection with any claims under this Agreement and the transactions
contemplated hereby; °

(vi) to direct, 0 on behalf ¢ of such Shareholder, the payment of
any and al! amounts due and payable to such Shareholder pursuant to this

Agreements AS

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vin * to defend, agree to, object to, negotiate, resolve, enter into

_ Settlements, and compromises of, demand litigation of, and comply with orders of

“courts with respect to Third-Party Claims and claims made on the Shareholders by
ae or Merger Sub pursuant to ARTICLE 8;

- ‘. “3 (viii) to defend, agree to, object to, negotiate, resolve, enter into
; settlements and compromises of, demand litigation of, and comply with orders of
courts with respect to actions by holders of Dissenting Shares;

(ix) to incur any costs and expenses for the account of the
Shareholders, manage the payment of such costs and expenses, and make all
determinations which may be required or permitted to be taken by the
Shareholders under this Agreement, including any engagement of and/or the fees
and expenses associated with the engagement of legal counsel, accountants,
investment bankers, financial advisers and the ESOP Trustee, the ESOP Financial
Advisor and counsel to the ESOP;

(x) to control on behalf of the Shareholders the privileges and
information of the Shareholders pursuant to Section 11,12; and

(xi) to take all actions that, under this Agreement and the
Escrow Agreement and the transactions contemplated hereby and thereby, may be
taken by such Shareholder and to do or refrain from doing any further act or deed

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on behalf of such Shareholder that the Shareholders’ Representative deems
necessary or appropriate in its sole discretion relating to the subject matter of this
Agreement and the Escrow Agreement and the transactions contemplated hereby
and thereby as fully and completely as such Shareholder could do if personally
present.

(b) Access ion. Prior to the Closing, the Shareholders’
Representative shall have reasonable access to information about the Company and its
Subsidiaries and the reasonable assistance of the Company’s officers and employees for
purposes of performing the Shareholders’ Representative’s duties and exercising the
Shareholders’ Representative’s rights hereunder, including the Duff& Phelps
FilesAnywhere online data room established in connection with the transactions *
contemplated hereby (the “Data Room”), and the Shareholders’ Representative shall be |
entitled to keep, from and after the Closing, a complete copy of the Data Room (to be ”
provided by the Company on the date of this Agreement); provided, however, that, at all
times from and after the date of this Agreement, the Shareholders’ Representative’ shall (i)
use any nonpublic information from or about the Company or Buyer (including materials
contained in the Data Room) only to perform its obligations and exercise its rights under
this Agreement and (ii) treat confidentially and not disclose any ‘nonpublic information
from or about the Company or Buyer (including materials contained in the Data Room) to
anyone (except (A) as required by Law or (B) on a need to know basis to the Shareholders’
Representative’ s advisors and consultants and to the Shareholders, in each case, who agree
in writing to treat such information i in accordance with this Section 1].1(b)).

{c) Administrative Expense Account. The Shareholders’ Representative
shal] hold the Administrative Expense Amount in the Administrative Expense Account as a

fund from which the Shareholders’ Representative shall pay any fees, expenses or costs it
incurs in performing its duties and obligations under this Agreement and the other
documents and instruments executed and delivered pursuant hereto (including the Escrow
Agreement) by or on behalf of the Shareholders, including fees and expenses incurred
. pursuant to the procedures and provisions set forth in Section 8.4 and legal and consultant
~ fees, expenses and costs for reviewing, analyzing and defending any claim or process
_ "arising under or pursuant to this Agreement. At such time and from time to time that the
Shareholders’ Representative determines in its good faith discretion that a portion of the
Administrative Expense Amount will not be required for the payment of such fees,
expenses or costs, the Shareholders’ Representative shall distribute to each Shareholder
such Shareholder’s Pro Rata Share of the applicable amounts from the Administrative
Expense Account. The Shareholders will not receive any interest or earnings on the
Administrative Expense Amount and irrevocably transfer and assign to the Shareholders’
Representative any ownership right that they may otherwise have had in any such interest
or earnings. The Shareholders’ Representative will not be liable for any loss of principal of
the Administrative Expense Amount other than as a result of its willful misconduct.

(d) Liability. The Shareholders’ Representative shall not be liable to the
Shareholders for any act taken or omitted by it as permitted under this Agreement or the
Escrow Agreement and the transactions contemplated hereby and thereby, except to the
extent such act is taken or omitted by willful misconduct. The Shareholders’
Representative shall not be responsible to any Shareholder in any manner whatsoever for
any failure or inability of Buyer or any other Person to honor any of the provisions of this

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Agreement. The Shareholders’ Representative shall be fully protected by the Shareholders
in acting on and relying upon any written notice, direction, request, waiver, consent, receipt
or other paper or document which the Shareholders’ Representative in good faith believes
to be genuine (including facsimiles thereof) and to have been signed or presented by the
proper party or parties. The Shareholders’ Representative shal! not be liable to the
Shareholders for any error of judgment, or any act done or step taken or omitted by the
Shareholders’ Representative in good faith or for any mistake in fact or Law, or for
anything that the Shareholders’ Representative may do or refrain from doing in connection
with this Agreement, except for the Shareholders’ Representative’s own willful
misconduct. The Shareholders’ Representative may consult with counse! of its own choice

and shal] have full and complete authorization and protection for any action taken and

suffered by it in good faith and pursuant to the opinion of such counsel.

(e) Indemnity. The Shareholders agree, in accordance vith “eis

respective Pro Rata Share, to indemnify the Shareholders’ Representative for, and ta hold
the Shareholders’ Representative harmless against, any Losses suffered. or incurred without
willful misconduct on the part of the Shareholders’ Represetitative arising out of or in
connection with the Shareholders’ Representative exercising its rights or performing its
duties under this Agreement or the Escrow Agreement and the transactions contemplated
hereby and thereby, including costs and expenses of ‘successfully defending the
Shareholders’ Representative against any claim of liability with respect thereto. If not paid
directly to the Shareholders’ Representative by the Shareholders, any such Losses suffered
or incurred by the Shareholders’ Representative may be recovered by the Shareholders’
Representative from the Administrative Expense Amount at such time as remaining
amounts would otherwise be distributable to the Shareholders, if any; provided, however,
that, while this Section 11 .1(e) allows the Shareholders’ Representative to be paid from the
Administrative Expense Amount, this Section 11.1(e) does not relieve the Shareholders
from their obligation to promptly pay such Losses suffered or incurred by the Shareholders’
Representative as they are suffered or incurred, nor does it prevent the Shareholders’
epee from seeking any remedies available to it at law or otherwise.

a % (f) Enforcement of Agreement. The Parties acknowledge and agree that
v ‘the Shareholders’ Representative shall have the right to enforce the rights of the

Shareholders under this Agreement against Buyer and the Surviving Corporation.

Section 11.2. Publicity. The Parties agree that no public release or announcement
concerning the transactions contemplated hereby shall be issued or made by or on behalf of any Party
without the prior written consent of Buyer and the Shareholders’ Representative (which consent shall
not be unreasonably withheld, conditioned or delayed), except as such release or announcement may,
in the reasonable judgment of the releasing Party, be required by Law, in which case the Party
required to make the release or announcement shal] use commercially reasonable efforts to allow the
other Party reasonable time to comment on such release or announcement in advance of such
issuance. Except in connection with the procurement of the necessary consents and approvals, the
Parties agree to keep the terms of this Agreement confidential, except to the extent required by
applicable Law or for financial reporting purposes and except that the Parties may disclose such
terms to their respective accountants and other representatives and direct and indirect shareholders, in
connection with the ordinary conduct of their respective businesses (so long as such Persons agree to
keep the terms of this Agreement confidential; provided, however, that in connection with obtaining
the Company Requisite Shareholder Vote, the Company shall request the Shareholders to keep the

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terms of this Agreement confidential). Notwithstanding the foregoing, press releases or similar
public announcements shall not include any financial terms of the transaction unless inclusion of any
such terms is expressly agreed upon in writing by all Parties hereto or is required by applicable Law.

Section 11.3. Entire Agreement. This Agreement (including the exhibits attached
hereto, the Company Disclosure Schedule and the Buyer Disclosure Schedule), the agreements and
documents referred to herein that relate to the transactions contemplated hereby (including the
Related Documents) and the Confidentiality Agreement, supersede all prior agreements and
understandings, written and oral, and constitute (together with the other documents and instruments
to be executed and delivered pursuant hereto) a complete and exclusive statement of the terms of the
agreement among the Parties with respect to its subject matter.

Section 11.4. Assignment. No Party shall assign, transfer’ or encumber ‘this
Agreement, or its rights or obligations hereunder, in whole or in part, voluntarily or by operation of -

Law (including by virtue of a merger or similar transaction), without the prior written consent’ of
Buyer and the Shareholders’ Representative, and any attempted assignment, transfer or encumibrance
without such consent shall be void and without effect; provided, that Buyer may’ assign all of its
rights and obligations hereunder to any third party who subsequently purchases all or substantially all
of the then-existing assets or ownership interests of Buyer and its Subsidiaries in a single transaction
or seties of related transactions. Subject to the previous sentence, this Agreement shail be binding
upon, inure to the benefit of and be enforceable by the Parties and their respective permitted
successors and permitted assigns. ae .

Section 11.5. Governing Law and Language. This Agreement shall be construed

and interpreted according to the Laws’ of the State of Delaware, excluding any choice of law rules

that may direct the application of the Laws of another jurisdiction. This Agreement shall be:

construed and interpreted in accordance with the English language only, which language shall be
controlling in all respects. No translation, if any, of this Agreement shall have any force or effect in
the interpretation hereof or in the determination of the intent of the Parties hereunder.

v “

“| Section 11.6. Consent to Jurisdiction: Waiver of Jury Trial. Each Party stipulates

-- that any dispute or disagreement between or among the Parties as to the interpretation of any

provision of, or the performance of obligations under, this Agreement shall be commenced and

prosecuted in its entirety exclusively in, and consents to the exclusive jurisdiction and proper venue
of, the courts of the State of Delaware. Each Party consents to personal and subject matter
jurisdiction and venue in such court and waives and relinquishes all right to object to the suitability
or convenience of such venue or forum by reason of their present or future domiciles or by any other
reason. The Parties acknowledge that all directions issued by the forum court, including all
injunctions and other decrees, will be binding and enforceable in all jurisdictions and countries.
EACH OF THE PARTIES HEREBY IRREVOCABLY WAIVES ANY AND ALL RIGHTS TO
TRIAL BY JURY IN ANY DISPUTE OR DISAGREEMENT (WHETHER ARISING IN
CONTRACT, TORT OR OTHERWISE) ARISING OUT OF OR RELATED TO THIS
AGREEMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY.

Section J1.7. Amendment. No amendments or supplements to this Agreement shall
be valid and binding unless set forth in a written agreement executed and delivered by or on behalf of
Buyer and the Shareholders’ Representative (on behalf of the Shareholders); provided, however, that
after the execution of the Company Requisite Shareholder Vote, no amendment shal] be made that by

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Law requires further approval by the Shareholders without obtaining such requisite approval under
the WBCL.

Section 11.8. Waiver, No waiver by any Party of any of the provisions of this
Agreement shall be effective unless set forth in a written instrument executed and delivered by the
Party so waiving. Except as provided in the preceding sentence, no action taken pursuant to this
Agreement shall be deemed to constitute a waiver by the Party taking such action of compliance with
any representations, warranties or covenants set forth in this Agreement and in any documents
delivered or to be delivered pursuant hereto. The waiver by any Party of a breach of any provision of
this Agreement shal] not operate or be construed as a waiver of any subsequent breach.

Section 11.9. Notice. All notices, requests, claims, demands and other 4
communications under this Agreement shall be given in writing and shall be personally. delivered, 3
sent by e-mail transmission or sent by private overnight mail courier service (proyiding prov of”
delivery) as follows: “ ‘y Ke

”
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(a) If to Buyer or Merger Sub or, after the Effective Time, the ‘Surviving
Corporation, to:

 

Duff & Phelps Corporation

55 East 52nd Street, Floor 31
New York,NY 10055 4, aN
Attention: General Counsel, °°

Email: greralcousel@utindpets, com

 

(with a copy to, which shall hot constitute notice)
mF Sh X e ty s
ae, Kirkland & Ellis LLP
“3 300 North LaSalle
“ Chicago, Illinois 60654
Attention: Michael D. Paley, P.C.
Email: Michael.Paley@kirkland.com

 

 

— (b) ‘If to the Shareholders, the Shareholders’ Representative or, prior to the
Effective Time, the Company, to

Joseph P. Zvesper

Shareholders’ Representative

777 North Prospect Avenue

Milwaukee, Wisconsin 53202

Email: jzvesper@american-appraisal.com

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(with a copy to, which shall not constitute notice)

Foley & Lardner LLP
777 East Wisconsin Avenue
Milwaukee, Wisconsin 53202
Attention: Jay O. Rothman
Bryan S. Schultz
Email: jrothman@foley.com
brschultz@foley.com

or to such other Person or address as any Party shall have specified by notice in writing to the other \.
Parties. If personally delivered, then such communication shall be deemed delivered upon “actual "
receipt; if sent by e-mail transmission, then such communication shall be deemed delivered the day a
of the transmission or, if the transmission is not made before 5:00 p.m., at the place of receipt, ona
Business Day, the first Business Day after transmission (and the sender shall bear the burden’ of proof

of delivery); and if sent by Federal Express or other national overnight courier, then such
communication shall be deemed delivered upon receipt. : ,

Section 11.10. Expenses. oo

(a) Transfer_Taxes. ‘AN -sales, use, transfer, intangible, recordation,
documentary stamp or similar Taxes or charges, of any nature whatsoever, applicable to or
resulting from the transactions ‘contemplated hereby shall be borne by the Surviving

Corporation. ey Me =

(b) “Other: - Except as otherwise expressly provided in this Agreement,
each Party shal} bear its own expenses incurred in connection with the negotiation and
execution of this Agreement and each other document and instrument contemplated hereby
“and ithe consummation of the transactions contemplated hereby and thereby.

* Section 11.11. Company Disclosure Schedule.

(a) Disclosure. Any fact or item disclosed in any Section of the
Company Disclosure Schedule shall be deemed disclosed in each other Section of the
Company Disclosure Schedule to which such fact or item may apply so long as it is
reasonably apparent that such disclosure is applicable thereto. The Company Disclosure
Schedule is qualified in its entirety by reference to specific provisions of this Agreement.
The Company Disclosure Schedule is not intended to constitute, and shall not be construed
as, an admission or indication that any such fact or item is required to be disclosed. Any
fact or item disclosed in the Company Disclosure Schedule shall not by reason only of such
inclusion be deemed to be material, to establish any standard of materiality or to define
further the meaning of such terms for purposes of this Agreement, and no disclosure in the
Company Disclosure Schedule relating to any possible breach or violation of any Contract,
Law or Order shall be construed as an admission or indicatian that any such breach or
violation exists or has actually occurred. References in the Company Disclosure Schedule
to any Contract, Benefit Plan, Order, instrument, document or legal proceeding are
qualified in their entirety by reference to more detailed information in documents attached

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thereto or previously made available to Buyer and Merger Sub and their respective
representatives.

(b) Updates. Prior to the Closing, the Company shall have the right to
supplement, modify or update the Company Disclosure Schedule but only with respect to
any matter first arising or, if such representation or warranty is qualified by knowledge, of
which the Company first becomes aware, after the date hereof and that, if existing or
occurring at or prior to the date hereof or in the case of any representation qualified by
knowledge if known prior to the date hereof, would have been required to be set forth or
described on such Company Disclosure Schedule; provided, however, that, (i) for purposes
of determining whether the condition set forth in Section 6.1 is satisfied, the Company

Disclosure Schedule shall be deemed to include only the information contained in ‘the “
Company Disclosure Schedule as of the date of this Agreement and (ii) no disclosure ]

“.

contained in any such supplement, modification or update shal! be taken into account (ie, -

the Company Disclosure Schedule shall be read as if such additional disclosure were ‘not
reflected thereon) for purposes of determining the Buyer Indemnified Parties’ ‘rights to
indemnification pursuant to ARTICLE 8 of this Agreement, except with t Tespect to (A) any
matter for which Buyer has provided its written consent in‘accordance i in Section 4.3 or (B)
any supplement, modification or update of any list, of “material” documents as required to

be listed in any Section of the Company Disclosure Schedule, but which are not the subject

of any provision of Section 4.3. \ .
Section 11.12. Conflicts and Privilege. Buyer, on behalf of itself and its Affiliates

(which, for this purpose, shall be deemed to ‘include the Surviving Corporation) agrees that,
notwithstanding any current or prior representation of the Company and its Subsidiaries by Foley &
Lardner LLP, Foley & Lardner. LLP shall be allowed to represent the Shareholders (and the
Shareholders’ Representative) ‘in any matters and disputes adverse to Buyer, the Surviving
Corporation and/or its Subsidiaries that relate to this Agreement and the transactions contemplated
hereby. Buyer, on behalf of itself and its Affiliates (which, for this purpose, shall be deemed to
include ‘the Surviving Corporation) hereby (a) waives any claim that Buyer, the Surviving
Corporation or any of its Subsidiaries has or may have that Foley & Lardner LLP has a conflict of
_ interest or.is ‘otherwise prohibited from engaging in such representation and (b) agrees that, if a
dispute arises after the Closing between Buyer, the Surviving Corporation or any of its Subsidiaries
and any Shareholder (or the Shareholders’ Representative), then Foley & Lardner LLP may represent
the Shareholders (and/or the Shareholders’ Representative) in such dispute even though the interests
of the Shareholders (and/or the Shareholders’ Representative) may be directly adverse to Buyer, the
Surviving Corporation and/or its Subsidiaries and even though Foley & Lardner LLP may have
represented the Surviving Corporation (i.¢,, the Company) and its Subsidiaries in a matter
substantially related to such dispute. Buyer, on behalf of itself and its Affiliates (which, for this
purpose, shall be deemed to include the Surviving Corporation), also agrees that, as to all
communications between or among Foley & Lardner LLP and the Shareholders, the Company and/or
any of their respective Affiliates that relate to the negotiation, decumentation or consummation of
transactions contemplated hereby, the attorney-client privilege, and the expectation of client
confidence and all other rights thereto, belong to the Shareholders and may be controlled by the
Shareholders’ Representative and shall not pass to or be claimed by or used or disclosed by Buyer,
the Surviving Corporation or any of its Subsidiaries. Notwithstanding the foregoing, if a dispute
arises between Buyer, the Surviving Corporation or any of its Subsidiaries and a third party other
than, and unaffiliated with, the Shareholders (and the Shareholders’ Representative) after the
Closing, then the Surviving Corporation (to the extent applicable) may assert the attorney-client

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privilege to prevent disclosure to such third party of confidential communications by Foley &
Lardner LLP; provided, however, that the Surviving Corporation may not waive such privilege
without the prior written consent of the Shareholders’ Representative in each instance.

Section 11.13. Interpretive Provisions. For purposes of this Agreement, (a) the
words “including” and “include” shall be deemed to be followed by the words “without limitation,”
(b) the words “herein,” “hereof,” “hereby,” “hereto” or “hereunder” refer to this Agreement as a
whole, (c) term “knowledge” when used in the phrases “to the knowledge of the Company” or “the
Company has no knowledge” or words of similar import shall mean, and shal] be limited to, the
actual knowledge of the individuals listed in Exhibit 11.13 after reasonable inquiry of such
individuals’ direct reports, (d) references to “$” refer to United States Dollars and (e) the words _
“made available” shall mean contained in the Data Room as of one (1) Business Day prior to the date ~.
hereof, the contents of which shall be placed on a DVD and two copies distributed to cach of Buyer
and Shareholders’ Representative on the date hereof. When calculating the period of time before ~
which, within which or following which any act is required to be done pursuant to this Agreement,
the date that is the reference date in calculating such period shall be excluded and, if the last day of
such period is not a Business Day, the period in question shall end on the next succeeding Business
Day. Unless the context otherwise requires, references in this Agreement (i) to Articles, Sections and
exhibits mean the Articles and Sections of, and the exhibits attached to, this Agreement and (ii) to an
agreement, instrument or other document means such agreement, instrument or other document as
amended, supplemented and modified from time to time to the extent permitted by the provisions
thereof. The exhibits referred to in this Agreement, the Company Disclosure Schedule and the Buyer
Disclosure Schedule shall be construed with and as an integral part of this Agreement. Capitalized
terms used but not otherwise defined in the exhibits referred to in this Agreement, the Company
Disclosure Schedule and the Buyer Disclosure Schedule shall have the meanings set forth in this
Agreement. Titles to Articles and headings of Sections are inserted for convenience of reference
only and shall not be deemed a part of or to affect the meaning or interpretation of this Agreement.
Notwithstanding the fact that this Agreement has been drafted or prepared by one of the Parties, each
_ Party confirms that both it and its counsel have reviewed, negotiated and adopted this Agreement as
the joint agreement and understanding of the Parties. The language used in this Agreement shall be

deemed to be the language chosen by the Parties to express their mutual intent, and no rule of strict

‘construction shall be applied against any Party. If any provision of this Agreement, or the
application thereof to any Person or circumstance is held invalid or unenforceable, the remainder of
this Agreement and the application of such provision to other Persons or circumstances, shall not be
affected thereby, and to such end, the provisions of this Agreement are agreed to be severable. This
Agreement may be executed (A) by signatures exchanged via facsimile, e-mail or other electronic
means, and shall be treated in all manner and respects as an original contract and shall be considered
to have the same binding legal effects as if it were the original signed version thereof delivered in
Person and (B) in one or more counterparts, each of which shal] be deemed an original, but all of
which together shall constitute one and the same instrument.

Section 11.14. Definitions. For purposes of this Agreement, the term:
“Acquisition Proposal” shall have the meaning set forth in Section 4.5.
“Administrative Expense Account” shall mean the account designated by the
Shareholders’ Representative into which the payment of the Administrative Expense Deposit

pursuant to Section 2,2(b) shall be made and any succeeding account in which the Administrativ
Expense Amount shall be held by the Shareholders’ Representative. .

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“Administrative Expense Amount” shall mean the Administrative Expense

Deposit, as such sum may be increased from time to time due to any earnings on such amounts and
reduced from time to time due to payments made from the Administrative Expense Account in
accordance with the terms of this Agreement.

“Administrative Expense Deposit” shall mean $1,000,000.

“Affiliate” shall mean, with respect to any Person, any other Person directly
or indirectly controlling, controlled by, or under common contro! with such other Person. For
purposes of this definition, “control”, when used with respect to any Person, means the power to
direct the management and policies of such Person, directly or indirectly, whether through the _
ownership of voting securities, by Contract or otherwise, and the terms “com trolling” «and os

“controlled” have correlative meanings. Los

“Agreement” shall have the meaning set forth in the preamble of f this
Agreement and Plan of Merger. nce

“Articles of Merger” shall have the meaning set forth i in 1 Seetion 13

“Benefit Plans” shall have the meaning set forth i in Section 3,1(7(3).
“Business” shall have the meaning set forth in the recitals of this Agreement.

“Business Day” shall] mean any day other than Saturday, Sunday or other day
on which commercial banks it in the State of Wisconsin are authorized or required by Law to be
closed. ;

“Bue” shall have the meaning set forth in the preamble of this Agreement.
, "Buyer's Plans” shall have the meaning set forth in Section 5,2(b).
“Buyer Closing Date Transaction” means any transaction outside the ordinary

course of business (except for transactions expressly contemplated by this Agreement) engaged in by

‘the Company or any Subsidiary of the Company on the Closing Date, which occurs after the Closing
at the direction of Buyer, including any transaction engaged in by Buyer, the Company or any
Subsidiary of the Company in connection with financing any obligation of Buyer, the Company or
any Subsidiary of the Company to make payment under this Agreement.

“Buyer Disclosure Schedule” shall have the meaning set forth in Section 3.2.
“Buyer Indemnified Parties” shali have the meaning set forth in Section

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“Certificate” shal] have the meaning set forth in Section 1.10.

“Change of Control Payments” means all retention, bonus, change in control
or similar payments that become payable by the Company to any Current Employee or Former

Employee pursuant to any Contract in effect immediately prior to the Effective Time, whether
immediately or in the future, directly as a result of the consummation of the transactions
contemplated by this Agreement, including any taxes associated therewith; provided, however, that,

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for the avoidance of doubt, (a) no amount payable pursuant to any Compensation Agreement shall be
considered a Change of Contro! Payment and (b) the accelerated vesting of any award of Company
Common Stock shall not be considered a Change of Control] Payment.

“Closing” shall have the meaning set forth in Section 1.2.
“Closing Date” shall have the meaning set forth in Section 1.2.

“Code” shall mean the Internal Revenue Code of 1986, as amended, and the
regulations promulgated thereunder.

Agreement. a
“Company 401(k) Plan” shall have the meaning set forth in Section 5.2/0),
“Company Board” shall have the meaning set forth in Section 3,1(bMi).

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“Company. Common Stock” shail have the meaning set forth in the recitals of
this Agreement. Po

 

“Company Disclosure Schedule” shell have the meaning set forth in Section
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“Company Insurance Policies” shall have the meaning set forth in Section
3.1¢ ). en \ he Xe S

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nt ae ” - he v
“Company Intellectual Property” means all Intellectual Property that is owned
or purported to be owned by the Company or any of its Subsidiaries.

a “Company Material Adverse Effect” shall mean any change, event,
development or occurrence that, individually or in the aggregate with other changes, events,

- “developments or occurrences, (a) has had, or would reasonably be expected to have, a material

adverse effect upon the business, assets, liabilities, operations, financial condition or financial results
of operations of the Company and its Subsidiaries taken as a whole or (b) prevents the Company
from consummating the transactions contemplated hereby. Notwithstanding the foregoing, (i)
General Developments and Transaction Developments shall not be deemed, either alone or in
combination, to constitute a Company Material Adverse Effect and (ii) no change, event,
development, occurrence or effect arising from or attributable to any General Developments or
Transaction Developments shall be taken into account in determining whether there has been a
Company Material Adverse Effect or in determining the scope of a Company Material Adverse
Effect.

“Company Requisite Shareholder Vote” shall have the meaning set forth in
Section 3.1(by{i).

“Company Systems” shall have the meaning set forth in Section 3, 1(u)fiv).

“Company Transaction Expenses” means (a) all costs, fees and expenses
payable to third parties (including all fees and disbursements of counsel, investment banks, financial

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“Company” shall have the meaning set forth in the preamble of this :
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advisors and accountants) that are incurred by the Company at or prior to the Closing (whether paid
by the Company prior to, at or following the Closing) in connection with the negotiation,
documentation or consummation of the transactions contemplated by this Agreement, (b) all Change
of Control Payments and (c) the Liability Insurance Premium Amount.

“Compensation Agreement” shall have the meaning set forth in Section
9.1(c).

“Confidentiality Agreement” shall have the meaning set forth in Section 4.2.
“Contract” shall mean any written or oral indenture, mortgage, deed of trust,

lease, licensing agreement, contract, commitment, instrument or other legally binding agreement. a 7 \

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“Control of Defense Conditions” shall have the meaning set forth in Sion “
$.4(b). oe . 3

“Current Employees” shall mean all employees | of the Company as of the
Effective Time (other than the Persons listed in Exhibit 9.1(f)). 2 re

“Data Room” shall have the meaning set forth in Section 11.100)
“Deductible” shall have the ‘meaning 5 set f forth in Section 8.1(b)(ii).

“De Minimis Threshol * shall have the meaning set forth in Section 8,1(b){i).
“Dissenting Shares” shall have the meaning set forth in Section 1,12.

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“Dolter One Inde emnity Items” shal] mean each of and collectively, (i) any
breach of the Fundamental Representations, (ii) any breach of any covenant of the Company
contained herein to be performed at or prior to the Closing, (iii) unpaid Company Transaction
Expenses, (iv) Indemnified Taxes, (v) claims by any holder of Company Common Stock as a result
of the exercise of such holder’s appraisal rights (net of any amount that would have otherwise been

. , payable to’such holder pursuant to the terms of this Agreement), (vi) claims by any Shareholder

» arising out of any actual inaccuracy of the information set forth on the Pro Rata Share schedule
attached hereto as Exhibit_11.15(c), (vii) Indebtedness to the extent such Indebtedness is neither
disclosed in Section 3.1(f\(iv) of the Company Disclosure Schedule or reflected on the Recent
Balance Sheet, and (viii) the Special Litigation Matters.

“D&O Tail Policy” shall have the meaning set forth in Section 5.3(b){i).

“Effective Time” shall have the meaning set forth in Section 1.3.

“Environmental Laws” shal] mean all Laws concerning human health (but
excluding Laws relating to occupational exposure), pollution or protection of the environment, as in
effect on the date of this Agreement.

“ERISA” shail have the meaning set forth in Section 3,1(r}(i).

“ERISA Affiliate” shat] have the meaning set forth in Section 3.1 (r)(iii).

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“Escrow Account” shal] mean the account designated by the Escrow Agent
into which the payment of the Escrow Deposit pursuant to Section 2.2(a) shall be made and any
succeeding account in which the Escrow Amount shall be held by the Escrow Agent.

“Escrow Agent” shall mean U.S. Bank, National Association, as escrow agent
under the Escrow Agreement, or any successor Person appointed in accordance with the terms of the

Escrow Agreement.

“Escrow Agreement” shall mean an escrow agreement in substantially the
form attached hereto as Exbibit 11.15(a).

“Escrow Amount” shall mean the Escrow Deposit, as such sum may :be ,
increased from time to time due to any earnings on such amounts and reduced from time to.time due °*
to payments made from the Escrow Account in accordance with the terms of this Agreement and the a

Escrow Agreement.

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“Escrow Deposit” shall mean $12,000,000. For the avoidance of doubt, the
Escrow Deposit includes the Special Indemnity Escrow Amount. =. ~~»

“ESOP” shall mean the American Appraisal Assocines, Inc. Employee Stock
Ownership Plan and its related trust. °

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“ESOP Amendment” shall mean an amendment to the ESOP, in form and
substance reasonably satisfactory to Buyer, adopted prior to the Closing Date, but effective in all
respects as of the Effective Time, providing that: (i) upon the Closing Date, the ESOP shall no longer
be considered an “employee stock ownership plan” (as defined in Section 4975 of the Code); (ii)
upon the Closing Date, the ESOP shall be terminated, with such termination to be implemented by
the ESOP Trustee as soon as reasonably practicable following the Closing Date; (iii) upon the
Closing Date, each ESOP Participant shall become fully vested in his or her benefits under the
ESOP; and (i v) upon the Closing Date, the ESOP shall no longer permit distributions in the form of
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" “ESOP Approval” shal] mean a vote in favor of the transactions contemplated

‘by this Agreement by a majority of ESOP Participants who elect to vote after a pass-through of the

Vote with respect to the transactions contemplated by this Agreement to such ESOP Participants.

“ESOP Determination” shall mean the determination by the ESOP Trustee, in
the exercise of its fiduciary discretion under ERISA and in accordance with ERJSA, that the
consummation of the transactions contemplated by this Agreement is in the best interests of the
ESOP Participants and does not cause the ESOP to function other than for the exclusive purpose of
providing benefits to the ESOP Participants.

“ESOP Faimess Opinion” shall mean an opinion of the ESOP Financial
Advisor, dated as of the Closing Date, to the effect that, as of such date, (i) the consideration to be
paid to the ESOP Trustee, on behalf of the ESOP, in connection with the transactions contemplated
by this Agreement is not less than adequate consideration (as defined in Section 3(18) of ERISA) and
(ii) the transactions contemplated by this Agreement are fair to the ESOP from a financia] point of
view.

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effect to the extent arising from a development or occurrence that has a materially disproportionately
impact on the Company and its Subsidiaries (taken as a whole) relative to similarly situated
companies principally engaged in the industries in which the Company and its Subsidiaries conduct

the Business.

“Germany Threatened Litigation” shall mean the matter described in Item
2(a) of Section 3.1(k) of the Company Disclosure Schedule

“Governmental_Entity” shall mean any nation or goverment, court,
arbitrator, department, commission, board, bureau, agency, authority, instrumentality or other body,
whether federal, state, local, foreign or other (including antitrust authorities that have jurisdiction ¢ to

review the transactions contemplated hereby). “ oy

“Hazardous Substance” shali mean any hazardous materials, ‘hazardos. 3s
substances, hazardous wastes, hazardous chemicals, toxic substances, pollutants, \ contaminants,
petroleum, building mold, asbestos, polychlorinated biphenyls, or other substance or, waste with
respect to which liability may be imposed pursuant to Environmental Laws. 2 ve yo

“Indebtedness” of a Person, as of any date of éisezsiiotion, shal] mean,
without duplication (a) all obligations of such Person for borrowed money, whether current or
funded, secured or unsecured and including, without limitation, the unpaid principal amount of, and
accrued interest thereon, (b) all obligations of such Person evidenced by bonds, debentures, notes,
mortgages (including chattel mortgages) or similar instruments, (c) all obligations of such Person as
lessee that are or should be capitalized on the books of such Person, prepared in accordance with
GAAP applied on a basis consistent, with ‘the preparation of the Recent Balance Sheet, (d) all
obligations of such Person under derivative, hedging, swap, foreign exchange or similar Contracts,
(e) all indebtedness of others of the type described in clauses (a) or (b) guaranteed or secured by any
Lien on such Person’s assets or stock, (f) all obligations of such Person under letters of credit, and (g)
all obligations of such Person for accrued interest, prepayment premiums, penalties or other similar
charges with respect to any of the foregoing. Notwithstanding the foregoing and for the avoidance of
doubt, “Indebtedness” shall not mean or include any obligations of the Company and its Subsidiaries
_ “Under (i) undrawn letters of credit, (ii) bid bonds, performance bonds, bankers’ acceptances or similar

'\ surety instruments, or (iii) intercompany obligations that the Company or any of its Subsidiaries owe
to any of the Company and its Subsidiaries.

“Indemnification Notice” shal] have the meaning set forth in Section 8.3.
“Indemnified Agent” shall have the meaning set forth in Section 5.3(d).
“Indemnified Party” shall have the meaning set forth in Section 8.3.
“Indemnifying Party” shall have the meaning set forth in Section 8.3.

“Indemnified Taxes” shall mean al] Pre-Closing Income Taxes to the extent
not reflected as an accrual on the consolidated balance sheet of the Company and its Subsidiaries as
of the Effective Time, which accrual will be in accordance with GAAP (as applied by the Company
on a consistent basis) and consistent with the Company’s past practice of booking tax accruals, but
excluding any Taxes imposed pursuant to a Buyer Clasing Date Transaction.

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“Independent Accountants” shall have the meaning set forth in Section 5.8(h).

“Intellectual Propesty” means all U.S. and foreign (a) trademarks, service
marks, logos, trade names, trade dress, domain names, including all goodwill associated with any of
the foregoing, (b) copyrights and copyrightable works, proprietary models, processes, formulas,
software and similar rights, (c) patent and patent applications (together with all reissues,
continuations, continuations-in-part, revisions, extensions and reexaminations thereof), designs,
algorithms, indices and similar intellectual property rights and tangible embodiments of any of the
foregoing (in any medium including electronic media); (d) trade secrets under applicable Law; and
(e) together with rights to sue for past, present and future infringement of each and any of the
foregoing and the goodwill associated therewith; and all common law rights and registrations and _
applications to register, reissue, extend or renew the registration of any of the foregoing ¥ with any *
Governmental Entity in any country. s y

“Italy Litigation” shall mean the matter described in Item 1G) 0 of Section
3.1(k) of the Company Disclosure Schedule.

“Italy Threatened Litigation” shall mean the matters desctibed i in Items 2(b)
and 2(c) of Section 3.1(k) of the Company Disclosure Schedule. wees

“Key Employee” shall mean 1 each of the ‘individuals listed on Exhibit

“Law” shall mean any federal, state, local or foreign law or other statute,
ordinance, rule, code or regulation. 4 a

“Leased Real Propey” shall have the meaning set forth in Section 3.1(n).
«Letter of Transmittal” shal] have the meaning set forth in Section 1.11.

|". “Liability Insurance Premium Amount” shall have the meaning set forth in
_ Section 5.3(bYiii),

“Lien” shall mean any mortgage, lien, pledge, charge, security interest, deed
of trust or other encumbrance.

“Loss” shall mean (a) al] debts, liabilities, Taxes and obligations owed to or at
the behest of any other Person, (b) all losses, damages, judgments, awards, penalties, fines and
settlements, (c) all demands, claims, suits, actions, causes of action, proceedings and assessments and
(4) all reasonable out-of-pocket costs and expenses (including interest (but excluding prejudgment
interest in any litigated or arbitrated matter other than that payable to a third party), court costs and
reasonable fees and expenses of attorneys and expert witnesses) of investigating, defending or
asserting any of the foregoing.

“Material Contract” shall have the meaning set forth in Section 3.3(q).
“Merger” shall have the meaning set forth in the recitals of this Agreement.

“Merger Consideration” shall have the meaning set forth in Section 2.1.

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“Merger Sub” shall have the meaning set forth in the preamble to this
Agreement.

“Net Working Capital” shall mean, with respect to the Company and its
Subsidiaries, the consolidated current assets less the consolidated current liabilities, all determined
without giving effect to the transactions contemplated by this Agreement and the payment of the
Shareholder Liability Amount and determined in accordance with GAAP applied on a basis
consistent with the preparation of the Recent Balance Sheet.

“Noncompetition Agreement” shall have the meaning set forth in Section

 

“OFAC” shall have the meaning set forth in Section 3.1(t). oe ON
a wal

“Orders” shall mean any order, writ, injunction, judgment, ‘plan, riling or
decree of any Governmental Entity or arbitrator. eo Re Soe”

“Participating Shareholders” has the meaning set forth in Sestion 5.7

“Party” shall mean (a) Buyer, (b) Merger Sub, (c) the Company, (d)
Shareholders’ Representative (in such capacity) and (e) for purposes of Section 3.3, Section 8.5,
Section 11.1, Section 11.9, Section 11.12 and Section 11.15, the Shareholders, as the context
requires. ae 2 ON Ot

“Payoff Letter” shall mean a payoff letter, in form and substance reasonably
satisfactory to Buyer and the Company, setting forth, with respect to each Company Transaction
Expense: (a) the obligee with respect to such Company Transaction Expense; (b) the outstanding
amount (including any accrued but unpaid interest thereon) of such Company Transaction Expense as
of the Effective’ Time; and (c) wire transfer instructions for Buyer’s payment of such Company
Transaction Expense pursuant to Section 2.3. The Company shall use its commercially reasonable
efforts to obtain and deliver to Buyer all applicable Payoff Letters at least two Business days prior to

-the. Closing Date.

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oe",
. “Pending Litigation” shall have the meaning set forth in Section 5,7(b).

“Permitted Liens” shall mean (a) Liens for current Taxes and assessments not
yet due and payable or being contested in good faith by appropriate proceedings and in respect of
which a reserve has been established in the Financial Statements, (b) Liens as reflected in title or
other public records relating to the Leased Real Property, (c) Liens that would be disclosed by an
accurate survey, (d) Liens arising or created by municipal and zoning ordinances which have
jurisdiction over the Leased Real Property, (e) carriers’, warehousemen’s, mechanics’, landlords’,
materialmen’s, repairmen’s or similar Liens arising out of work performed, services provided or
materials delivered that are not reflected in the public records, that arise in the ordinary course of
business for amounts which are not yet due and payable or being contested in good faith by
appropriate proceedings and in respect of which a reserve has been established in the Financial
Statements and (f) Liens that, individually or in the aggregate, do not materially detract from the
value, or impair in any material manner the use, of the properties or assets subject thereto.

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“Per Share Merger Consideration” shall mean the quotient of (a) the Merger
Consideration divided by (b) the aggregate number of shares of Company Common Stock issued and

outstanding immediately prior to the Effective Time.

“Person” shall mean an individual, a corporation, a partnership, a limited
liability company, an association, a trust or any other entity or organization, including a
Governmental Entity.

“Pre-Closing Income Taxes” shall mean the Taxes of the Company or any

Subsidiary measured by or with respect to income (including franchise taxes) with respect to a Tax
period ending on or before the Closing Date and, in the case of a Tax period that begins on or before
the Closing Date and ends after the Closing Date, the Taxes allocable to the portion of such ae ‘
ending on the Closing Date based on a deemed closing of the books.

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“Pre-Ciosing Income Tax Refund” shall have the meaning 5 set forth in nt fon
3.8fe).

 

“Pre-Closing Income Tax Return” shall have the c meaning “set at forth in Section
5,8(a). ;

“Pro Rata Share” shall mean the percentage ‘attributed to each Participating
Shareholder (which, for the avoidance of doubt, shall be calculated without giving effect to any
shares of Company Common Stock held ye the ESOP) under the heading “Pro Rata Share” in the

table set forth in Exhibit 11.15(c). eo ‘.

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“Recent Balonce Sheet” shal] have the meaning set forth in Section 3.1(f).

“Regulatory Law” shall mean any Law that is designed or intended to
prohibit, restrict, or regulate (a) foreign investment or (b) actions having the purpose or effect of
monopolizaton or restraint of trade or lessening of competition.

ae A ay co
ae “Related Documents” shail mean the Escrow Agreement, the Noncompetition
aa Agreements, the Compensation Agreements and any other agreements, certificates and instruments
‘as amended from time to time, to be executed and delivered in connection with this Agreement, but
excluding, for the avoidance of doubt, all Letters of Transmittal. .

“Representatives” shall have the meaning set forth in Section 4.4(a).

“Restricted Stock” shall have the meaning set forth in Section 3.1 (2) viii).

“Shareholder” shall mean any Person who holds shares of Company Common
Stock, but excluding any Person who holds only Dissenting Shares.

“Shareholder Liability Amount” shal] mean the aggregate amount, calculated
as of the opening of business on the Closing Date, of the Company’s outstanding obligations for the

purchase price payable to former Shareholders of the Company in consideration for the Company’s
redemption of shares of Company Common Stock from such former Shareholders, the calculation of
which, as of November 30, 2014 (solely for informational purposes), is reflected on Exhibit 11.15(d). *

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“Shareholders’ Representative” shall mean Joseph P. Zvesper or, if Joseph P.
Zvesper becomes unable or unwilling to serve as the Shareholders’ Representative, then such other

Person or Persons as may be designated by a majority of the Shareholders, based on each
Shareholder’s Pro Rata Share.

“Special Indemnity Escrow Amount” shal] mean an amount equal to
$8,000,000.

“Special Litigation Matters” shall mean each of, and collectively, the Italy
Litigation, the Italy Threatened Litigation, the Thailand Litigation and the Germany Threatened

Litigation. a
“Step Down Date” shall have the meaning set forth in Section 5.7 NY ‘

“Subsidiaries” of any Person shall mean any corporation or other ° form: of
legal entity an amount of the outstanding voting securities of which is sufficient to elect at least a
majority of its board of directors or other governing body (or, if there are ‘no. such voting securities,
50% or more of the equity interests of which) is owned or controlled, directly or. “indirectly, by ‘such
Person or by one or more of its Subsidiaries. “ yo

“Surviving Corporation” shall have tu nang forth in Section 1.1.

“Taxes” shall mean any and all federal, state, local, foreign or other taxes of
any kind (together with any and ail interest, penalties, additions to tax and additional amounts
imposed with respect thereto) imposed by any tax authority, including taxes on or with respect to
income, franchises, windfall or other “profits, gross receipts, property, sales, use, capital stock,
payrolt, employment, social security, workers’ compensation, unemployment compensation, or net
worth, and taxes in the nature of excise, withholding, ad valorem or value added; provided, however,
that “Taxes” shall not include any utility (¢,g,, water or sewer) charges or fees.

| “Tax Proceeding” shall have the meaning set forth in Section 5.8(f).
x . “Tax Return” shall mean any return, declaration, report, estimate, claim for
‘refund, or + information return or statement relating to, or required to be filed in connection with, any
Taxes, including any schedule, form, attachment or amendment.

“Termination Date” shall have the meaning set forth in Section 10.1(b).

“Thailand Litigation” shall mean the matters described in Items 1(c) and 1(d)
of Section 3.1(k) of the Company Disclosure Schedule.

“Third Party Claim” shali have the meaning set forth in Section 8,4(a).
, “Transaction Developments” shalt mean (a) any acts or omissions expressly
required or expressly permitted by this Agreement, (b) the announcement by any Party of its

execution and delivery of this Agreement and/or (c) any acts or omissions taken at the written
request, or with the prior written approval, of Buyer or Merger Sub.

“Voting Agreements” shal] have the meaning set forth in the recitals of this
Agreement.

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“WARN Act” shall have the meaning set forth in Section 3.1 (s).
“WBCL” shal! have the meaning set forth in Section 3.1.

 

Where any group or category of items or matters is defined collectively in the plural number, any
item or matter within such definition may be referred to using such defined term in the singular
number, and vice versa.

 

(Signature page follows]
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IN WITNESS WHEREOF, the Parties have executed and delivered or caused their
respective duly authorized officers to execute and deliver this Agreement and Plan of Merger as of
the day and year first written above.

DUFF & PHELPS, LLC

By:
Name:
Title:

 

 

 

D&P ALABAMA ACQUISITION CORP. , «2° ~

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PY
By: _ Cue
Name: a
Title: | 1 _ ee She
AA MANAGEMENT GROUP, INC.
a . as

 

Title: 2
SHAREHOLDERS’ REPRESENTATIVE:

 

ook ew By:
. Name: Joseph P, Zvesper

 

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EXHIBIT 1.1]

FORM OF
LETTER OF TRANSMITTAL

To Accompany Certificates Representing Shares
of AA Management Group, Inc. Common Stock pursuant to
the Agreement and Plan of Merger

This Leiter of Transmittal, the certificates for Shares (as defined below), the enclosed IRS Form
W-9 (or for non-U.S. persons, applicable IRS Form W-8) and any other required documents should be
sent or delivered to the Company, by mail, hand or overnight courier at the address set forth below:

AA Management Group, Inc.

c/o American Appraisal Associates, Inc.
411 East Wisconsin Avenue, Suite 1900 a
Milwaukee, Wisconsin 53202 med

 

Attention: Joseph P. Zvesper - “ a ) ae
Telephone: oe 225-1034 te

  

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DELIVERY OF THIS LETTER OF TRANSMITTAL TO AN ADDRESS OTHER THAN AS SET
FORTH ABOVE WILL NOT CONSTITUTE A VALID DELIVERY. YOU MUST SIGN THIS
LETTER OF TRANSMITTAL WHERE INDICATED BELOW AND, AS DESCRIBED IN THE
INSTRUCTIONS ATTACHED HERETO, COMPLETE THE IRS FORM W-9 PROVIDED
BELOW OR THE APPROPRIATE, IRS ‘FORM W-8 IF YOU ARE A NON-US.
STOCKHOLDER. a a

THE INSTRUCTIONS ACCOMPANYING THIS LETTER OF TRANSMITTAL SHOULD BE
READ CAREFULLY BEFORE THIS LETTER OF TRANSMITTAL IS COMPLETED.
Ladies and Gentlemen:
ay Se “4%
Upon’ the terms and conditions set forth in the Agreement and Plan of Merger (as amended,

 

aa restated or otherwise modified from time to time, the “Merger Agreement”), dated as of January 30, 2015,

‘by and among Duff & Phelps, LLC, a Delaware timited liability company (the “Buyer”), D&P Alabama
Acquisition Corp., a Wisconsin corporation and wholly-owned subsidiary of the Buyer (the “Merger

. Sub”), AA Management Group, Inc., a Wisconsin corporation (the “Company”), and Joseph P. Zvesper,
solely in his capacity as the Shareholders’ Representative thereunder (the “Shareholders’
Representative”), pursuant to which Merger Sub will merge with and into the Company, with the
Company as the surviving entity (the “Merger”), each of the Company’s outstanding shares of Common
Stock, $0.01 par value per share (the “Common Shares"), and each of the Company’s outstanding and
unvested shares of restricted Common Stock (the “Restricted Common Shares” and, together with the
Common Shares, the “Shares”’) shal? be converted into the right to receive in cash a portion of the Merger
Consideration, upon the consummation of the Merger (the “CJosing”) and the corresponding cancellation
of such outstanding Shares. Capitalized terms used and not defined in this Letter of Transmittal have the
respective meanings ascribed to them in the Merger Agreement.

The Board of Directors of the Company (the “Board”) has (i) approved and declared advisable
the Merger Agreement and the transactions contemplated thereby, including the Merger, (ii) determined

that the Merger Agreement and the transactions contemplated thereby, including the Merger, taken
together, are at a price and on terms that are advisable and in the best interests of the Company and the

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stockholders of the Company and (iii) recommend that the stockholders of the Company adopt the Merger
Agreement. Concurrently with the execution and delivery of the Merger Agreement, and as a condition to
the Buyer's willingness to enter into the Merger Agreement, certain holders of Shares representing
approximately sixty percent (60%) of the votes entitled to be cast with respect to the Merger, pursuant to the
Wisconsin Business Corporation Law (the “WBCL”), entered into shareholder support agreements pursuant to
which each such shareholder has agreed to vote his or her Shares in favor of the Merger Agreement and the
transactions contemplated thereby, including the Merger. If the Merger is approved by the requisite
shareholder vote under the WBCL, in order to receive your portion of the Merger Consideration, as
specified in the Merger Agreement, you will need to execute and deliver this Letter of Transmittal. For
your information and convenience, a copy of the Merger Agreement is enclosed herewith. We encourage
you to read the Merger Agreement to understand its terms.

Peas

The certificates evidencing the undersigned’s Shares (the “Certificates”) are (i) enclosed with ‘this
Letter of Transmittal, in which case the undersigned hereby surrenders such Certificates to the ‘Company .
in accordance with the instructions to this Letter of Transmittal, (ii) held by the Company 61 On. the”
undersigned’s behalf, in which case the undersigned hereby surrenders to the Company . such Certificates
identified as being held by the Company on the undersigned’s behalf in’ the’ \table “below titled
“Description of Shares Surrendered” and/or (iii) declared by the undersigned to be fost, stolen or
destroyed, in which case the undersigned (A) has completed an Affi davit of Loss with respect to such
lost, stolen or destroyed Certificates, which is enclosed with ‘this Letter of Transmittal, (B) hereby
surrenders to the Company such lost, stolen or destroyed Certificates identified in the Affidavit of Loss
and (C) hereby agrees to post a bond in such amount as the Company may reasonably direct as indemnity
against any claim that may be made against it with respect to such lost, stolen or destroyed Certificates.
For the avoidance of doubt, the undersigned’s surrender of Certificates pursuant to this Letter of
Transmittal shal} be subject to the condition precedent that the Closing oceurs and, if the Closing does not
occur, the Company will return all physically surrendered Certificates to the undersigned.

Under the terms of the Merger “Agreement, a portion of the Merger Consideration is being placed
into an escrow account (the “Escrow Deposit,” together with any earnings on such amounts and reduced
from time to time in accordance with the Merger Agreement, the “Escrow Amount”) to satisfy potential
indemnification payments that may become due to the Buyer Indemnified Parties following the Merger.
You acknowledge that, at the Closing, the Escrow Deposit will be deposited with the Escrow Agent
pursuant to Section 2.2(a) of the Merger Agreement, and, if there are indemnification payments paid from

"the Escrow Amount in favor of any Buyer Indemnified Party, some or all of your Pro Rata Share of the

Escrow Amount will not be paid to you as additional Merger Consideration. In addition, under the terms
of the Merger Agreement, a portion of the Merger Consideration is being placed into an administrative
expense account (the “Administrative Expense Deposit,” together with any earnings on such amounts and
reduced from time to time in accordance with the Merger Agreement, the “Administrative Expense
Amount”) to satisfy administrative and other expenses paid by the Shareholders’ Representative on behalf
of all shareholders following the Merger. You acknowledge that, at the Closing, the Administrative
Expense Deposit will be deposited into the Administrative Expense Account pursuant to Section 2.2(b) of
the Merger Agreement, and, to the extent of any administrative or other expenses paid by the
Shareholders’ Representative on behalf of all shareholders following the Merger, some or all of your Pro
Rata Share of the Administrative Expense Amount will not be paid to you as additional Merger
Consideration.

The undersigned hereby represents and warrants, for the benefit of each of the parties to the
Merger Agreement (including, the Buyer and the Merger Sub), that, as of the date hereof: (i) the
undersigned is the sole record and beneficial owner of, and has good title to, all of the Shares identified in
the table below titled “Description of Shares Surrendered” (the “Surrendered Shares”), and there exist no
restrictions on transfer, options, proxies, voting agreements, voting trusts or Liens affecting any of the

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Surrendered Shares, except as set forth in the Articles of Incorporation and Bylaws of the Company; (ii)
the undersigned owns no equity securities or other securities of the Company other than the Surrendered
Shares; (iii) if the undersigned is a trust, it is duly organized and validly existing under the laws of the
jurisdiction of its organization and has all requisite power and authority to own its properties; (iv) the
execution and delivery of this Letter of Transmittal by the undersigned does not, and the consummation
of the transactions contemplated hereby will not, constitute a violation or breach of, conflict with, result
in a default (or an event which, with notice or lapse of time or both, would result in a default) under or
result in the creation of any Lien on any of the Surrendered Shares under, (A) any contract, commitment,
agreement, understanding, arrangement or restriction of any kind to which the undersigned is a party or

by which the undersigned is bound, (B) any applicable Law affecting the undersigned or (C) if the —

undersigned is a trust, the undersigned’s trust agreement; (v) undersigned has full power, capacity and
authority to execute, deliver and perform this Letter of Transmittal and to consummate the transactions
contemplated hereby, and if the undersigned is a trust, the execution, delivery and performance by the

undersigned of this Letter of Transmittal has been duly authorized by all necessary action on the part of Lf
the undersigned and its trustee(s) and beneficiaries; (vi) this Letter of Transmittal has been duly | and

validiy executed and delivered by the undersigned and constitutes a valid and binding obligation of the
undersigned, enforceable against the undersigned in accordance with its terms, except to the extent that
enforceability may be limited by applicable bankruptcy, reorganization, insolvency, Moratorium or other
Jaws affecting the enforcement of creditor's rights generally and by genera] ‘principles of equity,
regardtess of whether such enforceability is considered in a proceeding i in equity or at law; (vii) the
undersigned has not entered into, nor will the undersigned enter into, any contract, agreement,
arrangement or understanding with any Person which will result in the obligation of Buyer or the
Company or any of their Affiliates to pay any finder’s fee, brokerage commission or similar payment in
connection with this Letter of Transmittal or the Merger Agreement or the transactions contemplated
hereby or thereby; and (viii) the undersigned has read and agreed to all of the terms and conditions set
forth herein and in the Merger Agreement that are applicable to the undersigned and has had the
opportunity to consult with its legal counsel or other advisors (including tax advisors) with respect to the
meaning and intent of, the Merger Agreement and this Letter of Transmittal, including, but not limited to,
the acknowledgements, releases, waivers and appointments contained herein.

Without i in any way limiting any other provision of this Letter of Transmittal, the undersigned
hereby confirms and agrees (i) with the appointment by the Board of Joseph P. Zvesper as the
“Shareholders Representative” with all of the powers and authority contemplated by Section 11.1 of the

.Merger Agreement, (ii) that the Shareholders’ Representative shall have full power and authority,

including power of substitution, acting in the name of and for and on behalf of the undersigned, to take
any and all actions and make any and all decisions under the Merger Agreement and the Escrow
Agreement which the Shareholders’ Representative, in its sole discretion, deems necessary or proper and
(iii) that the terms and conditions of Section 11.1 of the Merger Agreement shall be and are binding on
the undersigned as fully as if the undersigned were an original signatory to the Merger Agreement.

The undersigned acknowledges and agrees (i) by execution and delivery of this Letter of
Transmittal, ail] agreements by and between the undersigned and the Company, to the extent relating to
the undersigned’s ownership of the Surrendered Shares prior to the Effective Time, shall be terminated
effective as of the Effective Time and shall thereafter be of no further force or effect, (ii) to retain in strict
confidence the Merger Agreement, including information included in or attached to the Merger
Agreement and the accompanying materials (collectively, the “Confidential Information”), (iii) not to
disclose the Confidential Information to others, provided that the undersigned may disclose Confidential
Information (A) to the extent required by applicable Law or stock exchange rules, or requested or
required by any Governmental Entity, and (B) to its agents (including its attomeys and accountants) who
need to know such Confidential Information, provided that each such person is informed that such

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Confidential Information is strictly confidential and agrees not to disclose or use such information except
as provided herein.

The representations, warranties and covenants of the undersigned contained in this Letter of
Transmittal shall survive the Effective Time.

The undersigned, upon request, will execute and deliver any additional documents reasonably
deemed appropriate or necessary by the Company in connection with the surrender of the Surrendered
Shares. All authority conferred or agreed to be conferred in this Letter of Transmittal shal] not be
affected by, and shall survive, the death, incapacity, liquidation or dissolution of the undersigned and any
obligation of the undersigned shall be binding upon the successors, assigns, heirs, executors
administrators and legal representatives of the undersigned. oO

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applicable to the undersigned and agrees that the sole sight that the undersigned shall have in respect. of “
the undersigned’s ownership interest in the Surrendered Shares shall be the undersigned’s right to receive
payment of a portion of the Merger Consideration for the Surrendered Shares in accordance with, and
subject to, the terms and provisions of the Merger Agreement and the Escrow Agreement. ~

The undersigned understands that the surrender is not made in accepteble form until receipt by
the Company of this Letter of Transmittal, duly completed and signed, together with all accompanying
evidences of authority in form reasonably satisfactory to the Company, and that delivery of the enclosed
Certificates, if any, will be effected, and the risk of loss and title to such certificate(s) will pass, only upon
proper delivery thereof to the Company. All questions as to validity, form and eligibility of any surrender
of Certificates hereunder will be determined by the Company and such determination shall be final and

binding. ea

This Letter of Transmittal, ‘and all claims or causes of action that may be based upon, arise out of
or relate to this Letter of Transmittal, or the execution or performance of this Letter of Transmittal, shall
be governed by and construed in accordance with the Laws of the State of Delaware applicable to

contracts made and performed in such state, without regard to any conflict of laws provisions that would

require the epplication of the Jaw of any other jurisdiction.
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o Any proceeding or action arising out of or relating to this Letter of Transmittal or the transactions

contemplated hereby may be brought in any state or federal court located in the State of Delaware, and

the undersigned irrevocably submits to the exclusive jurisdiction of each such court in any such
proceeding or action, waives any objection the undersigned may now or hereafter have to personal
jurisdiction, venue or to convenience of forum, agrees that all claims in respect of the proceeding or
action shall be heard and determined only in any such court, and agrees not to bring any proceeding or
action arising out of or relating to this Letter of Transmittal or the transactions contemplated hereby in
any other court. Nothing herein contained shall be deemed to affect the right to serve process in any
manner permitted by Law or to commence legal proceedings or otherwise proceed in any other
jurisdiction, in each case, to enforce judgments obtained in any action, suit or proceeding brought
pursuant to this Letter of Transmittal.

IN ANY PROCEEDING ARISING HEREFROM THE UNDERSIGNED CONSENTS TO
TRIAL WITHOUT A JURY IN RESPECT OF ANY MATTER ARISING OUT OF OR IN
CONNECTION WITH THIS LETTER OF TRANSMITTAL, REGARDLESS OF THE FORM OF
PROCEEDING.

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The undersigned consents to the provisions of the Merger Agreement and the Escrow Agreement _ é
The Buyer, the Merger Sub and the Company shall be entitled to seek and obtain an injunction,
specific performance and other equitable relief to prevent breaches and threatened breaches of this Letter
of Transmittal by the undersigned and to enforce specifically the terms and provisions hereof.

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THE TRANSACTIONS CONTEMPLATED BY THE MERGER AGREEMENT WILL BE TAXABLE
TO THE UNDERSIGNED. NONE OF THE BUYER, THE MERGER SUB, THE SHAREHOLDERS’
REPRESENTATIVE OR THE COMPANY JS GIVING ANY TAX ADVICE IN CONNECTION WITH
THE MERGER AGREEMENT OR THE TRANSACTIONS CONTEMPLATED THEREBY. THE
UNDERSIGNED IS URGED TO CONSULT THEIR OWN TAX ADVISORS REGARDING THE TAX

CONSEQUENCES OF SUCH TRANSACTIONS. es

THIS LETTER OF TRANSMITTAL CONSTITUTES THE VALID AND BINDING AGREEMENT OF
THE UNDERSIGNED ENFORCEABLE AGAINST THE UNDERSIGNED IN ACCORDANCE WITH. *
ITS TERMS AND, ONCE SUBMITTED, IS IRREVOCABLE. 7 -

 

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INSTRUCTIONS
Forming Part of the Terms and Conditions of this Letter of Transmittal

1. Delivery of Letter of Transmittal and Certificates. Certificates for all physically
surrendered Shares (or, if necessary, an Affidavit of Loss), as well as this Letter of Transmittal, and, as
described below, the IRS Form W-9 (or IRS Form W-8, as applicable) (or a manually signed PDF hereof
and thereof), properly completed and duly executed, and any other documents required by this Letter of
Transmittal, must be received by the Company at the address set forth herein. If Certificates (or, if
necessary, an Affidavit of Loss) are forwarded separately to the Company, a properly completed and duly
executed Letter of Transmittal and, as described below, the IRS Form W-9 (or IRS Form W-8, as
applicable), must accompany each such delivery. The method of delivery of Certificates and all other. ..
required documents is at the election and risk of the surrendering holder. The delivery will be My
deemed made only when actually received by the Company. Risk of loss shall pass only upon _.-
proper delivery of the Certificates to the Company. . If such delivery is by mail, it is recommended
that such Certificates be sent by registered mail, properly insured, with return receipt requested.
In all cases, sufficient time should be allowed to assure timely delivery. 2”) \ oS."

2. Inadequate Space. If the space provided on this Letter of Transmittal is inadequate, the
Certificate numbers and the number of Shares should be listed on a separate signed schedule affixed
hereto. ao fee

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3. Signatures on Letter of Transmittal; Signature Guarantee. If this Letter of Transmittal
is signed by the registered holder(s) of the Certificates, the signature(s) must be exactly the same as the
name(s) appear(s) on the face of the Certificates without alteration, enlargement or eny change
whatsoever. If any of the Certificates delivered hereby are held of record by two or more holders, all such

holders must sign this Letter of Tra ansinitial.
If Certificates are surrendered by two or more joint holders or owners, all such persons must sign.

If Certificates are registered in different names on several Certificates, it will be necessary to
complete, sign and submit as many separate Letters of Transmittal as there are different registrations of

_ Certificates. ~”

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_ > Incase of endorsements or signatures by attorneys, executors, administrators, trustees, guardians,
agents or others acting in a fiduciary or representative capacity, the Certificates must be accompanied by
evidence satisfactory to the Company of the authority of the persons to make the endorsement or to sign,
together with all supporting documents necessary to validate the surrender.

If this Letter of Transmittal is signed by a person other than the registered holder(s) of Shares
evidenced by Certificates surrendered hereby, the Certificates must be endorsed or accompanied by
appropriate stock powers, in either case signed exactly as the name or names of the registered holder or
holders appears on the Certificates, and subject to the previous paragraph.

If Certificates are surrendered by a registered holder who has completed the box entitled “Special
Payment Instructions,” signatures on this Letter of Transmittal must be guaranteed by a firm that is a
member in good standing of a recognized Medallion Program approved by the Securities Transfer
Association, Inc., including the Security Transfer Agent Medallion Program, the New York Stock
Exchange, Inc. Medallion Signature Program or the Stock Exchanges Medallion Program, or is otherwise
an “eligible guarantor institution,” as that term is defined in Rule 17Ad-15 under the Securities Exchange
Act of 1934 (an “Eligible Institution”), unless surrendered on behalf of an Eligible Institution.

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No signature guarantee, endorsement of the Certificates or separate stock powers are required on
this Letter of Transmittal if this Letter of Transmittal is signed by the registered hoider(s) of the
Certificates surrendered herewith and payment is to be made directly to such registered holder(s).

4. Letter of Transmittal Required; Surrender of Certificates; Lost Certificates. Holders of

' The undersigned will not receive the portion of Merger Consideration pursuant to the terms of the Merger
Agreement in exchange for their Certificates unless and unti) this Letter of Transmittal and the IRS Form
W-9 (or IRS Form W-8, as applicable), duly completed and signed, are delivered to the Company,
together with the Certificates or, if necessary, an Affidavit of Loss, and any required accompanying
evidences of authority in form reasonably satisfactory to the Company. If the Certificates have been lost,
stolen or destroyed, please complete and return the enclosed Affidavit of Loss together with your Letter

of Transmittal. If you are required to complete and return the enclosed Affidavit of Loss, then you will -.

also be required by the Company to post a bond in such amount as the Company may reasonably direct as

indemnity against any claim that may be made against the Company with respect to such lacs § stolen or .

destroyed Certificates.

5. Validity of Surrender; Irregularities. All questions as to validity, f form and eligibility of
any surrender of Certificates hereunder will be determined by the Company, and such, determination shall
be final and binding. The Company reserves the right to waive any irregularities or defects in the
surrender of any Certificates, and its interpretations of the terms and conditions of this Letter of
Transmittal (including these instructions) with respect to such irregularities or defects shall be final and
binding. A surrender will not be deemed to have e been made until all irregularities have been cured or
waived by the Company. wee Tg

6. Stock Transfer Taxes. Except as as ‘set forth i in this Instruction 6, any stock transfer taxes
with respect to the susrender of Shares will be paid by the undersigned and the amount to be so paid by
the undersigned will be deducted from: ‘any funds distributable to the undersigned in accordance with the
Merger Agreement. If, however, payment for the Surrendered Shares is to be made to any person other
than the registered holder, the amount of any stock transfer taxes (whether imposed on the registered
holder or such other person) payable on account of the transfer to such person will be deducted from the
payment if satisfactory evidence of the payment of such taxes, or exemption therefrom, is not submitted.
Except as provided i in this Instruction 6, it will not be necessary for transfer tax stamps to be affixed to the
Certificates,

‘ ae
a Special Payment Instructions. \f a wire transfer for the payment in respect of the
Surrendered Shares is to be issued in the name of a person other than the signer of this Letter of
Transmittal or if a wire transfer is to be made to a person other than the signer of this Letter of
Transmittal, the box entitled “Specia} Payment Instructions” on this Letter of Transmittal should be
completed. See instruction 3 for signature guarantee requirements.

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8. Requests for Assistance or Additional Copizs. Any questions and requests for assistance
may be directed to the Company at the telephone number and location set forth herein. Requests for
additional copies of this Letter of Transmittal may be directed to the Company.

9. Backup Federal Income Tax Withholding and Form W-9, Under the “backup
withholding” provisions of U.S. Federal tax law, the Purchaser may be required to withhold U.S. federal
taxes from the payments of cash for Surrendered Shares. To prevent backup withholding, each
surrendering holder of Shares that is a U.S. person for U.S. federal income tax purposes (a “U.S. Holder”)
must complete and sign the Form W-9, and either: (a) provide the holder’s correct taxpayer identification
number (“TIN”) and certify, under penalties of perjury, that the TIN provided is correct (or that such
holder is awaiting a TIN), and that (i) the holder has not been notified by the Intemal Revenue Service

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(“IRS”) that the holder is subject to backup withholding as a result of failure to repost al} interest or
dividends, or (ii) the IRS has notified the holder that the holder is no longer subject to backup
withholding; or (b) provide an adequate basis for exemption. 1n general, an individual’s TIN is the
individual’s Social Security Number. If the surrendered Certificates are registered in more than one name
or are not in the name of the actual owner, consult the Specific Instructions to the Form W-9 for
additional guidance on which number to report. If the Purchaser is not provided with the correct TIN or
an adequate basis for exemption, the holder may be subject to a $50 penalty imposed by the IRS and
backup withholding.

If payment in respect of Surrendered Shares is to be made pursuant to Special Payment
Instructions to a person other than the surrendering holder, backup withholding will apply unless such
other person, rather than the surrendering holder, complies with the procedures described above to avoid .

backup withholding. s

Exempt holders (including, among others, corporations) are not subject to backup withholding tax —
requirements. Exempt holders, other than non-U.S. Holders, should furnish their TIN, check the “Exempt
payee” box on the IRS Form W-9 and sign, date, and return the IRS Form W-9 to the disbursing agent
Non-U.S. holders will generally be required to complete a Form W-8BEN or other appropriate form in
order to avoid backup withholding, as discussed below. Holders are urged to consult their independent tax
advisors to determine the application of the backup withholding tax and information reporting
requirements to them. 4 Cs

Failure to complete the Form W-9 will not, by itself, cause Shares to be deemed invalidly
delivered, but may require the Purchaser to withhold U.S. federal taxes from the amount of any payments
in respect of such Shares made pursuant to the Merger Agreement. Backup withholding is not an
additional federal income tax. Rather, the federal income tax liability of a person subject to backup
withholding will be reduced by the amount of tax withheld. If withholding results in an overpayment of
taxes, a refund may be obtained from the IRS.

} YY

10. Form W-8BEN for Non-U.S. Persons, Non-U.S. Persons are not subject to backup
withholding and reporting requirements. Such persons should indicate their exempt status on (and should
not complete the remaining portion of) the Form W-9 to avoid possible erroneous backup withholding.

Additionally, in order to satisfy the Purchaser that a foreign holder qualifies as an exempt foreign
. recipient, such foreign holder must complete, execute and submit IRS Form W-8BEN, also included with
these materials. Holders are urged to consult their own tex advisors to determine whether they are

exempt. Please note that there are additional Form W-8’s if the W-SBEN dees not apply to your particular
situation. The W-8 forms can be accessed at the following IRS links:

hitp://www.irs. gov/pubérs-pdjifw8bene.paf
http:/Avww.irs.gov/pub/irs-pdf/fw8ben.pdf
http:/Avww.tirs.gov/pub/irs-pdf/fw8eci.paf
hitp:/Avww.irs.gov/pub/irs-pdi/fwS8imy.paf
hitp://www.irs.gov/pub/irs-pdf/fwSexp.paf

tH. Withholdings. The Buyer, the Company, the Shareholders’ Representative and the

Escrow Agent may withhold federal and state income tax and other amounts required to be withheld
under applicable Law or otherwise from the amounts payable under the Merger Agreement or Escrow

Agreement.

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akkebeekssTVIPORTANT - SIGN HERE ****4*#44%
(Also Complete and Return IRS Form W-9 Below or Applicable IRS Form W-8)

 

 

(Signature(s) of Owner(s)
Dated:

 

(Must be signed by the registered holder(s) exactly as name(s) appear(s) on stock certificate(s) or by
person(s) to whom the shares of Common Stock represented thereby have been assigned or transferred
as evidenced by endorsements or stock powers transmitted therewith. If signature is by trustee, > *<.
executor, administrator, guardian, attorney-in-fact, agent, officer of a corporation or any other person
acting in a fiduciary or representative capacity, please provide the following information. Seer:
~ Instruction 3.) :
Name(s) _
(Please Print)

Capacity (full title)
4

Address, nO
(Street, Address)

yon

‘City, State, Zip Code)

Area Code & Telephone N Number
Tax Identification or

Social Seeuty No:

 

_ a | Wire ‘Transfer Instructions:
. Bank Name:

ABA Number:
Account Name:
AccountNumber:
Further Credit Account Name (if applicable):
Further Credit Account Number: (if applicable):

Bank Area Code and Telephone No.:

Bank Contact Person:

 

 

 

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SPECIAL PAYMENT
INSTRUCTIONS
Signature Guarantee Required

(See Instructions 3 and 7)

To be completed ONLY if the wire transfer for the payment in respect of Surrendered Shares (less the
amount of any federal income tax required to be withheld) is to be issued in the name of someone other

than the undersigned.
Send Wire to:

Name
(Please Print) we

 

Address

 

 

 

Tax Identification or

Social Security No.:

 

(See Form W-9)
Wire Transfer Instructions:
Bank Name: =a
ABA Number: os ‘
Account Name: © % __} 8
Account Number: ee
Further Credit Account Name (if applicable)
Further Credit Account Number: (if applicable):

  

Bank Area Code and Telephone No.:

Bank Contact Person:

Signature Guarantee (See Instraction 3)

 

 

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4850-6826-6081.4

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DESCRIPTION OF SHARES SURRENDERED

 

 

 

 

Name and Address of Registered Check below
Owner if the
(Please fill in exactly as name Cer i nea ay
appears on the Certificate(s), if held by the
applicable) Description of | Number of Certificate | Company on
(Please print) Shares Shares No(s) your bebalf
Common Shares Boe
*, cp?
" wool ee
4
Restricted Shares ¢ ]. ."
3 2°
Total: . | “h

 

 

 

 

 

 

4 f : *, coal

0 If any Certificate(s) representing ‘Shares, that you own has (have) been lost, stolen or destroyed,
check this box. With respect to such Certificates that have been lost, stolen or destroyed, please complete
and return the enclosed Affidavit of Loss together with your Letter of Transmittal. If you are required to
complete and return the enclosed Affidavit of Loss, then you will also be required by the Company to
post a bond in such amount as the Company may reasonably direct as indemnity against any claim that
may be made against it with respect to such lost, stolen or destroyed Certificates.

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AA MANAGEMENT GRODP, INC.
AFFIDAVIT OF LOSS
The undersigned does hereby certify that they are the owner and holder of Certificate Number

representing {select one):

DO ( ) Common Shares
0 ( ) Restricted Shares

of AA Management Group, Inc., a Wisconsin corporation (the “Company”), and does further certify as 4

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follows:
ae ie = — e
1. The undersigned has made a diligent search for said share certificate and has been unable
to locate said share certificate; Oey Aye
3 “a
2. The undersigned has not assigned, transferred or hypothecaited said share certificate;
“\ Wy
3. The undersigned will, in the event said share certificate is recovered, cause the same to be

retumed to the Company for cancellation; ie

4. The undersigned agrees to indemnify and hold harmless the Company from any and all
loss, liability, damages, penalties, fines, costs, taxes and expenses (including all
reasonable attorneys’ fees and court costs) incurred by the Company resulting from,
arising out of, relating to or caused by the loss, misplacement or destruction of said share

“Certificate; and

we AAS,

* 5. >. ° The undersigned agrees, upon request of the Company, to post a bond in such amount as

. -* °, “the Company may reasonably direct as security for the indemnification obligations of the

“°° undersigned set forth in Item 4 above.

IN WITNESS WHEREOF, the undersigned has executed this Affidavit of Loss as of the day of

2015.

 

Printed Name:

 

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‘orm W-9

See Attached.

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Pa tun t

 
See attached.

 

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Exhibit B

Dissenters’ Rights Statutes

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- 3043-14 Wisconsin Statutes

Updated 2013~14 Wis, Stats. Poblished and certified under 5.35.18. January 1, 2015.

37° Updated 13-14 Wis. Stats.

business thet was converted Is no longer subject to the appii-

cable aw of ho jurodicion ta govereed ‘the organization of the

prior form of easiness emity and is subject to the applicable lair

of the jurisdiction that governs the new faum of tissiness entity.

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ins neable & whi one or nore of of the owners thavoe! ts is
e Rc tigations 6 saoh bisiness entity, set

and granny Hal cit by reso he fo de
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# or periods in which. such
rowner.of owaers. This.subdivision
docs not. after iahilty under ary taraion ee,

4) The business entfiy continues 10 have all fabilitios of the
business entity that wns dbnverted.

(©) Tho business entity coutinuss to be vested with title co afl
property owned by the business entity that was converted without
seversion ér im

(d) The-wticles.of incorporation, articles of organization, cere
tiffcate of limited or othor similar governing decu-
ment, whithever is a e, of the business catity are as'pri-
vided in the plan of conversion,

{c) All cther provisions of the plan of conversion apply.

{8} After.s plan of conversion ig submitted and approved, the
bnshoges ni ale bo eat deliver to:the depart-

mend for filing a certificate of conversion that includes all of the

following:
(a) The plan of conversion.
(0) A statement thet the plan of conversion was epproved in
jurisdiction

the organization of the business entity,

) A statement whether -business entity dust

ito be conser hse feo sb ovmenhiphtrst i fn any Wis-
consin real estate.

 

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or against the bunnoas est after the
effective Shi of oenveesion “Sie oi

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weiner ren, chee Avg 2002. vt Remgasisations.

.* SUBCHAPTER Xt
SALE OF ASSETS

180.1201 Sale of assets in regular course of business;

mortgage of assets; transfer of assets to subsidiary.

{3} A corporation.may, on the tarms end conditions and for the
consideration determined by

the board of directors, do any of the
ps wy
(a) Sell, lease,
tially all, of its property in the usual and regular course of business.
Ct) oath trees, eachange ur otherwise dispose of less than sub-
hs property whether or not in the usual and regular
course of business.
nek) ‘Mortenge, ledge, dedicate to the repayment of indebiod-
whether wilh or Wihowt recourse, or eherwise encumber
any ar all of i property whether or uot in th osen ood reper
course“of business.
“@) Transfer any oF aloft ase to one or more corporations
teen of the shares or interests of witch are owned
unless the transfer is in connection with a pion
a volving the gale, exchange, oF » of disposal ofall sub-
sol of he. assets share-
holder approved under s, 120.1202. “mm food requires

atpqaire 4 greater vote or a vote by voting: gro

that governs

axchonge or athényise disposo of all, or substen-.

BUSINESS CORPORATIONS:

Unless required by the articles of incorporation, approval
4 shareholders of'a monsestion parmitied in oub, (1):49 not

Ester 1589 0. 303; 1991 &. M6; 2003 0 476.

480.1202 Sale of assets other than In gular course of
‘bualnese. (1) Except as provided ia sub. ), aconporation ity
, Crthange or otherwise dispose of all, or substantially
all offs: , With or without goodwill, otbervdse thini in the
assaband rea lr cee of bunites, onthe amid end sooioas
i ite consideration determined ty cab ted fae
direstora, upon adaption of a resoku a resolution by the baard of dines
tars approving the proposed transection ond approval by ite share
holders.of the proposed transaction.

(2) ‘The corporation shall notify each shareholder, whether or
not ‘entitled 10" vote, of the proposed

180.1301

sharebalders’ metting:
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fewer than: 20 days before the dste. The actlee shaliako,
de ul npr, of ox oft pes he ment at
subse se ponmy f the cosporation and
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Unless this the articles of
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tyntisaction is authorized if spproved up ropope tes
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is authorized, transacti
sy ate mec eee
A transaction that constitutes o distribution ia governed by

‘e 18% 0640 and not by this section.
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“gpeeaang oft (08 om cv 6.180 2 eh er na a nem ssbecansi
: seatviy. Stensan Horse, 198 Wie 24 500 197 a74 (ct ‘ton 1930}
SUBCHAPTER XIII

DISSENTERS? RIGHTS

180.4301 Definitions. In ss. 180.130) to 180.1331:
ont “Beneficial sharokolder™ moans a person. who is a:bensfi-
owner of shares beld by = nominee aa the shareholder,

(im) “Business combination” bes the meaning givan in 5.
180.1130 (3).

(2) “Cosporaticn” means the issuct corporaticn of, if the oar-
porate acion giving rie t dlssentars y Fights under lao: 4302 fa
ing domcsais con facion conpona at hom

cosposstion or os merges or
the.acquiring dontestic carporation or foreign corporation of the

share exchange.

(3) “Dissenter” means a shareholder or beneficial sharcholéer
who is entitled to dissemt from corporate action under s. 180.2302
and who exercises that right. whon and in the manner required by’
a9. 180.1320 to 180.1328.

(4) “Fair valve”, with respect to a disseates’s shares other than.
in a business combination, means the. valuxof the shares immedi-
ately. befors the effectuation of the corporais action to ‘hich the

dissenter objects, excluding arly spprecisiion or
sncipaion of ie corpus cin anes exchaon would be
inequitable. “Fair.valus", with respect to a dissenters shares in
a business combination, means market value, as defined in 5.
280.1130 (9) (a) 7. to 4,

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action witil the dase of

corporate

rently paid by' the co ans or,
none, at a rate that is i on pal ae
stances.

Sirougls 2013 Wis, Act $80 ahd sil Supreme Court Orders entered befora Jan. f, 2018. Pub-

Statutes upsisied
lished and certited uncer &. 38.18. Changes effective after Jan. 4, 2018 are. designated by NOTES. (Published 1-41-19

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“merges.

ago.t103 G3) (2) 1, outstanding

Updated 2053-14 Wis, Stats, Published and certified under s. 35.18. January 1, 2015,

180.1301 BUSINESS CORPORATIONS

.(8) “Issuer corporation” means a domestic cosporation thet is
the ‘issuer of the shares held by a dissenter béfore the corporis

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Biteory: 2 303; 1991 a, 86.
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Sic econ awe Be ey
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a Cintomen es vor a he sepa ay ea

na

See jaan

480.1302 Right to dissent. (1) Except as provided in'sub.
(4) and s. 180,1008 (3), a shareholder or beneficial shareholder
may dissent from, and obtain payment of the fair valve of his or
fier ahares fa the event of, any of the following cospanite sotions:
(a) Consunimation of pian af marger to whicdi the issuer cor
‘porstion is a party ifany of the following applies:
* 4. Shareholder a al is requived fre merger by. s
180.1103 or by the nthe of inosreorat
2. The issuer ssrvorninn tea betty that is menged with

ts parent under s. 180.1104.

3. The issuer corporation is a parent tht Is merged with its
under s. 80.1104. This subdivision does not.spply if

subsidiary
-all of the following are trac:

a. The articles of incorporation of the surviving

corporation
‘do not differ from the atticles of inconporation of the parent before ~

Oe eee - 180.1602 (1) to

b, Each sharehoides of the paral whose shares -were.cuts
standing immediately before the effective lime iguana
holds the same number of shares with identical

anes

c Tho masher of vothg haces oe defisod In 18 sma.10969
{a)2., cutstanding bnmedistely after cho merger, plus the number
of voting shares issuable as.¢ result of the meyer, either by the
conversion of securities lesued parsuant to the merger or the exer
cise of sights or warrants Issued pursuant to the merger, do not
exceed by minus than 20 percent the total manbet Of Yoting shares
ae The: nuinber of participating ‘aon defined i
as. ms.
immiedistely afier-ths merger,
ples the number of participating shares issuable as a result of the
merges, either by the conversion of secusities lasued pursuant to
the merger or the exercise of rights or warrants issued pursuant to.
the merger, do not exceed by rnore than 20 percent the total num-
‘ber of participating shares of the parent outstanding immediately
bedbre-the merger.

(b} Consummation of'a plan of share exchange if the issuér car
poration’s shares will be acquised, and the sheseholder or the
shercholder holding shares cu behall of the bencticial shetchildor
is entitled to voice on the plan.

() Consummation of a sals or exchange of oll, or substantially
all, of the property of the issuer corporation other than in the usual
and repailsr coarse of business, Inchuding a ssle ia diseototion, but

i A sale pursnant to court order.

2. A sale for cash pursuant to 2 plan by whioh afl or substan-
tiaily all of the net proceeds of the sale will be distributed to the
shercholders within one year after the deteof sale.

(cm) Consummation of a plan of conversion.

Exoopt as provided in aub. (2), any offer corporate action
ae rs air Prd Sede lpiiahe fe ween

2043-14 Wisconsin Statutes updated

Updated 13-14 Wis. Stats. 9-38

of Incorporation, bylaws ora resolution of the board of directors
provides that the voting or noavating shareholder or beneficial
sharehnider may dissent and obtali payment for his or her alinres.

2) Excopt ag provided tn stile. (4) and s. 180.1008 (3), the arti-

ofel cf ncoreoration my allow a shareholder or bento | chare-
holder to dissent from an amendavent of the articles of
tion and obtain payment of the fiir valne of his os her shares if the
amendmedt materially and sdversely affects rights in respect of a
dissenter's shares because it does any of the following:

@) Alters or abolishes a preferential right of tho shares,

(b) Creates, altets of abolishes a right in respect of redemption,
including » provision respecting a sisting fond fer the redemption
or sepurchase, of the shares.

(c) Akers or abolishes a preemptive right of the holder of
shares to acquire shures or oikes securities.

(d) Exctodes or limits the right of the shares to vote on any mate” ~
ter or to cumnulate votes, other than a limitation by dilvtion through
issuances of shares or other securities with similar voting rights.

(c) Reduces the number of shares owned by the sharchaldes or *-: ”

beneficial shareholder to's fraction of a shire if te Sectional share

#0.crented is to be acquired for cash under s, 180.0604. ,

Notwithstanding sub, (1) (a) to (c), if the & issusr Corporation
close corporation pn

dérsa. 180.180) t 180.1837, 6

sharcholder of the seietory close mney dissent from 8

ston dla ppt to lhe
shares, to the oxtesit permitted under sub. a @ (d) or (2) or s.
meee 180,813 (1) ¢d)-or (2) (6), 180.1815 G) or 180.1829
Qe. —.
(4) Untess the articles of incorporation provide otherwise,
subs. (1) and (2) do not apply to the holders of shares of any clase
or series if the shares of the class or sories are registered on a
“national securities oxchange or quoted on the Notional Associs-
tion of Securities Dealers, Inc., automated quotations system on
the record date fixed to determine the. shareholders entitled to
notice of a sharcholders meeting at which shareholders are to vote
on the proposed corporate action. -

(8) Bxcept as provided in s. 190.1833, a shareholder or benef-
olal sharcholder entitled to dissent-and cbtain payment for his er
her shares under ss. 180.130) to.180.1331 may not challenge the
corporais action creating bis or hex entitlement untess the action
ia unlawful or fraudulent with respect tb the shareholder, benefi-
cial shareholder or isuer corpomfion.

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Seige We 2a 07 Cit wad 250 Sa 2Ee

‘The Robs of Discounts in Octesurining “Fair Valo” Wisconsin's Disscaters’
Rights Stawees: The Case fhe Discounts, Emory. hates Wiens

‘480.4303 Dissent by shargholders and bonoftcial
Shareholders. (4) A shareholder may assert dissenters’ rights
es to fower than all of the dhaves registered in his or her name only
if the shareholder dissents with respect to all shares benoficially
owned by any one person and notifies the conporation in writing
of the nume and address of each person on whose behalfhe or she
pesesta disscaters’ rights. The rights of a sharcholder who andor
this subsection asserts dissenters’ rights as to fewer than all of the
_Shares registered in his or her name are determined as if the shares
89 to which he or she dissents and his or her other shares were reg-
isterod in the names of different shareholders.

(2) A beneficial shareholder may assert dissenters’ rights as to
shares held on his or her behalf only if the beneficial shareholder
does all of the following:

@) Submits to the corporation the sharhoider's written con-
bent to the dissont not later than the time that the boiizficis! share-
holder asserts dissenters’ rights.

through 2013 Wis. Act 380 and af Supreme Court Orders entered before Jan, f, 2015. Pub-

dshed and certified under 8, 38.18. Changes effective alter Jan. 1, 2018 ere designated by NOTES. (Published f-1-16)

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dl:

Updated:2013-14 Was, Stats. Published and certified under 2.35.18. January 1, 2015.

39 «= Updated 13-14 Wis. Stats,

(b) Submits the consent unter ) Sith respect to all stazes
of ich be or oka te teeta
Hinery: 1989 0 303.

180.1320 Notice of dissantare’ tights. (4) If proposed

ndpeited toon erp. serrelyond the  aeeting neice
to a vote at a
al state that shareholders. Te
be entitled to assert 1” rights under'ss, 180.1303 to
Tf .1331 and shall he aecomparited by's Copy of those sections,
@Z% If corporate action trediing - Gissentery’ rights under: 2.
160,1302 is mthorized without ‘vote uf shareliolders, tho corpo
ration shall notify, in writing and id accordance with 5, ooy,
all sharehotders entitled to-assert dissenters" Fights that the sction
whe avihorized knd send thom ths disseitters’ notice deseribed in
$. 180.1322.
wet, pleco nt har of ns fn ara of 8
Neder ee cae ssf epee teh a epee

is ecidedto Bons v,

agen ST Ae ts 206 Wie Un CONRAD.

180.1321 Notice of Intent to demand payment. (1) If
Missenters* rights under s,

proposed corporeté action creating

160.1302 is sutunitted to x vote at q shoreboldess' meeting, a
shareholder or beneficial shareholder who veishes to.asiert dis-
senters’ rights shall do all of the follawiag:

{2) Deliver to the issuer corporation before the.yote is taken
written notice that that compiles swith s. 180.0141 of the sharcholder’s
or beneficial shareholders intent to demand payment far bis or her
shavés if the proposed action is effectnated.

(b) Not vote bis or bor shares in. favor of the proposed action.

(2) A shareholder or bencficin! shareholder who fhils to sat-
isfy sub. (1) ts not entided ta payment for his or her shares under
‘$3 180.1301 to 180.1338.

Biztery: 1949.2, 303.

180.1322 Dissenters’ notice. (1) If d corporate
sia larcholdea’ moctng te soporte sal ie an
ata meeting, tho corporation : a written
dissenters’ notice to all sharcholders| ond beteficial shareholders
who catisfied 2. 180.1921...

The dissenters’ notice shall be. sentno Idiee than 10 days.
affer corporate action i authorized atu shareholder’ meeting
7 without @ vote of shareholders, whichever is is applicable. The

dissenters’ natice shall comply with 2. 180.0341: and shall inclode

. ‘or have attnched all af the following:

(0) A statement indicating where tba. shareholder or beneficial

| cahareholder must send the payment demand aad véhere and when

cestifleates for certificated shares nnust be deposited.

"(b) For hotders of oncertificated ¢ shares, an explanation of the
extent to which transfer of the slieres will be restricted after the
payment demand is received.
fire {c) A form for deonding payment that inchides the date of the

ote pepe ea tod pis stele
abel she sonuited bone beneficial ownership of the shares
or
dvelbre that date.
(0) A date by which the corporation must receive the payment
daapand, which my ant be fever thon 30 days nar wierd Bean 6D
days after the date on which the dissenters’ notice fs delivered,
BN A copy of'ss. 380.1301 io 180.1331.
“History: 1989 a 303,

180.1323 Duty to demand payment, (4) A shareholder or
beneficial sharettolder who fs senta dissenters’ notice described
in 2, 180.1322, or a benoficis! shareholder whose shares are held
ty e nominee who i seat a dissenters’ notice deomibed in =
1322, must demand tin writing end certify whether
hoor abe acquired hone cial ownership of the shares before the

2013-14 Wisconsin Ststutoe updated through 2019 Wis. Act 360 and all Supreme

BUSINESS CORPORATIONS 480.1327

date specified in the dissenters’ notice under 2. 180. 1322 @2)()..
benefice) shambober with certificated sites

A shareholder or
must also deposit his or ber certificates in sccordance with the
terms of the notice,

(2) A shariholder or beneficial shareholder with certificates’.

shetos who demands payment anil deposits his or her share cartii-
cates paces su (2 -setains all other rights of a shereholderor

unt) these sights sre canceled or modified! .

by the eHeciualion of thie corporate action.

(S) A sharcholder of beneficial sharehiolder with oartifieasd
br nncerifiated shores who does not demand payment bythe dite
set in the dissenters’ notice, or a shareholder or beneficial shar
holder with corlificated-shares who dors-not deposit his of her
sharo certificates where requied and by the date sot in the disgent»
ers’ notic is not eutitled to payment for his or ber shores under
58. 189.1302 to $80. 133%,

History: 1949 eee

480.1324 Restrictions on uncertiticated shares;
(1) The issuer

shares is received until the action is effectuatéd or tie
restrictions toleased under s, 180.3326. ~
(2) ‘The shareholder or benelictal shavcholtes who nsserts do
Sonters’ eighty as to uncestifitated shares retains all of ths rights
of 2 ibareholder or beneficial sherekolder, other then those
Fad asa peal ese Rigs ae canceled or mal
fied by the-effectuation of act

History 1989908.
180.1926 Payment (1) Bxcept'as provided in s. 180.1327,

83 s00n as the corparate scton is efeeusted or upon receipt afd

'g. 180.1323 the amount that the corporation estimates to be the fair

value-of hie or her shares, plus accrued interest.
(2) Tho-paymant shall’be accompanied by all of the folkiwing:
{a) The corporation's Intest available financial statements,
audited and in footnote disclosure if available, but inolud-
ing not less tins b sheet as of the end of a-fiscal year end+
ing ne not-roore than 16 months before the date of payment,.an
income statement for that year; 4 statement of changes in shares
holders’ sly for that peer end the latest available interim finan-
“~~ A tof te corporation’ ofthe fair
anent 'a estimate: valbe
of the shares.
(c) An explanation of how the interest wes calculated.
(G) A statement of the dissenter's right to demand payment
under 8, 180.1328 if ths dissenter is dissatisfied with the payment.
@A copy e of ss 180.1301 to 380.5331.

Ristary: 1989
1804328 Fallure to take action. (1) Ifan issuer corpors
tion does not effoctuati: tic action within 60 days after

the date set under a, 180.1322 far demanding payment, th lamr

action, the
S. 180.1322 and repeat the payment demand procedure.
Wistorye 1989 u, 303,

180.1327 After-acquired shares. (1) ‘ormnw
elect to withhold payment required by s. 180.1325 froin a dis:
senter unless te dissenter was the beneficial owner of the shares
before tho date specified in itie- dissenters’ notice under a
180,1322 (2) (¢) as the date of the first announcement fo news
media or to shareholders ofthe terms of the proposed corporate
a

Court Orders entared before Jan, 7, 2018. Pul>

‘Aahad and certified undor s. 35.48. Changes affective after Jon. 1, 2018 are designated hy NOTES. Pabteted 1-4-46

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jn may restrict the transfer of uncertifie °. os
cated shares ftom, date that the demand for payment far theo -

wn 3s £-
Updated 2013-14 Wis. Stats. Published and cettified under 3, 35.18. January 1, 2015.

180.1327 BUSINESS CORPORATIONS

&2) To the extont thal the corporation elects to withhold pay-
ment under sub; (1) after effechiating the corporate action, it ehall
estimate the fair'velue.of the shares, plos accrued interest, and
shall pay this amaunt to cach dissenter who agrees to.ccoept it in
fall satisfaction of bis or her demand. The corporation shall send
with its offer.a statement of its estimate of the fair value of the
shares, ei explanation of bow the interest wae calculated, and
Statement 0 te dissemte’s right to:demand paymect onder's.
190.1598 if Gos gsr b Gssatsted withthe

H&tory: 1929.« $03,

180:13928 Procoiure if dissenter dissatisfied with pay-
ment or offer, . (1) A dissenter may, in the manner provided in
sub. 2), hatify tha corporation of the dissevier’s estimate of the

of his o¢ her shares. and amount of interest ‘due, and
en sad ee theca catmah es ey y payment rseoived
under s. 180.1325, or refect the offer under & 130.1327 and
demand payinent of the fais valus of his or her shares and interest
due,-ifany of the following applies:

(0) The dissenter believes that the amount paid under s:
180,1325 or offered.under 2. 180.1327 is less than the fair value
of his or ber shores or that the interest duc is inconeetly calculated.

(b) ‘The corporation fails to‘ make payment under s. 180.1325.
within 60 days after the date set under s. 180.1322 for demanding
Payment.

@) The-issuer corporation, having failed to effectuate the cor
porate action; ddes not rehunt the deposited certificates or release
the transfer restrictions imposed on uncertificated shares within
60 days after-the date set under s. 180. 1322 for demanding pay-
‘ment.

(2) A dissenter waives his or her right to demand payment
under this section ynless the dissenter notifies the corporation of,
his or her densand under sub, (1) in vaiting withia 30 days afier tha
corporation made ar offered payment for his or her stares. The
Notice shall comply with a. 180.0141.

We pas etd pment gts de
|
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180.1330 Court action. (1) fife demand for or payment under
a £80,1328. amok wnsetiey She corporation et bring & spo:

ial proceeding within aeceiving the payment
demand unisex. 180.1328 and petition ths court to determine the
_feir Value of the shares-.and nscroed interest. If the corporation
., does not bring the special proceeding within the 60-day period,
“It shall pay each dissenter whose demand remains unsettied the
amount demanded.

“(2) The corporation shall bring the specia! proceeding in the
cireuit court for the county where [ts principal affice os, if nono in
this state, its registered office is tovszed: Ifthe corporetion isa for-

tlie the roche proeoediey hr tis cuunts ta this soto fo wich
bring the opocia jal prooceding in the county in this state In which

located the registered office of the issuer corporation that

sere vi or whose shares were acquired by the foreign como-

“e Ths. corporation shall make all dissenters, whether or uot
residents of this stete, whose domands remain wsetllod parties to

the special proceeding, Each to the special shall

Gree ceeding. a aly fe rac eee
{4} The jurisdiction of the court in which the special proceed-

ing is brought under sub. (2) is plenary and exclusive. The court

aay appoint one er inore perso:s 2s appraisers to receive ovidencs
ond decision an tho question of fair value. An
appraiser has the power described in the him or

order
her or in any amendment to the order. The dissenters are entitled
to the same discovery rights ns partis in other civil proceedings...
(5) Exch dissenter made's party to the special procerding is
catitled te judgment for any of the following:

2092-14\ieconsin Statutes updsted through 2079 Wis. Act 360 ani all Supreme

Updated 13-14 Wis. Stats. 40

{a) The amount, if any, by which the court finds the fair value
of his or her shares, plus interest, exceeds the amount pald by: the
oorgdration.

&) The Lair value, plus accrued Interest, of hie or her'shares
dequired on or after the date specified In the dissenter’s notice
under s. 180.1322 (2) (c), for which the corporation siected’to
‘withhold payment under a. 180.1327.

Bete" dis ectice docs act provide fo grocodare!
suhadesenssr chs bel arolitle nie ininntinonts kbowton
Naving daniel Food eat 3000 WH Ape GO BS9-WE 21592, Ou
Sits. G) sd scott es rae ra pe

do ioe earpernsens oe thal Sony fe
Cee Albers rose! 00 ¥, Kéward Note, 679

(80.1331 Court coats and counsel fess. {1} () Not
withstanding 99, $14.01 to 814.04, the court in a special
ones cua: 180,1330 shall determine all costs of tho pro-
including the reasonable compensation and expenses of
sabes andy cont and shall assess the casts a;

ration, except as provided inpa,

wn Notwithetanding ss, 814.01 and 85.0%, 0 the court insy

costs against all os same of the discentéss, tu amoucts that

te cout Sno aunt ra i it dee
@isseaters ected arbitrarily,

demanding payment under s. 180.1

( ‘Tha parties shall bear thelr own expenses of the pro eoed-
ing, except thet, notwithstanding sa. 814.03 to $14.04, ihe court
may also assess the fees and expenses of course] and experts for

tie respective parties, in emounts that the court finds to be equita-
‘ble, as follows: ;

{0} Against the corporation and in favor of eny-dissrater if the
coust finds that the corporation did not substantially comply with
“38. D Andes 180.1328.

@) A the corporation or agalnsi a dissenter, in favor of
-any ciber parry, f tho court finds thn the party eguinet whom tie
foes and expenses are assessed acted abitrarily, vexatiousty or not
in good faiths with respect to the rights provided by this chapter.

(3) Notwithsteading ss. 814.01 10 84.04, ifthe court finds
thal the services of counsél and experts for any dissetiter wero of
substantiot benefit to othor dissenters similarly situated, the court
may award fo these counsel aod experts reasonable ites to be paid
out of the emounts ewarded the dissenters who were benefited.

Historys 1989 a, 303,

SUBCHAPTER XIV
DISSOLUTION

480.1401 Olssolution before issuance of shares.

(1) Tho incorporatars or the board of directors of cape
that bas not issued shares may authorize the dissofation

poration.
th 2) At any tua dixalve by del authorized under sub. a,
fhe corporation may ve" vering to the department for
filing articles of dissolution that include all of the following:

(a) The name of the corporation.

db) The date of its ince:porction.

(c) A statement thas none of the corponition’s shares has been

{@) A statement that no debt of the corporation remains unpaid.
(¢) A statement that the incorporators or the board of directors,
which, asthorized the dissolution in aocardance with
this section.
(3) A corporation Is dissolved under this section on the offec-
tive date of its articles of dissolution.
Uistery: 1989 0. 303; 1995 a 27.

Court Orders entered before Jan, 1, 2045. Pub-

Abhed and certifiad under s. 38.78. Changes effoctive efter Jan, 1, 2015 are designatad by NOTES. (Published 1-41-18)

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FILED

02-05-2018

John Barrett

Clerk of Circuit Court

EXHIBIT G 2018CV001032

Honorable Glenn H
Yamahiro-34
Branch 34

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CONFIDENTIAL ESOP PARTICIPANT INFORMATION

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in connection with the
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AGREEMENT AND PLAN OF MERGER . ‘\ \~
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Com VF
DUFF & PHELPS,LLE, “<)

D&P ALABAMA AcQuigrTi0N CORP.,
<Y
AA MANAGEMENT.GROUP, INC.
Ar es
ny

Samson REPRESENTATIVE

é 4
‘Y i -
+ oS DATED: FEBRUARY 3, 2015

 

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information About the Buyer...

 

 

Bebnce Ef

 

 

Neither the Securities and Exchange Commission nor any state securities’
commission has approved or disapproved these securities or determined if this Confidesi
Information Statement is accurate or adequate. Any representation to the contrary” is\7
unlawful. \ NZ

 

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5°)

   
AA MANAGEMENT GROUP, ENC.

PROPOSED TRANSACTION

The board of directors (the “Board of Directors”) of AA Management Group, Inc. (the
“Company”) has approved the transactions contemplated by an Agreement and Plan of Merger,
entered into by and among the Company, D&P Alabama Acquisition Corp., a Wisconsin
corporation (“Merger Sub”), Duff & Phelps, LLC, a Delaware limited liability company
(“Buyer”), and, solely in his capacity as Shareholders’ Representative, Joseph P. Zvesper, on
January 30, 2015 (the “Merger Agreement”). Pursuant to the transactions contemplated by the
Merger Agreement (the “Transaction”), in exchange for the merger consideration and
performance of other terms and conditions of the Merger Agreement, Merger Sub shall be"
merged with and into the Company and the Company shal] continue as the surviving corporition

and the separate corporate existence of Merger Sub shall terminate. As a result ‘of ‘the, w

Transaction, the Buyer will become the sole owner of the Company. The Transaction requires
certain approvals from ESOP participants and from GreatBanc Trust Soinpany the “ESOP
Trustee”), the independent trustee of the American Appraisal Associates, Jné. Employee Stock
Ownership Plan (the “ESOP") which is a shareholder of the Company-.As,a afarticipant in the
ESOP, you have the right to direct the ESOP Trustee how to yote the shares of Company stock
allocated to your ESOP account. et

vote FOR the proposal to approve the viteget doce ‘and approve the Transaction.

Vs
The Company’s Board of Directors consists of Joseph P. Zvesper, Chairman and CEO Fe
the Company, Kimberly L. Russo, Exetutive Vice President and Chief Financial Officer of the
Company, John C Bamsley,. non-executive board member, and K. Thor Lundgren, non-executive
board member. The ‘Board ‘of Directors has unanimously approved the Merger Agreement aiid
the Transaction, and recommends approval by the ESOP Trustee and the ESOP participants. —

ZF SAS”
~“Please exercise your right to vote on the Transaction. Regardless of the number of shares *

of’ the -Compaiiy stock allocated to your ESOP account, it is important that your shares be
represented and voted. In order to direct the ESOP Trustee on how to vote, please fill out and
return the enclosed confidential voting card and return it to: GreatBanc Trust Company, Attn:
Jeff Scholl, 801 Warrenville Rd., Suite 500, Lisle, Hlinois 60532. Alternatively the voting card
may be faxed to GreatBanc Trust Company, Attn: Jeff Scholl, at (630) 810-4501, or e-mailed to
Jeff Scholl, at jscholl@greatbanctrust.com. Your voting card must be received no later than 4

P.M. CENTRAL TIME, on February 23, 2015.

_ This Confidential Information Statement provides you with detailed information about
the proposed Transaction. You should read the entire document carefully.

The Transaction is a complex transaction. You are strongly urged to read and
consider carefully all information in this Confidential Information Statement.

You should not construe this Confidential Information Statement or any prior or
subsequent communication from or with the Company or the Buyer, or any professional
associated with the Company, as legal, tax, or investment advice. While this information is
provided to aid your consideration of the matters discussed in this Confidential Information

   

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Statement, you should consult your own advisors regarding legal, accounting, tax and other
matters concerning the proposed Transaction.

This Confidential Information Statement is dated February 3, 2015, which is when it first

is being delivered to ESOP participants. You should not assume that the information in this
Confidential Information Statement is accurate as of any date other than the above date.

Q:

A:

>

: How will the Company fit into the Buyer wenn? a

Questions and Answers About the Transaction

Why are the Company and Buyer proposing to enter into the Transaction?
The Board of Directors believes that consummating the Transaction with the Buyer will

provide the Company with financing sources capable of providing growth capital to the --...

Company. (fier several months: of discussions ‘with the Buyer and its affiliates, the.

Company’s Board 0 of Directors has concluded that entering into the Transaction with, the Me

Board of Directors believes the Strategic objectives of both the Company and, the ‘Buyer will
be enhanced by the consummation of the Transaction. The Buyer identified the’ ‘Company as
a good acquisition candidate and approached the Company to “determine. the Company’ s
interest in pursuing the contemplated Transaction. The Company t believes the Buyer is a
good business partner. Be}

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The Company will be a wholly-owned subsidiary 0 of the Buyer. Following the Transaction,
the current officers of the Company | cand its subsidiaries are expected to have a role in ~
managing the operations of the Company and its subsidiaries and the employees of the

Company and its subsidiaries will Temain employees of Company and its subsidiaries.
ee

: What will I receive asa result of the Transaction?

ows \ ene
The Merger. ‘Agreement provides for an enterprise value of the Company of $86,000,000.

Upon completion of the merger, the outstanding shares of common stock (other than shares
. of common stock held by dissenting shareholders) will be converted into the right to receive

an aggregate sum equal to $86,000,000, minus the amount of certain obligations of the
Company incurred to redeem shares of common stock from certain former shareholders, and
minus the amount of certain transaction-related expenses of the Company. The Trustee

estimates (based on information supplied by the Company) that, as of the date of this ~

information statement, the merger consideration into which each share of common stock held
by the ESOP will be converted will be equal to approximately $1,450 to $1,475 per share. -
Please note that these figures are estimates only and are based on certain assumptions
and, therefore, are subject to change. Please see the Merger Agreement for additional

details.

The Company will distribute funds to the ESOP as part of the closing of the , Merger
Agreement (the “Closing”). You will receive credit for approximately $1,450 to $1,475 for
every share of Company stock allocated to your ESOP account, representing a premium of
approximately 70% over the March 31, 2014, valuation of shares of Company stock. Please
note that these figures are estimates only and are based on certain assumptions and,

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therefore, are subject to change. Please see the Merger Agreement for additional
details.

Q: When will I be able to Receive a Distribution of the Proceeds from the Transaction
Srom the ESOP 2?

A: The Company is expécted to apply for a favorable determination letter from the Internal
Revenue Service (the “IRS”) approving the termination of the ESOP. If the Company files
for a favorable determination letter from the IRS and subject to a final agreement by and
between the Company and the ESOP Trustee, you might be permitted to rollover or take a
distribution of a certain percentage of the cash credited to your ESOP account as the result of
the Transaction within a reasonable period of time following the Closing, but prior to receipt _
of the favorable determination letter from the IRS. You might have the option to either: (1) “>,
initiate a rollover of the funds allocated to your ESOP account into an individual retirement
account (“IRA”) or another qualified retirement plan (such as a 401k plan) that. will accept a”
rollover from the ESOP; or (2) take a direct distribution of the funds allocated to your ESOP
account (withholding will apply as required by law). These funds might be available for
rollover or distribution within approximately 90 to 120 days:after the Closing, The Company
may arrange for a representative of an independent service. provider“to attend on-site
meetings to assist ESOP participants who would like to rollover their‘ ESOP proceeds into an

IRA. ; a ”Y
If the Company files for a favorable determination letter from the IRS, the cash allocated to
your ESOP account (or the remaining cash if a distribution is allowed as described in the
paragraph above) will be held in the ESOP Trust and invested by the ESOP Trustee on your
behalf until such time as the Company receives a favorable determination letter from the IRS
concerning the tax-qualified status of the termination of the ESOP. The Company and the
ESOP Trustee will submit a request to obtain a favorable determination letter with respect to
the ESOP’ after the Transaction is closed. You should be aware that this process can take a
long time, and the Trustee does not believe the funds will be distributed until 12 to 24 months
_ after the Closing of the Transaction. During this time, the ESOP Trustee will invest the
- retained funds in money market funds, short term government obligations or other short term
securities.

After receipt of a favorable determination letter from the IRS concerning the tax-qualified
status of the termination of the ESOP, the cash allocated to your ESOP account (or the
remaining cash if a distribution is allowed as described in the first paragraph above) will be
available for distribution by the ESOP and you will then have the option to either: (1) initiate
a rollover of the funds allocated to your ESOP account into an IRA or another qualified
retirement plan; or (2) take a direct distribution of the funds allocated to your ESOP account

(withholding will apply as required by law).

You will receive a distribution package from the ESOP’s plan administrator when you
become eligible to take a distribution from the ESOP at the times distributions will be made
from the ESOP as described above. If you properly transfer your ESOP account balances

into an IRA or another qualified retirement plan, no tax will be due at that time. “The
Company encourages you to carefully consider this favorable option for rolling over your

retirement funds.

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If, however, you elect to take a direct distribution of your ESOP account balances and you
have not yet reached the age of 59'/., you may be liable to pay both a 10% penalty tax and
ordinary income tax on the amount distributed to you from the ESOP on your ESOP
proceeds. This is a penalty which can be avoided if you roll over your ESOP proceeds into
an IRA or another qualified retirement plan. You are encouraged to consult with your own

tax advisor as to the tax consequences of the transfer or withdrawal of your ESOP account

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balances.

ds the Company Board of Directors recommending that I vote in favor of the Transaction?

: Yes. After careful consideration, the Board of Directors of the Company unanimously

determined that the Transaction is advisable, fair, and in the best interests of the Company _

and the shareholders of the Company, and has approved the Merger Agreement and the”

Transaction. Accordingly, the Board of Directors recommends that you direct t the ESOP %
Trustee to vote “FOR” the proposal to approve the Transaction. »

The ESOP Trustee’s financial advisor has done a preliminary review of the Transition and
has advised the ESOP Trustee that as of the date of the Merger Agreement it appears that the
ESOP will be receiving adequate consideration in connection with the Transaction and that
the Transaction is fair from a financial point of view to the ESOP as a shareholder of the
Company. The ESOP Trustee also is expecting to receive, a final opinion from its financial
advisor in connection with the Transaction as of the Closing, which shall conclude that the
ESOP will be receiving adequate consideration i in connéction with the Transaction and that
the Transaction is fair from a financial point of view to the ESOP es a shareholder of the
Company. The ESOP Trustée will not be able to proceed with the Transaction unless the
ESOP Trustee receives this final opinion.

: Are there risks fo the ESOP, associated with the Transaction?

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: The ESOP is not a party to the Merger Agreement and is therefore not directly responsible

for any Tepresentations, warranties or covenants relating to the operations of the Company

Prior to the Transaction or after the Transaction. The ESOP will not make any

representations or warranties to the Buyer concerning the Company and will not be directly
liable for any indemnification payments which may be owing to the Buyer under the Merger
Agreement. Any claims made by the Buyer for indemnity will be made solely against the
monies put in an escrow account by the other shareholders (not the ESOP) of the Company
(the “Escrow”), The Buyer will not be able to seek indemnification from the shareholders
with respect to any claims (except a claim based on common law fraud) it may have against
the shareholders pursuant to the Merger Agreement after the period of the Escrow has
expired, which period shall expire 18 months after Closing for most claims and 60 months
after Closing for certain identified claims against the Company (or later if there are pending
claims for indemnification at that time). In addition, the ESOP Trustee will receive prior to
Closing a final opinion from its financial advisor that the ESOP is receiving adequate
Consideration in connection with the Transaction and that the Transaction is fair from a

financial point of view to the ESOP as a shareholder of the Company.

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Q: How will the Transaction work?

A: If the Transaction is approved and all other conditions to Closing provided for in the Merger
Agreement are satisfied, the Company will become wholly-owned by the Buyer. The Buyer
has indicated that the current officers of the Company and its subsidiaries are expected to

have a role in managing the current operations of the Company and its subsidiaries within the -

Buyer’s organization, and the Company’s and its subsidiaries’ employees will remain
employees of the Company and its subsidiaries.

Q: Who needs to approve the Transaction?
’ A: The Board of Directors has approved the Transaction. In addition, under applicable law,

- approval of the Transaction will require the affirmative vote of a majority of the shares of >...
Company stock outstanding on the record date established by the Board of Directors 0, 4

conduct a special shareholders meeting to vote to approve the Transaction.

In accordance with the terms of the ESOP, ESOP participants are entitled to direct the ESOP

Trustee on whether to vote the shares of the Company stock allocated to their’ ‘ESOP accounts
to approve the Transaction. Also, the ESOP Trustee has the full discretion on how to vote
any shares of the Company stock held by the ESOP for which an ESOP participant has not
provided any voting instructions or if the Trustee ‘determines that following the ESOP

participant voting instructions would violate ERISA,

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Q: What are the key terms of the Merger Agreement?
A: The Merger Agreement governs the key terms of the Transaction, including:

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o representations and waraptc concerning the Buyer;

represeitations wi warranties concerning the Company;

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the rights of the Buyer to obtain indemnification from the shareholders (other than the
. ESOP) i in the event that the Company breaches its representations and warranties or
other provisions of the Merger Agreement,

the rights of shareholders to obtain indemnification from the Buyer in the event that
the representations and warranties concerning the Buyer are breached; and

conditions which must be satisfied or waived in order for the parties to close the
Transaction. ,

Additionally, certain Company executives are required to execute employment,
confidentiality, non-competition and non-solicitation agreements.

Q: When is the Transaction scheduled to close?

A: The formal Closing of the Transaction is tentatively scheduled for February 28, 2015,
although the Closing cannot take place until all conditions to Closing have been satisfied.

The Closing could be delayed until a later date.

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Q: What do I do if I have questions?

A: Please contact Paul Trost, at (630) 810-4943, or Jeff Scholl, at (630) 810-4942, of GreatBanc
Trust Company, who are employees of the ESOP Trustee if you have any questions.

You may also wish to consult your own legal and/or financial advisor. Although the
Company’s legal counsel, Foley & Lardner, LLP, has been involved in the negotiation of this
Transaction, it has acted on behalf of the Company @ and has not represented any shareholder
or the ESOP participants personally.

G: How can I vote?

A: You can direct the ESOP Trustee on whether to vote the shares of the Company stock*~ *
allocated to your ESOP account to approve the Transaction by filling out the enclosed ’ 3
confidential voting card and returning it in the * enclosure provided to (per the attached voting” tye

instructions):

GreatBanc Trust Company

Attn: Jeff Scholl t
801 Warrenville Rd., Suite 500. :,.,
Lisle, Illinois 60532 en
Email: jscholl@greatbanctrust.com .’*
Fax: (630) 810-4501 *. oo 4

 

 

   

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Q: What else do I need to do? ee

A: If your current address changes after the Closing of the Transaction and before all proceeds
are distributed, you ‘must “advise the ESOP Trustee. of such address change. Final
cistributions will not take place for 12 to 24 months after the Transaction i is consummated.

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Se Summary of the Terms of
‘ The Merger Agreement

 

Closing Conditions

The Company’s obligation to complete the Transaction is subject to the satisfaction or
waiver by the Company of the following conditions, among others:

® the delivery of the merger consideration by the Buyer; -
© the Merger Agreement must be approved by the Company shareholders;

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© a majority of the ESOP participants that elect to vote must approve the Transaction in
a separate “pass through” vote conducted by the ESOP Trustee, and certain other
matters pertaining to the ESOP must be completed;

@ the ESOP Trustee must determine that the Transaction i is in the best interests of ESOP
participants;

e Buyer and Merger Sub must perform | and comply in all material respects with their
respective obligations and covenants to be performed or complied with prior to the
Closing; and ,

@ no injunction or other law or order shall have the effect of making the merger. ie eo
or otherwise prohibiting the completion of the merger. ‘ . a 2

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» NS
The Buyer’: S obligation to complete the Transaction is also subjedt to. the 8 Satisfaction or
waiver by the Buyer of the following conditions: = ee

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e the Merger Agreement must be approved, by. the Company shareholders;

© amajority of the ESOP participants that elect to vote must approve the Transaction in
@ separate “pass through”. vote ‘conducted by the ESOP Trustee, and certain other

matters pertaining f to the ESOP; aust be completed;

® the ESOP Trustee must determine that the Transaction is in the best interests of ESOP
participants; * =
ap “yh a
ae Conipany inust perform and comply in all material respects with its obligations and
‘ covenants to be performed or complied with prior to the Closing;

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there must not have been-an event or series of events, including any breach of any
representation and warranty made by Company in the Merger Agreement, that has
had or would reasonably be expected to have a material adverse effect on the
business, assets, liabilities, financial condition or results of operations of Company;
and

e no injunction or other Jaw or order shail have the effect of making the merger illegal
or otherwise prohibiting the completion of the merger.

Shareholder Representative

The shareholders, by voting in favor of the Merger Agreement, shal] be appointing
Joseph P. Zvesper as the shareholder representative to represent the shareholders with respect to
the Transaction and related events. For example, the shareholder representative may negotiate

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and agree to settlements with the Buyer with respect to issues that arise under the Merger
Agreement, give and receive payments, notices, waivers, reports and other communications in
connection with the Transaction, execute miscellaneous documents associated with the
Transaction, negotiate and. agree to amendments to the Merger Agreement, and negotiate and
otherwise handle claims for indemnification.

The ESOP Trustee, or its duly appointed successor trustee, will represent the ESOP with
respect-to the Transaction and the disposition and distribution of the ESOP’s assets (including
the cash received from the Transaction once it is distributed to the ESOP until the ESOP is
terminated and all of the assets of the ESOP are disbursed to the ESOP participants).

Information About the Company .

CE Oh

The Company and its subsidiaries are engaged in the business of providing valuation and. . :

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related services for business, financial, legal and tax purposes. , aan
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Jaformation About the Buyer and Merger S Sub.

The Buyer is a Delaware limited liability company and a global vaiuation and corporate
finance advisor. Its primary service areas are valuation, dispute consulting, mergers and
acquisitions, restructuring, alternative assets, tax, transaction Opinions and legal management
consulting. The Merger Sub was formed for the purgse of acquiring the Company.

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This Confidential teformation Siatement and the documents incorporated by reference
into this Confidential Information Statement contain forward-looking statements that involve
risks and uncertainties, . such as statements of the Company’ s and Buyer’s post-closing plans,
objectives, ‘expectations ‘and intentions. When used in this Confidential Information Statement
and the documents incorporated an reference into this Confidential Information Statement, the
words “may”, “might”, “should”, “expects”, “anticipates”, “believes”, “estimates”, “intends” and
“plans”: and similar expressions are tended to identify certain of these forward-looking
statements. Because these forward-looking statements involve risks and uncertainties, the actual
results of the Company, Buyer and the post-closing plan could differ materially from those
expressed or implied by the forward-looking . statements in this Confidential Information
Statement and the documents incorporated by reference into this Confidential Information

Statement.

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02-05-2018
John Barrett
Clerk of Circuit Court
EXHIB IT H 2018CV001032
. Honorable Glenn H
Yamahiro-34
Branch 34

THIS DOCUMENT CONFIDENTIAL AND
BEING FILED UNDER SEAL

 

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PARTICIPANT DIRECTIVE STATEMENT

February 3, 2015

To: Participants in the American Appraisal Associates, Inc. Employee Stock Ownership
Plan -

As a participant in the American Appraisal Associates, Inc. Employee Stock Ownership
Plan (the “ESOP” or the “Plan”), you have the right to direct GreatBanc Trust Company, the
trustee of the ESOP (the “ESOP Trustee”), as to how to vote the shares of AA Management
Group, Inc., a Wisconsin corporation (the “Company”), stock allocated to your account in the
ESOP (the “ESOP Account”) with respect to the transactions contemplated by an Agreement and .
Plan of Merger, entered into by and among the Company, D&P Alabama Acquisition Corp, 9 a 5
Wisconsin corporation (“Merger Sub”), Duff & Phelps, LLC, a Delaware limited, Hebility, a
company (“Buyer”), and, solely in his capacity as Shareholders’ Representatiye, Joseph oP,
Zvesper, on January 30, 2015 (the “Merger Agreement”). The transactions contemplated ‘by the
Merger Agreement are hereinafter referred to as the “Transaction.” The. ESOP ‘also’ ‘provides that
the ESOP Trustee will vote the shares of Company stock that are ‘allocated d to'any participant’s
ESOP Account for which it fails to receive participant voting instructions, ‘ in its own discretion.
The Transaction is scheduled to be voted upon by the Semper? s shareholders at a special
meeting of shareholders to take place on February yah? 2015."

The ESOP Trustee has enclosed the  fllowing, documents to assist you with this decision:

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e this Participant Directive Statement for the participants of the ESOP;

ea Voting | Card to dirkot the ESOP Trustee;

af

aa: Company ‘prepared Information Statement directed to shareholders of the
o -\Company setting forth a general description of the Transaction (“Company
2 Statement”); and

\, “ea Confidential Information Statement (a “Proxy Statement”) directed to ESOP
participants setting forth a general description of the Transaction.

The Company Statement was prepared by the Company and the Company is solely
responsible for the accuracy of the information contained thereon. The Proxy Statement was
prepared by the ESOP Trustee and approved by the Company. The Company Statement and the
Proxy Statement are hereinafter referred to collectively as the “Information Materials.” The
documents provided herein provide the entire description of the transactions and shall supersede
any prior oral or written communications you have received from the Company regarding the
transaction. The Company has agreed to indemnify and hold the ESOP Trustee harmless from
damages, losses or expenses (including, without limitation, reasonable attorneys’ fees and
expenses) incurred or suffered as a result or arising out of any the information contained in the
Information Materials or the failure to include material information relating to the Company and
its operations or the terms of the Transaction in the Information Materials.

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Approval of the Transaction by the requisite vote of the Company’s shareholders is a
condition to the consummation of the Transaction. The terms and conditions of the Transaction
(and the underlying Transaction documents) are described and set forth in the Merger
Agreement, and such terms and conditions are briefly summarized below and are more fully
described in the Information Materials. Because these summaries are brief, you should review
the Information Materials (and the Merger Agreement itself contained therein) in their entirety.
If there is any conflict between the Information Materials and this Participant Directive
Statement, the Information Materials control.

SUMMARY OF THE TRANSACTION

As described in more detail below in the “Brief Description of What Will Happen to the =,
ESOP in Connection with the Transaction” section, it is estimated by the Company that, shares ;
allocated to ESOP Accounts will be entitled to receive cash equal to approximately $1, AS0 to...
$1,475 per share upon the effective date of the Transaction or shortly thereafter. Please note that”
these figures are estimates only and are based on certain assumptions. and, ‘therefore, are
subject to change. Please see the agreement and plan of merger for aaiciousl details.

After the Transaction, the current officers of the Company shan ‘ead and manage the
operations of the Company in conjunction with Buyer’ s board. of directors and leadership teams.

The Merger Agreement contains certain rephestatations by the Buyer and the Company
as to certain facts related to the Transaction.. These. representations and warranties generally
survive for 18 months after the Transaction Jj ds “completed. The Merger Agreement also imposes
numerous obligations on the patties. to, the ‘transaction (for example, pre and post-closing
covenants, satisfaction of closing ‘Conditions and indemnification obligations). The merger
consideration to be received by shareholders (other than the ESOP) at the closing will be reduced
by @) $12,000. 000, which ‘willbe deposited into an interest-bearing escrow account for the
purpose of f securing ‘the: Shareholders’ potential obligations to indemnify Buyer and Merger Sub
under the’ indemnification provisions of the Merger Agreement, and (ii) transaction costs, which
will be deposited into an interest-bearing escrow account for the purpose of providing the

shareholders’ representative (who is expected to be Joseph P. Zvesper) with funds to cover costs

and expenses incurred on behalf of the shareholders from and after the closing. These reductions
will apply to each shareholder (other than the ESOP) based on their pro rata share, which is an
amount specified pursuant to the terms of the Merger Agreement and calculated based on the
number of shares of common stock that a shareholder (other than the ESOP) owns in relation to
the total number of shares of common stock (other than shares of common stock held by the
ESOP) outstanding as of the closing. The ESOP is not a party to the Merger Agreement and is
not liable to any party for any breach of the Merger Agreement or any breach of representation
or covenant contained therein, except for common law fraud.

BRIEF DESCRIPTION OF WHAT WILL HAPPEN
TO THE ESOP IN CONNECTION WITH THE TRANSACTION

On or prior to the closing of the Transaction, the Company will terminate the ESOP.
Although the ESOP will technically be terminated at or prior to the closing of the Transaction,
the process of implementing the termination and making distribution to ESOP participants will

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occur after the closing of the Transaction. The Company is expected to apply for a favorable
determination letter from the Internal Revenue Service (the “IRS”) approving the termination of

the ESOP. If the Company files for a favorable determination letter, a portion of the cash

received by the ESOP in connection with the Transaction might be distributed to the ESOP
participants after termination of the ESOP but prior to receipt of the IRS favorable determination
letter, although this has not yet been determined. Ifa favorable determination letter application
is filed, the final distribution from the ESOP will be paid to you when the Company and ESOP
Trustee receive the favorable determination letter from the IRS.

ROLE OF ESOP PLAN PARTICIPANTS IN THE TRANSACTION

The Company has scheduled a special meeting of its shareholders to take place on ..
February 24, 2015 to consider and vote on the Transaction. The Transaction must be approved i.
by the affirmative vote of a majority of the shares of the Company’s stock issued and outstanding be :

as of the record date, which is January 30, 2015 (the “Record Date”).

The shares of Company stock that are owned by the ESOP Tryst. “(end ‘certificates
evidencing such shares) make up approximately 10% of the Company’s shares outstanding and
are held by the ESOP Trustee acting on behalf of the ESOP. Therefore, as‘a a participant in the
ESOP, you are not a direct shareholder of the Company. However, under the terms of the ESOP,
you do have the right to provide instructions to the ESOP Trustee regarding how the shares of
Company’s stock allocated to your ESOP Account ‘are to be voted by the ESOP Trustee in
connection with the Transaction. However, if the Transaction is approved by the holders of a
majority of the outstanding shares of Company stock present at the shareholders’ meeting at
which a quorum is present, approved by a majority of the ESOP participants who elect to vote in
a separate “pass through” vote conducted by the ESOP Trustee, and all other conditions for the
closing of the Transaction are satisfied, then the Transaction will be approved, regardless of
whether you instruct the ESOP Trustee to vote your allocated shares of Company stock for or
against the Transaction. See the “The Plan’s Participant Voting Instruction Provision” section
below, for additional details.

“ oy Bloat is a Confidential Voting Card for you to use to instruct the ESOP Trustee how
you wish to vote the shares of the Company’s stock allocated to your ESOP Account. Your
completed Confidential Voting Card must be received by 4 p.m. Central Time on February
23, 2015.

ESOP TRUSTEE POSITION ON THE TRANSACTION/BOARD OF DIRECTORS
RECOMMENDATION

The ESOP Trustee makes no recommendation to ESOP participants or their beneficiaries
as to what instructions they should deliver with respect to how to vote their allocated shares of
Company stock held in their ESOP Account with respect to the Transaction. The ESOP Trustee
has also not yet determined how it will vote allocated shares held in the ESOP for which no
instructions are received with regard to the Transaction. However, the Board of Directors of the
Company has recommended that shareholders vote FOR the Transaction.

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ESOP FINANCIAL ADVISOR OPINION

The ESOP Trustee has retained Prairie Capital Advisors, Inc. (“Prairie Capital”) as its
independent financial advisor with respect to the Transaction. Prairie Capital has done a
preliminary review of the Transaction and has advised the ESOP Trustee that as of the date of
the Merger Agreement it appears that the ESOP will be receiving adequate consideration in
connection with the Transaction and that the Transaction is fair from a financial point of view to
the ESOP as a shareholder of the Company. The ESOP Trustee also is expecting to receive a
final opinion from Prairie Capital in connection with the Transaction as of the closing of the
Transaction, which shall conclude that the ESOP will be receiving adequate consideration in

connection with the Transaction and that the Transaction is fair from a financial point of view to =...

the ESOP as a shareholder of the Company. The ESOP Trustee will not be able to proceed y with

the Transaction unless the ESOP Trustee receives this final opinion. . PN eo

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VOTING PROCEDURES eos ‘

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A “Voting Card” and a return envelope (with postage pre-paid) for your Voting Card are
enclosed. pr

After you have read this letter and the enclosed tl please do the following:

(i) = Mark, date and sign your Voting Card,

(ii) = Mail it to the ESOP Trustee i in the enclosed envelope, send it by fax to the ESOP
Trustee c/o Jeff Scholl, at. (630) 810-4501, or e-mail it in PDF format to
jscholl@greatbanctrust.com, so that it will be received by the ESOP Trustee agent no later than 4
p.m. Central Time. on. February, 23, 2015.

The’ Voting Cord i is the only document that you are required to complete and deliver in
order to instruct the ESOP Trustee how to vote the shares of Company stock allocated to your
ESOP Account. However, if your Voting Card is completed improperly (for example, it is not
signed, or not marked in a way to make your instructions clear), then the ESOP Trustee may
disregard it and vote the allocated shares of Company stock in your ESOP Account at its own
discretion.

THE PLAN’S PARTICIPANT VOTING INSTRUCTION PROVISION

The Plan’s governing document provides that its participants are entitled to instruct the
ESOP Trustee as to the voting of shares of Company stock allocated to their ESOP Account with
respect to the Transaction. The Plan also provides that the ESOP Trustee will vote those
allocated shares for which it fails to receive participant voting instructions, in its own discretion.

You should understand that the actions of the ESOP Trustee with respect to voting the
shares of Company stock held in the Plan are governed by the fiduciary duties and requirements
of the Employee Retirement Income Security Act of 1974 (“ERISA”). Although the law is not
entirely clear on how the ERISA fiduciary duties apply with respect to the voting of employer
securities, the United States Department of Labor (the “DOL”) has informally stated certain

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standards that it believes a trustee should follow in respect of following participant directions as
to how to vote shares of stock held by an ESOP. Based on the guidance from the DOL, a trustee
of an ESOP is permitted to vote the shares of Company stock held in the Plan in accordance with
the instructions received from its participants, if among other things, the ESOP Trustee is
reasonably assured that all of the following conditions are met:

A. That the participants have been provided with sufficient information to enable
them to make an informed decision in instructing the ESOP Trustee how to vote their allocated
shares.

This letter and the enclosed materials are intended to provide you with sufficient
information on which to make an informed decision. If additional facts arise in a timely manner
that the ESOP Trustee believes you should know about, the ESOP Trustee will make them *
available to you. You have the right to request from the Company, and the Company will timely ”
provide copies of any of the agreements proposed to be entered into by the parties, If you d desire
any further information, please contact the ESOP Trustee by calling Jeff: Scholl at (630) § 810-4942.

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B. That the participants have acted independently and ‘without coercion in
instructing the ESOP Trustee how to vote their allocated shares. Meek.

As of the date of this letter, the ESOP Trustee is not aware of any reason why the
Plan participants would not be acting independently i in completing their Voting Cards, or would be
subject to coercion by any individual or the Company. The Company is aware that the
participants should be free from coercion in completing their Voting Cards. If you are subjected
to any coercion by any person, please contact the ESOP Trustee.

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C. That the individual participants’ voting instructions are kept confidential.

The Voting Cards will be tabulated by the ESOP Trustee and each participant’s
vote will be kept confidential by the ESOP Trustee. The Company will not have access to
individual Voting Cards even after the matters to be voted on have been decided.

. ae

y D. That the voting instruction provisions of the Plan are consistent with ERISA. That
is, the ESOP Trustee must follow the voting instruction provisions, unless it concludes that to do
so would be imprudent or contrary to the best interests of the participants.

If participants instruct the ESOP Trustee to vote their shares of Company stock
allocated to their ESOP Account in a certain manner, and the ESOP Trustee determines that doing
so would be imprudent or otherwise not for the exclusive purpose of providing benefits to the
participants, then the ESOP Trustee can and must disregard the instructions of the participants,
and vote all of the shares of Company stock held by the Plan in the manner it believes is required
under ERISA. The ESOP Trustee has not yet determined that any vote as to the transaction is
such that disregarding participant instructions would be necessary. It is possible that the ESOP
Trustee may make such a determination prior to the time that the ESOP Trustee’s vote is to be
made, and it will make its final determination in this regard immediately prior to this time. One
example of a circumstance under which the ESOP Trustee might detennine to disregard the
participants’ instructions would be if new information becomes available, and it is not possible to
communicate to the participants in a timely manner.

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CHANGING OR REVOKING YOUR VOTING CARD

If you decide to change your voting instructions to the ESOP Trustee after you have
submitted your Voting Cards, you must obtain a new form from the Company. By properly
completing and timely returning a new Voting Card, your previously submitted Voting Card will
be automatically revoked.

You may also revoke your Voting Card by notifying the ESOP Trustee in writing of your
decision to revoke, but if you do not timely submit a new valid Voting Card, the allocated shares
of Company stock held in your ESOP Account covered by the revoked Voting Card will be
treated as if no Voting Card was received from you. After 4 p.m. Central Time on February 23,
2015, no Voting Card will be accepted and no Voting Card may be changed or revoked. :.
Therefore, it is important that you complete and return your Voting Card in time for it to reach "
the ESOP Trustee by 4 p.m. Central Time on February 23, 2015. ee

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HOW TO CONTACT THE ESOP TRUSTEE |.

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As :

If you have any questions or comments concerning the procedure for completing and/or
returning your Voting Card, please contact the ESOP Trustee by calling Jeff Scholl, at (630)
8 1 0-4942, or faxing him at (630) 810-4501. Your communication will be kept confidential.

Sincerely,

GREATBANC TRUST COMPANY, as ESOP Trustee of the
American Appraisal Associates, Tne. Employee Stock Ownership Plan

“Atay

* * >
is

The Voting card must be received no later than 4 p.m. Central Time on February 23, 2015
or it will be disregarded.

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FILED

02-05-2018

John Barrett

Clerk of Circuit Court
EXHIBIT I 2018CV001032

Honorable Gienn H

Yamahiro-34

Branch 34

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Voting Card

AA Mangement Group, Inc. Special Meeting of Shareholders to be held on Tuesday, February 24,

2015, at 9:00 a.m., Central Standard Time, at the offices of Foley & Lardner LLP, 777 East Wisconsin
Avenue, 40"-Floor, Milwaukee, Wisconsin 53202.

Deadline for voting direction: 4 p.m. Central Time on February 23, 2015

You are encouraged to send your voting direction via fax at (630) 810-4501, by mail or by e-mailing a
PDF of this voting direction card to jscholl@greatbanctrust.com. If you decide to rescind or change

your voting direction prior to the deadline date, you may also do this via fax, mai! or e-mail. Retain this
card for this purpose.

Proposals .

Item 1 To direct GreatBanc Trust Company, the trustee of the American Appraisal Associates, Inc.
Employee Stock Ownership Pian and related trust (the “ESOP”), as to how to vote the shares
of AA Management Group, Inc., a Wisconsin corporation (the “Company”), stock allocated to
your account in the ESOP with respect to the “Transaction.” The term “Transaction” means
those transactions contemplated under the terms and conditions of that certain Agreement and
Plan of Merger, entered into by and among the Company, D&P Alabama Acquisition Corp., a
Wisconsin corporation, Duff & Phelps, LLC, a Delaware limited liability company, and, solely
in his capacity as Shareholders’ Representative, Joseph P. Zvesper, on January 30, 2015.”

PETER HUCK
1100 MADERA CIRCLE
ELM GROVE, WI 53122

Shares: 50.9432

‘ Detach and mail this card in the enclosed prepaid envelope. Do not retum this card to your employer. V

Retain this information for your reference

LP 5890378.2 \ 37383-99320

 

 

 

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1100 MADERA CIRCLE
ELM GROVE, Wi 53122

PETER HUCK

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GREATBANC TRUST COMPANY, TRUSTEE
FOR AA MANAGEMENT GROUP, INC.
801 WARRENVILLE RD, STE 500

LISLE, IL 60532

f)

Signature: fake. & bined

 

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Date:
FILED

02-05-2018

dohn Barrett

Clerk of Circuit Court
EXHIBIT J 2018CV001032

Honorable Glenn H

Yamahiro-34

Branch 34

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GREATBANC

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02-05-2018

John Barrett

Clerk of Circuit Court
EXHIBIT K 2018CV001032

Honorable Glenn H

Yamahiro-34

Branch 34

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tal 414 271 7240

American Appraisal Associates, inc.
411 East Wisconsin Avenue Mitwaukeo, Wi 53202 AN

 

  
 
   
    
  
 
 
 
 
 

Leading / Thinking / Performing American
Appraisal
American Appraisal Associates, inc. Profit Sharing Plan
ai Distribution Release Agreement
This document sets forth tite Agreement between you, on your own behalf and on behalf of
your heirs, executors, successors, agents and assigns, and American Appraisal Associates, LLC, on its own

behaif and on behalf of the American Appraisal Associates, inc. Profit Sharing Plan, its parent, subsidiary
and affillated corporations, and their respective successors, assigns, representatives, agents,
shareholders, officers, directors, aswell as its and their present and former employees (hereinafter

collectively referred to as the “Company”).

The American Appraisal Associates, inc. Profit Sharing Plan (the “Plan) was terminated effective
February 24, 2015. Asa result, thePlan held assets to be distributed in accordance with the Plan
documents. At present, the Pian islin a position to make its’ final distribution of Plan assets.

In consideration of the final distribution of Plan assets, you hereby irrevocably and
unconditionally release and forever discharge for yourself, your heirs, executors, administrators,
representatives, successors and assigns, the Company from liability for any and all claims or damages
that you had, have or may have against the Company as of the date of your execution of this
Agreement, whether known or unknown to you. You expressly acknowledge that this Agreement ts also
Intended to include in its effect, without limitation, all claims which you do not know or suspect to exist

at the time of execution hereof, and that this Agreement contemplates the extinguishment of any such
diaim or claims. You further agree that you will not file any action, claim or demand against the

Company for any of the claims released herein.

Your signature befow indicates that you are entering into this Agreement fully, knowingly and
voluntarily without duress, coercion, and with a full understanding of its terms.

| ACKNOWLEDGE THAT I HAVE READ AND UNDERSTAND THE ABOVE AGREEMENT INCLUDING THE
RELEASE OF ALL CLAIMS AS DESCRIBED HEREIN. | FURTHER ACKNOWLEDGE THAT I HAVE HAD THE
OPPORTUNITY AND TIME ALLOWED FOR UNDER THIS AGREEMENT TO CONSULT WITH COUNSEL OF

MY CHOOSING.
AGREED AND ACCEPTED BY: WITNESSED BY:
PRINT NAME:

SIGNATURE:
DATE:

 

 

 

 

 

 

 

     

Russo via email at Kimberiy.russo@duffandphelps.com or

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STATE OF WISCONSIN CIRCUIT COURT MILWAUKEE COUNTY

 

CIVIL DIVISION
PETER S. HUCK,
Plaintiff,
Case No. 2018CV001032
v. Intentional Tort 30106
Money Judgment 30301
DUFF & PHELPS, LLC,

AA MANAGEMENT GROUP, INC., a wholly
owned subsidiary of DUFF & PHELPS, LLC,
JOSEPH P. ZVESPER, and

PRAIRIE CAPITAL ADVISERS, INC.,

Defendants.

 

PLAINTIFF'S FIRST SET OF REQUESTS TO ADMIT, INTERROGATORIES
AND REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS

 

TO: ALL DEFENDANTS
Plaintiff, Peter S. Huck (“Huck’ or “Plaintiff), by and through his attorneys,

Gierke Frank Noorlander LLC, requests that within forty-five (45) days of service,
Defendants Duff & Phelps, LLC (“Duff & Phelps”), AA Management Group, Inc.
(“AAMG’”), Joseph P. Zvesper (“Zvesper”) and Prairie Capital Advisers, Inc. (“Prairie
Capital”) (collectively, “Defendants”), answer the following Requests to Admit and
Interrogatories and produce all documents and other tangible items responsive to the
following Requests for Production of Documents. These discovery requests are
pursuant to Wis. Stats. §§ 804.11, 804.08 and 804.09.

The documents and tangible things referred to herein are to be produced for
inspection and copying at the law offices of Gierke Frank Noorlander LLC, 1011 North

Mayfair Road, Suite 304, Wauwatosa, WI 53226, unless other arrangements are made.

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DEFINITIONS

1, “Communication” means the transmittal of information (in the form of

facts, ideas, inquiries or otherwise) by any method.

2. “Complaint” means Plaintiffs Complaint and any amendments thereto.
3. “Concerning” means relating to, referring to, describing, evidencing, or
constituting.

4. “Huck” or “Plaintiff” means the plaintiff named in the Complaint.
5. “Duff & Phelps” means Duff & Phelps, LLC, a Defendant named in the
Complaint.

6. “AAMG” means AA Management Group, Inc., a Defendant named in the

Complaint.
7. “Zvesper” means Joseph P. Zvesper, a Defendant named in the Complaint.
8. “Prairie Capital” means Prairie Capital Advisers, Inc., a Defendant named
in the Complaint.
9. “Defendants” or “you” means the defendants named in the present action.

This definition is not intended to impose a discovery obligation on any person who is
not a party to this case.

10. “Document” means, without limitation, the original, all copies, all drafts,
and translations of any information in any written, recorded, or graphic form, including
all memoranda of oral conversations, as well as all compilations, catalogs, and
summaries of information or data, whether typed, handwritten, printed, or recorded, or
otherwise produced or reproduced, and shall include but is not limited to any
photograph, photostat, microfilm, or other reproduction thereof, including without

limitation each and every note, memorandum, letter, telegram, publication, telex,

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circular, release, article, report, prospectus, record, financial statement, computer disc,
computer tape, microfiche, microform, index, list, claims file, analysis chart, account-
book, draft, summary, diary, transcript, agreement, calendar, graph, receipt, chart,
business record, insurance policy, computer printout, contract and orders. “Document”
also means any type or audible recording, any photograph or motion picture or
videotape, and any non-identical copy thereof, either by virtue of other materials
appearing thereon, such as handwriting or typewriting, or otherwise.

11. “Identify” when used with respect to documents means to give, to the

extent known, the:
a. type of document;
b. general subject matter;
c. date of the document; and
d. author(s), addressee(s) and recipients.
9. “Identify” when used with respect to persons means to give, to the extent

known, the person’s full name, present or last known address, and when referring to a
natural person, present or last known place of employment. Once a person has been
identified in accordance with this subparagraph, only the name of the person need be
listed in response to subsequent discovery requesting the identification of that person.
10. “Person” or “persons” means any natural person or any business, legal or

government agency, entity or association.

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INSTRUCTIONS
1. In responding to these requests, you are required to obtain and furnish all
information available to you and any of your representatives, employees, agents,
servants or attorneys and to obtain and furnish all information that is in your possession
or under your control, or in the possession or under the control of your representatives,
employees, agents, servants or attorneys.

2. If you are unable to respond to any of the requests completely after
exercising due diligence to secure the information necessary to provide a complete
response, so state, and respond to each such request to the fullest extent possible.
Specify the extent of your knowledge and your inability to respond to the remainder,
and set forth whatever information or knowledge you have concerning the unanswered
portions and the efforts you made to obtain the requested information.

3. If any document to be identified is known to have existed and cannot now
be located, or has been destroyed or discarded, then identify each such document by
stating:
the last known custodian;
whether the document is missing or lost or was destroyed or
discarded;
the date of loss, destruction or discard;
the manner of destruction or discard;
the reasons for destruction or discard;
the persons authorizing or carrying out such destruction or discard;
the efforts made to locate lost or misplaced documents; and
a statement describing the document, including a summary of its

contents, the identity of its author and the persons to whom it was
sent or shown.

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4. If any documents which are no longer in existence contained information
responsive to any request, then in response to that request:

a. identify all information contained in the documents;

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b. identify each type of document (e.g., letters, ledger, etc.) which

contained the information;

state the time period during which the documents were maintained;

state the circumstances under which the documents ceased to exist;

e. identify all persons who have knowledge of the circumstances under
which the documents ceased to exist; and

f. identify all persons who have knowledge or had knowledge of the
documents and their contents.

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5. If you contend that any of the information called for by any of these
requests is privileged, or if you have withheld information on any ground of
confidentiality, set forth, with regard to all such information:

a. the nature of the privilege asserted;

b. the factual basis for asserting the privilege; and

Cc. the subject matter to which your claim of privilege or confidentiality
relates.

6. These requests shall be deemed to seek responses as of the date hereof and
to the fullest extent provided by the Wisconsin Rules of Civil Procedure. These requests
are of a continuing nature and you are required to serve supplemental responses if you
obtain or become aware of additional or different information after the date of your
initial response.

REQUESTS TO ADMIT

1. Admit that representatives of AAMG, including but not limited to Zvesper,
communicated with representatives of Duff & Phelps regarding a potential merger of
their respective companies prior to the date that AAMG began communicating with
Plaintiff regarding Plaintiffs early retirement from AAMG.

ANSWER:

2. Admit that representatives of AAMG, including but not limited to Zvesper,

first communicated with Plaintiff regarding Plaintiffs early retirement from AAMG and

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that it was representatives of AAMG, including by not limited to Zvesper who first
suggested that Plaintiff retire early.
ANSWER:

INTERROGATORIES
1. State the name(s), business address(es) and job title(s) of the individual(s)
answering, or providing any information used to answer, these Interrogatories.

ANSWER:

2. Identify and describe all documents referred to or consulted in the
preparation of Defendants’ answers and responses to Plaintiffs discovery requests.

ANSWER:

3. Identify each corporate Defendant by providing its corporate name,
business address, date of formation, and tax identification number.

ANSWER:

4. Identify all civil complaints or criminal charges that have ever been
asserted against the individual Defendant, Zvesper, including the name of the forum
before which the complaint or charge was brought, the person initiating the procedure,
how each complaint or charge was disposed of, and state the location of the records
regarding same.

ANSWER:

5. Identify each and every statement that any representative of any

Defendant have made since January 1, 2014, regarding the potential and/or resulting

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merger between AAMG and Duff & Phelps, including in your answer the substance of
the statement(s), the date(s) of the statement(s), the individual(s) to whom the
statement(s) was/were made, and the method(s) of communicating the statement(s),
i.e. oral conversation, electronic mail, written correspondence, etc.

ANSWER:

6. Identify each and every statement that any representative of any
Defendant have made since January 1, 2014, regarding the proposed and/or resulting
retirement of Plaintiff, including in your answer the substance of the statement(s), the
date(s) of the statement(s), the individual(s) to whom the statement(s) was/were made,
and the method(s) of communicating the statement(s), i.e. oral conversation, electronic
mail, written correspondence, etc.

ANSWER:

7. Identify each and every statement that any representative of any
Defendant have made since January 1, 2014, regarding the proposed and/or resulting
retirement of Mr. Lee Hackett, including in your answer the substance of the
statement(s), the date(s) of the statement(s), the individual(s) to whom the statement(s)
was/were made, and the method(s) of communicating the statement(s), i.e. oral
conversation, electronic mail, written correspondence, etc.

ANSWER:

8. Identify the exact date on which AAMG first communicated with Duff &
Phelps regarding a potential merger of the two respective companies.

ANSWER:

7

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9. Identify the exact date on which AAMG first communicated with Plaintiff r
regarding a potential merger of the AAMG and Duff & Phelps.
ANSWER:

10. Identify the exact date on which AAMG first communicated with Plaintiff

regarding his retirement.

ANSWER:

11. _ Identify who first communicated with Plaintiff regarding his retirement,
the date of that communication, and the substance of that communication, including the
reasons given for Plaintiff to retire.

12. Explain the reasons and rationale for AAMG to offer Plaintiff early
retirement.

ANSWER:

13. Identify the exact date on which AAMG first contacted Prairie Capital to
solicit the appraisal attached as Exhibit C to the Complaint for the fair market value of
the common stock of AAMG.

ANSWER:

14. Explain the reasons and rationale for Zvesper’s and/or any representative
of AAMG’s decision to offer Plaintiff a position as a part-time, temporary consultant for
AAMG subsequent to Plaintiff's retirement date of September 30, 2014.

ANSWER:

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15. Identify all persons who will be called as fact witnesses at trial on any
Defendants’ behalf and state the areas or subject matter of their presently
contemplated testimony.

ANSWER:

16. Identify all persons who Defendants intend to call at trial to offer
testimony in the form of opinion testimony and the substance of their contemplated
opinion testimony.

ANSWER:

17. Identify each person that any Defendant expects to call as an expert
witness at trial, and state as to each such person: (a) the person's name, profession or
occupation, and residence and business addresses; (b) the subject matter on which the
person is expected to testify; (c) the substance of the facts and opinions to which the
person is expected to testify; (d) the specific data and grounds on which the person
bases his/her opinion; (e) a complete bibliography of the textbooks, treatises, articles
and other works which such person regards as authoritative on the subject matter on
which such person will be testifying; and (f) the manner in which such person became
familiar with the facts of the case.

ANSWER:

18. If Defendants and/or Defendants’ attorneys, agents or other
representatives are aware of the existence of any written or recorded statements made
by or for any party or witness with regard to the merger between AAMG and Duff &

Phelps, and/or to the occurrences alleged in the Complaint, state the name of each

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person making the statement, the date of the statement, and identify the person now in
possession of the statement or copy thereof.

ANSWER:

REQUESTS FOR PRODUCTION OF DOCUMENTS

1. Any and all documents identified in any of Defendants’ answers to
Plaintiffs First Set of Interrogatories.

RESPONSE:

2. Any and all documents evidencing communications between and
amongst any representative of AAMG, which relate and/or refer to the potential
and/or resulting retirement of Plaintiff and Plaintiffs Stock Redemption and Non-
Solicitation Agreement with AAMG, dated August 2, 2014.

RESPONSE:

3. Any and all documents evidencing communications between and
amongst any representative of AAMG and any representative of Duff & Phelps,
which relate and/or refer to the potential and/or resulting retirement of Plaintiff
and Plaintiffs Stock Redemption and Non-Solicitation Agreement with AAMG,
dated August 2, 2014.

RESPONSE:

4. Any and all documents evidencing communications between and
amongst any representative of AAMG, which relate and/or refer to the potential
and/or resulting retirement of Mr. Lee Hackett.

RESPONSE:

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5. Any and all documents evidencing communications between and
amongst any representative of AAMG and any representative of Duff & Phelps,

which relate and/or refer to the potential and/or resulting retirement of Mr. Lee

Hackett.
RESPONSE:
6. Any and all correspondence between and amongst any Defendants,

and/or any third party, which relates and/or refers to the potential and/or resulting
merger of AAMG and Duff & Phelps, or to the subject matter of the current action.

RESPONSE:

7. Any and all documents that AAMG provided to Prairie Capital, which
resulted in Prairie Capital’s appraisal of the fair market value of the common stock of
AAMG on or about August 4, 2014.

RESPONSE:

8, Any and all correspondence between any representative of AAMG and
any representative of Prairie Capital from January 1, 2014 through June 30, 2015,
which relates to Prairie Capital’s appraisal of the fair market value of the common
stock of AAMG, or to the subject matter of the current action.

RESPONSE:

9. All drafts of Prairie Capital’s August 4, 2014, appraisal of the fair market
value of the common stock of AAMG that is attached as Exhibit C to the Complaint.

RESPONSE:

10. All Minutes from any board meeting of AAMG, which occurred from

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January 1, 2014 through June 30, 2015.

RESPONSE:

11. Any and all documents containing the name, home and/or business
addresses of all persons with knowledge or information regarding any relevant fact
relating to this case.

RESPONSE:

12. All exhibits which will be offered into evidence at the time of trial.

RESPONSE:

13. Any and all documents which have been provided to any expert or lay
witness who may or will be called to testify on your behalf at trial or any evidentiary
hearing in this matter.

RESPONSE:

14. Any and all documents received from any person who may or will be
called as an expert or lay witness at trial or any evidentiary hearing.

RESPONSE:

15. Any and all resumes, curriculum vitae, and reports of experts retained
or employed by Defendants.
RESPONSE:

16. Any and all written or recorded statements (signed or unsigned) from
any party to this action concerning, directly or indirectly, the merger of AAMG and
Duff & Phelps.

RESPONSE:

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17. Any and all written or recorded statements (signed or unsigned) of any

third parties concerning, directly or indirectly, the merger of AAMG and Duff &

Phelps.
RESPONSE:

18. Any and all documents which relate and/or refer to the subject matter

of the current action.

RESPONSE:

Dated this 1st day of May, 2018.

GIERKE FRANK NOORLANDER LLC

Electronically signed by: Nora E. Gierke

Nora E. Gierke

State Bar No. 1033618
ngierke@gierkefrank.com
David E. Frank

State Bar No. 1056505

dfrank @gierkefrank.com
Willem J. Noorlander
wnoorlander@gierkefrank.com
State Bar No. 1033089

1011 North Mayfair Road, Suite 304
Wauwatosa, WI 53226

P: 414.395.4600

F: 414.921.4108

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STATE OF WISCONSIN CIRCUIT COURT MILWAUKEE COUNTY FILED

Peter S Huck vs. Duff & Phelps, LLC et al Electronic Filing 02-06-2018

Notice John Barrett
Clerk of Circuit Court
2018CV001032
Honorable Glenn H
Yamahiro-34
Branch 34

Case No. 2018CV001032
Class Code: Intentional Tort

 

 

 

DUFF & PHELPS, LLC
55 EAST 52ND STREET
NEW YORK NY 10055

Case number 2018CV001032 was electronically filed with/converted by the Milwaukee,
County Clerk of Circuit Court office. The electronic filing system is designed. td: allow for,
fast, reliable exchange of documents in court cases. \ \

Parties who register as electronic parties can file, receive and view doce oriine’”
through the court electronic filing website. A document filed electronicallyshas the same
legal effect as a document filed by traditional means. Electronic parties pal 2, s8Sponsible

for serving non-electronic parties by traditional means,7 ‘

You may also register as an electronic party by following the instructions found at
http://efiling.wicourts.gov/ and may withdraw as: an electronic party at any time. There
is a $ 20.00 fee to register as an electronic, party. “ee

If you are not represented by an: attomey and we Suid like to register an electronic party,
you will need to enter the igllowing, cogg 0 on nthe 3Filing website while opting in as an
electronic party. “ahs Nas eo

 

Pro Se opt-in. code: o7aazt ¥ A. ge
Unless you. register ag a an electronic party, you will be served with traditional paper
documents by other parties and by the court. You must file and serve traditional paper

ASocuments, ~N

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Registration is available to attorneys, self-represented individuals, and filing agents who
are authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as
a law firm, agency, corporation, or other group. Non-attorney individuals representing
the interests of a business, such as garnishees, must file by traditional means or
through an attorney or filing agent. More information about who may participate in
electronic filing is found on the court website.

If you have questions regarding this notice, please contact the Clerk of Circuit Court at
414-278-4120.
BY THE COURT:

Electronically signed by John Barrett
Clerk of Circuit Court

02-06-2018
ate

GF-180(CCAP), 06/2017 Electronic Filing Notice §801.18(5}(d), Wisconsin Statutes

Case 2:18-cv per Ehspatee pelos: RaRy by quaPepenterw in geaelitionad maser OCUMent 1-1
 

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